                                                                                        Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 1 of 130




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                                                                                      Facsimile: (312) 471-8701
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                                                                                    9 San Francisco, California 94104
                                                                                      Telephone: (415) 275-8550
                                                                                   10 Facsimile: (415) 275-8551
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 Attorneys for Defendants The Hershey Company
                                                                                      and ONE Brands, LLC
                                                                                   12
REED SMITH LLP




                                                                                   13                      IN THE UNITED STATES DISTRICT COURT
                                                                                                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                                   14                               OAKLAND DIVISION
                                                                                   15 THE COOKIE DEPARTMENT, INC., a                       Case No.: 4:20-cv-09324-KAW
                                                                                      California Corporation,
                                                                                   16                                                      DECLARATION OF KEYONN L. POPE IN
                                                                                                            Plaintiff,                     SUPPORT OF DEFENDANTS’ MOTION
                                                                                   17                                                      TO STRIKE JURY DEMAND
                                                                                             vs.
                                                                                   18                                                      Hearing: October 20, 2022
                                                                                      THE HERSHEY COMPANY, a Delaware                      Time: 1:30pm
                                                                                   19 Corporation; ONE BRANDS, LLC, a Foreign              Judge: Hon. Kandis A. Westmore
                                                                                      Limited Liability Company; AND DOES 1 TO
                                                                                   20 50, INCLUSIVE,

                                                                                   21                      Defendants.
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                                                                                               DECLARATION OF KEYONN L. POPE IN SUPPORT OF DEFENDANTS’ MOTION TO STRIKE JURY DEMAND
                                                                                          Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 2 of 130




                                                                                    1         I, Keyonn L. Pope, hereby declare as follows:

                                                                                    2         1.       I am an attorney at law admitted pro hac vice to the Northern District of California and

                                                                                    3   a partner with the firm of Riley Safer Holmes & Cancila LLP, counsel of record for Defendants The

                                                                                    4   Hershey Company and One Brands, LLC.

                                                                                    5         2.       A true and correct copy of Plaintiff’s Amended Supplemental Rule 26(a)(1) Initial

                                                                                    6   Disclosures, dated April 29, 2022, is attached hereto as Exhibit A.

                                                                                    7         3.       A true and correct copy of the deposition transcript of Akiva Resnikoff in this matter,

                                                                                    8   taken April 28, 2022, is attached hereto as Exhibit B.

                                                                                    9         4.       A true and correct copy of the deposition transcript of Andrea Kirschner in this matter,

                                                                                   10   taken April 29, 2022, is attached hereto as Exhibit C.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         5.       A copy of an excerpt from the Expert Report of Jeff Anderson, provided by Plaintiff as

                                                                                   12   part of its expert witness disclosures on May 31, 2022, is attached as Exhibit D.
REED SMITH LLP




                                                                                   13         I declare under penalty of perjury under the laws of the State of California that the foregoing

                                                                                   14   is true and correct. Executed this 15th day of September, 2022, in Chicago, Illinois.

                                                                                   15
                                                                                        Dated: September 15, 2022                      RILEY SAFER HOLMES & CANCILA LLP
                                                                                   16

                                                                                   17
                                                                                                                                       By: /s/ Keyonn L. Pope
                                                                                   18                                                      Keyonn L. Pope
                                                                                                                                           Attorneys for Defendants THE HERSHEY
                                                                                   19                                                      COMPANY and ONE BRANDS, LLC

                                                                                   20

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                                                                                                   DECLARATION OF KEYONN L. POPE IN SUPPORT OF DEFENDANTS’ MOTION TO STRIKE JURY DEMAND
                                                                                         Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 3 of 130




                                                                                    1                                   CERTIFICATE OF SERVICE

                                                                                    2         I hereby certify that I caused the above document to be electronically filed with the Clerk of

                                                                                    3 Court using the CM/ECF system, which will send notification of such filing to all counsel of record

                                                                                    4 in the above-captioned matter.

                                                                                    5 Dated: September 15, 2022
                                                                                                                                           /s/ Keyonn L. Pope
                                                                                    6                                                      Keyonn L. Pope
                                                                                                                                           4890-1498-5011, v. 1
                                                                                    7

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                 A limited liability partnership formed in the State of Delaware




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REED SMITH LLP




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                                                                                                DECLARATION OF KEYONN L. POPE IN SUPPORT OF DEFENDANTS’ MOTION TO STRIKE JURY DEMAND
Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 4 of 130




                    Exhibit A
       Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 5 of 130




1    SANJIV N. SINGH, A PROFESSIONAL LAW CORPORATION
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3    San Mateo, CA 94402
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4    Email: ssingh@sanjivnsingh.com
5    INDRAJANA LAW GROUP, A PROFESSIONAL LAW CORPORATION
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7    San Mateo, CA 94402
     Phone: (650) 597-0928
8
     Email: michael@indrajana.com
9
     Attorneys for Plaintiff The Cookie Department, Inc.
10
                                 UNITED STATES DISTRICT COURT
11
               NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
12
13
     THE COOKIE DEPARTMENT, INC., a                  Case No.: 4:20-cv-09324-KAW
14   California Corporation,
15                                                   PLAINTIFF THE COOKIE
                           Plaintiff,                DEPARTMENT INC.’S AMENDED
16                         vs.                       SUPPLEMENTAL RULE 26(A)(1)
                                                     INITIAL DISCLOSURES
17   THE HERSHEY COMPANY, a Delaware
18   Corporation; ONE BRANDS, LLC, a Foreign
     Limited Liability Company; AND DOES 1 TO
19   50, INCLUSIVE.
20   Defendants.
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                                                               Case No.: 4:20-cv-09324-KAW
      PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) INITIAL
                                        DISCLOSURES
       Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 6 of 130




1       PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL
2                              RULE 26(a)(1) INITIAL DISCLOSURES
3           Plaintiff The Cookie Department, Inc. (“TCD”) by and through counsel, respectfully
4    submits these Supplemental Initial Disclosures pursuant to Rule 26(e)(1) of the Federal Rules of
5    Civil Procedure. Since the Initial Disclosure TCD served on March 19, 2021, TCD has since
6    discovered additional witnesses and documents not listed on TCD’s Initial Disclosures, and is
7    now supplementing its initial disclosure.
8           These supplemental disclosures are made without waiver of attorney-client privilege,
9    attorney work product doctrine or any other applicable privilege. TCD reserves the right to
10   object to the production and/or introduction into evidence of any documents or evidence
11   described herein or testimony by any of the disclosed witnesses on the basis of privilege,
12   relevance or otherwise, as appropriate. TCD also reserves the right to add to, or amend, this
13   disclosure, as appropriate and necessary, particularly as additional information is obtained
14   through depositions, interrogatories, or otherwise.
15          1.      Individuals Likely to Have Discoverable Information (Rule 26(a)(1)(A))
16          The individuals listed below are likely to have discoverable information relevant to this
17   lawsuit:
18          •    From Plaintiff The Cookie Department, Inc.:
19                      o Akiva Resnikoff (CEO and founder of TCD and creator of the TOUGH
20                         COOKIE® mark): Information relating to TCD’s history; information
21                         relating to the infringement of TCD’s trademark; information relating to
22                         injury caused to TCD’s brand caused by trademark infringement;
23                         information relating to TCD’s damages; and any topics discussed in the
24                         deposition of said witness.
25                      o Isaac Resnikoff (TCD’s Designer of branding and packaging): Information
26                         relating to TCD’s history; information relating to the infringement of
27                         TCD’s trademark; information relating to the TOUGH COOKIE® brand
28                         use and design.



                                                  1                 CASE NO.: 4:20-CV-09324-KAW
     PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) X INITIAL
                                       DISCLOSURES
      Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 7 of 130




1                   o Andrea Kirschner (TCD’s Chief Financial Officers): information relating
2                      to TCD’s profits and losses during the relevant time period; and any topics
3                      discussed in the deposition of said witness.
4         •   From Defendant ONE Brands, LLC:
5                   o Ron McAfee Jr. (ONE Brands, LLC co-founder): Information relating to
6                      ONE Brands LLC history; information relating to the TOUGH COOKIES
7                      ONLY mark; information relating to ONE Brands’ marketing and
8                      advertising strategy relating to the ONE Bar product line including the
9                      Chocolate Chip Cookie Dough Flavored Protein Bar; information relating
10                     to ONE Brands’ trademark policy; information relating to ONE Brands’
11                     acquisition by Hershey; information relating to ONE Brands’ profits.
12                  o Peter J. Burns (Former ONE Brands, LLC Chief Executive Officer):
13                     Information relating to ONE Brands LLC history; information relating to
14                     the TOUGH COOKIES ONLY mark; information relating to ONE
15                     Brands’ marketing and advertising strategy relating to the ONE Bar
16                     product line including the Chocolate Chip Cookie Dough Flavored Protein
17                     Bar; information relating to ONE Brands’ trademark policy; information
18                     relating to ONE Brands’ acquisition by Hershey; information relating to
19                     ONE Brands’ profits; and any other topics discussed in the deposition of
20                     said witness.
21                  o David Ziegert (Former ONE Brands, LLC Chief Operating Officer):
22                     Information relating to ONE Brands LLC history; information relating to
23                     the TOUGH COOKIES ONLY mark; information relating to ONE
24                     Brands’ marketing and advertising strategy relating to the ONE Bar
25                     product line including the Chocolate Chip Cookie Dough Flavored Protein
26                     Bar; information relating to ONE Brands’ trademark policy; information
27                     relating to ONE Brands’ acquisition by Hershey; information relating to
28



                                              2                CASE NO.: 4:20-CV-09324-KAW
     PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) X INITIAL
                                       DISCLOSURES
      Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 8 of 130




1                      ONE Brands’ profits; and any other topics discussed in the deposition of
2                      said witness.
3                   o Terri Lindley (ONE Brands LLC’s former Chief Financial Officer):
4                      Information relating to Hershey’s acquisition of ONE Brands LLC and the
5                      ONE Bar Chocolate Chip Cookie Dough Flavored Protein Bar;
6                      Information relating to ONE Brands LLC’s profits relating to the ONE
7                      Bar Chocolate Chip Cookie Dough Flavored Protein Bar; information
8                      relating to Hershey’s due diligence on the ONE Brands acquisition
9                      including the ONE Bar Chocolate Chip Cookie Dough’s TOUGH
10                     COOKIES ONLY mark.
11                  o Erin Costa: (Former ONE Brands LLC’s Vice President of Marketing):
12                     Information relating to the ONE Bar brand relaunch in 2017 in which the
13                     infringing TOUGH COOKIES ONLY phrase was introduced in
14                     September 2017; information relating to ONE Brands LLC’s marketing
15                     activities relating to TOUGH COOKIES ONLY after learning about
16                     TCD’s TOUGH COOKIE trademark application; information relating too
17                     ONE Brands LLC’s marketing activities relating to TOUGH COOKIES
18                     ONLY after TCD litigation commenced on December 23, 2020; and any
19                     other topics discussed in the deposition of said witness.
20                  o Travis Bowe (former ONE Brands LLC’s Vice President of Finance and
21                     Accounting): Information relating to ONE Brands’ financials, sales,
22                     revenues, profits, expenditures, and other relevant financial information
23                     relating to the sales of the ONE Chocolate Chip Cookie Dough Protein
24                     Bar.
25                  o Maggie Lowry (ONE Brands LLC’s Manager, Digital Marketing):
26                     Information regarding ONE Brands LLC’s website development and SEO
27                     practices; and any other topics discussed in the deposition of said witness.
28



                                              3                 CASE NO.: 4:20-CV-09324-KAW
     PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) X INITIAL
                                       DISCLOSURES
      Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 9 of 130




1                   o Jannelle Knaus (Former ONE Brands LLC’s Director of Creative
2                      Services): Information relating to the ONE Bar brand relaunch in 2017 in
3                      which the infringing TOUGH COOKIES ONLY phrase was introduced in
4                      September 2017; information relating to ONE Brands LLC’s marketing
5                      activities relating to TOUGH COOKIES ONLY after learning about
6                      TCD’s TOUGH COOKIE trademark application; information relating too
7                      ONE Brands LLC’s marketing activities relating to TOUGH COOKIES
8                      ONLY after TCD litigation commenced on December 23, 2020; and any
9                      other topics discussed in the deposition of said witness.
10                  o Lisa Wells (Former ONE Brands LLC’s Vice President, Marketing):
11                     Information relating to the ONE Bar brand relaunch in 2017 in which the
12                     infringing TOUGH COOKIES ONLY phrase was introduced in
13                     September 2017.
14        •   From Defendant The Hershey Company:
15                  o Kristen Riggs (Hershey’s Senior Vice President, Chief Growth Officer):
16                     Information relating to Hershey’s marketing strategy for ONE Bar’s
17                     Chocolate Chip Cookie Dough and TOUGH COOKIES ONLY mark;
18                     information relating to Hershey’s acquisition of ONE Brands LLC and the
19                     ONE Bar product line; information relating to ONE Brands’ marketing
20                     strategy under Hershey’s relating to the ONE Bar Chocolate Chip Cookie
21                     Dough Flavored Protein Bar; information relating to Hershey’s profits
22                     relating to ONE Brands LLC and the ONE Bar Chocolate Chip Cookie
23                     Dough Flavored Protein Bar.
24                  o James Turoff (Hershey’s Vice President, Acting General Counsel):
25                     Information relating to Hershey’s acquisition of ONE Brands LLC and the
26                     ONE Bar Chocolate Chip Cookie Dough Flavored Protein Bar;
27                     information relating to Hershey’s trademark policy, including trademark
28                     search strategy and infringement prevention; information relating to



                                              4                 CASE NO.: 4:20-CV-09324-KAW
     PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) X INITIAL
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     Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 10 of 130




1                      Hershey’s due diligence on the ONE Brands acquisition, including ONE
2                      Bar’s Chocolate Chip Cookie Dough’s TOUGH COOKIES ONLY mark;
3                      information relating to Hershey’s Intellectual Property policy.
4                   o Jeffrey Lilla (Hershey’s Vice President, Sales Integration): Information
5                      relating to Hershey’s acquisition of ONE Brands LLC and the ONE Bar
6                      Chocolate Chip Cookie Dough Flavored Protein Bar; Information relating
7                      to Hershey’s profits relating to ONE Brands LLC and ONE Bar Chocolate
8                      Chip Cookie Dough Flavored Protein Bar; Information relating to
9                      Hershey’s marketing strategy relating to the ONE Bar Chocolate Chip
10                     Cookie Dough Flavored Protein Bar; information relating to Hershey’s
11                     acquisition of ONE Brands LLC and the ONE Bar Chocolate Chip Cookie
12                     Dough Flavored Protein Bar; information relating to ONE Brands’
13                     marketing strategy of the ONE Bar Chocolate Chip Cookie Dough
14                     Flavored Protein Bar under Hershey; information relating to Hershey’s
15                     due diligence on the ONE Brands acquisition including the ONE Bar
16                     Chocolate Chip Cookie Dough’s TOUGH COOKIES ONLY mark; and
17                     any other topics discussed in the deposition of said witness.
18                  o Kara Zioba (Hershey’s Global IP Manager): Information relating to
19                     Hershey’s initial discovery of TCD’s TOUGH COOKIE® trademark
20                     application on or around January 16, 2020; information relating to when
21                     Hershey disclosed the information to ONE Brands, LLC when it
22                     discovered TCD’s TOUGH COOKIE® trademark application;
23                     information relating to Hershey’s trademark policy, including trademark
24                     search strategy and infringement prevention; information relating to
25                     Hershey’s due diligence on the ONE Brands acquisition, including ONE
26                     Bar’s Chocolate Chip Cookie Dough’s TOUGH COOKIES ONLY mark;
27                     information relating to Hershey’s Intellectual Property policy and ONE
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                                              5                CASE NO.: 4:20-CV-09324-KAW
     PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) X INITIAL
                                       DISCLOSURES
     Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 11 of 130




1                         Brands’ Intellectual Property policy after the Hershey acquisition; and any
2                         other topics discussed in the deposition of said witness.
3              •   Other Third Party Witnesses:
4                     o Stevie Clements (CAVU Ventures Chief Brand Architect): Information
5                         relating to the ONE Bar brand relaunch in 2017 in which the infringing
6                         TOUGH COOKIES ONLY phrase was introduced in September 2017;
7                         and any other topics discussed in the deposition of said witness.
8                     o Jonathan Hyman (Former ONE Brands LLC Trademark/Intellectual
9                         Property Counsel): Information relating to ONE Brands’ trademark filings
10                        prior to the acquisition, trademark searches conducted in 2017-2019, and
11                        diligence disclosures to Hershey during the 2019 Hershey acquisition of
12                        ONE Brands.
13                    o Gail Dosik (Former Owner of One Tough Cookie, Inc.): Information
14                        relating One Tough Cookie Inc.’s trademark registration, and subsequent
15                        retirement and winding down of One Tough Cookic, Inc.
16             •   Any and all other witnesses and people identified in Defendants’ Initial
17                 Disclosures, including as supplemented.
18        2.       Documents (Rule 26(a)(1)(B))
19        TCD may use the following documents to support its claims in this action:
20        •    Representative samples of the packaging and marketing materials (including physical,
21             digital, and online materials) of ONE Protein Chocolate Chip Cookie Dough Protein
22             Bar from 2017 to present;
23        •    Documents produced by TCD to Defendants;
24        •    Documents produced by Defendants to TCD;
25        •    Documents produced by third parties to TCD;
26        •    Documents produced by third parties to Defendants;
27        •    Transcripts and exhibits of depositions taken by TCD;
28        •    Transcripts and exhibits of depositions taken by Defendants;


                                                  6                CASE NO.: 4:20-CV-09324-KAW
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1           •    TCD’s responses to Defendants’ Interrogatories;
2           •    Defendant’s responses to TCD’s Interrogatories;
3           •    Publicly available trademark applications and registrations; and
4           •    Publicly available SEC filings relating to the acquisition of ONE Brands, LLC by
5                Hershey.
6           •    Publicly available data on the marketing of TCD’s TOUGH COOKIE® line of
7                cookies.
8           •    Publicly available data on the marketing of Defendants TOUGH COOKIES ONLY
9                slogan and marketing of related products including but not limited to the ONE® brand
10               CHOCOLATE CHIP COOKIE DOUGH Flavored Protein Bar.
11          3.      Damages. (Rule 26(a)(1)(C))
12          Among the categories of damages that TCD seeks are:
13          1. All profits earned by Defendants from their unlawful actions;
14          2. All damages sustained by TCD as a result of Defendants’ unlawful actions;
15          3. All damages to TCD’s trademark caused by Defendants’ unlawful actions;
16          4. The cost of corrective advertising, or other actions taken to monitor, address and
17               repair the damage to TCD’s trademark resulting from Defendants’ unlawful actions;
18          5. A reasonable royalty for the unlawful use of TCD’s trademark; and
19          6. All costs, including attorneys’ fees, incurred by TCD to stop Defendants’ unlawful
20               actions.
21          It is expected that the calculations of some of these categories of damages will be done
22   through engagement of a damages expert or economist as well as possibly a domain expert on
23   the particular vertical markets in question.
24          4.      Insurance (Rule 26(a)(1)(D))
25          TCD is not aware of any insurance agreement under which any person or entity carrying
26   on an insurance business may be liable to satisfy part or all of a judgment which may be entered
27   in this action or to indemnify or reimburse for payments made to satisfy the judgment.
28



                                                    7               CASE NO.: 4:20-CV-09324-KAW
     PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) X INITIAL
                                       DISCLOSURES
      Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 13 of 130




1                                          Respectfully Submitted by,
2    Dated: April 29, 2022                 SANJIV N. SINGH, A PROFESSIONAL LAW
                                           CORPORATION
3
4                                          /s/ Sanjiv N. Singh
                                           Sanjiv N. Singh
5
     Dated: April 29, 2022                 INDRAJANA LAW GROUP, A PROFESSIONAL
6                                          LAW CORPORATION
7
                                           /s/Michael B. Indrajana
8                                          Michael B. Indrajana

9                                          Attorneys for PLAINTIFF THE COOKIE
                                           DEPARTMENT, INC.
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                                           8                CASE NO.: 4:20-CV-09324-KAW
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                                       DISCLOSURES
      Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 14 of 130




1                                     CERTIFICATE OF SERVICE
2       1. I am over the age of 18 and not a party to this action. I am a resident of or employed in
3           the county where the mailing occurred.
4       2. My residence or business address and my electronic address is:
5           Indrajana Law Group, A PLC
6           1650 S. Amphlett Blvd. Suite 220
            San Mateo, CA 94402
7
        3. I electronically served the following document:
8
            Plaintiff The Cookie Department Inc.’s Amended Supplemental Rule 26(A)(1) Initial
9
            Disclosures.
10
        4. I electronically served the document listed in No.3 on April 29, 2022 to the following
11
            persons through their listed email address as follows:
12
                RILEY SAFER HOLMES & CANCILA LLP
13              Keyonn Pope (kpope@rshc-law.com)
14              Monique Howery (mhowery@rshc-law.com)
                Rachel Sifuentes (rsifuentes@rshc-law.com)
15              Andrew Wu (awu@rshc-law.com)
                Edgar Matias (ematias@rshc-law.com)
16
                Attorneys for Defendants THE HERSHEY COMPANY and ONE BRANDS, LLC
17
18
            I declare under penalty of perjury under the laws of the State of California that the
19
     foregoing is true and correct.
20
21   Date: April 29, 2022                                 /s/Michael B. Indrajana
                                                          Michael B. Indrajana
22
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                                                  9                  CASE NO.: 4:20-CV-09324-KAW
     PLAINTIFF THE COOKIE DEPARTMENT INC.’S AMENDED SUPPLEMENTAL RULE 26(A)(1) X INITIAL
                                       DISCLOSURES
Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 15 of 130




                     Exhibit B
Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 16 of 130
         AKIVA RESNIKOFF - HIGHLY CONFIDENTIAL - A.E.O. - April 28, 2022

                                                          1                                                                 3
 1           UNITED STATES DISTRICT COURT                      1            EXHIBITS
 2           NORTHERN DISTRICT OF CALIFORNIA                   2            (CONTINUED)
 3               OAKLAND DIVISION
 4   THE COOKIE DEPARTMENT, INC., ) Case No.
                                                               3   DEPOSITION NO.                           PAGE
                                                               4
     a California Corporation,    ) 4:20-cv-09324-KAW
 5                      )                                      5   Exhibit 7 PowerPoint Slide Deck "The Cookie 111
             Plaintiff,     )                                  6          Department"
 6                      )
         vs.              )
                                                               7   Exhibit 8 17-page production by Plaintiff     127
 7                      )                                      8          on 4/28/22
     THE HERSHEY COMPANY, a Delaware ) Volume I                9   Exhibit 9 Wayback Machine printout 10/21         133
 8   Corporation, ONE BRANDS, LLC, a )                        10   Exhibit 10 Article "The Cottage Industry of    141
     Foreign Limited Liability    )
 9   Company, AND DOES 1 TO 50, )
                                                              11          High-Energy Food . . ." (2 pages)
     INCLUSIVE,                 )                             12   Exhibit 11 1/29/12 USPTA Prosecution History 147
10                      )                                     13          printout for Tough Cookie
             Defendants.      )
11   ________________________________) Pages 1 - 278
                                                              14   Exhibit 12 10/22/18 USPTO Prosecution History
12                                                            15          printout for Tough Cookie          184
13      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY            16   Exhibit 13 Text Messages (TCD 018245-47)          205
14      VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF              17   Exhibit 14 Text Messages (1 page)            211
15           AKIVA RESNIKOFF
16           APRIL 28, 2022
                                                              18   Exhibit 15 10/11/18 Article: "The Cookie       225
17                                                            19          Department: Healthy Treats . . ."
18                                                            20   Exhibit 16 Review for investment round         229
19   Reported by:                                             21          (12 pages)
20   TARA SANDFORD, RPR, CSR #3374
21   ------------------------------------------------------
                                                              22   Exhibit 17 2019 TCD Balance Sheet             237
22               JAN BROWN & ASSOCIATES                       23   Exhibit 18 2020 TCD Balance Sheet             239
23      WORLDWIDE DEPOSITION & VIDEOGRAPHY SERVICES           24   Exhibit 19 Excel document - 2012-2019
24   701 Battery St., 3rd Floor, San Francisco, CA 94111
25          (415) 981-3498 or (800) 522-7096
                                                              25          Individual Cookies Sales          249


                                                          2                                                                 4
                                                               1
 1                  INDEX                                                   BE IT REMEMBERED that, pursuant to Notice
                                                               2
 2                                    PAGE                         of Deposition, on Thursday, April 28, 2022, commencing
                                                               3
 3    Examination by Mr. Pope                        7             at the hour of 9:02 a.m. PST, via Zoom, before me, Tara
                                                               4
 4    Examination by Mr. Singh                      262            Sandford, a certified shorthand reporter in the State of
                                                               5
 5    Reporter's Certificate                  278                  California, there personally appeared
 6                                                             6

 7                                                             7               AKIVA RESNIKOFF,
                                                               8
 8                 EXHIBITS
                                                               9
 9    DEPOSITION NO.                           PAGE                called as a witness by the Defendants, who being by me
                                                              10
10    Exhibit 1 Defendant's The Hershey Company       13           first duly sworn, was thereupon examined and
                                                              11
11           And ONE Brands LLC's Notice of                        interrogated as is hereinafter set forth.
                                                              12
12           Rule 30(b)(6) Deposition of
                                                              13
13           Plaintiff The Cookie Department
                                                              14
14    Exhibit 2 Defendant's The Hershey Company       17
                                                              15
15           and ONE Brands LLC's Amended
                                                              16
16           Notice of Rule 30(b)(1) and
                                                              17
17           30(b)(6)Deposition
                                                              18
18           of Plaintiff The Cookie Department
                                                              19
19    Exhibit 3 Resnikoff's LinkedIn Profile      50
                                                              20
20    Exhibit 4 California Secretary of State     66
                                                              21
21           Printout re The Cookie Department
                                                              22
22    Exhibit 5 California Secretary of State     84
                                                              23
23           Printout re The Cookie Department
                                                              24
24    Exhibit 6 1/31/22 California Secretary of    87
                                                              25
25           State Printout re The Cookie Department

                                                                                               1 (Pages 1 to 4)
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                                                                                5                                                                      7
              1                 APPEARANCES                                         09:02    1   for plaintiff, The Cookie Department.
              2                                                                              2         THE VIDEOGRAPHER: Thank you.
              3                                                                              3         If there are no stipulations, the court
              4            SANJIV N. SINGH, Attorney at Law, of SANJIV N.                    4   reporter may swear in the witness.
              5      SINGH, A PROFESSIONAL LAW CORPORATION, 1650 South              09:03    5
              6      Amphlett Boulevard, Suite 220, San Mateo, California,                   6                AKIVA RESNIKOFF,
              7      94402, appeared as counsel on behalf of the Plaintiff                   7          having been duly sworn by the reporter,
              8      Tel: 650.389.2255                                                       8              testified as follows:
              9      Email: ssingh@sanjivnsingh.com                                          9
             10                                                                     09:03   10                  EXAMINATION
             11            MICHAEL B. INDRAJANA, Attorney at Law, of the                    11   BY MR. POPE:
             12      INDRAJANA LAW GROUP, 1650 South Amphlett Boulevard,                    12      Q. Good morning, Mr. Resnikoff.
             13      Suite 220, San Mateo, California 94402, appeared as                    13      A. Good morning, Mr. Pope.
             14      counsel for Plaintiff.                                                 14      Q. Thank you for being here. Just to orient, I
             15      Tel: 650.597.0928                                              09:03   15   wanted to just start with some deposition basics and
             16      Email: michael@indrajana.com                                           16   ground rules.
             17                                                                             17         Have you ever been deposed before in the past?
             18            KEYONN L. POPE, Attorney at Law, of RILEY,                       18      A. I have not.
             19      SAFER, HOLMES & CANCILA, LLP, 70 West Madison Street,                  19      Q. Have you been a party to a lawsuit in the past?
             20      Suite 2900, Chicago, Illinois 60602, appeared as counsel       09:03   20      A. No.
             21      on behalf of the Defendants.                                           21      Q. So depositions are, while they might feel
             22      Tel: 312.471.8700                                                      22   conversational, are a bit different than conversations.
             23      Email: kpope@rshc-law.com                                              23   I'm sure your counsel has already gone over this with
             24                                                                             24   you, so forgive me if I'm being a bit redundant, but it
             25      Also Present: O'Bryant Muralles, Videographer                  09:03   25   is sort of formality.


                                                                                6                                                                      8
         1          SAN MATEO, CALIFORNIA - THURSDAY, APRIL 28, 2022                09:03    1          But very different than typical conversation.
         2                       9:02 A.M. PST                                               2   It is essentially sworn testimony just as if you were in
         3                     PROCEEDINGS                                                   3   court. So, you know, answer truthfully. And we don't
         4                                                                                   4   want you to speculate. If there is something that you
07:44    5             THE VIDEOGRAPHER: We are going on the record.                09:04    5   don't know, you should say that. There might be times
         6        This starts the beginning of the video-recorded                            6   where you don't know and I will try to refresh your
         7        deposition of Akiva Resnikoff, taken in the matter of                      7   recollection by showing you documents or be it other
         8        The Cookie Department versus the Hershey Company, in the                   8   means or I might ask you to try to narrow it in so you
         9        United States Northern District Court of California for                    9   might not know down to the penny what amount is in an
09:02   10        Oakland Division. This is Case Number                             09:04   10   account, but is it more or less than this, is it between
        11        4:20-cv-09324-KAW.                                                        11   these numbers, that kind of thing.
        12             Today's date is April the 28th, 2022, and the                        12          The court reporter is probably the most
        13        time is 9:02 a.m.                                                         13   important person here, is capturing everything that
        14             This deposition is being held remotely via                           14   we're saying. And so, again, in conversation we often
09:02   15        Zoom. The videographer is O'Bryant Muralles of Jan                09:04   15   will interpose statements as one another are talking
        16        Brown & Associates, and the court reporter is Tara                        16   just because that's the way we interact as humans. But
        17        Sandford, also from Jan Brown & Associates.                               17   here I'll try to be mindful of it, and ask you to do the
        18             Could counsel please identify themselves and                         18   same so that we won't talk over one another.
        19        state who you represent.                                                  19          And doing that will lend itself to our court
09:02   20             MR. POPE: Keyonn Pope on behalf of the                       09:05   20   reporter being able to neatly capture everything that's
        21        defendants, the Hershey Company and ONE Brands.                           21   said during -- during our time together.
        22             MR. SINGH: Sanjiv Singh representing                                 22          There might be times where Mr. Singh may
        23        plaintiff, The Cookie Department, also the witness Akiva                  23   interpose objections. A good practice is to just take a
        24        Resnikoff.                                                                24   beat before responding to my question to give him a
09:02   25             MR. INDRAJANA: Michael Indrajana, appearing                  09:05   25   second to get in any objections that he might have

                                                                                                                               2 (Pages 5 to 8)
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                                                                       9                                                                     11
09:05    1     before you start answering. Again, that just lends          09:08    1   question, sort of, rule, if you will, and that's if
         2     itself to a cleaner record.                                          2   there is an issue of privilege. If your -- if your
         3            Also, while this is captured via video, we rely               3   counsel raises an issue of privilege or if you on your
         4     heavily on the transcript that's being captured by our               4   own think oh, boy, something I'm being asked about could
09:06    5     court reporter. So obviously, I can see you nodding         09:08    5   creep into privilege territory and you need to have an
         6     your head and making other inaudible gestures, right, if             6   offline with your counsel, you can always say that and
         7     you were to do those and I would clearly understand.                 7   we'll break no matter if there is a pending question.
         8            But, again, for purposes of ensuring we have a                8      A. Okay.
         9     clean record, we'll need -- ask you to respond audibly.              9      Q. Okay? Any -- any reason -- you mentioned the
09:06   10     And also, I know we use colloquialism, uh-huh, uh-uh        09:08   10   back pain. Is that something that would prevent you
        11     and, again, I understand it perfectly, but for purposes             11   from proceeding with today's deposition and providing
        12     of the record, we'll need fulsome responses as opposed              12   truthful testimony?
        13     to some of those colloquialisms. All clear so far?                  13      A. Absolutely not.
        14        A. 100 percent.                                                  14      Q. Okay. Any other reasons that you might not be
09:06   15            MR. SINGH: Mr. Pope, may I interject                 09:09   15   able to proceed today and provide truthful testimony?
        16     respectfully for two things logistical. We sent you                 16      A. No.
        17     just this morning about 20 pages of documents that we               17      Q. Just for example, illness or you're under -- on
        18     came across during preparation so that you can have them            18   medication or anything of the like?
        19     for questioning today. They will be part of an official             19      A. No.
09:06   20     supplemental production tomorrow, just FYI. They should     09:09   20      Q. Okay. All good.
        21     be in your group's email box as of right now.                       21         So when did you first learn you would be
        22            And, number two, we will designate this                      22   deposed, Mr. Resnikoff?
        23     deposition provisionally highly confidential, attorney's            23      A. It was when I received the subpoena. I believe
        24     eyes only, similar to the manner in which you have.                 24   it was two or three months ago. I'm not exactly aware
09:07   25     However, we will then be designating the appropriate        09:09   25   of the exact date.


                                                                     10                                                                      12
09:07    1      portions thereafter.                                       09:09    1       Q. Okay. But roughly, two to three months ago?
         2             MR. POPE: Fantastic. Thank you.                              2       A. Roughly.
         3             THE WITNESS: May I ask a question?                           3       Q. Okay. And how -- how did you learn that you
         4             MR. POPE: Sure.                                              4   would be deposed?
09:07    5             THE WITNESS: Sanjiv, did you mention about          09:09    5          MR. SINGH: I am going to caution the witness
         6      my --                                                               6   to not disclose privileged information. To the extent
         7             MR. SINGH: Hold on. If you need to consult                   7   that you can answer that without disclosing privileged
         8      with me privately -- oh, yeah, I know what he's                     8   information, please go ahead and do so.
         9      referring to.                                                       9          THE WITNESS: Yes. If -- if I disclosed -- I
09:07   10             Akiva has chronic back issues, so he'll need to     09:10   10   can't say just based on privileged information.
        11      take a break about once every hour. I told him, without            11       Q. BY MR. POPE: Okay. Let me -- and your counsel
        12      waiving privilege, that's typically where we're at                 12   may respond to this, and he should. But typically
        13      anyway. Just FYI. We will try to be a little more                  13   privilege doesn't -- it includes the substance of
        14      meticulous about it in his case just so we don't have a            14   communications that you had with your counsel and not
09:07   15      flare-up of back pain or anything like that.               09:10   15   necessarily that you communicated with your counsel.
        16             MR. POPE: Absolutely, which is a great segue.               16       A. Can you repeat the question?
        17      That is where I was going next anyway.                             17       Q. How did you learn that you would be deposed?
        18         Q. I was going to say that we typically try to                  18          MR. SINGH: I'm just going to caution the
        19      take breaks on the hour. But Mr. Resnikoff, of course,             19   witness not to disclose privileged communication.
09:07   20      if there is a time you need a break sooner than that, by   09:10   20   Keyonn, if you are looking for him just to acknowledge
        21      all means say so and we'll take a break.                           21   it came from counsel, as long as there is no waiver of
        22             The only caveat there is to the extent there is             22   privilege that you are going to try to argue based on
        23      a pending question, we would ask that you answer the               23   that, I am fine with having him answer that.
        24      question before we -- before we go on break.                       24          MR. POPE: I don't -- yes, that's what I'm
09:08   25             There is one exception to that pending              09:10   25   angling at.


                                                                                                                    3 (Pages 9 to 12)
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                                                                   13                                                                      15
09:10    1        Q. Did it come from counsel?                            09:13    1   30(b)(6) deposition to be taken by Hershey and ONE and
         2           MR. SINGH: You can go ahead and answer.                       2   we would examine plaintiff The Cookie Department, Inc.
         3           THE WITNESS: Yes, it came from counsel.                       3   Or TCD on April 4, 2022, at 9:00 a.m.
         4        Q. BY MR. POPE: And what's your understanding of                 4          Do you see that?
09:11    5     the purpose of today's deposition?                         09:13    5       A. Yes.
         6        A. To hear my side of the story.                                 6       Q. Obviously, I will show you the amended one. It
         7           MR. POPE: Okay. Let me share our first                        7   is often the case that these are served. Dates are kind
         8     exhibit.                                                            8   of proposed and those dates shift around, which has
         9           (Whereupon, Exhibit 1 was marked                              9   happened here. But this was the original. This was the
09:11   10            for identification by the Court Reporter            09:14   10   original notice. You can see that was served on
        11            and attached hereto.)                                       11   February 10, 2022; right?
        12           MR. POPE: I just dropped an exhibit into the                 12          Is that February 10, 2022, consistent with
        13     chat. It should be Exhibit Number 1. I will also share             13   about the time that you recall getting notice?
        14     my screen here.                                                    14       A. That is correct.
09:11   15        Q. Mr. Resnikoff, it is totally your choice. Our        09:14   15       Q. Okay. And it goes down and provides a ton of
        16     practice has been, for most witnesses anyway, to -- some           16   definitions and instructions. I can go through these.
        17     witnesses prefer to view the share screen. Others                  17   It's painful, but I can scroll through these as slowly
        18     prefer to actually download the document from the chat             18   or as fast as you want.
        19     and scroll through it at their own pace as they see fit.           19          I'll tell you what I'm angling at. Under these
09:12   20           Do you have a preference?                            09:14   20   definitions and instructions are a list of topics which
        21        A. Share screen is better for me.                               21   you likely have already seen. But that's really where I
        22        Q. Okay.                                                        22   want to spend our time. So I will scroll through these.
        23           MR. SINGH: And, Keyonn, what we'll do is if we               23   Again, tell me if I'm going too fast or too slow.
        24     think it's easier, we will ask you for, you know, on a             24          And then we come to the topics that I
09:12   25     particular exhibit to give him time to download.           09:15   25   mentioned. And does this -- I know you can only see the


                                                                   14                                                                      16
09:12    1            THE WITNESS: Can it be bigger?                      09:15    1   first five. But does this list of topics, at least what
         2        Q. BY MR. POPE: Yeah, I'll blow it up.                           2   you can see, look familiar?
         3            Is that okay?                                                3      A. Yes.
         4        A. That's perfect.                                               4      Q. Is it your understanding that you are
09:12    5        Q. Certainly, I will scroll through -- my practice      09:15    5   designated on certain topics here, in particular from
         6     will be to scroll through these. I will try to pick a               6   what we can see here, Topics 1, 2 and 3?
         7     speed that is reasonable, but, certainly, if I am going             7      A. Yes.
         8     too fast or not fast enough, you can say that, and I                8      Q. Okay. And then you are not designated on
         9     will adjust accordingly.                                            9   Topics 4 and 5 which relate to revenues and other
09:12   10            I am sticking in front of you Exhibit Number 1,     09:16   10   financial related topics for The Cookie Department.
        11     which you will see is titled "Defendant's The Hershey              11          But then I believe you're designated on the
        12     Company And ONE Brands LLC's Notice of Rule 30(b)(6)               12   balance of the topics, so Topics 6 through 35. And I'll
        13     Deposition of Plaintiff The Cookie Department."                    13   give a minute so that you can peruse, if you need to.
        14            Do you see that?                                            14      A. Yep.
09:13   15        A. Yes.                                                 09:16   15          MR. SINGH: Mr. Pope, just for clarification,
        16        Q. Does this, at least this portion of the                      16   your office sent us an amended notice yesterday. We
        17     document, look familiar?                                           17   assumed the only substantive amendment on that notice
        18        A. Yes.                                                         18   was regarding the date and location and platform and not
        19        Q. Was this what you were referring to earlier                  19   anything in the topics; correct?
09:13   20     when you referenced the subpoena, having received the      09:16   20          MR. POPE: That's correct. That's where I'm
        21     subpoena?                                                          21   heading next is to put that one up and confirm the same.
        22        A. That is correct.                                             22          MR. SINGH: Thank you.
        23        Q. Okay. I am just going to scroll through and                  23          THE WITNESS: Yes.
        24     again, let me know if I am going too fast or too slow,             24      Q. BY MR. POPE: Mr. Resnikoff, that was a "yes"
09:13   25     but it talks about, you know -- again, it references the   09:16   25   for Topics 10 through 15?

                                                                                                                 4 (Pages 13 to 16)
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                                                                   17                                                                     19
09:17    1         A. Yes.                                               09:20    1   take the deposition of an individual in their personal
         2         Q. Now 16 through 22.                                          2   capacity. So just based on whatever you know.
         3         A. Yes.                                                        3         Does that make sense?
         4         Q. Okay. And 23 through 27.                                    4      A. (Nods head affirmatively.)
09:17    5         A. Yes.                                               09:20    5      Q. So your counsel and I have -- I saw you shake
         6         Q. This should be the balance, 28 through 35.                  6   your head. I understood it, but I want to make sure
         7         A. Yes.                                                        7   that the court reporter captures it, Mr. Resnikoff.
         8         Q. Just to recap, are you designated on Topics                 8         Does that make sense what I described about the
         9      1 through 3?                                                      9   Rule 30(b)(1)?
09:18   10         A. Yes.                                               09:20   10      A. Yes.
        11         Q. And also Topics 6 through 35?                              11         MR. SINGH: And I'll just note for the record,
        12         A. That is correct.                                           12   we noted the absence of the reference to 30(b)(1). We
        13         Q. Are you prepared to testify -- do you possess              13   are not going to make hay of it. We know that it is
        14      the knowledge to testify on each of these topics?                14   fair and reasonable for you to depose him as a 30(b)(1)
09:18   15         A. I do.                                              09:21   15   witness and a 30(b)(6) in the same way we did your
        16            MR. POPE: Mr. Singh, I saw you gesture.                    16   witnesses, so we obviously expected you to be deposing
        17            MR. SINGH: That's fine. It was the way you                 17   him as a 30 (b)(1) witness.
        18      worded it, but it doesn't matter.                                18         MR. POPE: I think in the original notice, at
        19            MR. POPE: Okay. I am going to stop sharing                 19   that point I don't know that we had reached an agreement
09:18   20      and put up the amended notice which we have had some     09:21   20   on that.
        21      discussion about.                                                21         MR. SINGH: There will be no controversy from
        22            (Whereupon, Exhibit 2 was marked                           22   us on that. He is prepared to go as both.
        23             for identification by the Court Reporter                  23         MR. POPE: Fantastic.
        24             and attached hereto.)                                     24      Q. I am going to scroll through in a similar
09:19   25         Q. BY MR. POPE: Okay, Mr. Resnikoff, I have put       09:21   25   manner, Mr. Resnikoff. And you probably heard me and


                                                                   18                                                                     20
09:19    1     up another document that is formatted very similarly to   09:21    1   Mr. Singh already discuss that this document, Exhibit 2,
         2     Exhibit 1. We will call this one Exhibit 2.                        2   is for all intents and purposes the same as Exhibit 1.
         3           You will see here the title is slightly                      3   The only changes are this caption here that we just
         4     different. "Defendants The Hershey Company and ONE                 4   talked about and then the time; right?
09:19    5     Brands, LLC, Amended Notice of Rule 30(b)(1) and          09:22    5          I think before Exhibit 1 reflected April 4.
         6     30(b)(6) Deposition of Akiva Resnikoff."                           6   Now, as normal in cases like this, there is some
         7           Do you see that?                                             7   rejiggering of dates and times and even locations
         8        A. I do.                                                        8   required. We landed on today, April 28, which is
         9        Q. Does this portion of the document look similar               9   reflected here and a start time of 9:00 a.m. Pacific.
09:19   10     to something you've seen before?                          09:22   10          And again, same topics you are designated on,
        11        A. Yes.                                                        11   Topics 1 through 3 and Topics 6 through 35. And then
        12        Q. Okay. Just to explain a bit, I think the prior              12   also noting that we will also have leave to inquire and
        13     Exhibit 1 only referenced 30(b)(6) deposition. And                13   examine you in your personal capacity, as well.
        14     without boring you, that -- that is a rule under which            14          Does that make sense?
09:20   15     we're allowed to take depositions of entities or          09:22   15       A. Yes, it does.
        16     companies; right?                                                 16       Q. Okay. And then this was served yesterday, so
        17        A. Uh-huh.
                                                                                 17   April 27, the date. And I'll scroll again. Same drill
        18        Q. And the topics that we talked about 1 through 3
                                                                                 18   here, some boring definitions and instructions. And
        19     and 6 through 35 are the topics on which we -- you're
                                                                                 19   I'll represent to you that these are the same
09:20   20     designated for purposes of our inquiry for The Cookie
                                                                         09:23   20   definitions and instructions that you saw in the prior
        21     Department.
                                                                                 21   exhibit. I'll scroll.
        22           Does that make sense?
                                                                                 22          And then as we come to the end of the
        23        A. Yes.
                                                                                 23   instructions and definitions section near the bottom of
        24        Q. Okay. And this reference to 30(b)(1) is,
                                                                                 24   page 4 of the documents, that begins the topics. And
09:20   25     again, without boring you, is a rule that allows us to
                                                                         09:23   25   again, I'll scroll, but I'll represent to you that we've


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                                                                  21                                                                    23
09:23    1     made no changes to these topics. They're the same as      09:27    1     Q. Okay. Say it -- it was with an L; right?
         2     the ones that you reviewed on Exhibit 1.                           2     A. Limprecht.
         3           So again, you are designated on Topics                       3     Q. Okay. We will figure it out on a break.
         4     1 through 3. You're not designated on 4 and 5. But you             4         Does Miss Limprecht, does she work for a
09:23    5     are also designated from 6 through 35.                    09:27    5   company?
         6           Again, this was served yesterday.                            6     A. Yes. At the time of discovery she was working
         7           Does this -- are you familiar with this                      7   for a company called Tax Force, Inc.
         8     document, Mr. Resnikoff? Let me rephrase that.                     8     Q. Has that changed now?
         9           Have you seen this document?                                 9     A. Yes.
09:24   10        A. Yes.                                                09:27   10     Q. Who does she work for now?
        11        Q. Okay. When did you begin preparing for your                 11     A. She owns her own business called PrimeTime
        12     deposition?                                                       12   Bookkeeping. I can get you more information on her.
        13        A. I was part of the -- heavily part of the                    13     Q. Was Miss Limprecht -- is she your only
        14     discovery process preparing documents for that process.           14   bookkeeper?
09:24   15     And so ultimately, you know, when submitting, you know,   09:28   15     A. She is my only bookkeeper at this time.
        16     key documents, I was in observance of all of those                16     Q. Have there been past bookkeepers?
        17     documents and assumed that I would be deposed.                    17     A. Tax Force, Inc., formerly Profit Trackers.
        18           So in addition to that, I've spent the last                 18         MR. SINGH: Mr. Pope and Madam Court Reporter
        19     week and a half, approximately, on reviewing all of the           19   and O'Bryant, does Mr. Resnikoff's voice seem a little
09:25   20     documents, re-reviewing all of the documents as far as    09:28   20   soft to you? Are you able to hear him?
        21     the topics are concerned.                                         21         MR. POPE: I can hear him fine.
        22        Q. Okay. Let's -- let's unpack that a little bit.              22         MR. SINGH: Okay. And on the video it's
        23     When you talk about your involvement in the discovery             23   projecting -- okay.
        24     process, can you be more specific? What role did you              24         Oh, you know what it is? I think my volume is
09:25   25     play?                                                     09:28   25   down so as to minimize feedback since my office is


                                                                  22                                                                    24
09:25    1           MR. SINGH: I am just going to caution the           09:28    1   adjacent to the conference room. Okay, that's fine.
         2     witness, as you give your answer, please do not include            2      Q. BY MR. POPE: Okay. Okay. So, Mr. Resnikoff,
         3     references to "my attorney told me this," et cetera, et            3   I think you mentioned that Profit Tracker was your
         4     cetera. Just describe what you did without describing              4   prior -- one of your prior bookkeepers?
09:25    5     attorney-client communications, please.                   09:29    5      A. That is correct.
         6           THE WITNESS: I downloaded documents, emails,                 6      Q. During what time period was Profit Tracker your
         7     pdf's for the discovery process.                                   7   bookkeeper? Go ahead and answer. Sorry.
         8        Q. BY MR. POPE: Okay. Anything else that you did                8      A. I believe dating back to 2011, 2012, and that
         9     during the discovery process?                                      9   ended at the end of 2021.
09:26   10        A. No.                                                 09:29   10      Q. Profit Tracker was The Cookie Department's
        11        Q. Were there other non-attorneys involved in the              11   bookkeeper; right?
        12     discovery process?                                                12      A. That is accurate.
        13           MR. SINGH: Object to form.                                  13      Q. That might sound like a silly question, and I
        14           You can go ahead and answer.                                14   understood it that way, but I just wanted to make it
09:26   15           THE WITNESS: Not that I recall.                     09:30   15   clear for the record that you weren't saying Profit
        16        Q. BY MR. POPE: So you were the only -- aside                  16   Tracker was your personal bookkeeper as opposed to The
        17     from your counsel, you were the only person involved in           17   Cookie Department's.
        18     the discovery process?                                            18      A. That is accurate.
        19        A. Oh. I'm sorry. Let me rephrase. My                          19      Q. So approximately, 2011 -- or 2012, and that
09:26   20     bookkeepers supplied spreadsheets.                        09:30   20   relationship ended in 2021?
        21        Q. Okay. Who are your bookkeepers?                             21      A. That is correct, for bookkeeping, yes.
        22        A. Currently, Kathryn Limprecht.                               22      Q. Okay. Did Profit Tracker perform other
        23        Q. Can you spell that for us?                                  23   functions for The Cookie Department?
        24        A. K-A-T-H -- K-A-T-H-R-Y-N. I don't have the                  24      A. Yes.
09:27   25     spelling of her last name on me at this moment.           09:30   25      Q. What other functions?

                                                                                                               6 (Pages 21 to 24)
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                                                                   25                                                                    27
09:30    1        A. Tax preparing.                                      09:34    1      A. She overlooks all the finances.
         2        Q. Any others?                                                  2      Q. Can you -- can you be more specific about her
         3        A. No.                                                          3   involvement in discovery?
         4        Q. During what time period did Profit Tracker                   4      A. I believe she may have reviewed -- I think she
09:30    5     provide tax preparation services for The Cookie           09:34    5   worked with -- I believe, if I remember correctly, she
         6     Department?                                                        6   worked with -- directly with Kathryn and -- on -- on
         7        A. Since the beginning, 2011, 2012, approximately,              7   submitting documents.
         8     to present.                                                        8         MR. SINGH: Mr. Pope, just for clarity of the
         9        Q. Just to be clear, the relationship with Profit               9   record, when you are referring to discovery, are you
09:31   10     Tracker ended only with respect to bookkeeping in 2021?   09:35   10   referring to his preparation for the deposition or
        11        A. That correct.                                               11   discovery, i.e., producing documents?
        12        Q. They continue -- "they" being Profit Tracker                12         MR. POPE: I'm using the words that
        13     continues to provide tax preparation services for The             13   Mr. Resnikoff used.
        14     Cookie Department?                                                14         MR. SINGH: Okay, okay.
09:31   15        A. That is true.                                       09:35   15      Q. BY MR. POPE: Any other -- any other
        16        Q. You mentioned since the beginning. And then I               16   individuals involved in discovery, Mr. Resnikoff?
        17     think you gave the 2011, 2012 time frame. What were you           17      A. No.
        18     referencing being the beginning of?                               18      Q. Any other companies or entities involved in
        19        A. I'm sorry. I actually started the company in                19   discovery?
09:31   20     2009.                                                     09:35   20      A. No.
        21        Q. What was your "since the beginning" reference?              21      Q. How -- how many hours would you say you spent
        22        A. It was -- it was just a time frame thing. A                 22   preparing for today's deposition?
        23     misstep on wording.                                               23      A. I would venture to guess about 100 -- 110, 120.
        24        Q. Okay. Who handled your bookkeeping in 2009?                 24      Q. And is that including the time that you
09:32   25        A. I handled it.                                       09:36   25   described spent on discovery?


                                                                   26                                                                    28
09:32    1        Q. The same in 2010?                                   09:36    1      A. Yes.
         2        A. Correct.                                                     2      Q. Okay. If you take that out, what would you be
         3        Q. Then you eventually hired Profit Tracker in                  3   left with?
         4     2011?                                                              4      A. I would venture to say about 20 or 30 hours.
09:32    5        A. Roughly, yes.                                       09:36    5      Q. If you had to break down that 20 to 30 hours,
         6        Q. What was the motivation for hiring Profit                    6   how much of it was spent meeting with your counsel?
         7     Tracker to handle the bookkeeping?                                 7      A. About 20.
         8        A. It was -- I decided -- we decided to                         8      Q. You said 20 to 30 hours, and 20 of it was spent
         9     incorporate, and at the time sales were starting to                9   meeting with counsel, which leaves, roughly, 10 hours,
09:32   10     grow, and I felt it was necessary to become grownups.     09:37   10   give or take.
        11        Q. Okay. So prior to 2011 you were not                         11         Would you agree?
        12     incorporated?                                                     12      A. Yes.
        13        A. I had an LLC.                                               13         MR. SINGH: Object to form.
        14        Q. Okay. Is it safe to assume in 2009 and 2010,                14      Q. BY MR. POPE: So how would you describe -- how
09:33   15     you also did your own tax preparation, as well?           09:37   15   would you categorize the way you spent the remaining 10
        16        A. Yes, I believe so.                                          16   or so hours?
        17        Q. And same motivation for hiring Profit Tracker               17      A. Reviewing documents.
        18     to take over the tax prep?                                        18      Q. Okay. What -- what documents did you review?
        19        A. That is accurate.                                           19      A. I reviewed the interrogatories, the topics on
09:33   20        Q. Aside from Miss Limprecht's involvement in          09:38   20   the subpoena.
        21     discovery, any others? Any other entities or people               21      Q. Did you review any other documents?
        22     involved?                                                         22         Mr. Resnikoff, I see you looking down.
        23        A. Andrea Kirschner, my CFO.                                   23         Do you have notes?
        24        Q. Okay. And what was the nature of her                        24      A. I have images.
09:34   25     involvement?                                              09:38   25      Q. What kind of images?


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                                                                    29                                                                    31
                                                                          09:41    1
09:38    1        A. I have packages.                                                  assistance on this.
         2        Q. Do you have any -- any notes?                                 2         THE VIDEOGRAPHER: The time is 9:41 a.m. and we
                                                                                   3
         3        A. I have the subpoena.                                              are now off the record.
         4        Q. Any other notes?                                              4         (Recess taken 9:41 a.m. to 10:04 a.m.)
                                                                          10:04    5
09:38    5        A. I do. I have the ingredients -- former                                  THE VIDEOGRAPHER: The time is 10:04 a.m. and
                                                                                   6
         6     ingredients of our product.                                             we are now back on the record.
         7        Q. Anything else?                                                7         MR. POPE: Thank you.
                                                                                   8
         8        A. I have some financials in front of me.                                  THE WITNESS: Keyonn, I just wanted to go back
         9        Q. Anything else?                                                9   on the record, if I may, and go back to that question
                                                                          10:04   10
09:39   10        A. I have my prep notes.                                             where you asked me about the amount of time I reviewed
        11        Q. Okay. Are those handwritten notes?                           11   documents.
                                                                                  12
        12        A. Typed.                                                               Q. BY MR. POPE: Sure.
        13        Q. Okay. When did you -- when did you prepare                   13      A. I did, after mulling it over, I did spend
        14     those?                                                             14   closer to about 40 hours on reviewing documents between
                                                                          10:05   15
09:39   15        A. I prepared those during my deposition prep.                       the review on discovery, as well as taking detailed
        16            MR. POPE: Okay. Mr. Singh, we can take this                 16   notes, as well, on my own personal time, that is.
        17     offline, but I think we have a right to those notes.               17      Q. Okay. I appreciate that clarification.
        18            MR. SINGH: You absolutely do. How would you                 18         I think I had asked you a question when you
        19     like to handle it? I can tell you that some of them                19   gave the 20- to 30-hour -- you initially gave a 20- to
09:39   20     were part of what we sent you this morning; for example,   10:05   20   30-hour estimate; right?
        21     the package image was sent to you this morning.                    21      A. Right.
        22            We can quickly pause. I can get Michael to                  22      Q. I think I asked you about how that 20 to 30
        23     facilitate taking a picture. We did not control what he            23   hours broke down. You said originally that, roughly --
        24     was going to have with him, so I just learned this                 24   roughly, 20 hours of that you spent meeting with
09:40   25     myself. So, I can -- and you are absolutely correct, if    10:05   25   counsel?


                                                                    30                                                                    32
09:40    1     we were in an in-person depo, you would probably pause     10:05    1      A. Yes.
         2     the depo and say, I would like a copy of that, et                   2      Q. Is that still the case?
         3     cetera, et cetera.                                                  3      A. Yes, yes.
         4            Would you like us to pause and provide you                   4      Q. Okay. And then I think you mentioned that 10
09:40    5     copies? We can probably do it in five, 10 minutes.         10:05    5   hours you spent reviewing documents.
         6            MR. POPE: Let's -- let's do that. Just --                    6         Is that still the case?
         7     just to be clear on the record, I don't -- obviously, I             7      A. No, no. I mean 40 hours of my own time
         8     am handicapped. I don't know what he has; right? But                8   reviewing documents through the discovery process,
         9     you know --                                                         9   right, and reviewing what I was submitting, as well as
09:40   10            MR. SINGH: We can have him -- we can have him       10:06   10   taking pretty detailed notes on my own time.
        11     hold up right now. I'm not in the room he is in. And               11      Q. Okay. I want to make sure I'm following you.
        12     quite deliberately, so for various reasons, including              12      A. 20 hours -- 20 hours with -- with counsel.
        13     health reasons.                                                    13      Q. Okay.
        14            How would you like to handle it? It is all                  14      A. And roughly about 40 hours of my own time
09:40   15     yours. The stage is yours. You tell us what would make     10:06   15   reviewing documents and taking notes, and as well as
        16     you comfortable.                                                   16   taking notes and preparing with counsel.
        17            MR. POPE: No. I guess I am just going to be                 17      Q. Okay. So give me the aggregate number of hours
        18     looking for some type of attestation that we are getting           18   you spent total on preparing for today?
        19     everything because I have no way of knowing that.                  19      A. Roughly, 60 hours.
09:41   20            MR. SINGH: Sure. Obviously, we will have            10:06   20      Q. 60 hours, okay.
        21     to -- we are going to go into the room. And I will put             21      A. Yeah.
        22     my face mask on and go into the room. We'll pause, and             22      Q. And 20 of those hours you estimate were spent
        23     we will go off record, and then come back ASAP.                    23   with counsel?
        24            MR. POPE: Okay, let's do that.                              24      A. Correct.
09:41   25            MR. SINGH: Mr. Indrajana, I will need your          10:06   25      Q. And then the 40 hours balance was you preparing

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                                                                   33                                                                       35
10:06    1      notes and reviewing docs?                                 10:09    1   to preliminarily peruse.
         2        A. Correct.                                                      2          MR. SINGH: Just for the sake of time, this is
         3        Q. Okay. When you say you met with counsel, you                  3   what I would recommend, if you are comfortable with it.
         4      spent, roughly, 20 hours with counsel. Who specifically            4   Mr. Indrajana will handle the clawback right now as you
10:07    5      are you referring to?                                     10:09    5   continue with your questioning. We would just ask you
         6        A. Sanjiv Singh and Michael Indrajana.                           6   if you could maybe take a moment to let your staff or
         7        Q. Okay. Any other -- any other counsel involved?                7   anyone else working on that email with you know that it
         8        A. No.                                                           8   is subject.
         9        Q. Were there -- were those meetings in person?                  9          Mr. Indrajana, you should issue that clawback
10:07   10        A. Some were in person. Some were over Zoom.            10:10   10   immediately, please. He will do that. The only thing
        11        Q. And were both Mr. Indrajana and Mr. Singh                    11   that is going to change, there was one privileged
        12      present for all the meetings?                                     12   redaction which our client had advice from us in his
        13        A. No.                                                          13   notes. It was redacted in his notes, but for some
        14        Q. Can you describe how those -- how it broke                   14   reason it is showing on the .pdf. And so Mr. Indrajana
10:07   15      down, who was present for which meetings?                 10:10   15   will clean that up and then will -- we'll just let you
        16            MR. SINGH: I am just going to caution the                   16   know when that is being cleaned up and when the cleaned
        17      witness. You can be as detailed as you want, but just             17   version is sent to you. It will be identical except the
        18      don't disclose privileged attorney-client                         18   redaction will be sufficient this time.
        19      communications, please.                                           19          MR. POPE: Okay. I do recollect in flipping
10:07   20            THE WITNESS: Can you repeat the question?           10:10   20   through what was produced there was a section that
        21        Q. BY MR. POPE: I was asking for a breakdown of                 21   appeared to be sort of marked through.
        22      the meetings -- let's start here.                                 22          MR. SINGH: It is only one. It's just that one
        23            How many meetings did you have with counsel,                23   redaction. And the redaction was not done sufficiently
        24      roughly?                                                          24   so that -- usually on our scanner, the scanner has an
10:08   25        A. Roughly, four or five.                               10:10   25   enhancement that makes sure that even if you have done


                                                                   34                                                                       36
10:08    1        Q. Okay. Do you remember when the first meeting         10:10    1   it with pen, it kind of re-redacts. And for some
         2     occurred?                                                           2   reason, it did not do it on this. So please do not look
         3        A. First, I believe in -- in regards to this                     3   at it until we can give you the sanitized version.
         4     deposition, specifically?                                           4          MR. INDRAJANA: I am emailing you the clawback.
10:08    5        Q. Yes, specifically with regard to prepping for        10:11    5          MR. SINGH: Keyonn, I am not saying this to you
         6     this deposition.                                                    6   personally. I have to do this for the record. I am
         7        A. Okay.                                                         7   asking you in accordance with professional rules, local
         8        Q. The deposition today.                                         8   rules governing clawback that you and your office comply
         9        A. I believe the first meeting was in person on                  9   with our request, and we will handle it appropriately.
10:08   10     Saturday of last week.                                     10:11   10          MR. POPE: Candidly, I looked at it before,
        11        Q. So that would have been April 23?                            11   knowing about the clawback in my perusal, so I probably
        12        A. Yes. I don't have a calendar in front of me at               12   already have a general idea of what that stuff says.
        13     this moment.                                                       13   Now, when Mr. Indrajana sent the email, it went to my
        14        Q. But if we were to imagine -- so two days from                14   entire team, so I have no idea whether they've already
10:09   15     today is Saturday; right? So it was a week prior to        10:11   15   digested it, et cetera.
        16     that; right?                                                       16          I haven't had an opportunity to, sort of,
        17        A. A week prior.                                                17   consider whether the clawback is even proper. I mean,
        18            MR. SINGH: Mr. Pope, we have a clawback issue.              18   it was in notes he brought to his deposition. Part of
        19     Mr. Indrajana needs to clawback the -- one of the emails           19   me feels like it might not be proper.
10:09   20     he just sent, so he is going to handle that right now.     10:12   20          MR. SINGH: Hold on. That's absolutely not
        21            It's frankly -- candidly, it is what it is, but             21   correct. You know that. A client can in their notes
        22     I am not too worried about it. But he'll handle the                22   include recommendation or advice from counsel. That is
        23     clawback. It will go on realtime unless you are about              23   attorney-client communication.
        24     to use those notes to ask the question.                            24          MR. POPE: It shouldn't be -- it shouldn't be
10:09   25            MR. POPE: No. I mean, I've only had a chance        10:12   25   brought to a deposition, though, and that constitutes a


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                                                                    37                                                                      39
10:12    1      waiver.                                                    10:21    1         MR. POPE: We reserve our rights. Candidly, I
         2             MR. SINGH: Hold on a second. It does not                     2   haven't had time to do a deep dive because we were
         3      constitute a waiver. He had a redacted copy with him.               3   trying to keep the deposition moving as best we can, so
         4      So the problem is you asked for a copy of it, so that is            4   we reserve our rights.
10:12    5      where the rub is.                                          10:21    5         MR. SINGH: Thank you.
         6             Anyway, we don't have to debate it now. We are               6         MR. POPE: Okay, thank you.
         7      not going to agree on the record.                                   7      Q. Okay, sorry for the interruptions,
         8             I am asking you, at least right now to -- this               8   Mr. Resnikoff.
         9      is -- this is becoming more controversial than I                    9         I think we were discussing -- still discussing
10:12   10      expected it to be because I thought it was going to be     10:21   10   your preparation for today's deposition. And we were
        11      very straightforward.                                              11   beginning to walk through the meetings that you had.
        12             You do as you are going to do. We are going to              12   And I believe you said you had, roughly, four to five
        13      handle the clawback. And if you decide to comply,                  13   meetings; correct?
        14      great. If you don't, we will seek judicial relief on               14      A. That is accurate.
10:12   15      this.                                                      10:21   15      Q. Okay. And I think you had already described
        16             MR. POPE: Let me do this because I am not                   16   that the first meeting was in person on last Saturday
        17      logged into my email right now because I don't want to             17   which, if my calculation is correct, was April 23;
        18      have pop-ups in the middle of me sharing my screen.                18   right?
        19             Let's go back off the record. Let me send my                19      A. That is accurate.
10:13   20      team a note to give them a heads-up about this clawback    10:21   20      Q. Where was that meeting held?
        21      issue.                                                             21      A. That was held at my counsel's office in San
        22             MR. SINGH: Mr. Indrajana, have you sent the                 22   Mateo.
        23      clawback right now?                                                23      Q. And who was present?
        24             MR. INDRAJANA: I am drafting it as we speak.                24      A. Sanjiv Singh and Michael Indrajana.
10:13   25             MR. POPE: Let's go off the record, please.          10:22   25      Q. Anyone else?


                                                                    38                                                                      40
10:13    1     Let's pause and give me two minutes to send out the         10:22    1     A. No.
         2     email to my team.                                                    2     Q. Did anyone participate remotely?
         3            THE VIDEOGRAPHER: The time is 10:13 a.m. and                  3     A. No.
         4     we are now off the record.                                           4     Q. And about how long did you meet?
10:13    5            (Recess taken at 10:13 a.m. - 10:20 a.m.)            10:22    5     A. It was about five or so hours.
         6            THE VIDEOGRAPHER: The time is 10:20 a.m. and                  6     Q. Did you review documents during this meeting?
         7     we are now back on the record.                                       7     A. I believe we reviewed the topics on the
         8            MR. SINGH: Mr. Pope, with your indulgence, can                8   subpoena.
         9     I just make a comment that we were just talking about                9     Q. Any other -- any other written materials that
10:20   10     offline?                                                    10:23   10   you reviewed during that session?
        11            MR. POPE: Sure.                                              11     A. I believe --
        12            MR. SINGH: So upon further review of the                     12         MR. SINGH: I am going to caution the witness,
        13     actual redacted one line, it was just one sentence on               13   again, in answering these questions, please be careful
        14     the notes that my client had in front of him. The                   14   not to disclose actual attorney-client communications.
10:20   15     actual line itself, on close review, does not appear to     10:23   15         THE WITNESS: We did review some of the
        16     be a privileged attorney-client communication. And so               16   documents in discovery.
        17     our clawback issue and the clawback, which Mr. Indrajana            17     Q. BY MR. POPE: Do you remember which ones?
        18     issued, he will essentially clawback the clawback, and              18         MR. SINGH: Same -- same caution.
        19     you can go on. And I don't think we have any further
                                                                                   19         THE WITNESS: I believe we reviewed a -- a
10:20   20     issue. Of course, you can question the witness as much
                                                                           10:23   20   cease-and-desist document.
        21     as you want about it.
                                                                                   21         We also reviewed trademark -- trademark
        22            MR. POPE: Thank you, Mr. Singh.
                                                                                   22   registration applications, the timeline on trademark
        23            MR. SINGH: And without -- obviously, we don't
                                                                                   23   applications.
        24     waive any privilege rights whatsoever in connection with
                                                                                   24         MR. SINGH: I am going to caution the witness.
10:21   25     this issue. Thank you.
                                                                           10:24   25   He is asking for documents. Be careful about disclosing


                                                                                                                10 (Pages 37 to 40)
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                                                                   41                                                                          43
10:24    1     communications or discussions between you and counsel,    10:26    1           MR. SINGH: Mr. Resnikoff, can you speak up a
         2     please.                                                            2    little bit louder? I feel like -- I know the
         3            THE WITNESS: (Nods head affirmatively.)                     3    videographer said it was adequate, but I don't want to
         4            I think that's, in my memory at this moment,                4    have a recording later we find is not adequate. If you
10:24    5     that's to the best of my knowledge, what we discussed.    10:27    5    could, speak up a bit. Thank you.
         6        Q. BY MR. POPE: Okay. Are you going from memory                 6           THE WITNESS: Sure.
         7     right now?                                                         7        Q. BY MR. POPE: And can you tell me more about
         8        A. Yes.                                                         8    the cease-and-desist document that you mentioned?
         9        Q. So why are you looking down?                                 9        A. Yes. It was a cease and desist that we sent
                                                                         10:27   10    out in 2015 for a -- for a company called Tough Cookiez
10:25   10        A. I just looked down -- it is not on the notes.
                                                                                 11    with a Z.
        11     I just like to look down.
        12        Q. Okay.                                                       12        Q. So spelled the traditional way cookies is
        13            MR. SINGH: He does have the notes in front of              13    spelled except replace the S with a Z?
        14     him, just FYI. As I told you, we put it back. What we             14        A. Yes.
10:25   15     provided you, we put it back in front of him.             10:27   15        Q. What types of products were Tough Cookiez
        16            MR. POPE: No, that's fine. That's fine.                    16    offering?
        17            MR. SINGH: We are not trying to hide anything.             17        A. They had baked goods and protein -- protein
        18     Just so you know, he has the notes in front of him. He            18    baked goods. Protein-infused baked goods.
        19     has the financials on his screen, so just as we                   19        Q. Okay. Cookies?
10:25   20     disclosed.                                                10:28   20        A. Yes, I believe so.
        21            MR. POPE: No objection to that. All I asked                21        Q. Where were they located, do you remember?
        22     was that we get a copy of everything that he has in               22        A. They were in Florida.
        23     front of him, which, I think, we're entitled to. And              23        Q. Okay. Any idea where they were selling their
        24     you have represented you have done that. And,                     24    goods?
10:25   25     obviously, we can't see, so we have to take you at your   10:28   25        A. They were selling their goods to gyms.


                                                                   42                                                                          44
10:25    1     word.                                                     10:28    1     Q. Okay. In Florida?
         2           THE WITNESS: Would you like me to show you on                2     A. In Miami.
         3     the camera what I was looking at?                                  3     Q. Anywhere outside of Miami?
         4           MR. POPE: Sure.                                              4     A. I don't believe so.
10:26    5           THE WITNESS: It's the one with the redaction.       10:28    5     Q. You sent -- when I say "you," I'm talking about
         6           MR. SINGH: The misredaction.                                 6   The Cookie Department issued a cease-and-desist letter
         7           THE WITNESS: The non-redaction.                              7   in 2015 to Tough Cookiez; right?
         8           MR. SINGH: It was the clawback that was the                  8     A. Uh-huh. Correct.
         9     clawback to the clawback.                                          9     Q. What was the demand? What was the demand?
10:26   10           THE WITNESS: To the clawback.                       10:29   10     A. The demand is that we wanted them to change
        11        Q. BY MR. POPE: So you mentioned a -- you listed               11   their name.
        12     the cease-and-desist document; right?                             12     Q. Okay. Did they comply?
        13        A. Uh-huh.                                                     13     A. They did.
        14        Q. Is that a "yes"?                                            14     Q. Okay. Do you recall what they changed their
10:26   15        A. Yes.                                                10:29   15   name to?
        16        Q. I understood you, but I'm just trying to be                 16     A. They used OG and added "Tough Cookiez Miami" to
        17     cognizant of the record.                                          17   their product and made it very, very small. So their
        18        A. The record, right.                                          18   main emphasis was "OG."
        19        Q. And you mentioned various trademark                         19     Q. And is it still Tough Cookiez with a Z, same
10:26   20     registration applications?                                10:29   20   spelling?
        21        A. (Nods head affirmatively.)                                  21     A. Yes.
        22           That is accurate.                                           22        MR. SINGH: Object to form. Object to form.
        23        Q. And I think the last thing you mentioned was a              23        THE WITNESS: They are actually no longer in
        24     timeline on various trademark applications; right?                24   business.
10:26   25        A. Correct.                                            10:29   25     Q. BY MR. POPE: Okay. Do you know when they went


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                                                                     45                                                                     47
10:29    1      out of business?                                           10:32    1   client just for the purpose of defining for him what is
         2        A. I believe in 2019, roughly. That was when                      2   privileged and what isn't. I think that will help you,
         3      their Secretary of State -- their dissolution.                      3   Mr. Pope, because I think it will streamline the
         4        Q. Okay. How did you become aware of Tough                        4   answers.
10:30    5      Cookiez?                                                   10:33    5         MR. POPE: Okay, thank you.
         6        A. I don't recall.                                                6         O'Bryant, let's go off the record. I don't
         7        Q. Was it you that became aware?                                  7   want to chew up time.
         8        A. Yes.                                                           8         THE WITNESS: The time is 10:33 a.m. and we are
         9        Q. Do you remember when you became aware?                         9   now off the record.
10:30   10        A. It was right around the time we sent the              10:33   10         (Brief recess taken at 10:33 a.m. - 10:38 a.m.)
        11      cease-and-desist.                                                  11         THE VIDEOGRAPHER: The time is 10:38 a.m. We
        12        Q. Okay. And who drafted the cease-and-desist?                   12   are now back on the record.
        13            MR. SINGH: I am going to caution the witness.                13      Q. BY MR. POPE: Mr. Resnikoff, we were still
        14      You can answer -- if you can answer that question                  14   walking through your preparation. I think we were on
10:30   15      without disclosing privileged information, please go       10:38   15   your second meeting with your counsel that occurred
        16      ahead and do so.                                                   16   Monday of this week. Is that right?
        17            THE WITNESS: My counsel, Sanjiv Singh.                       17      A. Yes.
        18        Q. BY MR. POPE: Okay. Okay. So going back to                     18      Q. Okay. And I think we were talking through the
        19      the -- your preparation, we got the first meeting, which           19   materials that you reviewed during Monday's meeting.
10:31   20      was this -- this past Saturday, the 23rd.                  10:38   20      A. Yes. So we went down the line of topics and
        21            When was the second meeting?                                 21   reviewed a lot of documents in reference to those, as
        22        A. Monday.                                                       22   well as emails as part of them, spreadsheets,
        23        Q. This week?                                                    23   financials, looking at marketing channels, specific
        24        A. That is correct.                                              24   social media pages. The list goes on. It was a lot of
10:31   25        Q. April 25; right?                                      10:39   25   documents.


                                                                     46                                                                     48
10:31    1        A. Uh-huh, correct.                                      10:39    1      Q. And then your third meeting, when did that
         2        Q. Where did you meet?                                            2   occur?
         3        A. On Zoom.                                                       3      A. That occurred Tuesday of last week -- this
         4        Q. And who participated?                                          4   week, rather. Sorry.
10:31    5        A. Sanjiv Singh and Michael Indrajana.                   10:39    5      Q. That was the 26th; right?
         6        Q. Anyone else?                                                   6      A. Uh-huh.
         7        A. No.                                                            7          MR. SINGH: It certainly couldn't be the
         8        Q. And how long did you meet?                                     8   Tuesday of the previous week. I can tell you that.
         9        A. Roughly, five hours.                                           9          MR. POPE: No comment.
10:31   10        Q. And did you review any materials?                     10:39   10          MR. SINGH: I was on my back. That's all I can
        11        A. We reviewed the topics. And the questions they                11   tell you.
        12     asked me were based on --                                           12      Q. BY MR. POPE: Okay. Where did you meet?
        13           MR. SINGH: Hold on. I am going to caution you                 13      A. That was on Zoom.
        14     again. He is entitled to know about documents, not                  14      Q. Okay. Who attended?
10:32   15     substantive communications between us.                      10:40   15      A. Sanjiv Singh.
        16           THE WITNESS: (Nods head affirmatively.)                       16      Q. Anyone else?
        17           MR. SINGH: So please answer the question being                17      A. I believe not, no.
        18     mindful of privilege. And I actually -- if you are                  18      Q. Okay. How long did you meet?
        19     confused about this, and you want guidance from counsel,            19      A. We met for five hours, roughly.
10:32   20     you can ask for guidance, and we can go off record, and     10:40   20      Q. Did you review any materials during that
        21     I can give you guidance. But if you feel comfortable,               21   meeting?
        22     then go ahead and answer.                                           22      A. Yes, the same things. We scored -- scored
        23           THE WITNESS: I would like to go off the record                23   the -- we went through all the facts -- sorry. All the
        24     and get guidance on this question.                                  24   topics and reviewed -- went line by line on emails that
10:32   25           MR. SINGH: I would like to confer with my             10:40   25   were part of discovery and reviewed them in detail.

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10:41    1        Q. And when was your fourth meeting with counsel?       10:44    1     A. Can you slow down?
         2        A. Yesterday.                                                    2         Okay. Okay.
         3        Q. And where did you meet?                                       3         MR. SINGH: Is this Exhibit 3 or 2?
         4        A. In their office in San Mateo. Counsel --                      4         MR. POPE: This is 3.
10:41    5        Q. Got it. Mr. Singh's -- at Mr. Singh's and            10:44    5         MR. SINGH: What was 2?
         6     Mr. Indrajana's office?                                             6         MR. POPE: 2 is the amended dep notice.
         7        A. Correct.                                                      7         MR. SINGH: Got you. Okay. Thank you.
         8        Q. Who was present?                                              8     Q. BY MR. POPE: Okay. Does this -- does this
         9        A. Sanjiv Singh and Michael Indrajana.                           9   document seem consistent with what you know to be on
10:41   10        Q. Anyone else present?                                 10:44   10   your LinkedIn profile, Mr. Resnikoff?
        11        A. No.                                                          11     A. Yes.
        12        Q. How long did you meet?                                       12     Q. When is the last time you updated your
        13        A. About five hours, as well.                                   13   LinkedIn?
        14        Q. Okay. And review any materials?                              14     A. I updated it, I believe, in late 2021.
10:41   15        A. Review any materials? No, not that day. It           10:45   15     Q. Okay. So I just want -- I want to walk through
        16     was more of a --                                                   16   very briefly your employment history. I will do it in
        17           MR. SINGH: Hold on. I caution the witness not                17   reverse chronological order.
        18     to disclose substantive privileged communications.                 18         I see in, according to your LinkedIn, in 2006
        19           You can otherwise try to answer.                             19   you founded or co-founded Sedition Magazine.
10:42   20           THE WITNESS: No. Yesterday we did not go over        10:45   20         What is that magazine's focus or what was its
        21     specific documents.                                                21   focus?
        22        Q. BY MR. POPE: Okay. More dialogue?                            22     A. It was an art magazine, a zine, a free zine.
        23        A. Yes.                                                         23     Q. Say that again. I'm sorry.
        24        Q. Okay. All right. And you said there were four                24     A. A zine. It is basically a free magazine we
10:42   25     or five meetings. As we've gone through, are you -- was    10:45   25   produced.


                                                                   50                                                                      52
10:42    1     there a fifth meeting?                                     10:45    1      Q. That is a term of art in the magazine world?
                                                                                   2
         2        A. No. It was four.                                                     A. Yes.
         3        Q. It was four, okay.                                            3      Q. Got it.
         4            Did you meet today?                                          4         Who were your fellow co-founders?
                                                                          10:46    5
10:42    5        A. Aside from coming in for this deposition, no.                        A. A gentleman by the name of Stephen Alexander.
         6        Q. Okay. All right.                                              6   And I am actually blanking on my other co-founder, it's
         7            I will drop another exhibit in the chat.                     7   been so long. I don't recall the original co-founder,
         8            MR. SINGH: I ordered him an Egg McMuffin and                 8   the other co-founder.
         9     he didn't take it.                                                  9         You're on mute.
10:42   10            (Whereupon, Exhibit 3 was marked                    10:46   10         MR. POPE: Okay. Can you hear me now?
        11             for identification by the Court Reporter                   11         THE WITNESS: Yes.
        12             and attached hereto.)                                      12         MR. POPE: I'm on this headset, thinking
        13            MR. POPE: No comment. All right, I just                     13   clarity will be better. But every now and then my
        14     uploaded another exhibit. I will share my screen.                  14   headset conks out and I have to unplug and replug it.
10:43   15        Q. Mr. Resnikoff, do you recognize this document        10:46   15         MR. SINGH: It looks good, so roll with it. It
        16     that I have up which we will refer to as Exhibit 3?                16   works.
        17        A. Uh-huh, yes.                                                 17         THE WITNESS: Very circa '90s.
        18        Q. Do you recognize it to be a copy of your                     18         MR. SINGH: Come on, Akiva, give him a break.
        19     LinkedIn page?                                                     19         MR. POPE: I am channeling my inner Bobby
10:43   20        A. Yes.                                                 10:47   20   Brown.
        21        Q. We just pulled this from online in the last                  21      Q. I was asking you when my mic cut out what was
        22     several days. I just want to -- I'll scroll through it             22   the magazine's focus.
        23     briefly and, you know, we'll just ask you to, as you               23      A. Oh, I'm sorry. The magazine's focus was local
        24     look through it, to see if it seems consistent with your           24   Oregon, Portland, Oregon art. It was from sculpture to
10:43   25     LinkedIn profile as you know it to be.                     10:47   25   food review.


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10:47    1       Q. Got it. Got it.                                          10:50    1      A. Sales. Sales and marketing.
         2           I think you -- based on your LinkedIn profile,                   2      Q. Got it. Got it.
         3     it shuttered in 2007; right?                                           3         And then you left there in December of 2008.
         4       A. Yeah. But I -- I -- actually, it didn't                           4   What -- what was the reason for your departure?
10:47    5     shutter in 2007. I left in 2007. I don't know when it         10:50    5      A. The reason for my departure was I got a better
         6     actually shuttered.                                                    6   offer from the Cuba Beverage Company.
         7       Q. Got it. But it is no longer in operation now?                     7      Q. Got it. Okay. Is Viso still in operation?
         8       A. No.                                                               8      A. I don't -- I'm not aware.
         9       Q. What was -- what was the reason for your                          9      Q. Okay. So you leave Viso, you go to Cuba
10:48   10     departure?                                                    10:51   10   Beverage Company.
        11       A. I ended up -- so the position above that, Viso                   11         Were your job duties at Cuba similar to those
        12     Beverage Company, they were an advertiser in our                      12   at Viso?
        13     magazine, and they approached me to go to work for them.              13      A. Yes.
        14      Q. Got it. Got it. Okay.                                             14      Q. Okay. Were they competitors of one another?
10:48   15           Which is a perfect segue to Viso. What kind of          10:51   15      A. No.
        16     beverages did Viso offer?                                             16      Q. Okay. What -- what types of beverages or -- I
        17       A. Viso is a company, or at least at the time was                   17   won't assume they are beverages. But what types of
        18     a company making functional beverages, beverages that                 18   products did Cuba offer?
        19     contain vitamins and minerals.                                        19      A. Cuba Beverage Company offered flavored seltzers
10:48   20       Q. Okay. And is that functional beverages, is               10:51   20   similar to like the flavored Crystal Geyser sodas.
        21     that a term of art?                                                   21      Q. Okay. Did you --
        22       A. No.                                                              22      A. Actually, some of them had -- I believe they
        23       Q. Is that folks who -- forgive my ignorance, I                     23   had energy ingredients in them like natural -- natural
        24     don't necessarily live in the food and beverage space.                24   caffeines in them, as well.
10:49   25     I know that you live in that space, so this is a bit          10:52   25      Q. Would you categorize some of the products or


                                                                        54                                                                   56
10:49    1      educational for me.                                          10:52    1   any of the products that Cuba offered as functional
         2             But is -- do folks who frequent the food and                   2   beverages?
         3      beverage space sort of use the "functional beverage" as               3      A. Yes.
         4      a term and sort of know what it means?                                4      Q. And you left there in December of 2008. Why
10:49    5         A. Repeat the question?                                   10:52    5   did you leave?
         6         Q. Do -- do -- is the term "functional beverage"                   6      A. The company was having financial issues, and I
         7      one commonly used by people who are familiar with the                 7   got furloughed and not paid, so I eventually left.
         8      food and beverage space?                                              8      Q. Got it.
         9         A. Yes.                                                            9        Are they still in operation?
10:49   10         Q. What is it? Describe what you mean by                  10:52   10      A. I am unaware.
        11      functional beverage.                                                 11      Q. So you left there. You landed at Metropolis
        12         A. Functional beverages are beverages, whether                    12   Baking Company in January of 2009?
        13      it's a juice or a soda, maybe an energy drink,                       13      A. That is accurate.
        14      basically. It's basically a beverage that is -- has                  14      Q. What types of products does Metropolis offer?
10:50   15      functional benefits added to it in the form of               10:53   15      A. Metropolis is a bread -- artisan bread company.
        16      ingredients.                                                         16      Q. I see they are located in Berkeley. Do they
        17         Q. Give me some examples of some of the functional                17   have just one location?
        18      benefits that might -- that a functional beverage might              18      A. They are a manufacturer, and they supply bread
        19      have.                                                                19   to the restaurant industry in the Bay Area.
10:50   20         A. For example, Viso had vitamins and minerals.           10:53   20      Q. Got it. Got it.
        21      Aside from hydrating you, it contained vitamins and                  21        Do they distribute beyond the Bay or just in
        22      minerals.                                                            22   the Bay?
        23         Q. Got it. Okay.                                                  23      A. Just in the Bay Area.
        24             And your role there was in the vein of                        24      Q. And similar sales role there as what you had
10:50   25      marketing?                                                   10:53   25   previously done at Cuba and Viso?


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10:53    1        A. Yes. Less -- less marketing, more sales.             10:57    1   Cookie Department, and I -- you know, I loved the costs
         2        Q. Got it. Got it.                                               2   I was getting on the shipping labels so I told friends
         3           And why did you leave?                                        3   about them and -- other friends in the industry that had
         4        A. I left because I -- while I was doing that, I                 4   food and beverage brands, and eventually they came to me
10:53    5     was also starting my cookie company and wanted to focus    10:57    5   and said would you like to do it on a consulting basis.
         6     more on my cookie company and less so on having a                   6     Q. Is it a paid consultancy?
         7     part-time job.                                                      7     A. Yes.
         8        Q. Got it. Is Metropolis still in operation?                     8     Q. What are the financial details?
         9        A. I'm -- I'm not sure. I am unaware. I have not                 9     A. It is commission.
10:54   10     checked in with them in a long time.                       10:57   10     Q. What percentage?
        11        Q. Okay. I think I saw somewhere a relative of                  11     A. It is 25 cents to 50 cents per label.
        12     yours owns it or owned it at one point?                            12     Q. How much would you estimate you've generated in
        13        A. Owned it at one point, yes.                                  13   this role?
        14        Q. No longer owns it?                                           14         MR. SINGH: Object to form.
10:54   15        A. Correct.                                             10:58   15         THE WITNESS: In what time period?
        16        Q. Okay. I will leave The Cookie Department until               16     Q. BY MR. POPE: From beginning to now,
        17     last because, obviously, that's where we'll spend the              17   September 2021 to the present.
        18     most time, and I am going a little bit out of                      18     A. I don't have that information in front of me.
        19     chronology. But talk to me a little bit about ShipCause            19   I would venture to say 10- or 11,000.
10:54   20     and what kind of company it is.                            10:58   20      Q. Okay. And that's total for the eight months or
        21        A. ShipCause is a -- is a shipping cooperative                  21   so that you have been doing it?
        22     where a group of brands that take volumes of shipping              22     A. Correct.
        23     for our companies and group them together to afford us             23     Q. Does that revenue go to you personally?
        24     lesser cost on shipping labels.                                    24     A. That is correct.
10:55   25           I don't -- I don't have any ownership in it,         10:59   25     Q. So it doesn't go to The Cookie Department?


                                                                   58                                                                            60
                                                                          10:59    1
10:55    1     but I am basically -- myself through my business, I'm a                     A. Correct.
                                                                                   2       Q. And finally, your current baby, The Cookie
         2     company ambassador, if you want to call it that. I
                                                                                   3   Department, I think we talked about already. You began
         3     basically look for other brands to join us in joining
                                                                                   4   it in January of 2009?
         4     our cooperative to, you know, get -- raise the volume of
                                                                          10:59    5
10:55    5     our overall shipping and lower our costs.                                   A. Correct.
         6        Q. Got it. What's the typical profile of                         6       Q. I'll ask this open endedly. Candidly, I'm a
         7     companies that you are looking to attract?                          7   fan of entrepreneurs and I love the passion to hear them
                                                                                   8   tell their beginning stories. I will ask an open-ended
         8        A. Food and beverage mainly.
         9        Q. Okay. Is there -- what about in terms of size                 9   question about, sort of, how you got going with The
10:55   10     of the company?                                            10:59   10   Cookie Department?
                                                                                  11
        11        A. I mean, no. It's all sorts -- all sizes.                              A. You want me to just start talking about how?
        12        Q. Even sort of larger, you know, say, a                        12       Q. Yeah. I -- I'm -- you might think I am BS'ing,
        13     corporate -- a large publicly traded corporate entity?             13   but I'm not. I've seen folks give their elevated
                                                                                  14   pitches about something they've grown and it is almost
        14        A. No, that's -- that's not -- yeah. Thank you.
                                                                          11:00   15   always infectious, the passion. That is why I am asking
10:56   15     So thank you for clarifying the question.
                                                                                  16   it open-ended. I would just love to hear your origin
        16           It's mainly smaller to medium size companies.
        17        Q. Okay, that makes sense. And what are your                    17   story with The Cookie Department beginning in January of
        18     duties there? I think you kind of described it as, you             18   2009.
        19     know, essentially an ambassador and trying to attract              19       A. So in 2009, while working as a part-time sales
10:56   20     others to, sort of, join the fold; right?                  11:00   20   manager at Metropolis Baking Company, at the time my
                                                                                  21
        21        A. Yeah.                                                             cousin's bread bakery, and actually, as well, formerly
        22        Q. Any other responsibilities?                                  22   doing sales and marketing for functional beverage
                                                                                  23
        23        A. No.                                                               companies and in addition, I had a certificate at --
        24        Q. How -- how did you obtain that role?                         24   from a community college in pastry arts.
                                                                          11:00   25
10:56   25        A. I joined the cooperative as a brand, as The                              So I really wanted to -- I kind of had the


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11:00    1     entrepreneurial juices and really wanted to start my own   11:04    1   you aware of other companies producing functional
         2     company. And so I took all those experiences and came               2   cookies?
         3     up with the first functional cookie which is called                 3      A. At that time, no.
         4     "Awaken baked." And it was a double chocolate cookie                4      Q. You have been in the space now for 13-plus
11:01    5     that had a cup of coffee added to it as far as caffeine    11:04    5   years. I am sort of asking you to look in the rearview
         6     contents.                                                           6   mirror, right, backward looking and I'm sure you have
         7          And I did that for a while and sold to --                      7   acquired a ton of knowledge of other players in the
         8     actually worked -- baked part-time in my cousin's bread             8   space.
         9     bakery and then delivered those cookies to coffee shops             9         As you look back, sort of sitting here now,
11:01   10     and started to kind of have a name for myself as the       11:05   10   have you become aware of folks that were in the space
        11     cookie guy in Berkeley. Baked the cookies myself and               11   back in January of 2009?
        12     delivered them to the coffee shops.                                12      A. Yes.
        13          And soon after that decided to come out with                  13      Q. Who are some of those companies?
        14     more functional cookies that had added benefits, classic           14      A. There was a company called Lenny and Larry's.
11:01   15     cookie formulations. My elevator pitch at the time was     11:05   15      Q. And they were already around in 2009?
        16     taking classic cookie formulations and fortifying them             16      A. I believe so, yes.
        17     with functional ingredients like protein and super foods           17      Q. Any others?
        18     and antioxidants and caffeine. So I came out with more             18      A. No, not to my recollection, no.
        19     and more product and just kind of grew from there.                 19      Q. Since 2009, are there other companies that have
11:02   20       Q. Thank you for that.                                   11:05   20   begun to produce functional cookies?
        21          Was -- I think you mentioned that Awaken Baked                21      A. Yes. But not in my recollection of having kind
        22     was the first product that you -- that The Cookie                  22   of the whole array of functional products --
        23     Department released; right?                                        23      Q. Okay.
        24       A. That is correct.                                              24      A. -- that we have.
11:02   25       Q. You described it as a functional cookie. What         11:06   25      Q. Got it. Give me an example. Unpack that for


                                                                    62                                                                    64
11:02    1     do you mean by that? And again, I have sort of seen the    11:06    1   me a little bit.
         2     term on your website and such but I am not a commoner in            2     A. I don't know of any other cookie companies
         3     your space so I would love for you to educate me on what            3   marketing a coffee-infused caffeinated cookie, for
         4     you mean by a functional cookie.                                    4   example, or a cookie that has Maca, for example. One of
11:03    5        A. Well, similar to the energy drinks or the            11:06    5   your chocolate chip cookies contains Maca, which is a
         6     vitamin beverages, we were taking a cookie in the                   6   Peruvian superfood. So I am unaware of any companies
         7     simplest fashion, taking your traditional ingredients in            7   specifically producing the menu of fully functional
         8     a cookie and then adding an ingredient that adds                    8   cookies.
         9     functional aspects. So, you know, wakes you up in the               9     Q. Got it. That's helpful.
11:03   10     morning. You know, contains, you know, ingredients that    11:06   10         What companies are you aware of -- well, let
        11     are, you know, have superfood benefits. So basically               11   me -- what functional features do the companies offer
        12     that's what it is.                                                 12   that you are thinking about?
        13        Q. Got it, got it. And were there other -- are                  13     A. Protein.
        14     you aware of other functional cookie companies at the              14     Q. What companies are those?
11:03   15     time that you launched in January of 2009?                 11:07   15     A. I do know that Lenny and Larry's is still in
        16        A. I -- I wasn't aware in 2009 of any competing                 16   existence. There is a company -- I'm not sure if they
        17     brands, no.                                                        17   are still doing cookies. I know that they expanded
        18        Q. Are you aware of any now sort of having spent                18   their line. It's called Buff Bake.
        19     time in the space, are you aware, sort of looking                  19     Q. B-U-F-F?
11:04   20     backward, that there were other players in the space       11:07   20     A. Correct. There's a company called Munk Pack.
        21     back in January of 2009?                                           21   M-U-N-K P-A-C-K. They are traditionally a protein bar
        22        A. Yes. Oh, oh, well, no. I mean, knowing now --                22   company. Maybe it is not a protein bar. A specific
        23     can you please repeat that question? Sorry.                        23   brand, but it's -- they do like energy bars and they
        24        Q. So my initial question was at the time you                   24   came out with a cookie product.
11:04   25     started The Cookie Department, right, January 2009, were   11:08   25         There is NuGo; which is a energy bar. They


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                                                                   65                                                                      67
11:08    1     also have cookies now.                                     11:11    1   starting originally as an LLC and then pivoting to a
         2        Q. Can you spell NuGo?                                           2   corporation; right?
         3        A. N-U-G-O. I believe there is a company called                  3       A. Uh-huh, correct.
         4     Tri O Plex. I am not sure how to spell that, though.                4       Q. Does this date for the LLC, August 11, 2009,
11:08    5        Q. Okay.                                                11:12    5   strike you as about accurate for when you organized the
         6        A. Those are the main companies that come to mind.               6   LLC?
         7        Q. Okay. The companies that you mentioned, are                   7       A. Yes, that is correct.
         8     all these here in the U.S.?                                         8       Q. Okay. Now I think your LinkedIn mentioned you
         9        A. I am unaware of where their -- where their                    9   actually started the company in January of 2009. So is
11:08   10     corporate headquarters are specifically.                   11:12   10   it safe to assume that between January and August you
        11        Q. Okay. Do they distribute their products here                 11   were operating without the LLC?
        12     in the U.S.?                                                       12       A. That is correct. Sole proprietor.
        13        A. That is correct.                                             13       Q. Later on, according to this entry in January --
        14        Q. Are the companies that you listed, are these --              14   January 17 of 2012, you created the corporation; right?
11:09   15     would you include them -- would you consider them as       11:12   15       A. That is accurate.
        16     competitors of The Cookie Department?                              16       Q. What was the impetus for creating the
        17            MR. SINGH: Object to form.                                  17   corporation?
        18        Q. BY MR. POPE: I'm sorry, I missed your                        18          MR. SINGH: I am going to caution the witness,
        19     response, Mr. Resnikoff.                                           19   if you can answer that question without disclosing
11:09   20        A. Yes.                                                 11:12   20   privileged information, go ahead. Otherwise, if you
        21        Q. Are there any other companies you would view as              21   can't, then you should not answer.
        22     competitors other than the ones you listed?                        22          THE WITNESS: I can't answer that question
        23        A. I mean it's -- protein bars are competition, if              23   without disclosing privileged information.
        24     you think about it.                                                24       Q. BY MR. POPE: Okay. I didn't expect that to be
11:09   25        Q. Okay. Why -- why do you -- so all the                11:13   25   a controversial topic. So --


                                                                   66                                                                      68
11:09    1     companies that you listed offer some type of protein       11:13    1         MR. SINGH: Let me try -- Keyonn, let me just
         2     cookie; right?                                                      2   encourage my witness. If there are things you can share
         3        A. Correct.                                                      3   with Mr. Pope beyond what was discussed with your
         4        Q. Okay. And is that the basis for them being --                 4   counsel at that time, go ahead and share them. Just be
11:10    5     or you considering them competitors?                       11:13    5   careful not to disclose privileged information. Let me
         6            MR. SINGH: Object to form.                                   6   see if that instruction helps.
         7            THE WITNESS: No. The fact that they have                     7         THE WITNESS: Okay. The impetus was I brought
         8     protein, they are a protein snack is why they're                    8   on a co-founder and the goal was to, you know, play with
         9     competitors, because they have other products aside from            9   the adults in the room and take investment, so we
11:10   10     cookies.                                                   11:14   10   decided to incorporate.
        11            MR. POPE: Okay. I will share another                        11      Q. BY MR. POPE: When did you take on the
        12     document.                                                          12   co-founder?
        13            (Whereupon, Exhibit 4 was marked                            13      A. Just prior to that date, around mid-2011,
        14             for identification by the Court Reporter                   14   started working with this co-founder. Well, this person
11:10   15             and attached hereto.)                              11:14   15   who then became a co-founder. She had a lot more
        16            MR. POPE: This is my internal Exhibit 12 but                16   experience at the time of being a CEO. I was more -- at
        17     it will be Exhibit 4 for the deposition. I will share              17   the time, more of a, you know, the creator of the
        18     my screen.                                                         18   product, more involved with sales. And she had a lot of
        19        Q. So Mr. Resnikoff, this is a printout from the                19   success with her company that she was a prior part of.
11:11   20     California Secretary of State. I don't think it matters    11:14   20   It was a company called LifeFactory. It is a very, very
        21     whether you have seen it or not.                                   21   large entity that recently got acquired. So she just
        22            As you can see, a search was done for The                   22   had, you know, a lot more experience with growing a
        23     Cookie Department and yielded two hits, which is what I            23   company than I did. So I brought her on as a founder.
        24     want to focus on. And I think you actually already made            24      Q. Who was your counsel at the time that you
11:11   25     a passing mention to this. You mentioned sort of           11:15   25   established the corporation?


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11:15    1        A. That was a gentleman by the name of Micah. I       11:18    1   information that may be subject to third-party rights of
         2     don't recall his last name.                                       2   privacy. And obviously, you can act accordingly.
         3           MR. SINGH: I can provide it, Mr. Pope, if you               3          THE WITNESS: I am going to follow counsel on
         4     want it, but obviously you want to depose the witness,            4   that.
11:15    5     not me.                                                  11:18    5          MR. SINGH: I am not instructing -- let me just
         6           THE WITNESS: I can provide you that                         6   be very clear. I am not instructing him not to answer
         7     information, if you would like.                                   7   because I don't, myself, have knowledge of the
         8           MR. POPE: That would be great. Micah is                     8   relationships with these investors but I know enough
         9     M-I-C-A-H?                                                        9   transactionally that investors have third-party rights
11:15   10        A. I believe so, yes.                                 11:18   10   of privacy, either written or oral or reasonable
        11           MR. POPE: Okay. Yeah, it would be great if we              11   expectation of privacy in their investment. I am
        12     can close the loop on a break. Or, Mr. Singh, if it is           12   instructing him but he can decide.
        13     easier for you to provide it here and he can confirm             13          MR. POPE: But Sanjiv, this is relevant -- this
        14     whether or not that refreshes his recollection.                  14   isn't some side investment that is outside The Cookie
11:16   15           MR. SINGH: It is a little unorthodox.              11:18   15   Department. This is an investment in the company
        16           MR. POPE: It is. Nevermind. Nevermind.                     16   itself. So this is very relevant. I have a very
        17           MR. SINGH: Do you want me to do it?                        17   different view.
        18           MR. POPE: It's fine. It's okay.                            18          MR. SINGH: How is it relevant -- we can meet
        19           MR. SINGH: We will get it to you at a break.               19   and confer right now just briefly on the record, which I
11:16   20     We will get it to you at a break.                        11:19   20   believe is probably appropriate. How is it relevant to
        21           MR. POPE: No problem. I am just making a                   21   liability in this case, to damages in this case?
        22     note.                                                            22          MR. POPE: It's relevant to the financial
        23        Q. Okay. So what was the co-founder's name?                   23   stature of the company at or around the time that the --
        24        A. Her name was Pamela Marcus.                                24   that the product at issue was developed and launched.
11:16   25        Q. Okay. And you said that her prior company          11:19   25   Yeah.


                                                                  70                                                                     72
11:16    1     was -- what was the name of her prior company?           11:19    1          MR. SINGH: Well, you can ask him the total
         2        A. Called LifeFactory.                                         2   amount of investment he took and we will fully permit
         3        Q. LifeFactory?                                                3   that, the total amount of investment he took at any
         4        A. One word.                                                   4   period of time. Go free. Go wild.
11:16    5        Q. Got it. And you mentioned LifeFactory having       11:19    5          But as for disclosing individual holders'
         6     been acquired but I wasn't clear on the time.                     6   shares or entitlements, that's where the problem is
         7           Was that just before you brought her on as a                7   because there's third party rights of privacy. These
         8     co-founder?                                                       8   are private investments. So without consulting with
         9        A. No.                                                         9   each and every one of those investors on disclosure, I
11:17   10        Q. When -- when was that? When was that acquired?     11:20   10   would counsel my client not to disclose that. It may
        11        A. I don't know the exact date but it was more                11   create liability either for him or for the company
        12     recently. I don't know the exact time frame.                     12   because he would have to go back and review the
        13        Q. What kind of company was LifeFactory, or is                13   arrangement with each one of those investors.
        14     LifeFactory?                                                     14          So -- but to be cooperative, since you raised
11:17   15        A. LifeFactory, you probably have seen their          11:20   15   what your -- since you have explained what you are
        16     bottles everywhere. They make glass water bottles with           16   seeking, I do agree with you, understanding the
        17     silicone sleeves that have holes, like circles in the            17   financial resources of the company and its financial
        18     silicone sleeves. They are pretty much in every --
                                                                                18   profile at any given point in time, you are entitled to
        19     every yoga studio imaginable, I would imagine.
                                                                                19   probe that.
11:17   20        Q. Okay. So what -- what -- did Miss Marcus make
                                                                        11:20   20          So my recommendation would be -- and you may
        21     an investment when you brought her on?
                                                                                21   not agree with me but at least a partial Band-Aid to
        22        A. She did.
                                                                                22   this issue for the purpose of proceeding with the
        23        Q. How much did she invest?
                                                                                23   deposition would be to see what information you can
        24           MR. SINGH: I am going to caution -- I am
                                                                                24   obtain from this witness about the general amounts of
11:18   25     actually going to instruct the witness to not disclose
                                                                        11:20   25   money in play at any given point in time and where it


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11:20    1     came from, et cetera.                                      11:23    1   discovery that's been propounded on this very subject is
         2            But I will respect my client's desire not to                 2   troubling.
         3     disclose private investor-specific information for any              3         MR. SINGH: Well, what is also troubling is you
         4     individual investor or debt holder.                                 4   knew about Pam Marcus. She's been in discovery. She
11:21    5            MR. POPE: Look, I'm sensitive to that. And it       11:23    5   has been in discovery responses and you have been quite
         6     sounds like we have a different view of it. I know that             6   busy sending out third-party subpoenas. You easily
         7     we've had specific discovery requests covering this --              7   could have third-party subpoenaed her.
         8     this issue.                                                         8         MR. POPE: We shouldn't -- we shouldn't have
         9            And to the extent that there were, you know,                 9   to. We shouldn't have to.
11:21   10     third-party permissions necessary, those should have       11:23   10         MR. SINGH: We did not -- if you are trying to
        11     been sought or should have been raised that, you know,             11   seek her private information, I disagree with you. But
        12     you were not going to seek them to just not respond to             12   again -- here's what I will do. On Miss Marcus I will
        13     the discovery requests unilaterally. That's not okay.              13   meet and confer with him. I can either do it now, or
        14            MR. SINGH: He's not -- he's not just not                    14   not meet and confer with him. I will consult with my
11:21   15     responding unilaterally. He is more than willing to        11:24   15   client. I will either do it now or I will do it at
        16     provide you general investment information but he is not           16   lunch break. You decide.
        17     going to do it -- at least I -- Mr. Resnikoff, as I                17         MR. POPE: Let's keep rolling. I don't want to
        18     understand it, you don't feel comfortable to do it by              18   chew up more time.
        19     investor; is that correct?                                         19         MR. SINGH: I will let you know if we change
11:21   20            THE WITNESS: That is correct.                       11:24   20   our position on that.
        21            MR. SINGH: I understand his position and I                  21         MR. POPE: Yep.
        22     think there is a sound legal basis for it. For the sake            22      Q. So, Mr. Resnikoff, in 20 -- was it 2011 or 2012
        23     of moving on with the deposition, I think we've                    23   when you brought Miss Marcus on?
        24     clarified our positions and I encourage you to ask him             24      A. It was, roughly, around 2011. Excuse me. I
11:22   25     the general questions so you can get those dollar          11:24   25   would like to restate that. We were not -- I didn't


                                                                    74                                                                     76
11:22    1     amounts.                                                   11:24    1   bring her on in 2011. It was -- it was -- it was when
         2            MR. POPE: I will inquire but just note our                   2   we incorporated that she came on as co-founder.
         3     objection. This isn't any random investor. This is                  3      Q. Okay. So she formally came on on the date of
         4     someone that he's characterized as a co-founder and                 4   the incorporation which, as seen here on Exhibit 4, was
11:22    5     that's significant. So even if -- even if you didn't       11:24    5   January 17, 2012?
         6     feel compelled to go and chase down every random                    6      A. I don't recall the exact date she came on board
         7     investor, at a minimum this one should be chased down               7   but it was in early 2012 that she came on board.
         8     and should have already been chased down and the                    8      Q. Okay. No, that's fine. And I wasn't being
         9     permission sought.                                                  9   cute there. I noticed that January 17th is very close
11:22   10            MR. SINGH: Hold on a second. If you give me a       11:25   10   to the beginning of the year and you said she had come
        11     moment to confer with my client. So are you saying your            11   on early, before that date, so it could have easily been
        12     distinction is I'm not looking for every single investor           12   late 2011 or early 2012. That is why I was trying to
        13     because obviously there are other investment rounds.               13   clarify. Thank you for that.
        14     You want the co-founder's skin in the game? Is that                14         Did you bring on any other investors in 2012?
11:22   15     what you're saying?                                        11:25   15      A. We did. I'm not 100 percent exact on the date
        16            MR. POPE: Well, I am not waiving our right. I               16   that we brought on other investors, but we did do a
        17     think we have a legitimate basis for all investors but             17   first round soon after incorporating. It was a friends
        18     we are not going to settle that right here.                        18   and family round.
        19            But what I am saying is Miss Marcus is somebody             19      Q. Got it. Okay. Any other investments in --
11:23   20     he is describing as somebody as a co-founder. There is     11:26   20   well, let me ask. Was the friends and family round in
        21     zero way that it is not okay to seek whatever                      21   2012?
        22     permissions are necessary to disclose. And that should             22      A. I -- I'm not 100 percent on that date.
        23     have already been sought, you know.                                23      Q. Okay. Was it later than 2013?
        24            So to -- to instruct the witness not to answer              24      A. No, I don't believe.
11:23   25     here and not have already ironed that out when there is    11:26   25      Q. So it would have had to be -- that's your

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11:26    1     recollection, it is 2012?                                  11:29    1   agreement. I'm just asking whether there was a written
         2        A. Yeah, within 2012.                                            2   agreement between you and Miss Marcus when she came
         3        Q. So your recollection is it was in 2012?                       3   aboard as a co-founder?
         4        A. 2012, correct.                                                4      A. I don't recall.
11:26    5        Q. Okay, okay. That's helpful.                          11:29    5      Q. Was there a written agreement between you --
         6           Any other investments other than -- in 2012,                  6   when I say you, I'm -- let me ask it two different ways.
         7     other than Miss Marcus and the friends and family round?            7         Was there a written agreement between you,
         8        A. No.                                                           8   Akiva Resnikoff, and Miss Marcus at the time she came
         9        Q. How much did you raise total in the friends and               9   aboard as a co-founder?
11:26   10     family round?                                              11:30   10      A. I don't believe so, no.
        11        A. 35,000.                                                      11      Q. Okay. Was there a written agreement between
        12        Q. And what was the structure of that round?                    12   The Cookie Department and Miss Marcus at the time she
        13        A. It was a convertible note.                                   13   came aboard as a co-founder?
        14        Q. What is a convertible note in layperson's                    14      A. I don't recall.
11:27   15     terms?                                                     11:30   15      Q. What would you do -- is there any way I could
        16        A. Convertible note is a debt instrument that at a              16   refresh your recollection?
        17     later date can be converted into equity or paid back at            17      A. Repeat the question.
        18     the determined interest.                                           18         MR. POPE: Madam court reporter, can you read
        19        Q. What -- do you recall the interest on that                   19   the question?
11:27   20     friends and family round?                                  11:31   20         (Record read as follows:
        21        A. It was --                                                    21         "Q Was there a written
        22           MR. SINGH: Object to form.                                   22         agreement between The Cookie
        23           THE WITNESS: Can you repeat the question?                    23         Department and Miss Marcus at
        24        Q. BY MR. POPE: Do you recall the -- the details                24         the time she came aboard as a
11:27   25     of the return on the convertible note?                     11:31   25         co-founder?


                                                                   78                                                                       80
11:28    1        A. I believe it was between 6 and 8 percent. I          11:31    1         "A I don't recall.
         2     don't recall the exact number.                                      2         "Q Is there any way I could
         3        Q. Did you enter into agreements, written                        3         refresh your recollection?")
         4     agreements with the participants in the family and                  4         THE WITNESS: I don't want to speculate.
11:28    5     friends round?                                             11:31    5   That's my issue.
         6        A. Repeat the question?                                          6     Q. BY MR. POPE: Do you have records where you
         7        Q. Were there -- did you enter into written                      7   could be sure?
         8     agreements with the participants in the family and                  8     A. Yes.
         9     friends round?                                                      9     Q. What records would allow you to be sure?
11:28   10        A. If you are -- if you're -- if you mean notes,        11:32   10     A. I don't have them in front of me. Is that what
        11     actual -- the actual notes, yes. We had notes.                     11   you're referring to?
        12        Q. No, I guess I'm asking about, were there                     12     Q. No, I'm just asking generally, where would you
        13     written agreements memorializing the terms of the family           13   go look to be sure?
        14     and friends investment?                                            14     A. That would be on my desktop computer.
11:28   15        A. Yes.                                                 11:32   15     Q. Okay. And what's -- what's the uncertainty?
        16           MR. SINGH: Object to form.                                   16   What is it that you're uncertain about?
        17        Q. BY MR. POPE: So you had written agreements                   17     A. I'm just not sure of the exact agreement that
        18     with each individual that participated in the friends              18   may exist.
        19     and family round?                                                  19     Q. But there is a written -- go ahead. I'm sorry.
11:29   20        A. Yes.                                                 11:32   20     A. Just as far as -- as far as what the specific
        21        Q. And the same with Miss Marcus, when she came on              21   agreement may be.
        22     as a co-founder, there was a written agreement?                    22     Q. Between Miss Marcus and The Cookie Department?
        23        A. I don't recall. I believe -- no, I don't                     23     A. Correct.
        24     recall the specifics to that agreement.                            24     Q. But there is some written agreement you are
11:29   25        Q. I'm not asking about the details of the              11:32   25   saying between The Cookie Department and Miss Marcus?


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11:32    1         A. I believe so.                                       11:47    1      A. And her investment was diluted -- I mean her
         2         Q. I'm not a transactional person but typically                 2   equity in the company was diluted.
         3      when funds are being invested, there is some                       3      Q. Okay. What was her equity in the company?
         4      memorialization of whatever the agreement is. And so               4      A. What was it originally?
11:33    5      I'm assuming that probably was the case here but trying   11:48    5      Q. Yes.
         6      to confirm it with you.                                            6      A. She owned 40 percent.
         7         A. Yeah, I assume that to be the case but I don't               7      Q. Okay. What was it at the time that she parted
         8      recall the specifics on it.                                        8   ways with the company?
         9         Q. Okay. Do you recall a written agreement at the               9      A. 8 -- 8.5 percent.
11:33   10      time that Miss Marcus invested -- at the time             11:48   10      Q. When you say it was diluted -- is that what you
        11      Miss Marcus made her investment?                                  11   said, it was diluted, her equity?
        12         A. Do I recall now that that happened when she                 12      A. Yeah. It was brought down to a lower amount.
        13      made her investment?                                              13      Q. Okay. What amount was that?
        14         Q. Yes.                                                        14      A. 8.5.
11:34   15         A. I don't -- it was a long time ago. I don't --       11:48   15      Q. And when did the dilution occur?
        16      I don't recall specifically.                                      16      A. It was approximately 2015. It was either end
        17         Q. Okay. I want to focus a second on the LLC.                  17   of 2014 or beginning of 2015.
        18      During the time that -- from August 11, 2009, when the            18      Q. Okay. And why -- why did the dilution occur?
        19      LLC was formed, to the time of its termination, did you           19          MR. SINGH: I am going to caution the witness
11:34   20      bring on any partners during that time?                   11:49   20   in answering your question, please be mindful of any
        21         A. No.                                                         21   confidentiality restrictions you have and please also
        22         Q. Okay.                                                       22   caution as to privileged communications with counsel.
        23         A. I'm sorry, I don't mean to interrupt but my                 23          THE WITNESS: I do believe, actually, that was
        24      back is starting to -- I need to stretch. Can we take a           24   confident -- confidential as to why.
11:35   25      six-minute break so I can stretch?                        11:49   25      Q. BY MR. POPE: Okay. Was there -- is there a


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11:35    1           MR. POPE: Absolutely.                                11:49    1   written agreement memorializing the dilution, Miss
         2           MR. SINGH: Can I just ask the court reporter,                 2   Marcus' dilution of equity?
         3     before we go off the record, how much time have we been             3      A. Yes. There is.
         4     on the record?                                                      4      Q. So you're saying in that agreement there are
11:35    5           THE VIDEOGRAPHER: I currently have us here at        11:49    5   confidentiality clauses that prevent you from disclosing
         6     about 1 hour and 57 minutes.                                        6   certain details?
         7           MR. SINGH: Okay, great.                                       7         MR. SINGH: I am going to caution the witness
         8           THE VIDEOGRAPHER: The time is 11:35 a.m. and                  8   on commenting on the content of the agreement, to be
         9     we are now off the record.                                          9   careful to follow any confidentiality restrictions.
11:35   10           (Recess taken at 11:35 a.m. - 11:46 a.m.)            11:49   10         THE WITNESS: Yes, there's confidential
        11           THE VIDEOGRAPHER: The time is 11:46 a.m. and                 11   language in the document.
        12     we are now back on the record.                                     12      Q. BY MR. POPE: Okay. So when -- when did
        13           THE WITNESS: Keyonn, I just wanted to bring up               13   Miss Marcus officially cease to be involved with The
        14     the fact that Pam Marcus is no longer -- no longer has             14   Cookie Department?
11:47   15     an active role in the company. She was settled out.        11:50   15      A. It was either late 2014 or early 2015.
        16        Q. BY MR. POPE: I appreciate that.                              16      Q. Is she -- does she still own equity with the
        17           What do you mean by settled out?                             17   company?
        18        A. She received her initial investment --
                                                                                  18      A. Yes.
        19           MR. SINGH: I just want to caution the witness
                                                                                  19      Q. And is that the 8 and a half percent you
11:47   20     to describe the arrangement at high level but to be
                                                                          11:50   20   mentioned?
        21     cognizant of possible confidentiality restrictions in
                                                                                  21      A. That is correct.
        22     any such settlement agreement.
                                                                                  22      Q. BY MR. POPE: Okay. I will put up another
        23           THE WITNESS: Her initial -- the initial money
                                                                                  23   document.
        24     she put into the company was returned.
                                                                                  24         (Whereupon, Exhibit 5 was marked
11:47   25        Q. BY MR. POPE: Okay. What were the --
                                                                          11:51   25          for identification by the Court Reporter


                                                                                                               21 (Pages 81 to 84)
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                                                                    85                                                                       87
11:51    1            and attached hereto.)                                11:54    1      A. That is correct. Yes, that is correct.
         2           MR. POPE: I will share my screen. This is                      2      Q. Okay. But that -- that was just a clerical
         3     another printout from the California Secretary of                    3   oversight that didn't occur?
         4     State's website. I showed you before there were two                  4      A. Yes.
11:51    5     entries when we searched The Cookie Department on the       11:54    5      Q. And then you realized that in December of '14
         6     prior exhibit, Exhibit 4.                                            6   and cured it?
         7           (Clarification by the reporter.)                               7      A. Correct.
         8        Q. BY MR. POPE: I was describing this document                    8      Q. That is helpful. I will stop sharing.
         9     from the California Secretary of State's website which               9          MR. POPE: Madam court reporter, I am causing
11:52   10     gives a more in-depth snapshot into some of the             11:55   10   more pain. This is my internal Exhibit 5 but I think it
        11     pertinent dates around the forming and the winding down             11   is our Exhibit 6 for purposes of the deposition. I will
        12     of the LLC.                                                         12   try to call that out to keep us both honest.
        13           So we had previously talked about the LLC being               13          MR. SINGH: That is now Exhibit 6; correct?
        14     created on August 11 of 2009, which you see here at the             14          MR. POPE: That's correct.
11:52   15     top right?                                                  11:55   15          (Whereupon, Exhibit 6 was marked
        16        A. Yes.                                                          16           for identification by the Court Reporter
        17        Q. The inactive date is December 23, 2014. Do you                17           and attached hereto.)
        18     see that?                                                           18          MR. POPE: I'll share my screen. Still
        19        A. Yes.                                                          19   California Secretary of State's screenshot and now we're
11:53   20        Q. There appears to be some overlap, right,              11:56   20   focused on more of the important dates on the
        21     between -- what I am getting at is the LLC and the                  21   corporation, so Tough Cookie -- I'm sorry, The Cookie
        22     corporation were sort of simultaneously active for a                22   Department, Inc.
        23     period; right?                                                      23      Q. We previously discussed and you see at the top
        24           MR. SINGH: Object to form.                                    24   right January 17, 2012, it was established. It looks
11:53   25        Q. BY MR. POPE: I didn't hear your answer.               11:56   25   like its status is active and in good standing; correct?


                                                                    86                                                                       88
11:53    1         A. The --                                               11:56    1      A. That is correct.
         2            MR. SINGH: May I just request of my witness,                  2      Q. Okay. So we talked a little bit at the time --
         3      please give me a chance to get my objections in before.             3          MR. POPE: Mr. Singh, are we stopping right at
         4      I don't have many, as you noticed today, but just if you            4   noon on the nose?
11:53    5      can. Thank you. Object to form.                            11:56    5          MR. SINGH: No, no. If you are in the middle
         6            THE WITNESS: Repeat the question.                             6   of a line of questioning, my witness just took a break.
         7            MR. POPE: Can you read it back, Madam court                   7   We're fine if you want to --
         8      reporter?                                                           8          MR. POPE: All right.
         9            (Record read as follows:                                      9      Q. So we talked, Mr. Resnikoff, about some of the
11:53   10            "Q There appears to be some                          11:57   10   investment activity that transpired at the time or after
        11            overlap, right, between -- what                              11   the corporation was formed; right?
        12            I am getting at is the LLC and                               12      A. Correct.
        13            the corporation were sort of                                 13      Q. Particularly, we talked about Miss Marcus --
        14            simultaneously active for a                                  14   Miss Marcus' investment; right?
11:53   15            period; right?")                                     11:57   15      A. Correct.
        16            THE WITNESS: So the LLC as a -- like as an                   16      Q. And then we talked about the friends and family
        17      active company, day-to-day company, that LLC was not               17   investment which was, you know, structured as a
        18      active. We were acting like as a business. We were                 18   convertible note; right?
        19      working under the incorporate -- the C corporation. It             19      A. Correct.
11:54   20      just was more of a clerical error on our end to dissolve   11:57   20      Q. Any other -- were there any other investments
        21      the LLC.                                                           21   that you took on after establishing the corporation?
        22         Q. BY MR. POPE: Okay, that makes sense. So the                  22      A. Yes.
        23      intent -- I am trying to paraphrase but keep me honest.            23      Q. To whom? From whom, rather, I should say?
        24      The intent was at the time you started the corporation             24      A. From whom? We did a round in 2017.
11:54   25      then to, you know, formally wind down the LLC?             11:58   25      Q. Okay.


                                                                                                                 22 (Pages 85 to 88)
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11:58    1            MR. SINGH: I am just going to note based on my       12:00    1      Q. Including Miss Marcus?
         2      witness' prior testimony, I am just going to caution you            2      A. Yes.
         3      to remain consistent in disclosing at high level without            3      Q. Okay. When did you share those with your
         4      disclosing individual identities. Obviously Mr. Pope                4   counsel?
11:58    5      has made it clear he doesn't agree with that position      12:01    5      A. Which ones are you referring to?
         6      but I am noting that for consistency.                               6      Q. Any of the investor agreements.
         7            MR. POPE: Mr. Singh, I thought your position                  7      A. I don't recall specific dates.
         8      before was with not disclosing amounts. Now you're                  8      Q. General time frame?
         9      saying he can't even disclose the identities of the                 9      A. Around the times that we went out for
11:58   10      investors?                                                 12:01   10   investment.
        11            MR. SINGH: No, no. I am not instructing him                  11      Q. Okay. And the counsel that you shared it with,
        12      to do anything. He expressed a position about privacy              12   is that Mr. Singh?
        13      and identity of the -- about privacy of the investors.             13      A. Yes, that is accurate.
        14      I will let him make the decision whether or not the                14      Q. And Mr. Indrajana, as well?
11:58   15      identity is or is not something that he believes he has    12:01   15      A. No.
        16      an obligation on. And the amounts, it appears he                   16      Q. Is Mr. Singh your counsel for purposes of
        17      already expressed an opinion on that, so I am just                 17   taking in these investments -- investments?
        18      cautioning him to remain consistent. I am not                      18         MR. SINGH: I am going to object to form.
        19      instructing him not to answer.                                     19         THE WITNESS: He's not counsel specifically for
11:59   20         Q. BY MR. POPE: Mr. Resnikoff, are you                  12:02   20   that, but he -- in those transactions he was counsel.
        21      comfortable disclosing the identities of individual                21      Q. BY MR. POPE: So he served as counsel for each
        22      investors?                                                         22   of the investment transactions?
        23         A. Not the identities, no.                                      23         MR. SINGH: Object to form.
        24         Q. Okay. And is that because of confidentiality                 24         THE WITNESS: Repeat the question.
11:59   25      obligations?                                               12:02   25         MR. POPE: Madam court reporter, can you read


                                                                     90                                                                      92
                                                                           12:02    1   the question for me?
11:59    1        A. Yes, that's -- that is true. That is accurate.
         2        Q. With each of the investors in question, do you                 2          (Record read as follows:
         3     have written instruments with them, written agreements               3          "Q So he served as counsel for
         4     with them?                                                           4          each of the investment
                                                                           12:02    5          transactions?")
11:59    5        A. That is accurate.
         6        Q. And is there language in those agreements                      6          THE WITNESS: He -- yes. He reviewed
         7     forbidding you from disclosing their identities?                     7   documents. He reviewed the documents as counsel.
         8           MR. SINGH: Object to form.                                     8      Q. BY MR. POPE: At the time the investments were
         9           THE WITNESS: Yes, I believe so.                                9   taken on?
11:59   10        Q. BY MR. POPE: You've -- when was the last time         12:03   10      A. Not specifically at the time the investments
        11     you reviewed those agreements?                                      11   were taken on but prior to it while -- prior to it while
                                                                                   12
        12        A. It was in 2019, I believe.                                         we were reviewing documents to use for the investments.
        13        Q. Okay. Have you shared these agreements with                   13      Q. Got it now. Understood.
        14     your counsel?                                                       14          And is it safe to assume you are also
12:00   15           MR. SINGH: I am going to caution the witness.         12:03   15   uncomfortable disclosing the amount of investment made
        16     You can answer that question, just don't disclose                   16   by each individual?
        17     attorney-client communications, but whether or not you              17          MR. SINGH: I am going to try and -- I am going
        18     have shared them.                                                   18   to object to form but the witness -- and encourage the
        19           THE WITNESS: Yes.                                             19   witness to disclose high level as much as possible.
12:00   20        Q. BY MR. POPE: Yes, you've shared them with your        12:03   20          THE WITNESS: I don't feel comfortable
        21     counsel?                                                            21   specifying the amounts per investor and I don't feel
                                                                                   22   comfortable disclosing their actual names, but I can
        22        A. Yes.
        23        Q. So all agreements with investors you've shared                23   tell you at a high level what the total amount was that
        24     with your counsel?                                                  24   was invested.
                                                                           12:04   25          MR. POPE: Okay. I'll note our objections to
12:00   25        A. Yes.


                                                                                                                 23 (Pages 89 to 92)
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                                                                   93                                                                     95
12:04    1     that and we can revisit it later. But for the sake of     12:06    1      Q. Yes. Following the 2017 investment that was
         2     efficiency, we'll keep moving.                                     2   2000 -- 210,000, when was the next investment taken in?
         3        Q. So you mentioned, I think -- so we've talked                 3      A. Roughly, late 2019 was a round, yeah. Late
         4     about the investment from Miss Marcus; right? And we've            4   2019.
12:04    5     talked about the friends and family round.                12:07    5      Q. Okay. And what was -- what was the total on
         6           When was that friends and family round, by the               6   that round?
         7     way?                                                               7      A. Roughly, 97,000.
         8        A. 2017. No, no. The original friend and family                 8      Q. Okay. Friends and family again?
         9     round?                                                             9      A. No.
12:04   10        Q. Yes.                                                12:07   10      Q. Where did those funds come from?
        11        A. I thought you were referring to the prior one,              11      A. That was through a crowd funding round through
        12     the other one I mentioned. Friends and family round, it           12   a company called Wefunder.
        13     was around 2012. It was either mid- to late 2012 or               13      Q. Okay. Convertible note, as well?
        14     early 2013, in that ballpark.                                     14      A. That is correct.
12:04   15        Q. Okay. So just -- I'm trying to frame this           12:07   15      Q. What was the percentage?
        16     chronologically.                                                  16      A. Six percent.
        17           So you've established the LL -- or the                      17      Q. What's the timing on the conversion of the
        18     corporation in January 2012. And then shortly                     18   note?
        19     thereafter Miss Marcus comes along and makes her                  19      A. That one was three years.
12:05   20     investment; is that right?                                12:08   20      Q. Three years?
        21        A. That's correct.                                             21      A. Uh-huh.
        22        Q. That was in 2012, as well?                                  22      Q. How about the 2017 round? What was the timing?
        23        A. That is correct.                                            23      A. 36 months.
        24        Q. Did Miss Marcus' investment predate the initial             24      Q. And how about the 2012 friends and family
12:05   25     friends and family round?                                 12:08   25   round?


                                                                   94                                                                     96
12:05    1        A. That is correct.                                    12:08    1       A. 36 months.
         2        Q. Okay. So when was -- what was the timing of                  2       Q. Okay, we are at late 2019. When was the next
         3      the next investment you took in after -- after the                3    investment?
         4      2012-2013 friends and family round?                               4       A. There has not been any other investments.
12:05    5        A. That was in 2017.                                   12:08    5       Q. Okay. So none since late 2019?
         6        Q. So no investments taken in between the                       6       A. That is accurate.
         7      35,000-dollar friends and family round and 2017?                  7       Q. Okay. All right. Let me back up.
         8        A. That is correct.                                             8          When you had the LLC, did you have any
         9        Q. What was the total amount of the 2017                        9    employees?
12:06   10      investments?                                             12:09   10       A. No.
        11        A. 210,000.                                                    11       Q. Were you an employee?
        12        Q. Was that friends and family, as well?                       12       A. During the LLC?
        13        A. It was a mix of friends and family and -- I                 13       Q. Yes.
        14      guess it was considered friends and family because it            14       A. No.
12:06   15      was friends of friends.                                  12:09   15       Q. You were a contractor?
        16        Q. Okay.                                                       16          MR. SINGH: I am going to caution -- well,
        17        A. Six degrees of separation.                                  17    object to form.
        18        Q. Got it. Was that structured as a convertible                18          THE WITNESS: I was the owner.
        19      note, as well?                                                   19       Q. BY MR. POPE: Okay. Did you draw a salary?
12:06   20        A. That is accurate.                                   12:09   20       A. No.
        21        Q. What was the percentage on that?                            21       Q. How did you pay yourself?
        22        A. That was 6 percent.                                         22       A. I -- at the time, actually I was not paying
        23        Q. Okay.                                                       23    myself.
        24        A. By the way, you are referring to the interest               24       Q. Okay. Did you have contractors working for you
12:06   25      only; correct?                                           12:10   25    at the time you had the LLC?


                                                                                                               24 (Pages 93 to 96)
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                                                                  97                                                                                 99
12:10    1        A. Yes, I believe so.                                  12:14    1          A. It wasn't an agreed upon compensation package,
         2        Q. Who were they?                                               2        per se. It was basically at that time we decided to pay
         3        A. I don't recall their names.                                  3        ourselves.
         4        Q. What were their functions?                                   4          Q. Got it. You mentioned some contractors that
12:10    5        A. The functions, helping me bake.                     12:14    5        you -- let's start with currently. What contractors do
         6        Q. Okay. Any other contractors performing                       6        you currently have?
         7     functions outside of baking?                                       7          A. Andrea Kirschner who is my CFO. I have Kathryn
         8        A. No.                                                          8        Limprecht who is the bookkeeper. Nicki Kovacs,
         9        Q. Okay. How about with the corporation? Did --                 9        K-O-V-A-C-S, she is the tax preparer. And Bridget
12:10   10     I guess, do you currently have employees?                 12:14   10        Jacobs, and she is the graphic designer.
        11        A. I am the only employee.                                     11             MR. SINGH: Mr. Pope, is now a time we can
        12        Q. Okay. Have there been any other employees from              12        break for lunch? I wanted to give you some leeway there
        13     the time that you created the corporation until now?              13        with your questioning but --
        14        A. Pam Marcus was an employee.                                 14             MR. POPE: I appreciate it. Can I ask one more
12:11   15        Q. Okay.                                               12:15   15        and then we can cut it off. I was just going to ask
        16        A. And then we had contractors.                                16        about Miss Kovacs' affiliation.
        17        Q. Okay. Do you pay yourself, currently?                       17             MR. SINGH: Go ahead.
        18        A. Pay myself now?                                             18          Q. BY MR. POPE: Is -- is Miss Kovacs employed by
        19        Q. Yes.                                                        19        Profit Tracker?
12:11   20        A. In this moment in time at present, I do not.        12:15   20          A. She was. They changed their name to Tax Force,
        21        Q. Okay. When was the last time you paid                       21        Inc.
        22     yourself?                                                         22          Q. Got it. Okay. We can pause there.
        23        A. I don't recall a specified -- specific dates                23             MR. SINGH: Great.
        24     that I last paid myself. I would refer to Andrea on               24             THE VIDEOGRAPHER: The time is 12:15 p.m. and
12:11   25     that question.                                            12:15   25        we are now off the record.


                                                                  98                                                                                100
12:11    1        Q. Okay. What was the -- what was the amount of        12:18         1                 (Lunch recess taken at 12:15 p.m.)
         2     your last compensation?                                                 2
         3        A. I don't recall the exact amount but the last                      3
         4     time I was paid -- no, I don't recall. I don't want to                  4
12:12    5     speculate. It was -- I can say it was under -- it was                   5
         6     under 100,000.                                                          6
         7        Q. Okay. Was it more than 50,000?                                    7
         8        A. I don't believe so but I can't -- I can't                         8
         9     recall a hundred percent.                                               9
12:12   10        Q. Okay. And then you mentioned, just to be                         10
        11     clear, during the entirety of the existence of the                     11
        12     corporation you've only had two employees, yourself and                12
        13     Miss Marcus?                                                           13
        14        A. That is accurate.                                                14
12:13   15        Q. Okay. Do you recall Miss Marcus' compensation?                   15
        16        A. I believe it was between -- between 20- and                      16
        17     40,000.                                                                17
        18        Q. Per year?                                                        18
        19        A. Not per year. I think she was paid one year                      19
12:13   20     out of the time she was there.                                         20
        21        Q. Got it. Why wasn't she paid the other years?                     21
        22        A. I think we were using the money -- we were                       22
        23     reinvesting the money into the company.                                23
        24        Q. Okay. But her agreed compensation was between                    24
                                                                                      25
12:14   25     20-and 40K?

                                                                                                                        25 (Pages 97 to 100)
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12:27    1             San Mateo, California                                01:04    1       Q. I understand.
         2             Thursday, April 28, 2022                                      2       A. I wanted to clarify that.
         3                 1:01 p.m.                                                 3       Q. I appreciate that clarification.
         4                                                                           4          To that end, let's follow that lead and talk a
12:28    5           THE VIDEOGRAPHER: The time is 1:01 p.m. and we         01:04    5   little bit about each of those additional buckets of
         6     are now back on the record.                                           6   contractors that you -- that you remembered.
         7                                                                           7          I think the first bucket, I'm paraphrasing, but
         8                   EXAMINATION (resumed)                                   8   I understood it to be, sort of, like co-manufacturers.
         9     BY MR. POPE:                                                          9   Is that sort of one bucket?
01:01   10        Q. Mr. Singh, I know we stuck a pin in the issue,         01:04   10       A. That is accurate.
        11     two issues, one related to --                                        11       Q. Who are those?
        12            I will ask Mr. Resnikoff. Mr. Resnikoff, I                    12       A. A current one that we use is called Petit Pain.
        13     know we had talked about your prior attorney by the                  13   P-E-T-I-T, space, P-A-I-N. Pain is French for bread.
        14     first name of Micah. I don't know -- we didn't --                    14       Q. Where are they based?
01:02   15        A. Micah Jacobs.                                          01:04   15       A. They are based in Burlingame, California.
        16        Q. Jacobs.                                                        16       Q. How long have you been using Petite Pain, is
        17        A. Not related to Bridget Jacobs.                                 17   it?
        18        Q. Got it. Thank you.                                             18       A. "Pain."
        19            MR. POPE: Mr. Singh, I was going to ask you.                  19       Q. "Pain."
01:02   20     I know you mentioned potentially reaching out to             01:05   20       A. We have been engaged with them since early
        21     Miss Marcus about the ability to disclose her investment             21   2021, very early.
        22     amount, in view of the confidentiality issues.                       22       Q. Prior to that, who were you using as a co-man?
        23            Have you had a chance to do that?                             23       A. Prior to that I was with a company called -- it
        24            MR. SINGH: Not during the lunch hour, but I                   24   had two names: BumbleBar and Clean Copack.
01:02   25     will do it today. I will tell you this. I mean, we are       01:05   25       Q. You were using the two of those simultaneously?


                                                                      102                                                                 104
01:02    1     happy to be cooperative on this, but we just have to be      01:05    1      A. No. It's one company. They just refer to them
         2     cautious. And I will tell you just from my personal                   2   as BumbleBar and Clean Copack. It is very confusing.
         3     experience. Private investors get very, very, very                    3      Q. What time frame were you engaged with
         4     protective about their privacy and where they invest.                 4   BumbleBar/Clean Copack?
01:02    5           That's why we're being -- I can understand why         01:05    5      A. That was '21. Did I -- Did I --
         6     Mr. Resnikoff is being cautious, and I have had                       6         Let me go back.
         7     consistent experiences with private investors. We will                7         Petit Pain, when did I say? When did I say
         8     try to reach out to her or her counsel, I should say,                 8   that?
         9     and try to get back to you.                                           9      Q. I noted early 2021.
01:03   10           MR. POPE: Okay. All good.                              01:06   10      A. I'm sorry. It was early 2022. I just got the
        11           THE WITNESS: Keyonn, do you mind if I just                     11   dates mixed up.
        12     clarify something? You were asking originally about                  12      Q. Thanks for that clarification.
        13     contractors. I just want to --                                       13         BumbleBar/Clean Copack, give me those dates
        14           Do you mind if I say something?                                14   again, please.
01:03   15        Q. BY MR. POPE: Sure.                                     01:06   15      A. That was 2021.
        16        A. I just want to clarify a couple of things.                     16      Q. You began engaging with them --
        17     Putting the legal term aside of what contractors are, we             17         Do you remember what month in 2021?
        18     do, in addition to the stated contractors that I                     18      A. I want to say we started engaging, roughly,
        19     mentioned earlier, we have contract manufacturers that               19   January, February, so definitely in Q1.
01:03   20     we work with to produce our cookies.                         01:06   20      Q. Your engagement with them ended when?
        21           We have brokers that we use to go out and                      21      A. At the end of 2021.
        22     represent our brand and sell them, sell the product.                 22      Q. Prior to BumbleBar, who was your co-man, or did
        23           We have, you know, packaging companies that we                 23   you have one?
        24     buy from. So, you know, we have a lot more people that               24      A. That was called Bake Works.
01:04   25     we rely on to -- to run our daily operations.                01:06   25         MR. SINGH: Madam Court Reporter, can you


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01:06    1     please read back Mr. Pope's question, please?                  01:11    1     A. Yes.
         2              (Record read as follows:                                       2     Q. When you say brokers, what do you mean?
         3              "Q Prior to BumbleBar, who was your                            3     A. Basically, contracted sales reps, third-party
         4              co-man or did you have one?")                                  4   sales reps. Those brokers represent other brands, and
01:07    5              MR. SINGH: Who was your --                            01:11    5   we are one of those brands.
         6              MR. POPE: Short for co-manufacturer.                           6     Q. So these brokers are going out seeking new
         7              MR. SINGH: Got you. Thank you. Mr. Pope is                     7   accounts and such on the company's behalf?
         8     getting slick with the lingo.                                           8     A. Correct.
         9              MR. POPE: I have heard that lingo used. It's                   9     Q. Who is the current broker?
01:07   10     slick. It's good.                                              01:11   10     A. The current broker is a company called Absolute
        11              THE WITNESS: I'm impressed, Keyonn.                           11   Food Sales.
        12              MR. SINGH: It made you sound like you were on                 12     Q. What's the time period -- what's the time
        13     it.                                                                    13   period for your engagement with Absolute?
        14              MR. POPE: It's all smoke and mirrors, man.                    14     A. I don't know the exact time -- the exact year
01:07   15           Q. Mr. Resnikoff, are you okay if I refer to the         01:12   15   but it was around, I want to say, 2013, 2014 to present.
        16     co-manufacturers as co-man? You know what I'm talking                  16     Q. Do you currently use a new, another broker?
        17     about? You're cool?                                                    17     A. Not at the moment, no.
        18           A. Only for you.                                                 18     Q. Was there a broker that predated Absolute that
        19           Q. Thank you, sir. You're too kind to me.                        19   you used?
01:08   20              I think you said after BumbleBar -- prior to          01:12   20     A. No.
        21     BumbleBar/Clean Copack, you used Bake Works as your                    21     Q. Have you used any other broker at any time?
        22     co-man?                                                                22     A. Yes.
        23           A. Yes.                                                          23     Q. Who have you used?
        24           Q. What were the dates on that?                                  24     A. We used a company -- well, she didn't have a
01:08   25           A. There was early engagement on going through R&D       01:12   25   company at the time. She was under her own name. Was a


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01:08    1     and testing and stuff, but really ultimately circa             01:12    1   Melissa Pashko. P-A-S-H-K-O, I believe.
         2     August 2019 until the end of 2020.                                      2     Q. Where was Miss Pashko based?
         3       Q. Prior to Bake Works, who did you use?                              3     A. She was based on the East Coast.
         4       A. We are going way back.                                             4     Q. Do you remember which state?
01:08    5          Prior to Bake Works, we were at a company                 01:13    5     A. New York.
         6     called Smith Baking Company, and they are owned by a                    6     Q. What's the time frame for your engagement with
         7     company called U.S. Bakery.                                             7   Miss Pashko?
         8       Q. What dates for them?                                               8     A. That was in and around August 2019 through, I
         9       A. That was, I believe, 2016 to 2019.                                 9   want to say midway through 2020?
01:09   10       Q. How about before Smith?                                   01:13   10     Q. Any other brokers you've used?
        11       A. Before Smith was City Baking.                                     11     A. Yes. There was a Joe Gallasso.
        12       Q. Do you remember the years?                                        12     Q. Can you spell "Gallasso"?
        13       A. That was about 2014, '15 through 2016 is until                    13     A. G-A-L-L-A-S-S-O, I believe. I don't know the
        14     we switched over to Smith.                                             14   exact spelling.
01:10   15       Q. I know I'm pressing, but how about before City            01:14   15     Q. Was Joe or Mr. Gallasso operating in his
        16     Baking?                                                                16   personal capacity?
        17       A. Pastry Smart. That was 2012 to the time we                        17     A. He was a broker. But I don't -- I don't
        18     went to City Baking.                                                   18   remember the name of his business.
        19       Q. Got it. Okay. Let me just finish my line of                       19     Q. Okay, that's what I was asking, if he had a
01:10   20     question before I pivot. Anyone before Pastry Smart?           01:14   20   business.
        21       A. My hands.                                                         21     A. I may be able to track that information down
        22          MR. SINGH: It's not a company.                                    22   and provide it to you.
        23          MR. POPE: Thank you.                                              23     Q. That would be helpful.
        24       Q. I think the second, sort of, bucket of                            24     A. Would you like to know the years?
01:11   25     contractors that you mentioned were brokers?                   01:14   25     Q. Yes, please. Thank you.

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01:14    1        A. That was, I believe, circa, I want say 2016.         01:18    1   times fast.
         2        Q. That was the beginning of the engagement?                     2      A. After Realm West was -- I believe we went to a
         3        A. Yeah, yeah. I believe it was only within 2016.                3   company called Revere Group.
         4        Q. Do you remember when it began, roughly, in                    4      Q. Do you recall the years?
01:15    5     2016?                                                      01:18    5      A. Portion of 2015, '16, '17, '18, a portion of
         6        A. I don't.                                                      6   2019.
         7        Q. So less than a year?                                          7      Q. So 2015-ish through sometime in 2019?
         8        A. Yes.                                                          8      A. Correct.
         9        Q. How about any -- any additional brokers that                  9      Q. How about after Revere?
01:15   10     you've used?                                               01:19   10      A. After Revere was something called ePACK.
        11        A. I had a broker called Advanced Food Group. I                 11      Q. I didn't ask because I kind of assumed on
        12     believe that was his name. Advanced -- let me get back             12   Revere. What's the spelling, do you recall?
        13     to you on the name of that company, if you don't mind.             13      A. R-E-V-E-R-E.
        14        Q. No problem.                                                  14      Q. That's what I thought. Thank you.
01:15   15        A. That was for -- I believe that was 2017 and          01:19   15         Do you recall the years for ePACK?
        16     2018. Sorry. The years aren't 100 percent. It's like,              16      A. A portion of 2019, 2020, '21, and we're still
        17     you know --                                                        17   using them.
        18        Q. We're going a ways back, so no worries.                      18         (Whereupon, Exhibit 7 was marked
        19           You said 2017 or 2018 or was that began in 2017              19          for identification by the Court Reporter
01:16   20     through 2018?                                              01:20   20          and attached hereto.)
        21        A. I believe -- I believe it was a portion of 2017              21         MR. POPE: Madam Court Reporter, this is my
        22     and a portion of 2018.                                             22   internal Exhibit 6, but I think it is going to be our
        23        Q. Any other brokers that you can recall?                       23   Exhibit 7, if I'm tracking them correctly.
        24        A. Not to my recollection, no.                                  24         MR. SINGH: I don't think you put it in the
01:16   25        Q. Is a list of brokers included in the notes that      01:20   25   chat.


                                                                  110                                                                  112
01:16    1     you have?                                                  01:20    1          What is the exhibit number?
         2       A. No.                                                            2          MR. POPE: It should be Deposition Exhibit
         3          MR. POPE: I am going to load the next                          3   Number 7.
         4     exhibit --                                                          4      Q. Mr. Resnikoff, does this -- does the cover here
01:16    5          Actually, let me finish this thought.                 01:21    5   ring a bell at all?
         6       Q. I think the last bucket of contractors you                     6      A. Yes.
         7     mentioned was packaging companies.                                  7      Q. I'll flip through slowly.
         8          Can you run me through those, as well?                         8          MR. SINGH: Keyonn, the file that you uploaded,
         9       A. Yeah. There was American Packaging, and they                   9   was it supposed to be a .pdf?
01:17   10     were based out of the Bay Area. Again, a long time ago.    01:22   10          MR. POPE: Yes.
        11     Fuzzy on dates, but it was probably 2012. Probably                 11          MR. SINGH: Okay. For some reason the way your
        12     2012, 2013.                                                        12   files are downloading is --
        13       Q. Okay. Was that 2012 through 2013?                             13          I don't see Bates stamps on this.
        14       A. You know, I -- I -- I don't have a recollection               14          MR. POPE: It will be produced. It hasn't
01:17   15     on the ending, but it was definitely 2012 and into 2013.   01:22   15   been.
        16       Q. How about after American?                                     16          MR. SINGH: You obtained this from publicly
        17       A. After American Packaging I believe was Realm                  17   available information or elsewhere?
        18     West.                                                              18          MR. POPE: Yes.
        19       Q. What -- do you recall their dates?                            19      Q. I have gone through the slides. Does this ring
01:17   20       A. That was 2014 -- part of 2013 and then into           01:22   20   a bell at all? Does it look familiar, Mr. Resnikoff?
        21     2015, I believe.                                                   21      A. Yes.
        22       Q. Prior to American Packaging, were you                         22      Q. What is it?
        23     personally doing -- handling the packaging in-house?               23      A. It's an investor doc.
        24       A. Yes, I was.                                                   24      Q. Do you -- do you recall who created it?
01:18   25       Q. How about after Realm West? Say that five             01:23   25      A. Yes.

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01:23    1         Q. Who -- who was that?                                01:26    1      A. Possibly. Maybe late in 2016. I just -- I'm
         2         A. I believe -- actually, let me restate. I'm not               2   not -- I'm not 100 percent sure exactly when it was
         3      sure if it was my brother, Isaac Resnikoff, or my                  3   produced. But it was produced for the 2017 round.
         4      current designer, Bridget Jacobs.                                  4      Q. Got it. I am going to take you to some
01:23    5         Q. Okay. What -- now when you name -- I'm going        01:27    5   financials here which might help refresh your
         6      to call him Isaac because I don't want to confuse him              6   recollection.
         7      with Mr. Resnikoff that I'm talking to.                            7         It appears that --
         8            But when you say either Isaac or -- I'm drawing              8         Can you see these financials?
         9      a blank now.                                                       9      A. Yeah.
01:24   10         A. Bridget Jacobs.                                     01:27   10      Q. So it looks like --
        11         Q. When you say Isaac or Miss Jacobs, one of them              11      A. I guess it was -- I guess I was wrong. I guess
        12      created it, are you talking about the content of it?              12   it was -- I guess it was for 2018.
        13         A. The design.                                                 13      Q. And what -- what makes you say that?
        14         Q. The design. Who created the content?                        14      A. Because we have full year financials.
01:24   15         A. It was a blend.                                     01:27   15      Q. For 2017?
        16         Q. Of whom?                                                    16      A. Correct.
        17         A. Of myself, Andrea Kirschner, and also I had a               17      Q. And then 2018, 2019 and 2020 are all
        18      former interim CMO, Renae.                                        18   projections; right?
        19         Q. Anyone else involved?                                       19      A. Correct.
01:24   20         A. And then myself.                                    01:28   20         Wait. Hold on. I'm sorry.
        21         Q. Okay. I've got Andrea, Renae and yourself.                  21         MR. SINGH: I am going to caution the witness
        22         A. Yes.                                                        22   not to speculate.
        23         Q. Anyone else involved in creating the content?               23         THE WITNESS: You know, I -- I don't want to
        24         A. I think my wife may have copy edited some of                24   speculate.
01:25   25      the text.                                                 01:28   25      Q. BY MR. POPE: Up at the top left, can you see


                                                                 114                                                                      116
01:25    1        Q. What's your wife's name?                             01:28    1   my cursor?
         2        A. Elannah Cramer. E-L-A-N-N-A-H. C-R-A-M-E-R.                   2      A. Yes.
         3           Renae's last name is Scott.                                   3      Q. And it reads, "3 year P&L projections 2018 to
         4        Q. Thank you.                                                    4   2020"; right?
01:25    5           I wasn't going to ask you to spell your wife's       01:28    5      A. Yes.
         6     name. I didn't want to get you in trouble if you drew a             6      Q. Which?
         7     blank there.                                                        7      A. Yes, those are projections, 2018 through 2020.
         8        A. At the time her last name was Miss Cramer, and                8      Q. So 2017 are actuals; right?
         9     now it is Resnikoff.                                                9      A. Correct.
01:25   10        Q. He put a ring on it. I like it.                      01:28   10      Q. So this would have had to be sometime after
        11           And you said that the purpose of this deck, it               11   2017?
        12     was to present to investors?                                       12      A. Correct.
        13        A. That is correct.                                             13      Q. But likely before you had actuals, full-year
        14        Q. Do you remember the time frame of this deck?                 14   actuals for 2018?
01:26   15        A. I want to say it was for the 2017 round. But I       01:28   15      A. Correct.
        16     don't know the exact date it was actually created for              16      Q. So we're probably sometime -- somewhere in 2018
        17     that round. I just know it was around that period of               17   when this was put together, just based on looking at the
        18     time.                                                              18   financials?
        19        Q. Do you remember when -- when the 2017 round                  19      A. That is correct.
01:26   20     occurred, when you began sort of shopping for it, if you   01:29   20      Q. Okay. I want to walk through some of the
        21     will?                                                              21   products featured in the deck.
        22        A. I don't recall the exact period of time.                     22         I will go to page 12, so I am out a little bit.
        23     Within that year.                                                  23         This is your Awaken Baked, which we talked
        24        Q. Is it safe to say the deck was likely prepared               24   about a little bit earlier. Is this -- the attributes
01:26   25     sometime in 2017?                                          01:29   25   here, is that a fair description of the product?

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01:29    1        A. Yes.                                               01:32    1       A. Currently, it's re-releasing under the fully
         2        Q. Do you recall the date that you first sold the              2    functional.
         3     Awaken Baked?                                                     3       Q. Go to page 14, the Great Full. Attributes are
         4        A. I don't know the exact date. But it was in                  4    active -- accurate, rather?
01:29    5     20- -- in 2009.                                          01:33    5       A. Yes.
         6        Q. Do you still sell this product?                             6       Q. When did you first sell this product?
         7        A. It is currently being re-released, this                     7       A. 2011, as well.
         8     quarter.                                                          8       Q. Do you still sell it?
         9        Q. When is the last time you sold it?                          9       A. That one is also being re-released on our
01:30   10        A. The last time I sold it was end of 2019.           01:33   10    website.
        11        Q. This is your Chocolate Chip Nookie product and             11       Q. When is the last time you sold it?
        12     some of the attributes is -- I got a good laugh out of           12       A. Again, it was late 2019 or early 2020.
        13     Mr. Singh there.                                                 13       Q. Let's see. The Snap Back. Attributes
        14           MR. SINGH: It is about having a clear mind.                14    active -- accurate? I don't know why I keep saying
01:30   15     That's the attribute.                                    01:34   15    that. Attributes accurate?
        16           THE WITNESS: Yes, those are accurate                       16       A. Yes.
        17     attributes.                                                      17       Q. When did you begin selling Snap Back?
        18        Q. BY MR. POPE: Do you recall when you began                  18       A. Snap Back was 2011.
        19     offering this, the Chocolate Chip Nookie product?                19       Q. Is it still currently offered?
01:30   20        A. It was around 2010.                                01:34   20       A. It is being re-released this quarter.
        21        Q. Do you still offer --                                      21       Q. When did you last sell it?
        22        A. Can I rephrase? The name Chocolate Chip                    22       A. Late 2019 or very early 2020.
        23     Nookie, that was a name change in 2012. Prior to that            23       Q. And then the Mint Condition was coming soon.
        24     it was called Sexy Cookie.                                       24    Do you recall -- do you recall when this one released?
01:31   25        Q. The subtle approach, I like it.                    01:34   25       A. We couldn't get this one into the quality that


                                                                118                                                                     120
                                                                        01:34    1
01:31    1           MR. SINGH: I did not know that. I thought I                     I need our products to be, so the R&D did not go as well
                                                                                 2
         2     knew your company well. I did not know that. That is                  as I wanted it to.
         3     good to know.                                                     3      Q. Got it. So never released this one.
                                                                                 4
         4        Q. BY MR. POPE: What were the years it was called                     A. Under -- can I just clarify?
01:31    5     Sexy Cookie?                                             01:35    5      Q. Sure.
                                                                                 6
         6        A. 2010 through 2011. As I said, it stopped us                        A. Under this specific type of product. But Mint
                                                                                 7
         7     from getting into certain retailers.                                  Condition as a keto product did release.
         8        Q. I'm shocked.                                                8      Q. Thank you for that clarification.
         9           Do you still sell the Chocolate Chip Nookie?                9          When was that?
                                                                        01:35   10
01:31   10        A. This one, as well, we will be re-releasing this                    A. The release of the keto?
        11     quarter.                                                         11      Q. Yes.
                                                                                12
        12        Q. When was the last time you sold it?                                A. Circa August 2019.
        13        A. I want to say either late 2019 or very early               13      Q. I noted just from, sort of, doing my own
        14     2020.                                                            14   digging, there's some products that aren't featured in
01:32   15        Q. The re-release, will it be as we see it here?      01:35   15   here, and I just wanted to walk through those in a
        16        A. That is correct.                                           16   similar manner.
        17        Q. I guess the same question with the Awaken                  17          I'll start with the Cake Walk. When did you
        18     Baked, it is in the form we saw? I will go back to               18   first begin offering Cake Walk?
                                                                                19
        19     slide 12.                                                                A. August 2019.
01:32   20        A. Yes.                                               01:36   20      Q. Was that in the fully functional line?
                                                                                21
        21        Q. I only ask because it appeared just from                           A. No. That was under our keto line.
        22     peeking at your website, some products are being, sort           22      Q. Are you currently selling Cake Walk?
                                                                                23
        23     of, re-released under the keto line, which we'll talk                    A. That is true.
        24     about later, but . . .                                           24      Q. How about Champion Chip?
                                                                        01:36   25
01:32   25           So that's why I'm asking. Yeah.                                    A. Champion Chip came around in 2020.


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01:36    1        Q. Do you remember when?                                01:40    1      A. Sure.
         2        A. I believe October, November of 2021. Sorry.                   2      Q. Awaken Baked?
         3     2020.                                                               3      A. That would be me.
         4        Q. Is that keto, as well?                                        4      Q. How about Cake Walk?
01:36    5        A. Yes.                                                 01:40    5      A. That would be me.
         6        Q. You still currently sell it?                                  6      Q. Champion Chip?
         7        A. Yes.                                                          7      A. Me.
         8        Q. How about Cherry Bomb?                                        8      Q. Cherry Bomb?
         9        A. Cherry Bomb was a product, I believe it was                   9      A. Me.
01:36   10     around 2014 and 2015, give or take. And we don't sell      01:40   10      Q. Which ones didn't you do?
        11     that anymore. That was another fully functional one.               11      A. Let's see. The Snap Back, I believe my brother
        12        Q. When did you stop selling it?                                12   named that.
        13        A. I want to say around 2015, maybe -- maybe part               13      Q. Okay. Isaac Resnikoff?
        14     of 2016. I just don't recall the exact ending date.                14      A. Yes. Sorry.
01:37   15        Q. All good.                                            01:40   15         I believe he named Chocolate Chip Nookie.
        16           How about Peanut Power?                                      16      Q. Okay.
        17        A. Peanut Power was the name prior to Tough                     17      A. And he named Great Full.
        18     Cookie. And that was 2010, 2011 to 2000 -- right before            18         I want to say Sexy Cookie, but I'm not
        19     2012.                                                              19   100 percent on that one. And possibly Smart Cookie, as
01:37   20        Q. So 2010 through early 2012?                          01:41   20   well. But everything else I created.
        21        A. Peanut Power?                                                21      Q. You created the Tough Cookie name, as well?
        22        Q. Yes.                                                         22      A. I created it.
        23        A. I don't recall the exact switch, the exact                   23      Q. At the time new product names are developed,
        24     date.                                                              24   does -- does The Cookie Department have a process for
01:38   25        Q. Was there -- when you phased into calling the        01:42   25   clearing those names?


                                                                 122                                                                     124
01:38    1     Peanut -- what was previously known as Peanut Power, and   01:42    1         MR. SINGH: I'm going to caution the witness
         2     you changed it to Tough Cookie, were there periods where            2   that you can answer the question, just being careful not
         3     the two were in the marketplace at the same time?                   3   to disclose privileged information. I am not
         4        A. No, I don't believe so.                                       4   instructing you not to answer. You can answer the
01:38    5        Q. How about Smart Cookie?                              01:42    5   question without disclosing privileged information.
         6        A. Smart Cookie was the previous name before Great               6         THE WITNESS: Can you clarify the question?
         7     Full.                                                               7      Q. BY MR. POPE: Which portion of it?
         8        Q. What were the years?                                          8      A. What do you mean by "clearing"?
         9        A. That was 2011, roughly, to through 2012 -- no.                9      Q. With respect to potential legal issues.
01:39   10     Sorry. Right before we launched the Great Full in 2012.    01:42   10      A. We consult our counsel.
        11        Q. Same -- same question about the overlap: Were                11      Q. Does The Cookie Department have a written
        12     the two products in the market at the same time?                   12   process for adopting names?
        13        A. No.                                                          13         MR. SINGH: Object to form.
        14        Q. No.                                                          14         THE WITNESS: No.
01:39   15           The only one I think I have left is the Tough        01:43   15      Q. BY MR. POPE: At the time -- so, has it always
        16     Cookie, which I left for last for obvious reasons.                 16   been The Cookie Department's process to consult with
        17           Can you think of any other product names we                  17   counsel when adopting new names?
        18     haven't discussed?                                                 18      A. In -- before 2012, I did not have a counsel. I
        19        A. No.
                                                                                  19   did not have counsel, so at that time that was not the
01:39   20        Q. Who -- for each of these names, who developed
                                                                          01:43   20   case.
        21     the names?
                                                                                  21      Q. Okay. Was that the process at the time you
        22        A. Would you like me to list the names and then
                                                                                  22   adopted the Tough Cookie name?
        23     tell you -- do you want to maybe just ask me which name?
                                                                                  23      A. That was the process.
        24     It will be a little easier.
                                                                                  24         MR. SINGH: I am going to just object
01:40   25        Q. Why don't I walk through them in alpha order.
                                                                          01:43   25   retroactively. You said was that the process. And then


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01:44    1     he answered, but it is unclear from both of you what       01:48    1   probably have it in front of you as your notes from
         2     process you're referring to. I will just leave it at                2   today; right?
         3     that. If you want to clean up the record, it is up to               3      A. Can you share screen?
         4     you.                                                                4          (Whereupon, Exhibit 8 was marked
01:44    5           MR. POPE: I will clean it up. I think --             01:48    5           for identification by the Court Reporter
         6           MR. SINGH: I don't mean that to be disruptive.                6           and attached hereto.)
         7     I was just saying I think it was unclear.                           7      Q. BY MR. POPE: I will represent to you this is a
         8        Q. BY MR. POPE: It's fine.                                       8   verbatim copy of what Mr. Indrajana shared with us
         9           Mr. Resnikoff, you and I had some dialogue                    9   earlier, which are the notes that you have in front of
01:44   10     about the process The Cookie Department uses when it is    01:48   10   you, at least one of the two files.
        11     looking to adopt a new product name; right?                        11          MR. SINGH: I am getting confused, guys. You
        12        A. Yes.                                                         12   haven't share screened this yet. Is that it?
        13        Q. I think you, sort of, generally described that               13          MR. POPE: No, it's on screen.
        14     process as you consult with counsel; right?                        14      Q. Mr. Resnikoff, can you see what I'm sharing?
01:44   15        A. Yes.                                                 01:49   15      A. Let me put my glasses on.
        16        Q. I am going to refer to that consult with                     16          MR. SINGH: I see. I got confused because what
        17     counsel piece as the process.                                      17   you did you took -- you said notes, and I thought you
        18           MR. SINGH: Got it. Thank you.                                18   were just focused on the note document. You are putting
        19        Q. BY MR. POPE: I will ask the question again.                  19   in front of him a collection of everything that was in
01:45   20           At the time you adopted the Tough Cookie name,       01:49   20   front of him.
        21     was the process -- had the process already been adopted?           21          MR. POPE: This is the complete first file that
        22        A. Yes.                                                         22   Mr. Indrajana shared. I didn't want to tinker with it
        23        Q. Okay. Who was your counsel at the time the                   23   at all, so I put it up there in its totality. Of
        24     Tough Cookie name was adopted?                                     24   course, I'll direct the witness to the appropriate
01:45   25        A. That would be Bruno Tarabichi.                       01:49   25   pages.


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01:45    1         Q. Did you hire -- it is Mr. "Tarabichi"?              01:49    1         THE WITNESS: Does this have my notes in it?
         2         A. "Tarabichi."                                                 2      Q. BY MR. POPE: Yes.
         3         Q. Tarabichi.                                                   3      A. I actually don't have it in front of me.
         4            Did you hire Mr. Tarabichi?                                  4      Q. You had it in front of you earlier; right?
01:45    5         A. I did not personally hire Mr. Tarabichi. The        01:49    5      A. Yeah.
         6      Cookie Department hired Mr. Tarabichi.                             6      Q. I wanted to talk through the various iterations
         7         Q. Who on behalf of The Cookie Department hired                 7   of the Tough Cookie product, and that's why I came here,
         8      Mr. Tarabichi?                                                     8   because I had a recollection that there were some shots
         9         A. That would be my former co-founder, Pamela                   9   in here with some years. I thought that would make it
01:45   10      Marcus.                                                   01:50   10   easier.
        11         Q. Mr. Tarabichi was formally retained to                      11      A. I have that. I don't have --
        12      represent The Cookie Department?                                  12         Anyways, continue.
        13         A. Okay.                                                       13         MR. SINGH: Also, the email we sent you this
        14         Q. When did you first offer the Tough Cookie                   14   morning, the one that was sent to you before the
01:46   15      product for sale?                                         01:50   15   deposition started, also has screenshots there, too, as
        16         A. Early 2012.                                                 16   well, just so you know.
        17         Q. Are you still selling the Tough Cookie?                     17         MR. POPE: No. I appreciate it. This one has
        18         A. It is in the process of being re-released under             18   the years and just makes it easier.
        19      the fully functional line in this quarter.                        19         MR. SINGH: Yeah, yeah, because he annotated.
01:46   20         Q. When is the last time that you sold it?             01:50   20   That's right. Yeah, yeah.
        21         A. End of 2019.                                                21      Q. BY MR. POPE: I want to walk through it.
        22            MR. POPE: I will advance another.                           22         You said that the Tough Cookie product released
        23            I just uploaded another exhibit, which is our               23   in early 2012 sometime, and looking at the exhibit which
        24      internal Exhibit 29 but is Deposition Exhibit 8.                  24   came from your notes, I thought this would make it
01:48   25         Q. You will likely recognize this because you          01:50   25   easier. Is this a fair and accurate -- accurate

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                                                                  129                                                                    131
01:50    1     depiction of the Tough Cookie product at the time of its   01:54    1   Is it safe to assume this is a fair and accurate
         2     release?                                                            2   depiction of the planned re- -- re-release of the Tough
         3         A. This is one of those -- it's one version of it,              3   Cookie?
                                                                                   4
         4     yes. There are two versions, the difference between the                    A. With the exception of a couple of changes.
01:51    5     virgins is --                                              01:54    5      Q. Okay. What are those changes?
                                                                                   6
         6            Pardon me my French. I meant to say versions,                       A. It won't be a white chocolate macadamia cookie.
                                                                                   7
         7     not virgins. Sorry.                                                     It is a white chocolate almond cookie. And the grams of
                                                                                   8
         8            This one is our break size. This was our                         protein is lower than what it will be.
         9     smaller version of the original. The packaging looks                9      Q. Okay. So the 5 grams that is shown on the
01:51   10     the same, with the exception of instead of 5 grams of      01:54   10   slide -- or page 9 is inaccurate on what it will be?
                                                                                  11
        11     protein in it, it has 10 grams of protein.                                 A. And the size of the cookie is inaccurate. The
        12         Q. Got it. This one is half the size of the                    12   size of this cookie is 1.5-ounce. The size of the
        13     normal size, we'll say?                                            13   cookie will be 2 ounces, and the protein content is
                                                                                  14
        14         A. Correct.                                                         different.
01:51   15            They were both launched in early 2012.              01:54   15      Q. What will the protein content be?
        16         Q. That's all. Thank you.                                      16      A. 7 grams.
        17            2015 -- did you -- did you discontinue with the             17      Q. I notice in going from the picture on -- the
        18     product here on page 12 of the exhibit?                            18   packaging on page 9 of the exhibit, which is 2022, and
        19         A. This specific one?                                          19   the latest date on the slide -- the prior slide, slide
01:52   20         Q. Yes.                                                01:55   20   10 is 2019. Do you see that?
        21            MR. SINGH: Miss Court Reporter, I think we are              21      A. Correct.
        22     getting feedback from your end of the world because it             22      Q. So explain the gap between 2019 and 2022?
        23     lit up.                                                            23      A. The gap was that we decided in late 2019 to
        24            THE VIDEOGRAPHER: My apologies.                             24   start reformulating our fully functional line to keto.
01:52   25            THE WITNESS: Yeah, the break size we stopped        01:55   25      Q. Okay. Were there -- so the reformulation was


                                                                  130                                                                    132
01:52    1     using.                                                     01:56    1   completed in 2022?
         2         Q. BY MR. POPE: So this is an accurate depiction.               2      A. No. The launch -- the current launch that
         3     It's on page 11 is an accurate depiction of the                     3   we're slated for this quarter is the fully functional
         4     packaging for the Tough Cookie from 2015 to 2017?                   4   one, not the keto.
                                                                          01:56    5
01:52    5         A. That is accurate.                                                   Q. So in 2019 you began -- a decision was made to
         6         Q. I note it says "break size" here, as well.                   6   reformulate to keto?
                                                                                   7
         7         A. But it was in that packaging we stopped using.                      A. Yes.
         8         Q. Got it, got it.                                              8      Q. Is that process still in place?
         9            You were still offering the break size during                9      A. No. No. We have postponed that.
01:53   10     these years --                                             01:56   10      Q. When is the slated launch of the keto?
                                                                                  11
        11         A. Just the packaging that was formerly shown.                         A. We don't know at this moment.
        12         Q. Got it.                                                     12      Q. And what flavor was the keto version slated to
        13            Did the regular size, the 3-ounce Tough Cookie,             13   be?
        14     also have packaging similar to this during 2015 to 2017?           14      A. We were considering originally a double
                                                                          01:57   15
01:53   15         A. That is correct.                                                 chocolate. That changed. We were then working on --
        16         Q. And then in 2018 you shifted to the packaging               16   well, it was actually -- sorry.
        17     shown on slide 10 of the exhibit; right?                           17         Originally, we were considering trying to do
                                                                                  18
        18         A. Correct.                                                         peanut butter, and then down the road double chocolate.
        19         Q. Okay. Was the break size still being offered                19   Yeah. Sorry.
01:53   20     between 2018 and 2019?                                     01:57   20      Q. Did you -- are there mock-ups of the packaging
                                                                                  21
        21         A. I don't recall. I know there was some stock we                   for the keto version of the Tough Cookie?
                                                                                  22
        22     were selling off, but I don't recall the exact date that                   A. I don't have those in front of me, but, yeah,
                                                                                  23
        23     stock got sold off officially.                                          we did have mock-ups.
        24         Q. Got it.                                                     24      Q. For both the double chocolate, as well as the
01:53   25            And then the last picture here is labeled 2022.     01:57   25   peanut butter?


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01:57    1        A. I don't believe we had it for the peanut            02:01    1        Keyonn, I don't know. He was trying to show it
         2     butter.                                                            2   to you but it's blurred.
         3        Q. Okay.                                                        3      Q. BY MR. POPE: Okay, I see it.
         4        A. I'd have to check. I don't recall.                           4        I will go back for the record. I think what
01:58    5           MR. POPE: I put another document in the chat.       02:01    5   you were probably showing was page 14 of the prior
         6        Q. You will see -- are you familiar with the                    6   exhibit.
         7     Wayback Machine, Mr. Resnikoff?                                    7      A. Yep.
         8        A. Wayback Machine, no.                                         8      Q. Which bullet answers that question,
         9        Q. It is a colloquialism for a website called the               9   Mr. Resnikoff?
01:58   10     Internet Archive or a company called the Internet         02:02   10      A. Well, we started in 2020.
        11     Archive, which over time stores snapshots of various              11      Q. Which bullet is that?
        12     websites. And you can visit the Internet Archive to see           12      A. 2020, pandemic hit and put a pause on
        13     what a particular website might have depicted at a                13   reformulation.
        14     certain time. You can see --                                      14      Q. That's the third bullet; right?
01:59   15           I will represent to you this is a printout from     02:02   15      A. That is accurate.
        16     the Wayback Machine, and the web address is there, and            16      Q. So development of -- of the double chocolate
        17     from The Cookie Department's website as of October 20,            17   chip Tough Cookie product began in 2020.
        18     2021.                                                             18      A. Yes.
        19           Across here you see the 2021. You see the 10,               19      Q. Has -- has the product development been
01:59   20     which represents October, and then the 20, which          02:02   20   completed?
        21     represents the 20th. The rest of the dates are just               21      A. No.
        22     generated as part of the address.                                 22      Q. Why not?
        23           (Whereupon, Exhibit 9 was marked                            23      A. Because we had supply chain issues due to the
        24            for identification by the Court Reporter                   24   pandemic. We had labor issues with our co-packer, and
01:59   25            and attached hereto.)                              02:02   25   we tried to restart the formulation process with our


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01:59    1        Q. BY MR. POPE: It says "Baking this summer," and      02:03    1   co-packers, and they weren't able to get a recipe that
         2     it has a couple of cookies here.                                   2   we -- that we were happy with.
         3            On the left of page 2 of the exhibit is the                 3      Q. Okay. How about the white chocolate macadamia
         4     double chocolate protein Tough Cookie. Is that the                 4   flavored Tough Cookie; when did development of that
01:59    5     packaging that you were describing as the -- as one of    02:03    5   begin?
         6     the options for the planned keto release of Tough                  6      A. That began in early 2020.
         7     Cookie?                                                            7      Q. And is development complete?
         8        A. That is true.                                                8      A. Development is complete but, like I mentioned
         9        Q. I think you confirmed that the peanut butter                 9   in our last questions, that it is no longer a white
02:00   10     flavor you had not developed packaging for; right?        02:03   10   chocolate macadamia cookie. It is a white chocolate
        11        A. Right.                                                      11   almond cookie.
        12        Q. When was this double chocolate protein Tough                12      Q. When did -- when did development become final?
        13     Cookie developed?                                                 13      A. Development became final last week.
        14        A. Well, it was developed over the pandemic,                   14      Q. Why the change from macadamia to almond?
02:00   15     actually. It started development in 2021.                 02:04   15      A. The cost was a big factor.
        16        Q. You said in 2021?                                           16      Q. Any other reasons?
        17        A. Yeah. We started -- I'm sorry. 2020 we                      17      A. No. That's it.
        18     started -- and then -- yeah, we started in 2020.                  18      Q. Why the change from -- for purposes of the
        19            Sorry. I got my dates wrong.                               19   Tough Cookie from the peanut butter flavored Tough
02:00   20        Q. Is that in your notes, as well, Mr. Resnikoff?      02:04   20   Cookie to a white chocolate Tough Cookie?
        21        A. That is in my notes.                                        21      A. Because our current co-packer is a peanut-free
        22        Q. Where in your notes is it?                                  22   facility.
        23        A. Under "Reformulation of Tough Cookie."                      23      Q. Did -- did the peanut variety of -- or the
        24            MR. SINGH: It's blurred the way he is showing              24   peanut flavored Tough Cookie have nuts in it?
02:01   25     it. Just tell him.                                        02:04   25      A. Yes.

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02:05    1           Can we take a stretching break and a bathroom       02:20    1      Q. Okay.
         2     break?                                                             2         Let's try it and see what we get. So for -- I
         3           MR. POPE: Let's do it.                                       3   am going to share my screen. Sorry.
         4           THE WITNESS: I appreciate it.                                4         We are back on Exhibit 8 now, which is from
02:05    5           THE VIDEOGRAPHER: The time is 2:05 p.m. and we      02:21    5   your notes. I'm on page 12 of Exhibit 8.
         6     are off the record.                                                6         The Tough Cookie break size formulation from
         7           (Recess taken at 2:05 p.m. - 2:17 p.m.)                      7   2012 to 2014, do you remember how many calories are in
         8           THE VIDEOGRAPHER: The time is 2:17 p.m. and we               8   this one?
         9     are now back on the record.                                        9      A. I want to say they are between 100 to 150, but
02:18   10           MR. POPE: Thank you. Madam Court Reporter           02:21   10   I cannot -- I cannot specify the exact amount.
        11     graciously pointed out that I neglected to, on the                11      Q. How about fat?
        12     record, name the last exhibit or number the last                  12      A. I don't recall.
        13     exhibit. So it's our internal Exhibit 10, but it's                13      Q. What about sugar?
        14     Deposition Exhibit 9, which I'll put on the screen just           14      A. I feel like I'd be speculating if I guessed.
02:18   15     for clarity.                                              02:21   15      Q. Just to streamline, I don't want to -- I was
        16           It's the Wayback Machine exhibit I just wanted              16   going to go through a similar line of question for --
        17     to note that for clarity. Thank you, Madam Court                  17   questioning for the products that appear on page 11,
        18     reporter.                                                         18   which I'm showing you page 10, which is the peanut
        19           MR. SINGH: What's the internal exhibit number?              19   butter toffee variety from 2018 to 2019 and then the
02:18   20           MR. POPE: It's internal Exhibit 10 and              02:22   20   white chocolate macadamia variety for 2022.
        21     Deposition Exhibit 9. I have shared my screen so,                 21         Again, just to cut across the field a bit,
        22     hopefully, you can see it now.                                    22   would you recall similar questioning if I asked you
        23        Q. Mr. Resnikoff, I know we talked about the                   23   about those products?
        24     persons responsible for naming each of your products.             24      A. Yeah, it's similar, in the sense I don't have
02:19   25     But who -- who is responsible for developing the          02:22   25   the exact grams of sugar or fat, and, yes, correct.


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02:19    1     recipes?                                                  02:22    1      Q. Okay.
         2        A. I am.                                                        2      A. I can provide you with that information.
         3        Q. For all the products?                                        3          MR. SINGH: Keyonn, I am comfortable with him
         4        A. Yes.                                                         4   giving reasonable approximations that we can then verify
02:19    5        Q. We have talked about a few different, sort of,      02:22    5   and, obviously, discovery closes tomorrow. We are happy
         6     formulations of the Tough Cookie. Do each of those have            6   to work with you to make sure you get this information.
         7     different nutritional properties?                                  7   You let me know how you want us to do it.
         8        A. Yes.                                                         8          MR. POPE: Look, I don't want to -- I don't
         9        Q. Do you have -- do you have the nutrition labels              9   think it's critical to have Mr. Resnikoff speculate
02:19   10     for each of the versions that we discussed?               02:23   10   about it. It's fine. It's not that critical. What
        11        A. I don't have them on me, no.                                11   would be better probably for him and for us would be
        12        Q. Would that be something you can get on one of               12   just to have copies of the labels for each.
        13     the breaks?                                                       13          MR. SINGH: We will work on that and work to
        14        A. I don't think I can get it during the break                 14   get it to you in an appropriate time.
02:20   15     because it is not -- I don't have my computer with me.    02:23   15          The only thing is, because of him traveling and
        16        Q. Okay.                                                       16   whatnot, maybe we can work something out if it has to be
        17        A. But I can definitely consult with counsel in                17   given to you after tomorrow. We will leave it up to
        18     getting that to you.                                              18   you.
        19        Q. That would be helpful. Do you --                            19          MR. POPE: That's fine. It is not critical to
02:20   20           I don't want to spend a lot of time on this if      02:23   20   have it before tomorrow. That's fine.
        21     you don't have recollection. But do you -- do you know            21          MR. SINGH: Okay.
        22     some of the key nutritional properties, off the top of            22          MR. POPE: Thank you. That allows me to
        23     your head, if we were to walk through the various                 23   truncate a lot of my questioning, so that's good. Just
        24     formulations?                                                     24   making a note.
02:20   25        A. I'll do my best.                                    02:24   25      Q. Have consumers ever raised concerns about the


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02:24    1     nutritional properties of The Cookie Department's         02:27    1   of themselves. We know their focus on life is work;
         2     products?                                                          2   it's the passion of their lives and their loss. So what
         3        A. Not that I'm aware of, no.                                   3   we do is we try to take care of them,' says Wong."
         4           (Whereupon, Exhibit 10 was marked                            4          And Wong, I think up above, was identified as
02:24    5            for identification by the Court Reporter           02:27    5   someone affiliated with SpoonRocket.
         6            and attached hereto.)                                       6          Who is SpoonRocket, by the way?
         7           MR. POPE: I am going to load the next                        7       A. SpoonRocket was a customer of ours for a while.
         8     exhibits. It is internal Exhibit 20, and I believe it's            8   They are no longer in business, but at the time they
         9     Depo Exhibit 10. I will share my screen momentarily.               9   were, early on, to the gig economy of delivering fresh
02:25   10           MR. SINGH: I misnumbered. We are now at Depo        02:28   10   meals to consumers and offices.
        11     Exhibit 10; is that correct?                                      11       Q. Got it. That's helpful.
        12           MR. POPE: That's right. My internal 10 was 9                12          I am scrolling down, still on page 1. I'll
        13     for the depo. And now my internal 20 is 10 for the                13   highlight the sections I want to focus in on.
        14     depo.                                                             14          It goes on, still on Exhibit 10 here, "That is
02:25   15           MR. SINGH: Gotch you.                               02:28   15   not to say that The Cookie Department's cookies are
        16           MR. POPE: I am now sharing my screen.                       16   empty calories. 'You get your indulgence with butter,
        17        Q. It is an article dated at the top left May 29,              17   and flour and sugar, but you also get with each cookie,
        18     2014.                                                             18   you get a benefit of, you know, protein, to
        19           Do you see that, Mr. Resnikoff?                             19   coffee-caffeine, to probiotics, antioxidants,
02:25   20        A. I do.                                               02:28   20   detoxifying spices, superfoods,' says Akiva Resnikoff,
        21        Q. Have you seen this article before?                          21   The Cookie Department's co-founder."
        22        A. It's been a while.                                          22          I will go on and complete the quote.
        23        Q. But you have seen it at some point. I am not                23          "'You know, we basically create a product that
        24     asking if you remember vividly everything in it.                  24   goes beyond just selling an indulgence product. It
02:26   25        A. I don't remember vividly, but it looks familiar     02:28   25   actually becomes a healthier option for the average


                                                                 142                                                                    144
02:26    1     to me, yes.                                               02:29    1   consumer,' Resnikoff says. The protein-packed Tough
         2         Q. I can scroll through this if you want to read               2   Cookie is a popular option at gyms."
         3     it in its entirety. I am happy to do that.                         3          Did you see that?
         4            My line of questioning is going to be about                 4      A. Yes. I look back at it now and wish I had
02:26    5     specific passages, but I am happy to do whatever you      02:29    5   better grammar, but hey.
         6     prefer.                                                            6      Q. Just to understand -- to make sure I'm
         7         A. You can skip.                                               7   understanding, you all were -- The Cookie Department was
         8            MR. SINGH: Just let us know the page you are                8   providing its cookies to SpoonRocket; right?
         9     on.                                                                9      A. That is correct.
02:26   10            MR. POPE: Will do. I'm finding it myself.          02:29   10      Q. But SpoonRocket decided to replace The Cookie
        11            MR. SINGH: Are there only two pages on this?               11   Department's cookies for more nutritious offerings;
        12            MR. POPE: Yes.                                             12   right?
        13            MR. SINGH: The scrolling is kind of funny.                 13          MR. SINGH: Object to form.
        14            MR. POPE: I have got it zoomed in, hoping that             14          THE WITNESS: I can't speculate if -- if our
02:26   15     Mr. Resnikoff and the videographer can see it.            02:29   15   cookies were less nutritious than the offering they
        16         Q. This -- I'm on page -- I'm still on page 1. I              16   replaced it with.
        17     will highlight the block I want to focus in on right              17      Q. BY MR. POPE: That's what the article says;
        18     now.                                                              18   right?
        19            I will read it for a record.                               19          MR. SINGH: Object to form.
02:27   20            "For a while SpoonRocket started offering          02:29   20          THE WITNESS: Well, no, the article says in
        21     dessert with its health-centric meals, teaming with the           21   their opinion it was a nutritious offering so . . .
        22     cookie brand, The Cookie Department, but it decided to            22          But I'm not a food scientist.
        23     replace the cookies with smoothies and more salads to             23      Q. BY MR. POPE: I am going to read -- I will read
        24     maximize its nutritious offering. "We have programmers            24   the language back to you, and I have my cursor here, and
02:27   25     here and we love them. They don't necessarily take care   02:30   25   I am hoping you can see it.


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02:30    1            "But it decided to replace the cookies with         02:33    1   its employees with healthy food options. His original
         2     smoothies and more salads to maximize its nutritious                2   Awaken Baked cookie contains 300 calories, but the
         3     offerings."                                                         3   snack-sized version has only 170. Even with its
         4        A. Yes, they decided to replace our product with                 4   regular-sized cookies, The Cookie Department recommends
02:30    5     salads and smoothies.                                      02:33    5   only eating half for the right snack-sized portion."
         6        Q. And the rest of that is "to maximize its                      6          Did I read that accurately?
         7     nutritious offerings"; right?                                       7      A. Yes.
         8            MR. SINGH: Object to form.                                   8          MR. POPE: I will upload my next exhibit, so
         9            THE WITNESS: I don't know what they were                     9   this is internal Exhibit 13 but Deposition Exhibit 11.
02:30   10     thinking when they wrote that.                             02:34   10          (Whereupon, Exhibit 11 was marked
        11        Q. BY MR. POPE: That's what the article says;                   11           for identification by the Court Reporter
        12     right?                                                             12           and attached hereto.)
        13            MR. SINGH: Object to form.                                  13          MR. SINGH: I seem to be having a little bit --
        14            THE WITNESS: That's what the article -- that's              14   maybe it is just on my end. You put up Exhibit 13;
02:30   15     what the person who wrote the article says, yes.           02:34   15   correct?
        16        Q. BY MR. POPE: Did you ever receive any feedback               16          MR. POPE: Right. Internal Exhibit 13,
        17     from SpoonRocket on the nutritional values of The Cookie           17   Deposition Exhibit 11.
        18     Department's products?                                             18          MR. SINGH: For some reason, when I am double
        19        A. I don't recall, no, not in my recollection. It               19   clicking on your exhibit -- you know what? Just go
02:31   20     was a long time ago, no.                                   02:34   20   ahead. I don't want to hold you up. I will figure it
        21        Q. You don't recall or no, you never got the                    21   out, and if I need to come back to you, I will figure it
        22     feedback?                                                          22   out.
        23        A. I don't recall.                                              23          MR. POPE: Let me know. It's sizeable. It is
        24        Q. It could have happened?                                      24   24, 25 --
02:31   25        A. It could have happened.                              02:35   25          MR. SINGH: That's not the issue. You are


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02:31    1        Q. I am going to share my screen again. Same            02:35    1   naming this Exhibit 11?
         2     exhibit.                                                            2          MR. POPE: Yes.
         3           MR. SINGH: Madam Court Reporter, I am going to                3          MR. SINGH: Got it. Let me see if it
         4     get a belated objection on the record to Mr. Pope's                 4   straightens out.
02:31    5     previous question. My client answered very fast, which     02:35    5      Q. BY MR. POPE: Mr. Resnikoff, I will represent
         6     is object to form.                                                  6   to you that this is a printout from the U.S. Patent and
         7        Q. BY MR. POPE: It's the same exhibit, still on                  7   Trademark Office of the entire file history for The
         8     page 1.                                                             8   Cookie Department's 2012 trademark application for the
         9           It says, "Google stocks up on cookies from The                9   Tough Cookie mark.
02:32   10     Cookie Department for its employees."                      02:35   10          Does it look familiar at all? I will start
        11           "'Google was just the start of our tech                      11   there.
        12     take-over in Silicon Valley,' wrote Resnikoff in an                12      A. It does.
        13     email to us. In a recent update post for its original              13      Q. Here the top right, you will see it says "Tough
        14     KickStarter backers, he announced that it seemed like he           14   Cookie," which is the mark that was applied for.
02:32   15     was adding about one tech campus every week to his         02:36   15          The filing date was January 29, 2012.
        16     client base, counting Westfield Labs and Sony                      16          Does that sound about right for the timing of
        17     PlayStation among his various tech customers. The                  17   the filing what I'll call the first Tough Cookie
        18     company delivers to everywhere in the U.S. and Canada              18   trademark application?
        19     and plans to expand more this year."                               19      A. Yes.
02:32   20           It goes on, still on page 1, same exhibit, "To       02:36   20      Q. Are you okay as I refer to it as the first
        21     keep its customers on the healthy side, The Cookie                 21   Tough Cookie trademark application? Is that okay with
        22     Department scaled down its coffees" -- "its cookies,"              22   your understanding I'm referring to what I'm showing you
        23     rather, by half to a 'break size.' Resnikoff says he               23   now in Exhibit 11?
        24     made the change in direct response to feedback he got              24      A. Yes.
02:33   25     from Google, which, he notes, is conscious of supplying    02:36   25      Q. You see it's got serial number 85528080. And

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02:36    1      then here it's got an abandonment date of June 3, 2013.   02:39    1       Q. When was the last time you had any
         2            Do you see that?                                             2   communication with Mr. Tarabichi?
         3         A. Yes.                                                         3       A. I never had any communication with Mr.
         4         Q. If we go down further under the section that                 4   Tarabichi.
02:37    5      says "Goods and Services," we see it says, "For:          02:40    5       Q. Even throughout the process of this application
         6      Cookies." And then "International Class 30" is noted               6   being filed?
         7      and then the basis is "1B."                                        7       A. I wasn't part of the communication. That was
         8            We will come back to that.                                   8   my co-founder at the time.
         9            I will represent to you that there are a bunch               9       Q. So we talked a little bit about it being an
02:37   10      of different basis you can file an application, and 1B    02:40   10   intent to use.
        11      corresponds with intent to use. I will be able to shore           11          I'll jump to page 66. I think it's more
        12      that up and show you that in another place in this                12   clearly shown there. So on page 66, the same exhibit,
        13      document.                                                         13   Exhibit 11, you see here -- I'll put a box around it or
        14            Also this is ITU, filed as ITU. That                        14   I'll highlight it.
02:37   15      corresponds at 1B and the intent to use. And, again, I    02:40   15          "For specific filing basis information for each
        16      will show it to you in plainer English as we scroll               16   item, you must view the display with the input table."
        17      through this. Is that consistent with -- at the time              17          And it says, "International Class 30:
        18      this application was filed on January 29, 2012, had you           18   Cookies."
        19      begun using the Tough Cookie mark?                                19          Right, we saw that also above.
02:38   20         A. Yes.                                                02:41   20          And then it reads, "Intent to use. The
        21         Q. Why was the application filed as an intent to               21   applicant has a bona fide intention to use or use
        22      use application?                                                  22   through the applicant's related company or licensee the
        23            MR. SINGH: I am going to caution the witness                23   mark in commerce on or in connection with identified
        24      to not disclose privileged information. If you can                24   goods and/or services."
02:38   25      answer that without disclosing privileged information,    02:41   25          And then it cites to a certain section of the


                                                                  150                                                                    152
02:38    1     go ahead and do so.                                        02:41    1   U.S. Code.
         2            THE WITNESS: If I say anything, I will                       2          Do you see that?
         3     disclose privileged information; therefore, I can't                 3      A. I do.
         4     answer.                                                             4      Q. Did I read that accurately?
02:38    5         Q. BY MR. POPE: You would agree it was filed on        02:41    5      A. Yes, I read -- you read what was on the page.
         6     an intent to use basis?                                             6      Q. Okay. All right.
         7            MR. SINGH: Object to form.                                   7          Let me go back up. I am going up to page 2 of
         8            THE WITNESS: I can't speak on that. This was                 8   Exhibit 11, the section entitled "Prosecution History."
         9     handled by my co-founder at the time.                               9          And, Mr. Resnikoff, I will represent to you
02:38   10         Q. BY MR. POPE: But -- okay. We'll come back to        02:41   10   that in the intellectual properties space, namely
        11     that.                                                              11   patents and trademarks, is where prosecution probably
        12            The application was -- the owner is listed as               12   has a different connotation than what we think about it
        13     The Cookie Department, Inc., correct?                              13   as sort of more casually, right.
        14         A. Yes.                                                        14          We think about it, typically, in the context of
02:39   15         Q. And the attorney is Bruno Tarabichi. Forgive        02:42   15   criminal law. But in trademark law prosecution refers
        16     me. You pronounced this earlier. I am going to butcher             16   to the process of engaging with the trademark office
        17     it, though. What was his last name?                                17   to -- in an attempt to secure certain trademark rights.
        18         A. I don't know. Just kidding. Tarabichi.
                                                                                  18          So this reference to trademark history is
        19         Q. Tarabichi, okay. You talked about that he was
                                                                                  19   simply the history of this application, right, from the
02:39   20     engaged to -- he was former -- formerly engaged to
                                                                          02:42   20   time it was filed until, in this case, the abandonment.
        21     represent The Cookie Department; correct?
                                                                                  21      A. Uh-huh.
        22         A. Yes.
                                                                                  22      Q. So we saw up above it was filed in January 29,
        23         Q. Was Mr. Tarabichi -- do you know whether he was
                                                                                  23   2012. I won't read all of these, but on February 1, two
        24     paid to represent The Cookie Department?
                                                                                  24   days -- yes, two days, three days later, February 1,
02:39   25         A. He was.
                                                                          02:43   25   2012, there is an entry for the application being


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02:43    1     entered into the trademark system.                        02:47    1   applicant's proposed mark is Tough Cookie for cookies
         2           And subsequently, May 8, 2012, the application               2   and the registrant's referenced mark is One Tough Cookie
         3     was assigned to an examiner, so on and so forth.                   3   for cakes."
         4           What I want to focus us on is this November 9                4          Do you see that?
02:43    5     entry, one of the November 9 entries. "TEAS response to   02:48    5      A. Yes.
         6     office action received."                                           6      Q. That's on page 45. Let me jump down just so we
         7           Actually, no. I'm jumping ahead. I'm sorry.                  7   can complete this One Tough Cookie. I want to show
         8           It's this -- it's one of the November -- May 9,              8   where it's referenced here and tie it in with the owner
         9     yeah, the May 9 entries. It is "Examiner's                         9   and specific reference to the cited mark.
02:44   10     amendment/priority action emailed."                       02:48   10          On page 48, after it's given the analysis of
        11           I jumped down, and I wanted you to see the                  11   the rejection, it provides a copy of the registration.
        12     whole history and I will be poking -- pointing to                 12   So it's Registration Number 3164109.
        13     various points within the history.                                13          Do you see that, Mr. Resnikoff?
        14           You see the day this is directed to The Cookie              14      A. I do.
02:44   15     Department, but it looks like it's going to The Cookie    02:48   15      Q. And, again, the word mark is One Tough Cookie.
        16     Department's attorney at the time. The subject is the             16          Do you see that?
        17     Tough Cookie -- the first application, first Tough                17      A. I do.
        18     Cookie application. And the date is May 9, 2012.                  18      Q. And the date registered October 24, 2006;
        19           Do you see that, Mr. Resnikoff?                             19   correct?
02:44   20        A. I do.                                               02:48   20      A. Yes.
        21        Q. I will scroll down, and it's giving some                    21      Q. It goes on, "The owner is One Tough Cookie,
        22     examination about how the examiner searched and more              22   Inc., based in New York. Good and services, IC,"
        23     information about the same. There's a picture of the              23   standing for International Class, "30. Business and
        24     mark. Actually, I forgot these are in reverse order.              24   services is cakes." And the date of first use is listed
02:45   25           Here, page 44, similar setup. This went to          02:49   25   as May of 2005. Did I read all that correctly?


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02:46    1     your attorney or to The Cookie Department's attorney at   02:49    1      A. That is accurate.
         2     the time. It was sent on May 9, 2012. It's got the                 2      Q. Before this -- did you ever see this office
         3     application serial number 85528080. The mark is Tough              3   action at the time it was issued?
         4     Cookie.                                                            4      A. I don't recall.
02:46    5           Still at the bottom of page 44 under the            02:49    5      Q. When did you first become aware of One Tough
         6     heading "Priority Action" it reads, "The trademark                 6   Cookie Bakery?
         7     examining attorney has searched the USPTO's database of            7      A. You know, I don't recall if it was at the time
         8     registered and pending marks and has found no                      8   in 2012 during the application or later down the road.
         9     conflicting marks that would bar registration under                9   I don't recall the exact date.
02:46   10     Trademark Action 2(d)."                                   02:49   10      Q. Okay. If it was later down the road when --
        11           It goes on, "Issues the applicant must address              11   when might that have been?
        12     on May 9, 2012, the trademark examining attorney and              12      A. I just don't -- I don't recall the
        13     Bruno Tarabichi discussed the issues below. Applicant             13   conversation, if a conversation with my co-founder was
        14     must timely respond to these issues. The assigned                 14   had over this situation. I just don't recall.
02:47   15     examining attorney has reviewed the referenced            02:50   15      Q. Is there anything that would reflect --
        16     application and determined the following."                        16   refresh, excuse me, your recollection about when you
        17           It says, "Summary of issues that must be                    17   first became aware of One Tough Cookie, Inc.?
        18     addressed." And there's one which is "likelihood of               18      A. Possibly in an email. I don't know. I don't
        19     confusion."                                                       19   know.
02:47   20           Do you see that, Mr. Resnikoff?                     02:50   20      Q. Who would that email be between?
        21        A. I see that.                                                 21      A. I venture to guess. I venture to assume my
        22        Q. If we scroll down under -- it steps through the             22   co-founder and myself, but I don't know.
        23     analysis of likelihood of confusion under this section.           23      Q. Did you search for emails in connection with
        24     "Comparison of Marks."                                            24   discovery for this case?
02:47   25           I will just jump down. It says, "The                02:50   25      A. Did I search for emails?


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02:50    1        Q. Yes.                                                 02:53    1          MR. SINGH: Object to form.
         2        A. I did.                                                        2          THE WITNESS: I was referring to it because
         3        Q. Would your search have turned up an email like                3   that's the way we usually communicated. But I don't
         4      the one you described?                                             4   recall exactly specifically an email about this topic,
02:50    5        A. I -- I looked at a lot of discovery, and I           02:53    5   no.
         6      can't determine if that specific email was in there.               6       Q. BY MR. POPE: Okay. Just for purposes of the
         7        Q. Do you recall turning over an email like the                  7   record when I'm -- are you okay if I refer to One Tough
         8      one you described to your -- to your counsel?                      8   Cookie, Inc., as just One Tough Cookie going forward?
         9        A. I don't remember, no.                                         9       A. I am.
02:51   10        Q. Do you have a sense of the latest date you           02:54   10          MR. SINGH: Did we lose someone? Sorry. That
        11      would have become aware of One Tough Cookie?                      11   was weird.
        12            MR. SINGH: I object to form. Actually, Madam                12       Q. BY MR. POPE: On page 45 of Exhibit 11, again,
        13      Court Reporter, can you read back Mr. Pope's question,            13   it talks about the application being rejected, the first
        14      please?                                                           14   Tough Cookie application being rejected on likelihood of
02:51   15            (Record read as follows:                            02:54   15   confusion grounds.
        16            "Q Do you have a sense of the                               16          Do you see that here where my cursor is?
        17            latest date you would have                                  17       A. Yes.
        18            become aware of One Tough                                   18       Q. And I won't -- this is legal speak, so I won't
        19            Cookie?")                                                   19   bore you by going through it, each -- the nitty-gritty
02:51   20            MR. SINGH: Did you say the latest?                  02:55   20   details of each, but I do want to go through and just
        21            THE REPORTER: Yes.                                          21   point out that it is sort of the -- excuse me -- the
        22            MR. SINGH: Object to form.                                  22   section of the analysis related to likelihood of
        23        Q. BY MR. POPE: You can answer, if you can.                     23   confusion.
        24        A. Sorry?                                                       24          Do you see there is a section related to the
02:52   25        Q. I said you can answer, if you can.                   02:55   25   "Comparison of the Marks"; is that right?


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02:52    1        A. I can't recall.                                      02:55    1      A. I see that. But I'm not a trademark attorney,
         2        Q. Did you know about Tough Cookie prior to this                 2   so it is very difficult for me to speculate on any of
         3     application being filed?                                            3   this.
         4           MR. SINGH: Object to form.                                    4      Q. Yeah, no, look, I am not asking you to
02:52    5           THE WITNESS: Did I know --                           02:55    5   interpret anything here. I am merely pointing out that
         6        Q. BY MR. POPE: Let me rephrase that. That was                   6   this section heading here and just confirming that I'm
         7     bad.                                                                7   seeing it correctly.
         8           MR. SINGH: You just misspoke.                                 8          MR. SINGH: I am going to object to form.
         9        Q. BY MR. POPE: I did.                                           9          THE WITNESS: I see that. I'm sorry. My back
02:52   10           Did you know about One Tough Cookie, Inc.,           02:55   10   is just acting up right now.
        11     prior to the first Tough Cookie trademark application              11          MR. POPE: Do you need a break, Mr. Resnikoff?
        12     being filed?                                                       12          THE WITNESS: Could I take a break to stand up
        13        A. One Tough Cookie prior. I don't recall. Me                   13   and stretch?
        14     personally, I don't recall.                                        14          MR. POPE: Do you just need a quick one or do
02:52   15        Q. Is there anything that would help refresh your       02:56   15   you want to take a more extended one to get loose?
        16     recollection?                                                      16          THE WITNESS: Can you give me, like, 5 to 10?
        17        A. It was so long ago, to be honest with you.                   17          MR. POPE: Yes.
        18     Again, in discovery I looked at many, many, many                   18          THE WITNESS: I appreciate that. Thank you.
        19     thousands of documents, and I just don't recall                    19          THE VIDEOGRAPHER: The time is 2:56 p.m. We
02:53   20     specifically. I don't want to speculate.                   02:56   20   are now off the record.
        21        Q. I appreciate that.                                           21          (Recess taken at 2:56 p.m. - 3:06 p.m.)
        22           You referenced earlier that a potential email                22          THE VIDEOGRAPHER: The time is 3:06 p.m. We
        23     between yourself and Miss Marcus that might refresh your           23   are now back on the record.
        24     recollection on when you became aware of One Tough                 24      Q. BY MR. POPE: Mr. Resnikoff, when we left off
02:53   25     Cookie, Inc.; right?                                       03:06   25   we were on Deposition Exhibit 11, which is the May 9,


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03:06    1     2012, office action in connection with the first Tough     03:10    1       A. I don't have an opinion.
         2     Cookie trademark application.                                       2       Q. Why not?
         3            I've still got it on the screen. I am on page                3       A. Because I'm not a trademark attorney.
         4     45 of the exhibit. We were beginning to walk through,               4       Q. Okay. The next section is "Comparison of
03:07    5     at least, some of the headings related to the finding --   03:10    5    Goods." I am on the bottom of page 45 of Deposition
         6     the examiner's finding of likelihood of confusion.                  6    Exhibit 11.
         7            Do you recall that?                                          7          Do you see that heading "Comparison of Goods"?
         8        A. Yes.                                                          8       A. Okay.
         9        Q. Okay. I think before the break you were                       9       Q. This section, the text under it sort of breaks
03:07   10     explaining to me because you are not a trademark           03:10   10    across and spills over into Section 45. I'll highlight
        11     attorney that it was difficult for you to opine on, sort           11    as much as I can to begin with and give you a chance to
        12     of, the substance of the -- the analysis with respect to           12    review it similarly.
        13     likelihood of confusion.                                           13       A. Thank you. Okay.
        14            MR. SINGH: Object to form.                                  14       Q. A similar question: Do you have an opinion on
03:07   15            THE WITNESS: I just don't understand this --        03:11   15    the interpretation or meaning of the text I have
        16     this -- this explanation because I'm not an attorney,              16    highlighted?
        17     not a trademark attorney.                                          17       A. I don't.
        18        Q. BY MR. POPE: Okay. Are you an attorney at                    18       Q. Now just for completion, I will highlight the
        19     all?                                                               19    balance of the comparison of goods section, which are
03:07   20        A. No.                                                  03:12   20    the first two full paragraphs at the top of page 46 of
        21        Q. So you have no opinion on any of the substance               21    Deposition Exhibit 11. I will give you a minute to read
        22     of this document?                                                  22    that.
        23        A. I just can't comment on it because I don't -- I              23       A. Okay.
        24     don't understand it. It's not something I'm versed in.             24       Q. The same question: Any interpretation on the
03:08   25        Q. Understood.                                          03:12   25    meaning of the highlighted language?


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03:08    1           If I were to, for example, highlight this            03:12    1     A. No.
         2     section just under the "Likelihood Of Confusion"                    2     Q. Why not?
         3     section -- feel free. I'll zoom in. Take your time to               3     A. I'm not a trademark attorney.
         4     review it, and then I'll ask my question.                           4     Q. There is a section here under "Examiner
03:09    5        A. Okay.                                                03:12    5   Amendment." Do you see the Examiner's Amendment section
         6        Q. Okay. Is it -- do you have an opinion on what                 6   here on page 46 of Exhibit 11?
         7     the highlighted language means?                                     7     A. I see it.
         8        A. No.                                                           8     Q. I am going to highlight -- I am just going to
         9        Q. And that's because you're not a trademark                     9   highlight the Disclaimer section for you to read.
03:09   10     attorney?                                                  03:13   10     A. Okay.
        11        A. That is accurate.                                            11     Q. Any -- any opinion on the interpretation of the
        12        Q. So the heading just above the section                        12   highlighted language?
        13     highlighted here on page 45 of Exhibit 11, the heading             13     A. No.
        14     just above is "Likelihood of Confusion."                           14     Q. Why not?
03:09   15           If we go down there's another heading that           03:13   15     A. Because I'm not a trademark attorney.
        16     reads "Comparison of the Marks."                                   16     Q. All right. Let me stop sharing for a second.
        17           Do you see that?                                             17        I am sharing again, same exhibit, still on
        18        A. I do.                                                        18   Exhibit 11. I just needed time to orient on the page.
        19        Q. I am going to do a similar thing here, just                  19   I am at page 34 of Exhibit 11, and the caption here is
03:09   20     highlight that language. And take whatever time you        03:14   20   "Response to Office Action."
        21     need to review it and let me know when you're done.                21        Do you see that across the top?
                                                                                  22
        22        A. Okay.                                                               A. Yes.
        23        Q. Similar question with the section above. If I                23     Q. The date down at the bottom here, the bottom of
        24     were to ask you -- do you have an opinion on the meaning           24   page 34 is November 9, 2012.
03:10   25     of the highlighted language?                               03:14   25        Do you see that?


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03:14    1         A. I do.                                                     03:17    1   pace I'm going, I am happy to do that, too.
         2         Q. And then the signature section shows Bruno                         2         MR. SINGH: We would even be prepared to
         3       Tarabichi's name.                                                       3   stipulate that given -- actually, you know what? I am
         4              Do you see that?                                                 4   going to not say anything because I don't want to do
03:14    5         A. I do.                                                     03:17    5   anything that is going to in any way influence the
         6         Q. And Mr. Tarabichi is listed as attorney of                         6   witness. I will just say that if you wanted to
         7       record, and it notes that he's a member of the                          7   stipulate, we can stipulate. It is up to you. There
         8       California Bar.                                                         8   are a number of methods you can use to handle this.
         9              Do you see that?                                                 9         MR. POPE: Let me -- if we could stipulate and
03:14   10         A. I do.                                                     03:17   10   on the record note that the stipulation apply to the
        11           THE VIDEOGRAPHER: Mr. Pope, can you zoom out a                     11   witness, right, that would streamline things
        12       little bit, please?                                                    12   tremendously, I think.
        13              THE WITNESS: Yes. I'm starting to remember my                   13         MR. SINGH: Let's be careful on the wording. I
        14       age.                                                                   14   want to hear what the proposed wording of the
03:15   15              MR. POPE: O'Bryant, let me know if you need me          03:18   15   stipulation is.
        16       to scroll slowly.                                                      16         MR. POPE: What I intend to do is walk through
        17              THE VIDEOGRAPHER: You are doing fine so far.                    17   the entirety of this office action or the response to
        18       Thank you.                                                             18   the office action, right, here in Deposition Exhibit 11.
        19              MR. POPE: Okay. Okay.                                           19         MR. SINGH: Yep.
03:15   20         Q. I'm going to skip to page 37 of Depo Exhibit              03:18   20         MR. POPE: And establish that Mr. Resnikoff
        21       11. So we're still in this Response to Office Action                   21   won't have any opinion on any of the substance of the
        22       that was submitted on November 9, 2012.                                22   analysis and establish the reason for that, assuming
        23              I'll skip this preliminary section and point us                 23   that he won't have an opinion. And my assumption --
        24       to the Analysis section. And there's a heading                         24         MR. SINGH: Yep.
03:15   25       "Applicant's Tough Cookie Mark Does Not Create A               03:18   25         MR. POPE: My assumption -- my assumption would


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03:16        1     Likelihood Of Confusion With The Cited Mark."                03:18    1   be that he wouldn't have an opinion on any of the
             2            Do you see that?                                               2   substance and that the reason would be because he's not
             3         A. I see that.                                                    3   a trademark attorney.
             4         Q. I want to walk through the substance of this.                  4           That would be, sort of, the stipulation that I
03:16        5     I will just highlight it and similarly give you -- I'll      03:18    5   would propose.
             6     pause while you have a chance to digest it and you can                6           MR. SINGH: The only thing I would add to that
             7     let me know.                                                          7   is, as he previously testified, not only is he not a
             8         A. Okay.                                                          8   trademark attorney but he had no interaction with Bruno
             9         Q. Do you have an opinion on the meaning of the                   9   Tarabichi at all.
03:16   10         highlighted language?                                        03:19   10           MR. POPE: Understood.
        11             A. I don't.                                                      11           MR. SINGH: Those two facts combined make it
        12             Q. Why not?                                                      12   extremely difficult, and I understand why he is
        13             A. I'm not a trademark attorney.                                 13   answering the way he is.
        14             Q. Okay. I will give you a minute to read. I am                  14           Thus, we can stipulate to everything you said,
03:16   15         at the top of page 38, still on Exhibit 11.                  03:19   15   that he has no opinion -- just to be clear, no opinion
        16             A. Okay.                                                         16   on the analysis.
        17             Q. Any opinion on the highlighted language?                      17           MR. POPE: Yes.
        18             A. No.                                                           18           MR. SINGH: And, obviously, he may have
        19             Q. For the sake of trying to truncate this,                      19   opinions about facts ultimately that are not contained
03:17   20         because I'm being presumptuous here, but it's been the       03:19   20   in this analysis, but that he has -- I just don't want
        21         case that you haven't had much, if any, opinion on the               21   your stipulation to be used to say as the 30(b)(6)
        22         substance of these sections. I'm going to streamline,                22   witness he was not prepared, didn't know the related
        23         if that's okay with you, and move through it a little                23   facts, et cetera.
        24         quicker.                                                             24           MR. POPE: No. That -- that's not the intent
03:17   25                MR. POPE: Mr. Singh, if you prefer I go the           03:19   25   at all.


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03:19    1             MR. SINGH: Okay.                                    03:22    1   And then some analysis follows that spills over to the
         2             MR. POPE: I just --                                          2   top of page 40.
         3             MR. SINGH: Good. Then I can agree -- I can                   3         Are you comfortable with the stipulation
         4      agree that we can stipulate to the fact that Akiva                  4   covering that portion, as well?
03:19    5      Resnikoff as the Rule 30(b)(6) witness and also in his     03:22    5         MR. SINGH: I want to note, because this is a
         6      capacity as a 30(b)(1) witness today cannot opine or                6   somewhat unusual situation, my previous caveat on the
         7      provide an opinion on what this attorney wrote, given he            7   stipulation was that he's not -- that the stipulation is
         8      has testified he did not interact with this attorney                8   not applying to whether or not he has opinions on the
         9      and, obviously, he did not prepare this document.                   9   underlying facts.
03:20   10             MR. POPE: Okay. That's -- that's fine.              03:22   10         The way you just summarized that section, you,
        11             MR. SINGH: Do you want to ask Mr. Resnikoff,                11   kind of, read a selected portion that was an underlying
        12      obviously, just to be clean, do you want to ask him if             12   fact. I just want to be very clear this stipulation is
        13      he agrees to what we just said?                                    13   to the descriptions and legal writings of both the
        14          Q. BY MR. POPE: Yes, Mr. Resnikoff, were you                   14   examiner and the attorney, not to underlying facts.
03:20   15      listening in on my dialogue with Mr. Singh?                03:22   15         MR. POPE: I don't think I said anything about
        16          A. I was.                                                      16   underlying -- I am merely reading the headings for
        17          Q. And also, did you hear the proposed                         17   trying to make the record clear, as clean as I can.
        18      stipulation?                                                       18         MR. SINGH: I am making sure.
        19          A. I did.                                                      19         MR. POPE: The headings, presumably the
03:20   20          Q. Do you agree to be bound by it? Are you             03:23   20   attorney wrote them. So it would cover it; right?
        21      comfortable with it?                                               21         MR. SINGH: Right. We are at peace, Keyonn.
        22          A. Yes.                                                        22   We are at peace.
        23             MR. SINGH: Hold on a second. To be bound by                 23      Q. BY MR. POPE: Let me ask the question on this
        24      it, but we are agreeing that for the purpose of this               24   particular section. The section heading is, "The marks
03:20   25      depo his answer will be the same. The bound part           03:23   25   are different in terms of sound."


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03:20    1      concerns me a little bit, but yeah.                        03:23    1         Do you see that, Mr. Resnikoff, on the bottom
         2             MR. POPE: Okay. I wasn't being difficult.                    2   of page 39 of the exhibit?
         3             MR. SINGH: I know you weren't. It got a                      3      A. Yes.
         4      little ominous there. You got a little ominous. Who                 4      Q. There are some analysis that follows that we
03:21    5      are you trying to bind?                                    03:23    5   will skip past. Are you comfortable that the
         6             MR. POPE: All good.                                          6   stipulation applies to this section, as well?
         7          Q. Just for -- I want to flip through these to                  7      A. I am.
         8      make sure we're on -- to ensure we're on the same page              8      Q. Continuing on to near the top of page 40 of the
         9      and that the video captures it.                                     9   exhibit, the heading reads, "The marks are different in
03:21   10             Page 38 is a section, subsection (a) reads,         03:23   10   terms of meaning."
        11      "Applicant's mark is sufficiently dissimilar from the              11         And then there's some -- there's some analysis.
        12      cited mark to obviate any likelihood of confusion."                12         Are you comfortable that the stipulation covers
        13             And there is some analysis that follows.                    13   this portion, as well?
        14             Assuming that, Mr. Resnikoff, you would agree               14      A. I am.
03:21   15      that the stipulation applies to that section?              03:24   15      Q. Okay. And then there's toward the middle or
        16          A. Yes.                                                        16   bottom of page 40 of Exhibit 11, there's a heading that
        17          Q. Okay. And then there is another, sort of,                   17   reads, "The marks are different in terms of overall
        18      subheading at the top of page 39 of Deposition Exhibit             18   commercial impression."
        19      11, it says, "The marks are different in terms of                  19         Do you see that?
03:21   20      appearance." And some analysis follows. You're             03:24   20      A. I do.
        21      agreeing that the stipulation would cover this material,           21      Q. And then there is a short paragraph.
        22      as well?                                                           22         Do you see the short paragraph that I'm
        23          A. Yes, that's correct.                                        23   referring to?
        24          Q. Toward the bottom of page 39, there is another              24      A. The one you're circling, yes.
03:22   25      heading, "The marks are different in terms of sound."      03:24   25      Q. Yes, okay.


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03:24    1         Are you comfortable with the stipulation           03:27    1   section.
         2   covering that portion?                                            2      A. Okay. I have to say "stipulation" 10 times
                                                                               3   fast.
         3      A. Yes.
         4      Q. And there's some subheadings. I know it's kind              4      Q. I am going to stay in this document. I am
03:24    5   of weird, but the subheading -- subheading B, near the   03:27    5   going to go to page 30 of the document, which -- so page
         6   bottom of page 40 of the exhibit, Exhibit 11, reads,              6   30 of Exhibit 11, and this appears to be a memo of some
         7   "Applicant's cookies are sufficiently different from              7   sort addressed to Mr. Tarabichi on behalf of The Cookie
         8   registrant's goods to obviate any likelihood of                   8   Department.
         9   confusion."                                                       9         The subject line is "U.S. Trademark Application
03:25   10         Do you see that?                                   03:27   10   Number 85528080 for Tough Cookie," which we have been
                                                                              11   referring to as the first Tough Cookie trademark
        11      A. Yes.
        12      Q. There's a litany of analysis there.                        12   application.
        13         Are you comfortable that Section B is covered              13         Did I read all of that correct, Mr. Resnikoff?
        14   by the stipulation?                                              14      A. Yes.
                                                                      03:28   15      Q. And the date, I don't remember if I read the
03:25   15      A. I do.
        16      Q. Okay. And then there's Section C that begins               16   date already.
        17   toward the top of page 42 of Exhibit 11. It reads,               17         December 1, 2012, do you see that?
        18   "Applicant's and Registrants's trade channels are                18      A. Yes.
        19   sufficiently different to obviate any likelihood of              19         MR. POPE: Mr. Singh, are you comfortable with
03:25   20   confusion."                                              03:28   20   a similar stipulation? There will be a similar line of
        21         Do you see that?                                           21   questioning for this one.
                                                                              22         MR. SINGH: Yeah. I'm sort of questioning --
        22      A. I do.
        23      Q. Following still on page 42 there is, again,                23         Can we go off the record?
        24   some analysis that applies to Section C.                         24         MR. POPE: Yeah, sure.
03:25   25         Are you comfortable that this section is           03:28   25         THE VIDEOGRAPHER: The time is 3:28 p.m. and we


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03:25    1   covered by the stipulation?                              03:28    1   are now off the record.
         2      A. Section C, yes, the one you're circling, yes.               2          (Discussion held off the record at 3:28 p.m.
         3      Q. And at the top of page 43 of Exhibit 11, the                3           to 3:32 p.m.)
         4   heading D reads, "Registrant has failed to file a                 4          THE VIDEOGRAPHER: The time is 3:32 p.m., and
03:26    5   Section 8 declaration of use."                           03:32    5   we are now back on the record.
         6         Do you see that?                                            6          MR. POPE: Mr. Singh, I know we had some
         7      A. I do.                                                       7   discussion off the record about further stipulations
         8      Q. And the following that the -- the analysis that             8   similar to what we had agreed to thus far, and you
         9   follows it, are you comfortable that the stipulation              9   wanted to raise some concerns to that end.
03:26   10   covers it?                                               03:33   10          MR. SINGH: I just simply say if we are going
        11      A. Yes.                                                       11   to have a similar stipulation to the one agreed to in
        12      Q. I will take all of this together - again,                  12   connection with this exhibit, which, just for the
        13   trying to truncate -- but there are two sections, a              13   record, is Exhibit 11, the prosecution history for 2012
        14   disclaimer section and a conclusion section near the             14   registration application that was submitted by Bruno
03:26   15   bottom of page 43 of Exhibit 11.                         03:33   15   Tarabichi, that I would just add -- I'm adding this out
        16         Do you see those two sections?                             16   of an abundance of caution, that we are in agreement
        17      A. I do.                                                      17   with continuing to use the stipulation to just
        18      Q. And then there's analysis under both sections.             18   streamline this for the sake of time and efficiency,
        19         Do you see that?                                           19   provided that stipulation is just noted on the record.
03:26   20      A. Yep.                                               03:33   20   And I don't believe Mr. Pope objects, has no bearing on
        21      Q. Are you comfortable that the stipulation covers            21   level of preparation of our witness who did, in fact,
        22   both the disclaimer and the conclusion section?                  22   review these documents, as he previously testified, and
        23      A. Yes.                                                       23   also that it -- it has no effect in terms of an
        24      Q. All right. That was painful, but I think a lot             24   admission or any evidentiary significance other than
03:27   25   faster than it would have been had we gone section by    03:33   25   just allowing for streamlining of this deposition.


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03:34    1             MR. POPE: No objection. Not intending to use        03:37    1   stipulation would cover that analysis?
         2      this to attack any preparation or lack thereof.                     2      A. Yes, I am.
         3         Q. Okay. So with that in mind, I'm going to try                  3      Q. All right. We saved a lot of time.
         4      to go even faster. I think we have already, sort of,                4          Let's see.
03:34    5      reviewed.                                                  03:37    5          One other thing, same exhibit.
         6             We are still on Exhibit 11, top of page 30,                  6          Page 3, same exhibit, Deposition Exhibit 11,
         7      which I will represent is the final office action that              7   the top reads "Notice of Abandonment."
         8      the examiner issued in connection with the first Tough              8          Do you see that, Mr. Resnikoff?
         9      Cookie trademark application. The contents I'll just                9      A. I do.
03:34   10      scroll through quickly.                                    03:38   10      Q. And the date is July 1, 2013.
        11             THE REPORTER: It's not on screen share.                     11          Do you see that?
        12             MR. POPE: I'm sorry. Forgive me. Let me do                  12      A. I do.
        13      that.                                                              13      Q. Serial Number 85528080.
        14             Thank you, Madam Court Reporter.                            14          Do you see that?
03:35   15         Q. Can you all see it now?                              03:38   15      A. I do.
        16         A. Yes.                                                         16      Q. And the mark is Tough Cookie; right?
        17         Q. Okay. I'm just going to scroll through this                  17      A. Yes.
        18      quickly. This is details about the application in the              18      Q. And then the owner is The Cookie Department,
        19      prosecution history. Mr. Tarabichi's name is the                   19   Inc.; right?
03:35   20      correspondent. The mark itself.                            03:38   20      A. Correct.
        21             I think I'm going -- I think I'm going the                  21      Q. In notes here, at the top "Trademark
        22      wrong direction.                                                   22   Application identified above was abandoned in full
        23             Let me stop sharing so I can get to the right               23   because a response to the office action mailed on
        24      page.                                                              24   December 1, 2012, was not received within the six-month
03:35   25             So page 4 of -- of Exhibit 11, similar              03:38   25   response period."


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03:36    1      information at the top, to Mr. Tarabichi. The subject      03:38    1         Did I read that correctly, Mr. Resnikoff?
         2      is the first Tough Cookie application, and then this was            2      A. You read that properly.
         3      sent on December 1, 2012.                                           3      Q. I will go back here to the prosecution history
         4            Do you see that, Mr. Resnikoff?                               4   and just note it goes, sort of, in reverse chronological
03:36    5         A. I do.                                                03:38    5   order. So the last date is the July 1, 2013, date.
         6         Q. As opposed to going through this section by                   6         Do you see that?
         7      section --                                                          7      A. I do see that.
         8            One other thing I want to note is that this                   8      Q. It notes "Abandonment notice mailed. Failure
         9      was -- again, it references being a final office action             9   to respond."
03:36   10      here near the top of page 5 of Exhibit 11.                 03:39   10         I am on the middle of page 2 of Exhibit 11.
        11            Do you see that, Mr. Resnikoff?                              11         Do you see that?
        12         A. I see that.                                                  12      A. I see that.
        13         Q. Okay. As opposed to going through this in                    13      Q. Just for the record, there are no dates in this
        14      truncated fashion, I'll skip down. It doesn't have, you            14   chart, in the prosecution history, after -- after that
03:36   15      know, sort of, the broken-out headings and subheadings     03:39   15   July 1 abandonment notice was mailed; right?
        16      as the prior ones do.                                              16         MR. SINGH: Object to form.
        17            Do you see this heading "Likelihood of                       17         THE WITNESS: In this prosecution history on
        18      Conclusion - Final," here near the top of page 5 of                18   this page you're showing me, it does not seem that there
        19      Exhibit 11, Mr. Resnikoff?                                         19   are dates after July 1, 2013, printed.
03:37   20         A. I see that text, yes.                                03:39   20      Q. BY MR. POPE: Okay. Do you know whether
        21         Q. And then underneath it has what -- the analysis              21   additional action was taken with respect to the first
        22      related to that. It continues on through page 6.                   22   Tough Cookie trademark application beyond July 1?
        23            Do you see that?                                             23      A. I am unaware.
        24         A. I see that.                                                  24      Q. Have you -- you've reviewed this document, I
03:37   25         Q. Are you comfortable that the previously noted        03:39   25   think you mentioned earlier?


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                                                                          03:44    1      Q. Any that you can recall?
03:40    1         A. I reviewed it, yes.
         2         Q. In preparation for today's deposition?                       2      A. I did -- do I recall -- I don't remember the
                                                                                   3   name of the entity specifically, but I remember that
         3         A. Correct.
         4         Q. In your review, have you seen any additional                 4   they had dessert-like cookies.
03:40    5      action beyond this July 1, 2013, date?                    03:44    5         If I remember correctly, they weren't
         6            MR. SINGH: Object to form. You mean in                       6   functional in the sense that I use functional. But they
         7      connection with this application, Keyonn?                          7   had a sentence and "tough cookie" was on those -- was in
         8            MR. POPE: Yes.                                               8   the sentence, within the sentence on the front of the
         9            MR. SINGH: You know, he's not a lawyer, so                   9   cookie.
03:40   10      you've termed "action."                                   03:45   10      Q. Any others that you can think of?
        11            MR. POPE: Sorry. Let me rephrase that and                   11      A. No. I mean, with the exception of ONE Bar
        12      dial back some of the jargon.                                     12   using "Tough Cookies Only."
        13         Q. In reviewing this document, Mr. Resnikoff, have             13      Q. Okay.
        14      you -- have you seen -- did you see any activity after            14      A. I had to throw that in here.
03:40   15      July 1 in connection with the first Tough Cookie          03:45   15      Q. Let's see here. I will share this again, the
        16      trademark application?                                            16   same exhibit, and just reference this July -- still on
                                                                                  17   July -- still on Exhibit 11, page 2, the prosecution
        17         A. I don't recall.
        18         Q. You don't recall seeing any, you are saying?                18   history.
                                                                                  19         The last date here was July 1, 2013. Is that
        19         A. That is correct.
03:41   20         Q. Okay. Mr. Resnikoff, did you -- at the time         03:46   20   right, Mr. Resnikoff?
        21      you started The Cookie Department, was it -- did you              21      A. On this sheet of paper, in this prosecution
        22      ever consider producing protein bars?                             22   history, yes, it says July 1, 2013.
                                                                                  23      Q. Okay. And there -- there was, at some point, a
        23         A. No.
        24         Q. Ever give it any thought?                                   24   second trademark application filed by The Cookie
03:42   25            MR. SINGH: Object to form.                          03:46   25   Department for Tough Cookie; correct?


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03:42    1           THE WITNESS: Can you repeat the question?            03:46    1      A. After this, yes.
         2           MR. POPE: Madam Court Reporter, can you read                  2      Q. Do you recall when that was?
         3     it back for us?                                                     3      A. That was late 2018.
         4           (Record read as follows:                                      4         MR. POPE: Let me stop sharing. I have
03:42    5           "Q Mr. Resnikoff, did you --                         03:47    5    uploaded internal Exhibit 16, which I think should be
         6           at the time you started The                                   6    Deposition Exhibit 12.
         7           Cookie Department, was it --                                  7         (Whereupon, Exhibit 12 was marked
         8           did you ever consider producing                               8          for identification by the Court Reporter
         9           protein bars?                                                 9          and attached hereto.)
03:42   10           "A No.                                               03:47   10      Q. BY MR. POPE: Can you see the share screen,
        11           "Q Ever give it any thought?")                               11    Mr. Resnikoff?
        12           THE WITNESS: I can't recall if I thought about               12      A. Yes.
        13     it.                                                                13      Q. Does this document look familiar?
        14         Q. BY MR. POPE: So you might have thought about                14      A. Yes.
03:43   15     it?                                                        03:47   15      Q. Did you review it in preparation for today's
        16         A. I don't recall.                                             16    deposition?
        17         Q. Mr. Resnikoff, aside from One Tough Cookie, are             17      A. Yes.
        18     you aware of any other entities that use the term "Tough           18      Q. At the top here it shows the mark is Tough
        19     Cookie"?
                                                                                  19    Cookie.
03:43   20         A. I am.
                                                                          03:48   20         Do you see where my cursor is?
        21         Q. What entities are you aware of?
                                                                                  21      A. Yes.
        22         A. I can't specify specific ones by company -- by
                                                                                  22      Q. And then it is U.S. Serial Number 88164585.
        23     entity names, but I did see some in -- in prep.
                                                                                  23         Do you see that?
        24         Q. Are they listed in your notes?
                                                                                  24      A. I do.
03:44   25         A. They are not.
                                                                          03:48   25      Q. And then the application filing date is


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03:48    1     October 22, 2018. Correct?                                 03:51    1          THE WITNESS: I'm not a trademark attorney, so
         2        A. Yes.                                                          2   I can't answer that.
         3        Q. Is that -- is this -- does this appear to be a                3      Q. BY MR. POPE: You -- you cited to common law
         4     copy of the prosecution history for the second Tough --             4   use which sounds a little legal in nature.
03:48    5     the second Tough Cookie trademark application that we      03:51    5          MR. SINGH: Go ahead. Sorry. I thought --
         6     were discussing previously?                                         6          Go ahead. I have another objection I have to
         7        A. Yes.                                                          7   make retroactively, but I can do it all at once.
         8        Q. Are you okay with us referring to it as the                   8      Q. BY MR. POPE: Sure.
         9     second Tough Cookie trademark application?                          9          You refer to common law rights, which is a
03:48   10        A. I am.                                                03:51   10   pretty legal term; hence, my follow-up about what the
        11        Q. My question is, between July 1, 2013, which was              11   significance of the TM is.
        12     the last date that we saw for the prosecution history of           12          MR. SINGH: Is there a pending question? I
        13     the first Tough Cookie trademark application, so from              13   lost track whether that was the final --
        14     July 1 through October -- July 1, 2013, between October            14          MR. POPE: Get your objection in.
03:49   15     22, 2018, what did Tough -- what did The Cookie            03:52   15          MR. SINGH: My objection is just object on
        16     Department do to protect its Tough Cookie mark?                    16   privilege.
        17            THE WITNESS: We used --                                     17          You can answer questions to the extent you do
        18            MR. SINGH: Madam Court Reporter, can you read               18   not disclose privileged communications between you and
        19     back Mr. Pope's question, please?                                  19   your current or past counsel.
03:50   20            (Record read as follows.                            03:52   20          THE WITNESS: If I do say anything at this
        21            "Q My question is, between                                  21   point to answer your question, I would be disclosing
        22            July 1, 2013, which was the                                 22   privilege.
        23            last date that we saw for the                               23          MR. POPE: That's fair.
        24            prosecution history of the                                  24      Q. Did you -- did The Cookie Department have a
03:50   25            first Tough Cookie trademark                        03:52   25   process of checking the marketplace for other users of


                                                                  186                                                                    188
03:50    1           application, so from                                 03:52    1   Tough Cookie marks?
         2           July 1 through October --                                     2      A. We didn't have an official process, but we did
         3           July 1, 2013, between October                                 3   do and continue to do searches through the Internet.
         4           22, 2018, what did Tough --                                   4      Q. When you say "we," who is we?
03:50    5           what did The Cookie Department                       03:53    5      A. I mean "we" as The Cookie Department.
         6           do to protect its Tough Cookie                                6      Q. Who specifically within The Cookie Department
         7           mark?")                                                       7   does these searches?
         8           MR. SINGH: Object to form.                                    8         MR. SINGH: I am going to caution the witness
         9           MR. POPE: Let me re-ask it to make it a little                9   if you can answer the question without disclosing
03:50   10     cleaner.                                                   03:53   10   privileged information or to just focus on nonprivileged
        11        Q. Between -- for the period July 1, 2013, to                   11   communication, you can do so.
        12     October 21, 2018, what did The Cookie Department do to             12         THE WITNESS: I personally --
        13     protect its Tough Cookie mark?                                     13         MR. SINGH: Please do not disclose privileged
        14        A. We used a common law mark.                                   14   information.
03:50   15        Q. What does that mean?                                 03:53   15         THE WITNESS: I personally will do publicly
        16        A. A TM.                                                        16   available Google searches.
        17        Q. A TM. Tell me more.                                          17      Q. BY MR. POPE: When did you start doing those?
        18        A. Well, we used the symbol "TM" on the package.                18      A. I don't recall exactly when.
        19        Q. On which package?                                            19      Q. Was it within the last five years?
03:50   20        A. Tough Cookie.                                        03:54   20      A. Probably within the last six to seven years.
        21        Q. So for uses of Tough Cookie on the packaging,                21      Q. And you said you continue to do the searches,
        22     you included a "TM." Is what you're saying?                        22   as well?
        23        A. That is accurate.                                            23      A. Yes.
        24        Q. What does -- what does that "TM" mean?                       24      Q. When you -- when you conduct those searches, do
03:51   25           MR. SINGH: Object to form.                           03:54   25   you ever save any of those searches?

                                                                                                            47 (Pages 185 to 188)
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03:54    1        A. No.                                                  03:57    1    object or not.
         2        Q. When did The Cookie Department become aware of                2          MR. SINGH: Let me just make the objection and
         3     ONE Brand's use of the Tough Cookies Only personality               3    caution the witness.
         4     tag?                                                                4          THE WITNESS: Can I actually --
03:54    5        A. October 2018.                                        03:57    5          MR. SINGH: Hold on a second. Let me, because
         6        Q. Do you know the specific date in October? I                   6    I want to do this cleanly without influencing you.
         7     think it's probably in your notes.                                  7          I will withdraw the objection.
         8        A. Yeah.                                                         8          MR. POPE: Madam Court Reporter, can you read
         9           MR. SINGH: You are very helpful, Keyonn.                      9    back the question, please?
03:54   10           Where is the question?                               03:58   10          (Record read as follows:
        11           THE WITNESS: I believe it was October 15.                    11          "Q How about your wife? Did
        12     Yes, October 15, 2018.                                             12          you talk to your wife about
        13        Q. BY MR. POPE: Okay. How did you become aware?                 13          it?")
        14     How did The Cookie Department become aware?                        14          THE WITNESS: Yes, but I am not sure exactly
03:55   15        A. Shopping at a Trader Joe's.                          03:58   15    when I did.
        16        Q. Who specifically discovered it?                              16       Q. BY MR. POPE: Would you have had email
        17        A. I did.                                                       17    discussion with your wife about it?
        18        Q. And what did you do when you discovered it?                  18       A. Possibly. I don't recall.
        19        A. Shopped.                                                     19       Q. How about text messages?
03:55   20           What did I do? I can't disclose that due to          03:58   20       A. Possibly, but I don't recall.
        21     privilege.                                                         21       Q. Is there anyone else you might have discussed
        22        Q. Did you -- did you have any communications                   22    it with, aside from counsel?
        23     about the discovery with anyone other than counsel?                23       A. I don't specifically recall who I had
        24        A. I don't recall.                                              24    conversations with outside of counsel and the people
03:55   25        Q. Did you discuss with Miss Kirschner?                 03:59   25    that I stated.


                                                                  190                                                                  192
                                                                          03:59    1
03:56    1        A. I may have, but I don't recall.                                         Can I use the restroom, or are you done?
                                                                                   2
         2        Q. Is there anything that would refresh your                            Q. Sure. We're taking a lot of bathroom and back
                                                                                   3
         3     recollection?                                                           breaks.
                                                                                   4
         4        A. I don't know.                                                        A. I have been drinking a lot of water.
                                                                          03:59    5
03:56    5        Q. Did you discuss with your brother, Isaac?                            Q. They come at odd times. We will take a break.
                                                                                   6   Take a break.
         6        A. I definitely -- I think I discussed it, but I
                                                                                   7         MR. SINGH: I am going to stay right here.
         7     don't know when.
                                                                                   8
         8        Q. Did you -- did you email with him about it?                             MR. POPE: No, no, no. Take a break.
                                                                                   9         MR. SINGH: No, no. There's no -- there's
         9        A. I may have. I don't recall how it was done, if
                                                                          03:59   10   nothing -- he's been drinking a lot of water. I am
03:56   10     it was done.
                                                                                  11
        11        Q. How about your wife? Did you talk to your wife                    going to stay right here.
                                                                                  12
        12     about it?                                                                     MR. POPE: It's all good. Me, too.
                                                                                  13
        13           MR. SINGH: I'm going to object on the basis of                          I am going to the restroom, as well. You guys
                                                                                  14
        14     spousal privilege. She's not a party in this matter.                    have at it.
                                                                          03:59   15
03:57   15     She does not work in connection -- she doesn't work as                        Mr. O'Bryant, please, go off the record.
                                                                                  16
        16     an employee for The Cookie Department. I am happy to                          THE WITNESS: This is my proof of water.
                                                                                  17
        17     meet and confer with you, but where are you heading with                      THE VIDEOGRAPHER: The time is 3:59 p.m. and we
                                                                                  18
        18     this?                                                                   are off the record.
                                                                                  19
        19           MR. POPE: You're invoking spousal privilege?                            (Recess taken at 3:59 p.m. - 4:07 p.m.)
                                                                          03:59   20
03:57   20     That doesn't apply in the civil context.                                      THE VIDEOGRAPHER: The time is 4:07 p.m., and
                                                                                  21
        21           MR. SINGH: In the -- I am trying to                               we are now back on the record.
                                                                                  22
        22     understand --                                                              Q. BY MR. POPE: Mr. Resnikoff, I think we had
                                                                                  23
        23           MR. POPE: If you have got an objection, and                       established you personally became aware of ONE Brand's
                                                                                  24
        24     you are instructing him not to answer.                                  use of Tough Cookies Only on October 15, 2018; right?
                                                                          04:07   25
03:57   25           I don't have to preview my question. You                             A. Yes.


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                                                                193                                                                     195
04:07    1        Q. And then a week later, on October 22, 2018, the     04:12    1         "Q The same exhibit, Exhibit
         2     second Tough Cookie trademark application was filed;               2         12, and I'm on page 43 of the
         3     right?                                                             3         exhibit, and similar format as
         4        A. Yes.                                                         4         we've seen before. I will
04:07    5        Q. I want to share my screen again. This has been      04:12    5         represent to you that this is
         6     marked as Depo Exhibit 12. It is internal Exhibit 16,              6         an office action that was
         7     which is the prosecution history for the second Tough              7         issued in connection with the
         8     Cookie trademark application.                                      8         second Tough Cookie trademark
         9            Mr. Resnikoff, you said that you did review                 9         application.
04:08   10     this in preparation for today; right?                     04:12   10         "And in form it looks similar
        11        A. Yes.                                                        11         to the ones that we walked
        12            MR. SINGH: Can you speak up, please, Mr.                   12         through, the office actions
        13     Resnikoff. I didn't hear the answer.                              13         that we went through for the
        14            THE WITNESS: Yes, I did.                                   14         first trademark application,
04:08   15        Q. BY MR. POPE: Okay. Thank you. I am going to         04:12   15         the first Tough Cookie
        16     go to page 18 of Exhibit 12. Let me go back up. Sorry.            16         trademark application.
        17            Just to sort of walk through the basics.                   17         Would you agree?")
        18            So on page 1 of Exhibit 12, there is a section             18         MR. SINGH: I am going to object to form.
        19     that talks about "Goods and Services." And it says,               19         MR. POPE: Let me reword that. It was a
04:08   20     "For: Cookies, cookies and crackers, cookies with nuts,   04:12   20   mouthful.
        21     almond cookies, chocolate covered cookies, vegan                  21     Q. I am showing you Exhibit 12 on the screen. We
        22     cookies."                                                         22   are at page 43.
        23            Do you see that?                                           23         Do you see that, Mr. Resnikoff?
        24        A. Yes.                                                        24     A. I do.
04:09   25        Q. And the primary class or international class,       04:12   25     Q. This layout, does this layout look familiar to


                                                                194                                                                     196
04:09    1     it says "30 - Primary Class."                             04:12    1   you?
         2           Did I read that right?                                       2      A. Yes.
         3         A. Yes.                                                        3      Q. In particular, does it look similar to previous
         4         Q. And then it says, "First Use: January 1,                    4   office actions that we went through for the first Tough
04:09    5     2012."                                                    04:12    5   Cookie trademark application?
         6           Do you see that?                                             6          MR. SINGH: Object to form.
         7         A. I do.                                                       7          THE WITNESS: I'm not sure. I'm not a
         8         Q. I am going to stop sharing so you guys don't                8   trademark attorney, so it hard for me to exactly spot on
         9     have your heads swimming while I scroll pages. Bear                9   say.
04:10   10     with me a second. I must have marked the wrong page       04:13   10      Q. BY MR. POPE: No worries. Let's walk through
        11     inadvertently.                                                    11   the substance.
        12           The same exhibit, Exhibit 12, and I'm on page               12          On to the top here where my cursor is, it says
        13     43 of the exhibit, and similar format as we've seen               13   "To: The Cookie Department," but this time on behalf of
        14     before. I will represent to you that this is an office            14   your then current counsel and still current counsel,
04:11   15     action that was issued in connection with the second      04:13   15   right, Mr. Indrajana; correct?
        16     Tough Cookie trademark application.                               16      A. That is correct.
        17           And in form it looks similar to the ones that               17      Q. The subject is U.S. Trademark Application
        18     we walked through, the office actions that we went                18   Number 8816455 for Tough Cookie. Is that right?
        19     through for the first trademark application, the first            19      A. That is accurate.
04:11   20     Tough Cookie trademark application.                       04:13   20      Q. And we have colloquially been referring to that
        21           Would you agree?                                            21   as the second Tough Cookie trademark application; right?
        22           MR. SINGH: Madam Court Reporter, can you read               22      A. That is accurate.
        23     back Mr. Pope's question so I note whether or not I'm             23      Q. This was sent on January 30th, 2019; right?
        24     going to make an objection?                                       24      A. Correct.
04:12   25           (Record was read as follows.                        04:13   25      Q. I will scroll down, and you see it's captioned

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04:13    1      "Office Action" here at the bottom of page 43 of Exhibit   04:16    1   let me ask.
         2      12; is that right?                                                  2         There is a bunch of headings here, right,
         3         A. Yes, that's what it says.                                     3   "Basis for Likelihood of Confusion."
         4         Q. And then beginning at the top of page 44 we see               4         Do you see it?
04:14    5      "Summary of Issues," and there's one bullet that says,     04:17    5      A. Yes.
         6      "Section 2(d), refusal - likelihood of confusion."                  6      Q. And "Similarity of Marks," do you see it?
         7            Do you see that?                                              7         I am sorry. I am scrolling too quickly.
         8         A. Yes.                                                          8         Bottom of page 44, "Similarity of Marks"?
         9         Q. And immediately below that it cites under the                 9      A. Yes.
04:14   10      "Summary of Marks and Goods," it says, "Applicant's        04:17   10      Q. And then middle of page 45, Exhibit
        11      Tough Cookie mark and standard characters is for:"                 11   12, "Relatedness of Goods."
        12            It has a bullet, "Class 30, cookies, cookies                 12         Do you see that section?
        13      and crackers, cookies with nuts, almond cookies,                   13      A. I do.
        14      chocolate covered cookies, vegan cookies."                         14      Q. And then there is a conclusion section at the
04:14   15            Did I read that correctly?                           04:17   15   bottom of page 45.
        16         A. You did.                                                     16         Do you see that?
        17         Q. It goes on, "Registrants's One Tough Cookie in               17      A. I do.
        18      standard characters is for:"                                       18      Q. Is it safe to assume that the analysis under
        19            And there's a bullet beneath that says, "Class               19   those headings you won't have any opinion of its
04:15   20      30: Cakes."                                                04:17   20   interpretation?
        21            Is that right?                                               21      A. That is accurate.
        22         A. That's what it says.                                         22         MR. SINGH: Hold on. I am just going to get an
        23         Q. And just -- I'm going in the right direction.                23   objection after the fact. Object to form.
        24            If we scroll down to page 47 of Exhibit 12, it               24      Q. BY MR. POPE: Is it safe to assume that you
04:15   25      shows additional details of the registrant's mark.         04:18   25   don't have an opinion because you aren't a trademark


                                                                  198                                                                     200
04:15    1           Do you see that?                                      04:18    1   attorney?
         2        A. I do.                                                          2      A. That is accurate.
         3        Q. You see serial number is 85960896; correct?                    3      Q. Were you involved with preparing the second
         4        A. That's correct.                                                4   Tough Cookie application?
04:15    5        Q. The word mark is One Tough Cookie; correct?           04:18    5         MR. SINGH: So I'm going to -- as the question
         6        A. That's correct.                                                6   is worded, I am going to object on the basis of
         7        Q. The owner is One Tough Cookie, Inc., and based                 7   privilege. I will instruct the witness to not disclose
         8     in New York; is that right?                                          8   any privileged communications, but you can try to answer
         9        A. That is accurate. That is what the address                     9   around that.
04:16   10     says on paper.                                              04:18   10         THE WITNESS: Can you repeat the question?
        11        Q. Do you have a recollection of -- is it --                     11         MR. POPE: Can you read that back, Madam Court
        12           Do you understand this One Tough Cookie, Inc.,                12   Reporter?
        13     to be the same One Tough Cookie, Inc., that we discussed            13         (Record read as follows:
        14     in connection with the first Tough Cookie trademark                 14         "Q Were you involved with
04:16   15     application?                                                04:18   15         preparing the second Tough
        16        A. Yes.                                                          16         Cookie application?")
        17        Q. Okay. I will go back up to page 44 of Exhibit                 17         THE WITNESS: How do you mean "involved"?
        18     12.                                                                 18      Q. BY MR. POPE: Did you play any role in
        19           So just beneath the "Summary of Marks and                     19   preparing it?
04:16   20     Goods," which we already went through and I read, and we    04:18   20      A. The physical application?
        21     confirmed, there is another heading, "Basis for                     21      Q. Yes.
        22     Likelihood of Confusion."                                           22      A. No.
        23           Do you see that?                                              23      Q. What role did you play in preparing it?
        24        A. I see that writing, yes.                                      24         MR. SINGH: Same caution on privilege, but you
04:16   25        Q. I am going to do this -- actually, let me --          04:19   25   can go ahead and try to answer that, but being mindful

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04:19    1     of privilege, please.                                      04:24    1   Office's way of rejecting the application?
         2           If you need to confer with counsel on                         2          MR. SINGH: I am going to object to form.
         3     privilege, you can. That's your right to do so. But if              3          But you can go ahead and try to answer.
         4     you feel you can answer without violating privilege, you            4          THE WITNESS: No, I can't -- I can't comment on
04:19    5     can go ahead and do so.                                    04:24    5   that specifically.
         6           THE WITNESS: May I confer?                                    6      Q. BY MR. POPE: Why is that?
         7           MR. POPE: Yes.                                                7      A. Because I'm not a trademark attorney.
         8           THE WITNESS: Thank you.                                       8      Q. Okay. Fair enough. I think we've established
         9           MR. SINGH: We will be very brief.                             9   that -- that there was an office action, at least one
04:19   10           MR. POPE: Let's off the record, O'Bryant,            04:25   10   office action in the -- during the prosecution of the
        11     please.                                                            11   first trademark application that cited the One Tough
        12           THE VIDEOGRAPHER: The time is 4:19 p.m. and we               12   Cookie registration; right?
        13     are now off the record.                                            13      A. Repeat the question.
        14           (Recess taken at 4:19 p.m. - 4:21 p.m.)                      14      Q. I think we've established that there was at
04:21   15           THE VIDEOGRAPHER: The time is 4:21 p.m. and we       04:25   15   least one office action in connection with the first
        16     are now back on the record.                                        16   Tough Cookie trademark application. And that office
        17           MR. POPE: Madam Court Reporter, can you please               17   action cited the One Tough Cookie registration; right?
        18     read back the last question?                                       18      A. Again, I'm not an attorney. It is hard for me
        19           (Record was read as follows:                                 19   to digest that.
04:22   20           "Q Were you involved with                            04:26   20      Q. All right. Let's go back. I don't think it
        21           preparing the second Tough                                   21   matters, though. I will just keep charging forward.
        22           Cookie application?")                                        22          At any point, did you have any communication
        23           THE WITNESS: I interacted.                                   23   with One Tough Cookie?
        24           Am I good?                                                   24      A. With the -- with the entity?
04:22   25           THE REPORTER: Yes.                                   04:26   25      Q. Or anyone affiliated with the entity.


                                                                  202                                                                   204
04:22    1            THE WITNESS: Yes. I took a role in preparing        04:26    1      A. I did.
         2     it. I had conversations with Michael Indrajana. I                   2      Q. Okay. Who specifically did you communicate
         3     probably provided him with needed documents.                        3   with?
         4        Q. BY MR. POPE: But for the second Tough Cookie                  4      A. I don't recall her last name, but I know that
04:23    5     application, is it safe to assume that it wasn't --        04:26    5   her first name is Gail.
         6            Let me strike that and start afresh.                         6      Q. Do you know Gail's role with respect to One
         7            It sounds like the engagement you had with                   7   Tough Cookie?
         8     Mr. Indrajana in connection with the second application             8      A. I don't --
         9     was different than the engagement you had with Mr.                  9         MR. SINGH: Object to form.
04:23   10     Tarabichi -- I am probably butchering his name. Forgive    04:27   10         THE WITNESS: I don't know her official title,
        11     me -- in connection with the first application?                    11   specifically, but it's my understanding that she had a
        12            MR. SINGH: No one can get it right.                         12   high-level role.
        13            MR. INDRAJANA: Don't speak about Bruno.                     13      Q. BY MR. POPE: Okay. Do you remember when
        14            MR. SINGH: Poor guy.                                        14   you -- when you communicated with her? Is that in your
04:23   15            THE WITNESS: Yes, I was more involved.              04:27   15   notes?
        16        Q. BY MR. POPE: Did you personally hire                         16      A. It was in -- I believe in 2019.
        17     Mr. Indrajana?                                                     17      Q. Okay. And what was the nature of the
        18        A. The Cookie Department hired Mr. Indrajana.                   18   communication?
        19        Q. Who specifically at The Cookie Department?                   19      A. I was asking her to grant me rights to using
04:24   20        A. I did.                                               04:28   20   the registered mark.
        21        Q. Was it a paid engagement?                                    21      Q. Was Mr. Indrajana aware that you reached out to
        22        A. It was.                                                      22   Miss Dorsik?
        23        Q. Back to Exhibit 12, while I know you -- we're                23         MR. SINGH: I am going to object on the basis
        24     clear on you having no opinion on the substance here, do           24   of privilege and --
04:24   25     you understand this office action to be the Trademark      04:28   25         Actually, on that one, there is no way he can

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04:28    1     answer that without disclosing privilege. I am going to    04:31    1      Q. I will scroll through and, just for the record,
         2     object on the basis of privilege and instruct the client            2   this Exhibit 13 is Bates-stamped TCD 018425 through TCD
         3     witness not to answer.                                              3   018247.
         4           THE WITNESS: If I answer, I would be                          4         Mr. Resnikoff, I will go back up. I know I
04:28    5     disclosing privileged information; therefore, I can't      04:32    5   scrolled pretty quickly.
         6     answer.                                                             6         Did you get a chance to review that?
         7         Q. BY MR. POPE: That is fair.                                   7      A. Yes.
         8           Do you remember when you reached out was the                  8      Q. Did you previously review this document in
         9     second Tough Cookie application still pending?                      9   preparation for today's deposition?
04:29   10           MR. SINGH: Object to form.                           04:32   10      A. Yes.
        11           THE WITNESS: I believe so.                                   11      Q. Just to be clear, the blue bubbles are -- were
        12         Q. BY MR. POPE: What -- what was Miss -- what was              12   drafted by you; correct?
        13     Miss -- I'll call her Gail just for simplicity. What               13      A. That is accurate.
        14     was Gail's response to you?                                        14      Q. And then the gray bubbles were drafted by Gail?
04:29   15         A. She said no.                                        04:32   15      A. That is correct.
        16         Q. Why did she say no?                                         16      Q. How did you find Gail?
        17         A. Because she claimed that she was still using                17      A. I believe on Facebook.
        18     it.                                                                18      Q. You just searched -- were you able to track
        19           MR. POPE: I just put the next exhibit in the                 19   down her name and search for it on Facebook?
04:30   20     chat. It is internal Exhibit 14 but Depo Exhibit 13.       04:33   20      A. I believe so, on One Tough Cookie.
        21           (Whereupon, Exhibit 13 was marked                            21      Q. Just for the record, the date of this is
        22            for identification by the Court Reporter                    22   November 17, 2018. And specifically at 10:20 p.m.
        23            and attached hereto.)                                       23         I guess I'm unclear on what time zone.
        24           MR. SINGH: Which is which?                                   24         Did I read that correctly, Mr. Resnikoff?
04:30   25           MR. POPE: It's internal Exhibit 14 but Depo          04:33   25      A. That is accurate.


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04:30    1      Exhibit 13.                                               04:33    1      Q. That's the time of your initial message; right?
         2         Q. Can you see my share screen, Mr. Resnikoff?                  2      A. It looks to be that way, yes.
         3         A. Yes.                                                         3      Q. And then it looks like Gail replied the
         4            MR. POPE: Do you have --                                     4   following day, so November 18, 2018 at 8:04 a.m.; right?
04:30    5            MR. SINGH: I have this. It was just                 04:33    5      A. That's what it looks like, yes.
         6      downloading it. It is something with the downloading.              6      Q. Is this the entirety of your exchange with
         7      Just go ahead, ask your questions. It's fine.                      7   Miss -- with Gail?
         8            You said it is Exhibit 13; correct?                          8      A. That's my recollection, yes.
         9            MR. POPE: Yes, Depo Exhibit 13, internal                     9      Q. I will just read this for the record.
04:30   10      Exhibit 14.                                               04:34   10         "Hi there Gail, my name is Akiva and my
        11            MR. SINGH: Got it. Go ahead.                                11   wife" --
        12            MR. POPE: My mic conked out again for a                     12         Is it Elannah?
        13      second. I don't know what the last question that you              13      A. Yes.
        14      guys heard. I was asking --                                       14      Q. -- "Elannah and I own a cookie company. I'm
04:31   15            MR. SINGH: You didn't -- all you did was you        04:34   15   reaching out as I noticed your website for your cookie
        16      answered my question and then you went silent.                    16   business is no longer active, and I'm hoping that you
        17            MR. POPE: Sorry about that.                                 17   might be comfortable releasing the trademark for One
        18         Q. I was asking Mr. Resnikoff. Do you recognize                18   Tough Cookie. You see, we make a peanut butter cookie
        19      this document?                                                    19   called Tough Cookie, and we would love to be able to
04:31   20         A. I do.                                               04:34   20   trademark it."
        21         Q. What do you recognize it to be?                             21         It continues on page 2, "Please feel free to
        22         A. This is a Facebook interaction with Gail from               22   reach out to me here on Facebook or at my personal
        23      One Tough Cookie.                                                 23   email" -- and it gives your gmail account -- "you can
        24         Q. Between you and Gail, specifically; right?                  24   also reach me on my cell phone at" -- and it gives your
04:31   25         A. That is right.                                      04:35   25   cell phone number. I'll read it --"(510) 978-7011.

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04:35    1     Thanks for any consideration, Gail, and happy holidays.    04:37    1         MR. POPE: That's good. No worries.
         2     Best, Akiva."                                                       2         THE WITNESS: Thank you.
         3           Did I read that accurately, Mr. Resnikoff?                    3         MR. POPE: Sure. So I've just dropped in the
         4        A. You did.                                                      4   chat my next exhibit, which is internal Exhibit 15 but
04:35    5        Q. Do you remember -- do you remember writing           04:38    5   it's Depo Exhibit 14.
         6     this?                                                               6         (Whereupon, Exhibit 14 was marked
         7        A. I do.                                                         7          for identification by the Court Reporter
         8        Q. And then continuing on page 3 of Exhibit 13, it               8          and attached hereto.)
         9     looks like Gail responds, "Dear Akiva, I own the                    9         MR. POPE: I will share my screen.
04:35   10     trademark for the next couple of years and plan to renew   04:38   10         MR. SINGH: Can you enlarge it? It's hard to
        11     it. Although I'm not currently in business, I may                  11   read.
        12     reopen in my new location. Thank you so much for                   12         MR. POPE: Yeah, it gets a little fuzzy, but I
        13     reaching out and asking."                                          13   will try.
        14           Did I read that correctly?                                   14         MR. SINGH: A little better, just so Akiva can
04:35   15        A. Yes, you did.                                        04:38   15   read it.
        16        Q. What did you understand Gail's response to                   16         Also, can you clarify, is the top -- it is very
        17     mean?                                                              17   hard to read, at least for me. I don't know if anyone
        18        A. It meant that she was reopening her business                 18   else is having a problem with it.
        19     and didn't want to grant me my wishes or my request.               19       Q. BY MR. POPE: Can you see this, Mr. Resnikoff?
04:36   20        Q. At the time you had this interaction with Gail,      04:39   20         MR. SINGH: It is probably my -- sorry. Go
        21     did you share it with your counsel?                                21   ahead.
        22           MR. SINGH: Object on the basis of privilege                  22         MR. POPE: All good.
        23     and instruct the client not to answer.                             23       Q. So I will give you a minute to read the -- the
        24           THE WITNESS: I can't, due to privilege, answer               24   top bubble there in gray.
04:36   25     that question.                                             04:39   25         In fact, I'll read it.


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04:36    1        Q. BY MR. POPE: So this -- this is -- did you           04:39    1         "Hi there Gail, my name is Akiva and my wife
         2     have any further discussion with Gail after this                    2   Elannah and I own a cookie company. I am reaching out
         3     November 18, 2018, response from her at 8:04 a.m.?                  3   as I notice your website for your cookie business is no
         4            MR. SINGH: Object to form.                                   4   longer active and I'm hoping that you might be
04:36    5            THE WITNESS: I don't recall.                        04:39    5   comfortable releasing the trademark for One Tough
         6        Q. BY MR. POPE: You said this is the entirety of                 6   Cookie. You see we make a peanut butter cookie called
         7     your discussion with her; right?                                    7   Tough Cookie, and we would love to be able to trademark
         8            MR. SINGH: Object to form.                                   8   it. Please feel free to reach out to me on Facebook or
         9            THE WITNESS: I -- yeah, I assume so, yes. I                  9   my personal email."
04:36   10     don't recall.                                              04:39   10         And again it lists your gmail account.
        11        Q. BY MR. POPE: You pulled -- did you pull                      11         "And you can also reach me on my cell phone at
        12     this --                                                            12   (510) 978-7011. Thanks for any consideration, Gail, and
        13        A. From Facebook.                                               13   happy holidays. Thanks, Akiva."
        14        Q. You pulled -- you personally pulled it?                      14         Do you see that, Mr. Resnikoff?
04:37   15        A. Yes.                                                 04:40   15      A. Yes.
        16        Q. Did you make any edits to -- to the discussion?              16      Q. Did I read it accurately?
        17        A. No.                                                          17      A. You did.
        18            MR. POPE: Are you offended by my question,                  18      Q. Does it appear to be the same text as Exhibit
        19     Mr. Singh?                                                         19   12 that we have just looked at?
04:37   20            MR. SINGH: No. I was just -- it is pretty           04:40   20      A. It is.
        21     bold, but that's okay.                                             21      Q. And then the next bubble, I will let you read
        22            Go ahead.                                                   22   it. And my question is going to be if it mirrors the
        23            THE WITNESS: Mr. Pope, do you mind, I am going              23   second bubble from the exchange in Exhibit 12 that we
        24     to grab some water from the machine? It is just on my              24   previously looked at.
04:37   25     right side. Do you mind if I do that?                      04:40   25      A. It looks like it does.

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04:40    1       Q. Okay. And just to go back to Exhibit 12, it            04:44    1       Q. Why weren't they included in Exhibit 13?
         2     ended after that second bucket, is that right, that                  2       A. I don't recall.
         3     second -- that second message?                                       3       Q. You didn't remove them?
         4           MR. SINGH: Object to form.                                     4       A. I don't recall.
04:41    5       Q. BY MR. POPE: Let's go back.                            04:44    5       Q. Do you recall when you provided Exhibit 13 --
         6           I am on Exhibit 12. There are only two                         6   I'll put it back on the screen.
         7     messages in this exhibit; correct? There's the one at                7          Do you recall when you provided this to your
         8     November 17, 2018; correct?                                          8   counsel?
         9       A. Yes.                                                            9       A. I don't recall specifically when.
04:41   10       Q. And then there's a second on November 18, 2018;        04:44   10       Q. Was it within the last month?
        11     correct?                                                            11       A. Sanjiv, will you --
        12       A. Yes.                                                           12          MR. SINGH: Hold on a second. I'm going to --
        13       Q. And there's nothing else; right?                               13          Well, I am just going to caution you on
        14           MR. SINGH: Object to form.                                    14   privilege here. You can -- because there -- I don't
04:41   15           THE WITNESS: There is nothing else on this            04:45   15   want to make a big deal of this because there is an
        16     page.                                                               16   implicit disclosure on how you answer this question.
        17       Q. BY MR. POPE: But on this, there -- there is                    17          I am just going to say answer his question as
        18     additional dialogue beyond those two, correct, those                18   to just when you provided documents. Please don't
        19     two -- the first two messages; right?                               19   answer about communications. Please don't disclose
04:41   20       A. Yeah, but the dates are different.                     04:45   20   privileged communications.
        21       Q. Okay. But there's more than one -- there's                     21          THE WITNESS: It could have been in the last
        22     more than two, rather, messages in Exhibit 13; correct?             22   month, but I don't recall the exact date.
        23       A. Is this Exhibit 13?                                            23       Q. BY MR. POPE: Okay. So after the last
        24       Q. This is.                                                       24   communication shown here on Exhibit 14, did you have any
04:42   25       A. There's more than two messages.                        04:45   25   further communication with Gail?


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04:42    1             (Clarification by the reporter.)                    04:45    1      A.   I don't recall, no.
         2             MR. POPE: My understanding, Madam Court                      2      Q.   No, you didn't?
         3      Reporter, and I may have butchered it. You're right. I              3      A.   I don't recall.
         4      stand corrected. Excuse me. Let me step back for                    4      Q.   May I ask one more question?
04:42    5      purposes of the record. Thank you, Madam Court             04:46    5          Still on Exhibit -- Depo Exhibit 14. Now that
         6      Reporter. I don't know why I tried to argue with you.               6   you've seen the messages beyond the first two, do you
         7             Let me step back and do this because I think I               7   have a recollection of that correspondence with Gail?
         8      was referencing the wrong thing. This is Exhibit 13.                8      A. I do.
         9      This is Exhibit 13.                                                 9          MR. SINGH: Akiva -- Keyonn.
04:43   10         Q. Mr. Resnikoff, there's a message on                  04:47   10          MR. POPE: Yes.
        11      November 17, 2018; correct?                                        11          MR. SINGH: I would like to make a suggestion.
        12         A. That is correct.                                             12   So where Mr. Resnikoff is, and I'm just looking at his
        13         Q. And there is another message on November 18,                 13   face right now, and I know when I sit in that room I
        14      2018; correct?                                                     14   tend to get drowsy because the circ- -- we are all in
04:43   15         A. From Gail, correct.                                  04:47   15   sealed rooms.
        16         Q. Correct.                                                     16          So my recommendation is, I want to make sure --
        17             Now if we compare that with Exhibit 14, which               17   and we can do this with you watching us, so you see this
        18      I've just put on the screen, we've already established             18   is not an excuse for a break -- is to turn up the
        19      that the top two messages in Exhibit 14 are identical to           19   ventilation in there. There is a machine. And, second,
04:43   20      the two messages contained in Exhibit 13; correct?         04:47   20   if he wants to get himself a cup of coffee, because I am
        21         A. That is correct.                                             21   just looking at the way he's looking and time of day and
        22         Q. Okay. So my question is, did you delete from                 22   I want him to be at his -- be able to answer his
        23      Exhibit 13 these foregoing messages after the second               23   questions in an alert fashion.
        24      one?                                                               24          Is that acceptable to you? We will do
04:44   25         A. I don't think so. I don't remember.                  04:48   25   everything with the mics on.

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04:48    1            MR. POPE: It's fine. It's all good. Let's           04:58    1      Q. Do you know -- Do you recall when that was?
         2     just take 5.                                                        2      A. That was, roughly, 2019.
         3            MR. SINGH: Are you okay with that?                           3      Q. Does July 15, 2019, sound about right?
         4            MR. POPE: I'm good.                                          4          MR. SINGH: Object to form.
04:48    5            THE VIDEOGRAPHER: The time is 4:48 p.m. and we      04:59    5          THE WITNESS: I don't speculate on the exact
         6     are now off the record.                                             6   date, but mid-2019 sounds about right.
         7            (Recess taken at 4:48 p.m - 4:56 p.m.)                       7      Q. BY MR. POPE: Okay. That's fair.
         8            THE VIDEOGRAPHER: The time is 4:56 p.m. We                   8          My next thing was going to be to pull up the
         9     are back on the record.                                             9   petition, but I'm -- and walk through it with you. But
04:56   10            THE WITNESS: Keyonn, I just wanted to clarify       04:59   10   I suspect this will end where we ended up on our other
        11     something.                                                         11   reviews of documents submitted to or from the Trademark
        12            MR. SINGH: Are we back on the record? I                     12   Office. In other words, I'm suspecting you won't be
        13     didn't hear if the videographer brought us back.                   13   able to render an opinion on the substance of the
        14            THE VIDEOGRAPHER: Did nobody hear me?                       14   petition to cancel.
04:56   15            MR. SINGH: Maybe I had transient --                 04:59   15          Is that a fair assumption?
        16            Michael, did you hear him? I can't hear you.                16          MR. SINGH: Object to form.
        17            MR. INDRAJANA: I didn't catch that.                         17          You can go ahead and answer.
        18            MR. SINGH: It's weird. It is something on our               18          THE WITNESS: Yeah, I'm not a trademark
        19     end, but that's okay.                                              19   attorney, so I wouldn't have any way of analyzing it.
04:56   20            Go ahead.                                           04:59   20      Q. BY MR. POPE: Okay. That's fair.
        21            THE WITNESS: So, Keyonn, I just went back to                21          During -- at the time -- after --
        22     the text messages on Facebook, and I actually didn't               22          Did you have any communications with Gail
        23     delete anything. The message is down below. It was                 23   during the time that the petition to cancel was pending?
        24     just --                                                            24      A. I don't recall, no.
04:56   25            MR. SINGH: Hold on, Keyonn.                         05:00   25      Q. No, you didn't, or you don't recall whether you


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04:56    1            Michael, can you go adjust the filter -- and        05:00    1   did?
         2     put your mask on and adjust the filter on Akiva's thing             2      A. I don't recall.
         3     so that Keyonn can see what he's showing so it is                   3      Q. Is there anything that would refresh -- refresh
         4     captured on video, please.                                          4   your recollection on it?
04:57    5            THE WITNESS: The first message, can you see         05:00    5      A. I don't know.
         6     that, Keyonn?                                                       6      Q. Aside from your counsel, did you share your --
         7        Q. BY MR. POPE: I can't, but I don't know that                   7   the correspondence with Gail with anyone else?
         8     I'm going to be able to. I can't make it out, but I can             8      A. I don't recall.
         9     see the bubble.                                                     9      Q. Anything that would refresh your recollection?
04:57   10        A. Yeah, yeah, yeah. That's the first bubble, and       05:01   10      A. I don't -- I don't know.
        11     then her response there. Do you see that?                          11      Q. Just sort of skipping ahead, is it your
        12            And then this is the secondary one you were                 12   recollection that the petition to cancel was ultimately
        13     referring to. And then that's her last response.                   13   successful?
        14            The reason I -- it was just -- the documents                14      A. Yes.
04:57   15     that were put into discovery were screenshots and -- on    05:01   15      Q. And I will share it again.
        16     my phone, and I didn't bother scrolling down all the               16          So this is Depo Exhibit 12. This isn't a new
        17     way.                                                               17   exhibit. This is one we've looked at already, which is
        18        Q. Okay. Thank you. That's helpful.                             18   the second Tough Cookie application.
        19            I want to keep talking about the second Tough               19          This application, registered on June 16, 2020;
04:58   20     Cookie application, second Tough Cookie trademark
                                                                          05:02   20   right?
        21     application.
                                                                                  21      A. That's what the document does say.
        22            At some point are you aware, Mr. Resnikoff,
                                                                                  22      Q. Okay. And I think the actual certificate is
        23     that there was a petition to cancel the One Tough Cookie
                                                                                  23   somewhere in here. There it is. So you got this nice
        24     registration filed?
                                                                                  24   certificate with the registration date; right?
04:58   25        A. I was aware.
                                                                          05:02   25      A. It looks to be, yes.


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05:02    1        Q. Say that again? I'm sorry.                          05:05    1         But go ahead and answer.
         2        A. It looks to be, yes. That's what it says.                    2         THE WITNESS: No.
         3        Q. Do you have this certificate in your                         3         MR. SINGH: See, we can all work together.
         4     possession, Mr. Resnikoff?                                         4      Q. BY MR. POPE: Mr. Resnikoff, have you ever
05:02    5        A. Yes, I believe so. Not today, no.                   05:05    5   given any thought to selling The Cookie Department?
         6        Q. No, no. I just meant generally.                              6      A. I mean, as a random thought, you know, my
         7           And then sort of skipping ahead on the                       7   eventual goal in the future is to be acquired but not
         8     timeline, eventually The Cookie Department filed its               8   right now. We're too early.
         9     Complaint against ONE Brands; correct?                             9      Q. Do you have a -- are there specific types of
05:03   10        A. That is correct.                                    05:06   10   companies that you might consider as sort of the ideal
        11        Q. Do you remember the date of the Complaint, the              11   acquirer?
        12     Complaint was filed?                                              12      A. Yeah, there are -- there are bigger companies
        13        A. I believe in late 2020.                                     13   that --
        14        Q. Does December 23, 2020, sound correct?                      14         Are you referring to specific companies?
05:03   15           MR. SINGH: Object to form.                          05:06   15      Q. No. Just general categories of companies.
        16           THE WITNESS: I don't recall the exact date.                 16      A. Yeah. You know, other functional food
        17        Q. BY MR. POPE: Okay. So between June 16, 2020,                17   companies.
        18     and TCD, The Cookie Department -- I'm sorry -- filing             18      Q. Okay. Any examples that come to mind?
        19     its Complaint, were there any attempts made to contact            19      A. I'll say, like, for example, the company I
05:04   20     ONE Brands?                                               05:07   20   mentioned earlier, NuGo as an example, something like
        21           MR. SINGH: I am going to caution the witness                21   that.
        22     not to disclose privileged information. You can attempt           22      Q. Any others come to mind?
        23     to answer that, as long as you do not disclose                    23      A. Not specifically, no. But that's all
        24     privileged information.                                           24   hypothetical.
05:04   25           THE WITNESS: I can't answer that without            05:07   25      Q. Sure.


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05:04    1     disclosing privileged information.                        05:08    1       A. May I respond to that last question really
         2           MR. POPE: I'm baffled how that's privileged.                 2   quick? I just wanted to make another mention. Do you
         3           MR. SINGH: Yeah, and you know, my instruction                3   mind?
         4     was not -- I didn't give a whole instruction not to                4       Q. Of course.
05:04    5     answer. Let me just try it again and if we have to        05:08    5       A. From time to time we have been contacted.
         6     confer with him again, we can.                                     6   Brokers have contacted us in the past asking if we're
         7           Be careful not to disclose privileged                        7   interested in acquisition. Nothing. Nothing came of
         8     information. You can otherwise try to answer the                   8   it.
         9     question.                                                          9       Q. Are there specific companies that -- that the
05:04   10           THE WITNESS: I personally did not contact ONE       05:08   10   brokers raised as potential acquirers?
        11     Brand.                                                            11       A. Not to my recollection, no.
        12        Q. BY MR. POPE: Did you attempt to contact ONE                 12       Q. Were these -- were these outreaches from --
        13     Brands?                                                           13   what mode of communication were the outreaches from
        14        A. I personally --                                             14   brokers?
05:05   15           MR. SINGH: Same -- sorry. Same objection and        05:09   15       A. Online.
        16     caution.                                                          16       Q. Which brokers?
        17           Go ahead and answer.                                        17       A. I don't remember the names, specifically.
        18           THE WITNESS: I personally did not attempt                   18       Q. Would it have been one of the brokers that we
        19     communication with ONE Brand.                                     19   discussed earlier?
05:05   20        Q. BY MR. POPE: Did anyone at The Cookie               05:09   20       A. No. Definitely, no.
        21     Department -- and look I'm not asking about what your             21       Q. Just random brokers that --
        22     counsel may or may not have done. Did anyone else,                22       A. That are probably spamming.
        23     other than your counsel, at The Cookie Department                 23       Q. Oh, okay.
        24     attempt to contact ONE Brands?                                    24         MR. POPE: I will share my screen. I dropped
05:05   25           MR. SINGH: Same objection. Same caution.            05:09   25   the next exhibit in the chat. I will share my screen.


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05:09    1             (Whereupon, Exhibit 15 was marked                 05:12    1       Q. So it was four days after the date of this, of
         2              for identification by the Court Reporter 3                2   Exhibit -- of the article shown in Exhibit 15; right?
         3              and attached hereto.)                                     3       A. That is accurate.
         4          Q. BY MR. POPE: Have you seen this article                    4       Q. Let me know if you want me to scroll through
05:09    5      before, Mr. Resnikoff?                                   05:12    5   this or you want to read it. I will be a spoiler and
         6          A. I don't remember that specific article, no.                6   tell you that I am going to point to specific areas, but
         7             MR. SINGH: Did we name this new exhibit? Did               7   it's your right to review this in thorough detail, if
         8      we share it?                                                      8   you prefer.
         9             MR. POPE: I shared it. It is internal Exhibit              9          MR. SINGH: Why don't you -- Keyonn, why don't
05:10   10      21 and I didn't -- thank you for the reminder,           05:12   10   you try to focus on the areas. And if Mr. Resnikoff
        11      Mr. Singh.                                                       11   feels like he needs to read the whole article -- I want
        12             It should be Depo Exhibit Number 15. Please               12   him to take a few moments to look at it at a high level
        13      keep me honest, Madam Court Reporter.                            13   right now.
        14             THE WITNESS: Do you mind if I have a snack                14          MR. POPE: Why don't I scroll through it slowly
05:10   15      while we're talking? Am I allowed to?                    05:13   15   to begin, and then I will come back to the specific asks
        16             MR. SINGH: No. Technically, because it -- if              16   that I have.
        17      it is going to be played to a trier of fact --                   17       Q. Let me know. Am I scrolling at a decent pace
        18             THE WITNESS: It is not just going to sound                18   for show?
        19      right.                                                           19       A. Sure.
05:10   20             MR. POPE: Only if it is a ONE bar, then you       05:13   20       Q. The rest of this I think is just ads. It cuts
        21      can.                                                             21   off at the middle of page 3. And that's really where I
        22             MR. SINGH: Don't do it.                                   22   want to focus.
        23             MR. POPE: I'm kidding.                                    23          It appears that the author asked the question,
        24             THE WITNESS: That was clever.                             24   "What is the ultimate goal of the TCD team?"
05:10   25             MR. SINGH: Get that Champion Chip and start       05:14   25          That's at the top of page 3 of Exhibit 15.


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05:10    1     eating it live and then we'll be good.                    05:14    1          And it is quoting, "To be acquired."
         2           MR. POPE: No Tough Cookies on hand?                          2          It goes on, "Potential acquirers are mainstream
         3           MR. SINGH: There actually are, but they've                   3   global brands like General Mills and Hershey's who are
         4     been consumed.                                                     4   buying more natural boutique brands to compete in the
05:11    5        Q. BY MR. POPE: Fair enough.                           05:14    5   natural market. Another option is to sell to a company
         6           Back to Exhibit 15 that I'm sharing,                         6   that is already in the functional snack space, as we
         7     Mr. Resnikoff. You said you have not seen this exhibit?            7   could become another product line offering to their
         8        A. I don't remember seeing it, but I have seen a                8   existing customer base."
         9     lot of documents, so this one is not in my memory.                 9          Did I read that correctly?
05:11   10        Q. We pulled this from the net. You can see the        05:14   10      A. That's what that says, yes.
        11     URL across the top there. And presumably if it hasn't             11      Q. Do you remember providing this quote?
        12     been removed, it is still there.                                  12      A. I don't specifically. No, I do not, not
        13           You see it is dated October 11, 2018; correct?              13   specifically that quote.
        14        A. Yes.                                                        14      Q. Any reason to believe you didn't provide it?
05:11   15        Q. Just to orient, I think you mentioned your          05:14   15          MR. SINGH: Object to form.
        16     discovery of ONE Brands use of Tough Cookies Only was             16          THE WITNESS: I can't stipulate on that.
        17     four days after this on October 15, 2018; right?                  17      Q. BY MR. POPE: Is there anything that causes you
        18        A. I mean, that's what the dates -- yes.                       18   to believe that you didn't provide the statement that
        19        Q. I'm asking you.                                             19   I've just read?
05:12   20           Let me ask it this way. When did you -- remind      05:15   20      A. No.
        21     me again when you discovered ONE Brands use of Tough              21          MR. POPE: Okay. O'Bryant, can we do a time
        22     Cookies Only.                                                     22   check where we are?
        23        A. October 15.                                                 23          THE VIDEOGRAPHER: One second.
        24        Q. Of what year?                                               24          I currently have us at 5 hours and 57 minutes.
05:12   25        A. 2018.                                               05:15   25          MR. POPE: Perfect. Thank you. I will load

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05:16    1      internal Exhibit 22, which will be depo Exhibit 16. I     05:20    1   form of compensation for you?
         2      will share my screen.                                              2         MR. SINGH: Object to form.
         3            (Whereupon, Exhibit 16 was marked                            3         THE WITNESS: It was a loan.
         4             for identification by the Court Reporter                    4      Q. BY MR. POPE: What were -- what were the terms
05:16    5             and attached hereto.)                              05:20    5   of the loan?
         6            MR. SINGH: Depo Exhibit 16 you said?                         6      A. The terms of the loan were to pay it back at
         7            MR. POPE: Yes.                                               7   the time that we deemed necessary.
         8         Q. Can you see my screen, Mr. Resnikoff?                        8      Q. There was no fixed time period?
         9         A. Yes.                                                         9      A. No.
05:16   10         Q. Does this document look familiar? I'll scroll       05:20   10      Q. Was there any interest on the loan?
        11      through it.                                                       11      A. No.
        12         A. Yes.                                                        12      Q. When did you pay it back?
        13         Q. What is it? What is this document?                          13         MR. SINGH: Object to form.
        14         A. Stop. This was a review done for one of the                 14         THE WITNESS: I can't speculate. I would have
05:17   15      rounds.                                                   05:21   15   to get back to you on that.
        16         Q. You recall this review and have seen this                   16      Q. BY MR. POPE: How could you refresh your
        17      document?                                                         17   recollection on that?
        18         A. Yes.                                                        18      A. I'd have to talk to my bookkeeper.
        19         Q. The review was done by an accounting firm?                  19      Q. How about the 2017 loan? Have you paid it
05:17   20            Let me go back up to page 3 of the document         05:21   20   back?
        21      16 -- Exhibit 16, rather. So this review was done by an           21      A. I'd have to discuss with my bookkeeper.
        22      accounting firm; correct?                                         22      Q. And I'm oh page 5 of Exhibit 15. So if I'm
        23         A. That is accurate.                                           23   reading this correctly, in 2016, you had a net loss of
        24         Q. Is it safe to assume that the contents of the               24   $16,507.36; correct?
05:18   25      document are accurate?                                    05:21   25      A. Yes.


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05:18    1        A. It is safe to assume that.                           05:22    1      Q. For 2017 a net loss of $7370.29; right?
         2        Q. I don't want to go through all of these. I                    2      A. That's what that sheet says, yes.
         3     just want to sort of hit quickly a few of these.                    3      Q. I am going to jump down to this page where it
         4           MR. SINGH: Keyonn, can I assume you are asking                4   talks about bad debt expense. What is your
05:18    5     him in his capacity -- in his 30(b)(1) capacity?           05:22    5   understanding of -- and I'll highlight the page -- the
         6           MR. POPE: Yes.                                                6   section that I'm referring to on page 8 of Exhibit 16.
         7        Q. There's a line item that says -- I'm on page 4                7      A. I believe that was a -- an item that we used to
         8     of Exhibit 16. It says, "loan to shareholder - AR."                 8   reference uncollectible receivables.
         9           What does -- what is AR?                                      9      Q. Okay. And you see this section that I'm
05:18   10        A. That's my name.                                      05:23   10   highlighting near the top of page 10 of Exhibit 16,
        11        Q. Can you tell me about these two loans? There's               11   under the credit cards heading?
        12     one -- I will start with the one in 2016, $19,978.                 12      A. Yes.
        13        A. I took -- in 2016 and 2017 I took a draw, and                13      Q. So for 2016 the company had $30,220.84 in
        14     my -- my, you know, assumed responsibility was to pay it           14   credit card debt?
05:19   15     back at the time, which, you know, being capable of.       05:23   15      A. That's what that says, yes.
        16        Q. Did you ultimately pay it back?                              16      Q. But that amount increased in 2017; right?
        17        A. I have paid it back -- I paid it back as loans               17      A. That's correct.
        18     from me to the company. I've -- yes, I paid it back.
                                                                                  18      Q. And it was $33,416.59; correct?
        19        Q. In full?
                                                                                  19      A. That's what that says, yes.
05:20   20           MR. SINGH: I would caution the witness not to
                                                                          05:23   20      Q. And there are five different credit cards
        21     speculate.
                                                                                  21   listed here; is that right?
        22           THE WITNESS: I can't speculate. I'd have to
                                                                                  22      A. Correct.
        23     review it.
                                                                                  23      Q. Do you know the interest rates on these cards?
        24        Q. BY MR. POPE: Okay. Was this loan, and I'm
                                                                                  24      A. Not off the top of my head, no.
05:20   25     focused on the 2016 amount for now, was that taken as a
                                                                          05:23   25      Q. Do you have a rough range?


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05:24    1          A. I'd say between maybe 14 and 22.                    05:26    1         MR. SINGH: Okay.
         2          Q. Okay. And then there's some long-term                        2         MR. POPE: Publicly available.
         3      liabilities listed here, in particular convertible                  3         MR. SINGH: Okay. Fair enough. Then we'll
         4      notes. Who is AK?                                                   4   deal with that. We'll deal with that.
05:24    5             MR. SINGH: I am going to --                         05:26    5         That's a -- here, if that is true, then that is
         6             THE WITNESS: I can't disclose --                             6   an open area of meeting and conferring that could be
         7             MR. SINGH: I am going to object and caution                  7   productive, in which case we can talk about.
         8      the witness based on the previous dialogue on this issue            8         MR. POPE: Fine. That's fine.
         9      regarding identity of investors, where I believe the                9         MR. SINGH: Fair enough.
05:24   10      witness has stated the company's position.                 05:26   10         MR. POPE: That's fine.
        11             You can go ahead and answer. I am not                       11         I'll also go here because I think this was
        12      instructing you not to answer, but I am reminding you of           12   similar.
        13      your previous --                                                   13      Q. Do you see here it references Marcus loan? And
        14             THE WITNESS: I cannot answer that.                          14   I'm on page 11. It says, "Marcus loan for an initial
05:24   15          Q. BY MR. POPE: Is that for confidentiality            05:27   15   $53,500."
        16      reasons?                                                           16         And it goes on, "The net of the loan from a
        17          A. Correct.                                                    17   prior business partner and the settlement agreement and
        18          Q. I will note, just for the record, I am on page              18   mutual release for the departure of that business
        19      10 of Exhibit 16, under the section titled "convertible            19   partner. There is no interest on this loan, and the
05:25   20      notes."                                                    05:27   20   payments are being made at a rate of $1000 per month."
        21             And it lists eight or nine convertible notes.               21         Did I read that correctly, Mr. Resnikoff?
        22      It includes initials, presumably, corresponding to the             22      A. That is accurate.
        23      persons responsible for the notes. And it actually                 23         MR. POPE: I will just note for the record, we
        24      includes financials, which I think Mr. Resnikoff                   24   don't have to debate it, but this is a publicly
05:25   25      previously objected to providing on confidentiality        05:27   25   available document. The disclosure has already been


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05:25    1      grounds.                                                   05:27    1   made, so either -- either Mr. Resnikoff violated the
         2             He provided aggregate numbers per round, but                 2   confidentiality agreement or it's waived. I don't know.
         3      said that he had confidentiality concerns around                    3   But it's already out there.
         4      providing individual amounts.                                       4          MR. SINGH: First of all, let's not
05:25    5             MR. SINGH: Would you like me to respond or          05:27    5   characterize conduct in any way, and nothing was --
         6      we'll address it later? I have a response.                          6   there is no bad faith here, honestly.
         7             MR. POPE: Please, please. Go ahead.                          7          MR. POPE: No, no, I didn't say bad faith.
         8             MR. SINGH: I think what he was intending to                  8          MR. SINGH: What I think -- that is the case
         9      state --                                                            9   with startup companies. There's a whole lot of
05:25   10             MR. POPE: No, no. I don't want you to               05:27   10   confusing restrictions and whatnot on investments at the
        11      testify.                                                           11   time you're making this.
        12             MR. SINGH: That's what I'm saying. I think it               12          You point out that some of it is now out there
        13      is better off for you, honestly, that I just remain                13   in the public, in which case that simplifies our
        14      silent right now. We can meet and confer about this.               14   position in terms of being able to answer questions,
05:26   15             MR. POPE: I just want it to be noted on the         05:28   15   potentially.
        16      record. I am going to show you in some subsequent                  16          The only thing, though, Mr. Pope, which is
        17      documents there have been public disclosures. I got                17   unclear from what you've shown us, is if you are
        18      this document from publicly available stuff.                       18   representing that all of it is out there, then
        19             There are names and there are amounts. A lot                19   presumably my position would have to be -- I am not
05:26   20      of this stuff has already been disclosed that he's         05:28   20   going to take an irrational position that it is
        21      inappropriately claimed confidentiality.                           21   inconsistent with the law.
        22             MR. SINGH: When you say public disclosure, are              22          If all of it is out there, that is news to me,
        23      you saying investment networks? Because it is clear to             23   and then he can answer the questions. If only portions
        24      me --                                                              24   of it are --
05:26   25             MR. POPE: The SEC. The SEC.                         05:28   25          I will tell you this on the record.


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05:28    1             I am happy to work with you on this issue, even    05:31    1   If these are properly in there, then they are there.
         2      if it means bringing Mr. Resnikoff back at a later date            2         It could be as simple as the crowd -- whatever
         3      to answer questions about them. We can do that. And I              3   crowd funding platform was used, that Mr. Resnikoff
         4      am more than happy to work on that.                                4   didn't realize that he was consenting to the disclosure
05:28    5             I am still intrigued about the relevance of it     05:31    5   of that. Whatever.
         6      to the matter, but that is a separate issue.                       6         We will deal with it, and we are happy to meet
         7             MR. POPE: I won't debate that, but it's very                7   and confer with you and resolve it as quickly as
         8      relevant. I will just share -- I think I can truncate              8   possible. We want to be as cooperative as possible in
         9      this, but I will share one additional example.                     9   proceeding --
05:29   10             (Whereupon, Exhibit 17 was marked                  05:31   10         This was not -- I will tell you this. This was
        11              for identification by the Court Reporter                  11   not an attempt either by us as counsel or by my client
        12              and attached hereto.)                                     12   to withhold information improperly.
        13         Q. BY MR. POPE: I am dropping in the chat                      13         MR. POPE: No. I haven't made that accusation.
        14      Internal Exhibit 24. I'll share my screen.                        14         I just dropped in the chat another illustrative
05:29   15             MR. SINGH: What is it going to be? Is it 17?       05:32   15   document.
        16         Q. BY MR. POPE: This 2019 balance sheet.                       16         (Whereupon, Exhibit 18 was marked
        17             Does this document look familiar,                          17          for identification by the Court Reporter
        18      Mr. Resnikoff?                                                    18          and attached hereto.)
        19         A. Yes.                                                        19         MR. SINGH: You want to keep beating this home.
05:29   20         Q. Just to hammer home, I am on page 2 of this         05:32   20         MR. POPE: It's internal Exhibit 27.
        21      document where it lists -- just under the heading that            21         MR. SINGH: Would you care to disclose, though,
        22      says, "total interest free loans."                                22   because you made the statement several times, and I
        23             And I will skip to the relevant portions, but              23   don't believe you put this into discovery. You keep
        24      it says "loan payable Bob Grossman." There's another              24   referencing the SEC disclosures. And you're asking --
05:30   25      one, Craig Maunter. There is another one, Pam Marcus.     05:32   25         MR. POPE: They're coming.


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05:30    1           Do you see that, Mr. Resnikoff?                      05:32    1         MR. SINGH: Are you going to show them to us?
                                                                                   2         MR. POPE: What do you mean?
         2        A. I do.
         3        Q. I will represent on the record that these are                 3         MR. SINGH: You said you got these from SEC
         4     from publicly facing sources, so another example of                 4   documents. Will you tell us where you got these from?
05:30    5     public disclosure.                                         05:32    5         MR. POPE: They're on the SEC website. If you
         6           I will scroll down. I'm on page 3, top of page                6   go there and do a search for The Cookie Department, they
         7     3, "long-term liabilities." It lists a bunch of                     7   will pop right up. It is not magic. We haven't done
         8     convertible notes, nine to be exact.                                8   anything, you know, behind the scenes.
         9           And I will read the names. There is a                         9         MR. SINGH: Okay. Got you. Thank you.
05:30   10     convertible note for Andrea Kirschner. One for Barry       05:33   10       Q. BY MR. POPE: This document, do you recognize
        11     Labov. One for Charles Lawrence. One for Daniel Woods.             11   it, Mr. Resnikoff?
        12     One for David Ramone. One for Noah Alper. One for                  12       A. I do.
        13     Renae Scott. And one for Wilson Tsai, and one listed               13       Q. I will go right to it, page 2 of Exhibit 18,
        14     for Wefunder.                                                      14   internal Exhibit 27. Our internal Exhibit 24 was
05:31   15           Do you see that, Mr. Resnikoff?                      05:33   15   Deposition Exhibit 17, which was The Cookie Department
                                                                                  16   balance sheet from 2019. Now we're looking at The
        16        A. I do.
        17           MR. POPE: We can debate it offline, Mr. Singh,               17   Cookie Department balance sheet from 2020, which is
        18     but just I wanted to give you examples.                            18   internal Exhibit 27 and Deposition Exhibit 18.
        19           MR. SINGH: That's fine. It's not -- I think                  19         Going to page 2 under "Other Liabilities," in
05:31   20     there is a possible path forward to resolve -- to          05:34   20   particular it lists a loan payable to Kassman, as well
        21     essentially address whatever your desires are for                  21   as another loan payable to Jesse Powell. Further down
        22     obtaining information and for figuring out. I,                     22   under "Total Interest Free Loans," again, it lists loans
        23     obviously, have a number of questions, when something is           23   payable to Bob Grossman, Craig Maunter, Pam Marcus. And
        24     in an SEC document, sometimes it makes its way there               24   the top of page 3 lists a series of convertible notes
05:31   25     improperly and other times it makes its way properly.      05:35   25   with specific sources ascribed to them.


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05:35    1           Did I mischaracterize anything there,                05:38    1   advertises?
         2     Mr. Resnikoff?                                                      2      A. Yes.
         3           MR. SINGH: Object to form.                                    3      Q. Do you have a rough breakdown of --
         4           THE WITNESS: No.                                              4         Let me ask this way.
05:35    5           MR. POPE: I will share my screen again. This         05:39    5         How much does The Cookie Department typically
         6     is Deposition Exhibit 8 that I'm showing, which is                  6   spend year over year on advertising?
         7     internal Exhibit 29.                                                7      A. I can't speculate on that. That would be a
         8        Q. And this is the notes that you provided,                      8   question for Andrea.
         9     Mr. Resnikoff. I go here just hoping that it will sort              9      Q. No -- no rough idea?
05:36   10     of truncate a line of questioning. In particular, I am     05:39   10      A. No.
        11     going to point us to page 14.                                      11      Q. Has The Cookie Department ever conducted any
        12           I was going to ask questions about the modes in              12   market studies?
        13     which The Cookie Department advertises.                            13         MR. SINGH: Object to form.
        14           I see on the screen there is a section with the              14         THE WITNESS: I believe -- aside from within
05:36   15     heading "TCD's advertising, marketing and promotion of     05:40   15   this current case, no, I don't believe so. I don't
        16     Tough Cookie product."                                             16   recall is what I mean.
        17           Do you see that, Mr. Resnikoff?                              17      Q. BY MR. POPE: What? I'm not angling at
        18        A. Yes.                                                         18   privileged information, but what do you mean by aside
        19        Q. TCD is The Cookie Department; correct?                       19   from in connection with this case?
05:36   20        A. Yes.                                                 05:40   20         MR. SINGH: I am going to let him answer but
        21        Q. Who -- by the way, who prepared this document                21   caution him. I think I know where he is going with
        22     that we're referring to as Exhibit 8?                              22   this. If I have to pull a yank, I will.
        23        A. I did.                                                       23         You can answer that question based on your
        24        Q. You drafted all of it in its entirety?                       24   knowledge as long as it is not dependent upon
05:36   25        A. Yes.                                                 05:40   25   communications from myself or Mr. Indrajana. I think


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05:37    1        Q. Okay. Is it safe to say its contents are             05:40    1   you can answer this question without violating
         2     accurate?                                                           2   privilege.
         3            MR. SINGH: Object to form.                                   3         THE WITNESS: We did bring on an expert
         4            THE WITNESS: One thing I will make notice of                 4   witness.
05:37    5     is that Facebook, that was actually when I started the     05:40    5         MR. POPE: Okay. I won't probe further because
         6     Facebook, roughly around the time I started promoting               6   I suspect that would be privileged.
         7     The Cookie Department on Facebook, not specifically                 7         I didn't know what the reference was.
         8     Tough Cookie.                                                       8         MR. SINGH: You could ask him the identity of
         9        Q. BY MR. POPE: Okay. So what should that date                   9   the expert, and it isn't news to you.
05:37   10     be?                                                        05:41   10      Q. BY MR. POPE: Who is the expert, do you recall?
        11        A. It should be around late 2011, 2012. Early                   11      A. CONSOR.
        12     2012, roughly.                                                     12      Q. Okay. It is my understanding that CONSOR was
        13        Q. Okay.                                                        13   for more the financial analysis. Is that consistent
        14        A. Sorry for that error.                                        14   with your understanding?
05:37   15        Q. When you initially started selling Tough             05:41   15      A. Yes.
        16     Cookie, where were you selling it, geographically?                 16      Q. I was asking about market studies more in line
        17        A. When I first started, geographically, it was                 17   with marketing trends, advertising trends. Has The
        18     mainly in California.                                              18   Cookie Department ever conducted any advertising or
        19        Q. Do you have a recollection of when you began to              19   marketing studies?
05:38   20     sell it outside of California? It being the Tough          05:41   20      A. I have not.
        21     Cookie product.                                                    21         MR. SINGH: What is this exhibit that is
        22        A. It was around -- we expanded out in mid-2012.                22   currently numbered here?
        23        Q. Okay. So going back to the top of page 14 of                 23         MR. POPE: These are Mr. Resnikoff's notes. It
        24     Exhibit 8, the section I'm highlighting, is that -- does           24   is Exhibit 8, internal Exhibit 29.
05:38   25     that capture all the places that The Cookie Department     05:42   25         MR. SINGH: Exhibit 8?

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05:42    1           MR. POPE: Yes.                                      05:45    1      Q. Okay. Has The Cookie Department done any key
         2           MR. SINGH: Mr. Videographer, how much time do                2   word advertising?
         3     we have on the record, approximately, in the seven                 3      A. Yes. We have in the past.
         4     hours? We will need an accurate number.                            4      Q. When? Do you know the time period?
05:42    5           THE VIDEOGRAPHER: Give me one second. I             05:45    5      A. It was, again, within the last two and a half,
         6     apologize for this. You are asking how much time is                6   three years.
         7     left?                                                              7      Q. Okay. And was there a third party involved?
         8           MR. SINGH: Yes, so how much time has been on                 8      A. Yes.
         9     the record? Either.                                                9      Q. Which third party?
05:42   10           THE VIDEOGRAPHER: We have been on the record        05:45   10      A. I believe the company -- the company was called
        11     for six hours and 34 minutes.                                     11   AdToro.
        12           MR. SINGH: Okay. Thank you.                                 12      Q. AdToro. Is it two separate words?
        13        Q. BY MR. POPE: Mr. Resnikoff, has -- has -- has               13      A. One word.
        14     The Cookie Department -- do you know what search engine           14      Q. A-D-T-O-R-O?
05:43   15     optimization is?                                          05:46   15      A. Yes.
        16        A. I do.                                                       16      Q. Was AdToro the same company that assisted with
        17        Q. Are you okay if I refer to it as SEO?                       17   the SEO strategy?
        18        A. Sure.                                                       18      A. No.
        19        Q. Has The Cookie Department ever employed any SEO             19      Q. What keywords did The Cookie Department
05:43   20     strategies?                                               05:46   20   purchase?
        21        A. From time -- we did do some testing with it,                21      A. I don't specifically remember exactly which
        22     yes.                                                              22   ones.
        23        Q. When was that?                                              23      Q. Was Tough Cookie one of the keywords that The
        24        A. It was within the last, I believe, two and a                24   Cookie Department purchased?
05:43   25     half, three years.                                        05:46   25      A. I don't believe so.


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05:43    1        Q. And did you -- was there a third party              05:46    1      Q. Mr. Resnikoff, are you familiar with Google
         2     assisting with the testing?                                        2   Analytics?
                                                                                  3
         3        A. Yes.                                                                A. Yes.
         4        Q. Who -- who was that?                                         4      Q. Does The Cookie Department use Google
                                                                         05:46    5   Analytics?
05:44    5        A. You know, I don't know off the top of my head,
                                                                                  6
         6     but I can provide you with that information.                              A. Yes, I believe we do have a Google Analytics
         7        Q. Okay. That would be great.                                   7   account.
         8            And what was the nature of the SEO strategy?                8      Q. Who manages it?
                                                                                  9
         9        A. It was to market our keto line.                                     A. I believe that when we hired these companies
05:44   10        Q. Was there any marketing of the Tough Cookie         05:47   10   they were managing them. They were reviewing them. I
        11     product in connection with the SEO strategy?                      11   am not -- I usually would do something -- would be in
                                                                                 12
        12        A. I don't recall, no.                                              charge of stuff like that, but I don't do it on a
        13        Q. You don't recall or you don't know?                         13   regular basis.
                                                                                 14      Q. Are you still currently using Google Analytics?
        14        A. Not specifically.
05:44   15        Q. Was there a written strategy?                       05:47   15      A. We do have an account, yes.
                                                                                 16      Q. So who is currently managing it, the account?
        16        A. Aside from communications between myself and
                                                                                 17
        17     the third party, no.                                                      A. I have access to that account.
        18        Q. Is there anything that would help refresh your              18      Q. Does that mean you are managing it day-to-day?
        19     recollection on whether Tough Cookie was -- advertising           19         MR. SINGH: Object to form.
05:45   20     of the Tough Cookie product was included in the SEO       05:47   20         THE WITNESS: I manage it.
        21     strategy?                                                         21      Q. BY MR. POPE: But you said previously there
                                                                                 22   have been times where some of the previously discussed
        22        A. I don't know.
        23        Q. Would the communications with the unnamed third             23   third parties managed it?
        24     party assist?                                                     24      A. Yes.
                                                                         05:47   25      Q. How long would you say you've had a Google
05:45   25        A. Potentially.


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05:48    1     Analytics account?                                        06:06    1      Q. Yeah, we can hear you.
         2        A. I know that we had an account for a while, and               2         MR. SINGH: What -- what exhibit is this for
         3     it wasn't being utilized, meaning it wasn't tracking.              3   the deposition?
         4     And so in the most recent trackable version, it's been,            4         MR. POPE: This is Exhibit 19. It's our
05:48    5     I would say, less than a year.                            06:06    5   internal Exhibit 30.
         6        Q. Okay.                                                        6         MR. SINGH: And you put it up on chat already?
         7        A. But I don't know exactly the exact dates.                    7         MR. POPE: Yeah, I previously loaded this
         8        Q. Okay. I want to upload one more exhibit.                     8   before we took the last break.
         9           I am uploading this. I had -- actually, let me               9         MR. SINGH: Maybe I didn't see that. Got you.
05:48   10     put this back up first.                                   06:06   10   Thank you.
        11           We didn't spend much time talking about it. I               11      Q. BY MR. POPE: Mr. Resnikoff, these were part of
        12     am back on Exhibit 8 now, and this is your notes,                 12   what you brought with you to -- this file is what you
        13     Mr. Resnikoff. Internal Exhibit 29, page 15,                      13   brought with you to your deposition today; correct?
        14     specifically.                                                     14      A. It was -- yeah, yes, it's on my screen.
05:49   15           You pulled together this list of ingredients        06:06   15      Q. Okay. You mentioned that -- I believe you
        16     that we see on the screen?                                        16   mentioned that your bookkeeper is the person responsible
        17        A. Yes.                                                        17   for preparing this exhibit?
        18        Q. I see -- just scanning, I see eggs and other                18      A. Yes.
        19     dairy products. Is it safe to say that the Tough Cookie           19      Q. Was Miss Kirschner involved with preparing the
05:49   20     products are not vegan friendly?                          06:06   20   exhibit?
        21        A. That is correct.                                            21      A. She reviewed it, yes.
        22           MR. POPE: Okay. Uploaded Exhibit -- internal                22      Q. Okay. So I just want to quickly click through
        23     Exhibit 30 which we'll mark as Depo Exhibit 19.                   23   the tabs across the bottom. The tab that we're looking
        24           (Whereupon, Exhibit 19 was marked                           24   at now, can you describe just high level what this is?
05:50   25            for identification by the Court Reporter           06:07   25   The TCD by year total tab.


                                                                250                                                                      252
05:50    1            and attached hereto.)                              06:07    1       A. Yes. On total 2012 --
         2       Q. BY MR. POPE: Do you recognize this document,                  2          Do you want to read through it?
         3     Mr. Resnikoff?                                                     3       Q. No, no, no. I just want to know, sort of, what
         4       A. Yes.                                                          4   it is. My understanding is that it's the volume and
05:50    5       Q. Who prepared this document?                          06:07    5   amounts of sales of the Tough Cookie product for the
         6       A. This document was produced by my bookkeeper.                  6   year 2012 to 2019.
         7       Q. Fair to say all the numbers in the document are               7       A. Yes, individual cookies and amounts.
         8     accurate?                                                          8       Q. Okay. And then the revenue by year. Is this
         9       A. Yes.                                                          9   for all product or just for Tough Cookie?
05:50   10           MR. POPE: Can we take a break? I just want to       06:07   10       A. This is for all products.
        11     pore over my notes. I think I'm about done.                       11       Q. And then the next tab, the Tough Cookie summary
        12           MR. SINGH: Sure, let's go off the record.                   12   by year is financials year over year from 2012 to 2019?
        13           THE VIDEOGRAPHER: The time is 5:50 p.m. and we              13       A. Correct.
        14     are now off the record.                                           14       Q. And this is specifically for the Tough Cookie
05:55   15           (Recess taken at 5:50 p.m. - 6:05 p.m.)             06:08   15   product; correct?
        16           THE VIDEOGRAPHER: The time is 6:05 p.m. and we              16       A. Correct.
        17     are now back on the record.                                       17       Q. One question: This individual cookies column,
        18           MR. POPE: I am going to share my screen again.              18   if we go down to 2019, it shows 564 cookies for 2019. I
        19     And this is Exhibit 19, again, internal Exhibit 30,               19   can blow it up. Can you see that? I'm on the Tough
06:05   20     which is --                                               06:08   20   Cookie summary by year tab of Exhibit 19. The box C66
        21       Q. Can you describe what this document is,                      21   has a 564 number.
        22     Mr. Resnikoff?                                                    22          Do you see that, Mr. Resnikoff?
        23       A. Sure. It's the amounts of individual Tough                   23       A. Yes.
        24     Cookies and the dollar amounts between 2012 and 2019.             24       Q. If we scroll up, that's for the number of
06:06   25           Can you hear me?                                    06:09   25   individual cookies sold in -- individual Tough Cookies

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06:09    1     sold during 2019; right?                                   06:12    1   specifically Number 4, Number 8 and -- it is kind of a
                                                                                   2   hard one. I would say 9.
         2        A. Yes, on that document, yes.
         3       Q. If we go to the first tab, TC by years totals,                 3      Q. Okay. What's included in Number 8,
         4     why is this number different, this column or cell C67?              4   vending/food service?
                                                                          06:12    5      A. Vending is vending machine companies, and food
06:09    5        A. Because there was some missing information that
                                                                                   6   service would fall under -- vending and food service is
         6     the bookkeeper didn't catch. I can -- I can provide you
                                                                                   7   basically the same.
         7     with that information.
         8       Q. Okay. That would be great. So which number is                  8      Q. Got it. Okay.
         9     correct?                                                            9         I want to jump -- staying on this same exhibit,
06:09   10        A. The total in 2019 is correct.                        06:13   10   Exhibit 8, jump to page 13. Do you see the greatly
        11       Q. What we're looking at right now?                              11   debated cross-out here in the center of the page?
                                                                                  12      A. Yes.
        12        A. The sheet that you're looking at right now is
        13     correct.                                                           13      Q. Who -- who made that cross-out?
        14       Q. So 15,924 individual cookies sold in 2019?                    14         MR. SINGH: I'm going to caution the -- I am
06:09   15        A. That is accurate.                                    06:13   15   going to caution the witness that be careful of
        16       Q. That's specifically for Tough Cookie?                         16   privileged communications. If you cannot answer that
        17        A. Yes.                                                         17   without disclosing privileged communications, the
        18       Q. And then there are tabs for 2012 through 2021.                18   question as to who made the cross-out, then you should
        19     Are these numbers on a -- for all products or just Tough           19   not answer the question.
06:10   20     Cookie?                                                    06:13   20         THE WITNESS: Can I confer with you? Can I
        21        A. These are all products.                                      21   discuss? I'm not sure if by saying it I'm going to be
        22       Q. Okay. And there's some that are noted as                      22   divulging privilege.
        23     deleted. What does that signify?                                   23         MR. SINGH: Sure, yeah. We will be very quick.
        24        A. That was deleted because the title was deleted               24   Very quick.
06:10   25     out of our -- the title on Quickbooks, the way they were   06:14   25         MR. POPE: Off the record, please. I know


                                                                 254                                                                     256
                                                                          06:14    1   we're short on time.
06:10    1     itemizing it was deleted.
         2        Q. Does that mean --                                             2         THE VIDEOGRAPHER: The time is 6:14 p.m. and we
         3           Go ahead. I'm sorry.                                          3   are now off the record.
                                                                                   4         (Brief recess at 6:14 p.m. - 6:16 p.m.)
         4        A. It just means the title was deleted.
06:10    5        Q. Got it. Would those deleted items likely been        06:16    5         THE VIDEOGRAPHER: The time is 6:16 p.m. and we
         6     renamed something else?                                             6   are now back on the record.
                                                                                   7         MR. POPE: There was a break for privilege.
         7        A. You will have to refer to Andrea on that.
         8           MR. POPE: Stop sharing.                                       8   Madam Court Reporter, would you mind reading back my
         9           MR. SINGH: O'Bryant, please check the message                 9   prior question just before the break?
06:11   10     box and just respond in the message box when you can.      06:17   10         (Record read as follows:
        11     Thank you.                                                         11         "Q Who made that cross-out?")
        12        Q. BY MR. POPE: So I'm back on Exhibit 8 of the                 12         MR. SINGH: My same caution applies. I will
        13     deposition, internal Exhibit Number 9. I am on page 17.            13   caution you not to disclose privileged communication.
        14     And there's a heading "TCD Tough Cookie Sales Channels."           14   If you think you can answer it without disclosing
06:11   15           Do you see that, Mr. Resnikoff?                      06:17   15   communication, go ahead. Otherwise, please do not
                                                                                  16   disclose privileged information.
        16        A. Yes.
        17        Q. You prepared these -- there are 10 items                     17         THE WITNESS: If I answer that question, I will
        18     listed. Safe to assume you prepared this list?                     18   be disclosing privileged information.
                                                                                  19      Q. BY MR. POPE: I am still on Exhibit 8 of the
        19        A. Yes.
06:11   20        Q. Is this a complete and accurate list of all the      06:17   20   deposition, page 13. And we are still talking about the
        21     sales channels for the Tough Cookie product?                       21   crossed-out information. Did you, Mr. Resnikoff,
                                                                                  22   make -- did you cross the information out?
        22        A. Yes.
        23        Q. Which -- can you rate them, give me the top                  23         MR. SINGH: Again, same objection; same
        24     three?                                                             24   caution. I believe you can answer that -- that you can
                                                                          06:18   25   answer that question without disclosing privilege.
06:12   25        A. The top three would be climbing gyms. So


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06:18    1            THE WITNESS: No.                                    06:24    1         MR. POPE: I think he already did answer.
         2        Q. BY MR. POPE: When was the cross-out made?                     2      Q. Did you want to repeat your answer?
         3            MR. SINGH: I am going to caution you again.                  3         MR. SINGH: I didn't -- sorry. I didn't hear
         4     If you can answer that without privilege, then --                   4   his answer.
06:18    5     without disclosing privilege information, you can do so.   06:24    5         THE WITNESS: I'm unaware of the specific
         6     Otherwise --                                                        6   moment that it was redacted.
         7            THE WITNESS: I believe that's privileged. I                  7      Q. BY MR. POPE: Was it today?
         8     can't answer that.                                                  8      A. I'm unaware, specifically.
         9            MR. POPE: I'm having trouble understanding how               9      Q. When did you become aware that it was redacted?
06:18   10     that's privileged. When something occurred is              06:25   10      A. In this conversation. You know, when he clawed
        11     privileged?                                                        11   back.
        12            MR. SINGH: His knowledge of it. You are                     12      Q. Okay. Staying on --
        13     asking him his knowledge of it. I can confer with him              13         MR. SINGH: Just to be clear for the record --
        14     again, but I think I know where he's coming from based             14         MR. POPE: I'm -- I'm running low on time.
06:18   15     on what I know.                                            06:25   15         MR. SINGH: Go ahead.
        16            MR. POPE: I am not asking -- I am not asking                16         MR. POPE: All right.
        17     who did it. I am asking when it happened.                          17      Q. Still Exhibit 8, page 8, what is this,
        18            MR. SINGH: Right. You do what you want to do.               18   Mr. Resnikoff?
        19     I have noted my objection.                                         19      A. This is an analytical certificate of analysis
06:19   20            I will note it again and I'll give him a chance     06:25   20   done by a Micro Quality Labs, Inc.
        21     to reconsider his answer. My objection is, caution you             21      Q. What does it show?
        22     not to disclose privileged information. If you think               22      A. It shows protein, a protein test.
        23     you cannot answer that question without disclosing                 23      Q. Okay. Is this specifically for the Tough
        24     privilege, then don't disclose privileged information.             24   Cookie product?
06:19   25     If you think you can answer it without disclosing          06:25   25      A. Yes.


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06:19    1     privileged information, then go ahead. If you need to      06:25    1      Q. Are you aware of any instances of actual
         2     confer with counsel, we'll do it again.                             2   confusion involving Tough Cookie and One Tough Cookie?
         3            THE WITNESS: I need to confer.                               3      A. No.
         4            MR. POPE: Let's go off the record, please.                   4      Q. Are you aware of any instances of actual
06:19    5            THE VIDEOGRAPHER: The time is 6:19 p.m. We          06:26    5   confusion involving The Cookie Department and ONE
         6     are now off the record.                                             6   Brands?
         7            (Brief discussion held off the record                        7      A. Yes.
         8             at 6:19 p.m. - 6:23 p.m.)                                   8      Q. What -- which -- when did those occur? How
         9            THE VIDEOGRAPHER: The time is 6:23 p.m. and we               9   many instances? Let me ask you that.
06:23   10     are now back on the record.                                06:26   10      A. Well, when searching --
        11            MR. POPE: So we just had a pause for                        11         How many instances?
        12     privilege. We are still on Deposition Exhibit 8 at page            12      Q. Yeah.
        13     13, focused on the crossed-out information in the middle           13         MR. SINGH: Two questions.
        14     of the page.                                                       14         THE WITNESS: There are two questions.
06:24   15         Q. My question is, when was the information            06:26   15         MR. SINGH: Miss Court Reporter, can you read
        16     crossed out?                                                       16   back Mr. Pope's question?
        17         A. I'm unaware.                                                17         MR. POPE: Strike it. I don't want to waste
        18            MR. SINGH: Hold on just a second. Let me note               18   time. Strike that.
        19     something for the record. Obviously, this is also the              19      Q. How many instances of actual confusion are you
06:24   20     information that initially was redacted out of caution,    06:26   20   aware of between The Cookie Department and ONE Brands?
        21     that, in retrospect, looking at it, as you know, we                21         MR. SINGH: Object to form.
        22     retracted the so-called clawback of it. But go -- go               22         THE WITNESS: Well, I can't answer on that
        23     ahead and ask your question. My objection stands on                23   specifically, but what I can say is that the source
        24     privilege, and then he can try to answer. I'm not sure             24   code, the back end of your website clearly drives
06:24   25     it is going to help.                                       06:27   25   traffic to ONE Brand Chocolate Chip Cookie Dough over


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06:27    1     our product.                                               06:29    1   correct that you spent time locating documents
         2        Q. BY MR. POPE: You are reading from your script;                2   responsive to defendant's request for production of
         3     right?                                                              3   documents?
         4           MR. SINGH: Object to form.                                    4       A. Yes.
06:27    5           THE WITNESS: No.                                     06:29    5       Q. When you did that, did you review those
         6        Q. BY MR. POPE: What page of your notes are you                  6   documents while you were producing them to your counsel?
         7     on, Mr. Resnikoff?                                                  7       A. Yes.
         8        A. I'm not on the notes. I am not actually                       8       Q. Thank you.
         9     looking at the notes.                                               9          Do you recall there was an exhibit that was
06:27   10        Q. On Exhibit 8 of the deposition at page 13, I'll      06:29   10   just recently put in front of you, actually. It was
        11     just note in the middle of the page it reads, "In the              11   Exhibit 19, which was a so-called -- I'm just going to
        12     back end of ONE Brand's websites the users of Tough                12   put it in front of you right now.
        13     Cookies Only confuses search engines, thus creating a              13          MR. POPE: Let me stop sharing. I'm sorry.
        14     distorted search result when consumers are searching for           14          MR. SINGH: That's okay. No worries.
06:27   15     TCD cookies."                                              06:29   15          For some reason -- for some reason I'm having
        16           MR. POPE: I'll just read that for the record.                16   trouble opening some of your exhibits. That's okay.
        17     We can move on.                                                    17          MR. POPE: Would you like me --
        18           That does it for me. I don't have any further                18          MR. SINGH: That's fine. We don't need it.
        19     questions.                                                         19       Q. Do you remember you were looking at an exhibit
06:28   20           MR. SINGH: Great. Let me just follow into my         06:30   20   just recently in this deposition, which was the
        21     questions, which I am going to keep short and sweet,               21   bookkeeper had prepared a so-called and I think she used
        22     given the time of day and given the manner in which                22   the term you used the term "cheat sheet" to summarize
        23     Mr. Resnikoff answered questions.                                  23   financial data about the individual cookies. I believe
        24     /                                                                  24   it is Exhibit 19.
06:28   25     //                                                         06:30   25       A. Yes.


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06:28    1                    EXAMINATION                                 06:30    1          MR. SINGH: Mr. Pope, can you check me on that,
         2     BY MR. SINGH:                                                       2   it is Exhibit 19?
         3        Q. Okay. So Mr. Resnikoff, I have some questions                 3          MR. POPE: Yes, I think that's right.
         4     for you.                                                            4       Q. BY MR. SINGH: That document, was that an
06:28    5           First of all, in preparation when you were --        06:30    5   official report or something that was prepared as part
         6     you testified earlier today in response to some                     6   of your preparation for the deposition today?
         7     questions by Mr. Pope that you had spent approximately              7       A. It is the latter.
         8     120 hours in total between your time facilitating                   8       Q. In other words, something that was prepared for
         9     production of discovery documents and also in connection            9   the deposition today?
06:28   10     with this deposition.                                      06:30   10       A. Correct.
        11           Do you remember giving that testimony?                       11       Q. Thank you. Can you think of -- do you recall
        12           MR. POPE: I will object to form.                             12   the line of questioning by Mr. Pope about bars earlier
        13           THE WITNESS: Yes.                                            13   today, do you recall that? Protein bars?
        14        Q. BY MR. SINGH: Do you remember giving testimony               14       A. Yes.
06:28   15     about the amount of time you spent preparing for the       06:31   15       Q. Do you -- as you sit here today, can you think
        16     deposition?                                                        16   of any other competitive protein bars in your space,
        17        A. I do.                                                        17   TCD's space, that would be competing with The Cookie
        18        Q. Do you remember giving testimony about the                   18   Department Tough Cookie?
        19     amount of time in total preparing for the deposition and           19       A. Aside from ONE Brand?
06:28   20     also providing request for production of document, the     06:31   20       Q. Yes.
        21     actual documents for those requests?                               21       A. Cliff bars. Macro bars. Think Thin bars.
        22           MR. POPE: I will object to form again.                       22   Keto Fat. I think that's what it's called. There's a
        23        Q. BY MR. SINGH: Go ahead.                                      23   whole long list of them.
        24        A. I do.                                                        24       Q. That's fine. I just wanted a few examples.
06:29   25        Q. And when you were working on providing -- is it      06:31   25          Thank you.

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06:31    1            In connection with this issue of investment and     06:35    1      Q. Sorry. Let me reword that.
         2     the disclosure of identities, were you trying to                    2         Did you receive communications from any
         3     withhold evidence in any way when you -- when you were              3   customers or distributors that they wanted the fully
         4     earlier saying that you believed there was a privacy                4   functional line back instead of keto?
06:32    5     obligation with regards to those investors?                06:35    5      A. Yes.
         6         A. No.                                                          6      Q. Can you give an example of any such
         7         Q. When you found out through Mr. Pope that there               7   communications?
         8     was an SEC filing, do you have any -- and, obviously, we            8      A. We received an email from part of this chain, a
         9     will look into it. But do you have any thought right                9   franchise owner. I'm not sure if she's an owner, but a
06:32   10     now as to how that information made it into an SEC         06:35   10   manager of some sort, letting us know that keto -- you
        11     filing?                                                            11   know - she's a smoothie bar - keto wasn't doing well for
                                                                                  12
        12         A. I had to report to Wefunder on an annual basis.                  her retail store but that she really wanted to see Tough
        13         Q. Do you have any thought right now as to how the             13   Cookie and other fully functional line of cookies. She
        14     information made it into an SEC filing?                            14   wanted to order them specifically.
06:32   15         A. No.                                                 06:36   15      Q. During the course of the deposition several
        16         Q. Would you knowingly let that information into               16   times Mr. Pope put prosecution history documents in
        17     the SEC filing?                                                    17   front of you in connection with the 2012 registration
        18         A. No.                                                         18   application and the 2018 application.
        19         Q. Of all of those investors, some of which Mr.                19         Do you remember that?
06:32   20     Pope has now named in this deposition and which appeared   06:36   20      A. I do.
        21     in the SEC documents, are you aware of any individual or           21         MR. SINGH: And I believe the exhibit numbers
        22     entity that is a competitor in any manner with the                 22   were Exhibit 11 and Exhibit 12.
        23     Hershey Company or ONE Brands?                                     23         Mr. Pope, is that consistent with your marking?
        24         A. No.                                                         24   Just because we've had a little bit of confusion, I
06:33   25         Q. Do you recall the line of questioning from          06:36   25   wanted to double-check that.


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06:33    1     Mr. Pope about the activities with Tough Cookie between    06:36    1         MR. POPE: I am checking now. Bear with me.
         2     2019 to 2022 and the possible reformulation of the keto             2         MR. SINGH: Just so we have a clean record.
         3     line?                                                               3         MR. POPE: So 11 was the 2012. I am not seeing
         4            My question to you is, can you please describe               4   12, though. Yes, yes, that's right, 11 and 12.
06:33    5     the -- what steps The Cookie Department took in            06:37    5      Q. BY MR. SINGH: What were marked as Exhibit 11
         6     connection with Tough Cookie to launch a keto line and              6   and Exhibit 12, do you remember running through
         7     the ultimate decision to launch -- to bring back the                7   questions with Mr. Pope on that?
         8     fully functional line?                                              8      A. I do.
         9            MR. POPE: I'll object -- I'll object to form.                9      Q. Do you remember at various times he asked you
06:34   10            MR. SINGH: Let me try that again.                   06:37   10   something to the effect of did I read it correctly, and
        11        Q. BY MR. POPE: Can you please explain the                      11   you would respond. How did you interpret his question
        12     decision, which you testified to and Mr. Pope heard it,            12   when he asked you, "Did I read that correctly?"
        13     to bring back Tough Cookie as a -- in its fully                    13      A. I thought he was referring to the actual copy
        14     functional form?                                                   14   stated on the document.
06:34   15        A. We received multiple emails from former buyers       06:37   15      Q. Okay. I just wanted to make that clear.
        16     and current buyers letting us know that they really                16         Do you recall the line of questions about SEO
        17     wanted to see our Tough Cookie and the rest of our                 17   strategy from Mr. Pope?
        18     functional line back on the market. We also have a very            18      A. Yes.
        19     large chain who's interested in bringing them out                  19      Q. At the time when you -- I am getting feedback
06:34   20     full -- full chainwide. So we felt it was necessary to     06:38   20   because my door is partially open. Hold on.
        21     relaunch -- well, re-release rather.                               21         At the time when you -- at the time when you
        22        Q. Did you receive any communications at any time               22   were considering SEO strategy, did you have a
        23     from customers or distributors that they wanted the                23   significant budget for an SEO strategy?
        24     full -- fully functional line back in favor of keto?               24      A. No.
06:35   25        A. Yes.                                                 06:38   25      Q. In the last year and a half have you had issues


                                                                                                             67 (Pages 265 to 268)
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                                                                  269                                                                     271
06:38    1     with cash flow?                                            06:41    1       Q. Did myself or Mr. Indrajana write any of these
         2       A. Yes.                                                           2   notes?
         3       Q. And what has been one of the reasons why you've                3       A. No.
         4     had issues with cash flow?                                          4       Q. Did we create this document?
06:38    5       A. Defending what I believe to be a frivolous and        06:41    5       A. No.
         6     retaliatory lawsuit filed by Hershey Confectionary, LLC,            6       Q. Do you have the native form of this document
         7     accusing me of infringement on their Hershey Kiss mark.             7   still on your laptop?
         8       Q. Have you also incurred significant expenses in                 8       A. Yes.
         9     connection with this litigation?                                    9       Q. Okay. Please retain that, and we will produce
06:39   10       A. Yes.                                                  06:41   10   it for Mr. Pope tomorrow.
        11       Q. Do you remember Mr. Pope put in front of you                  11       A. Okay.
        12     and has been referring to it from time to time in this             12       Q. Do you -- I am going to go point by point here
        13     deposition, and I'm going to do a share screen to                  13   on the corporate structure and organization. Did either
        14     Exhibit 8. Can you all see it?                                     14   myself or Mr. Indrajana write any of this content here?
06:39   15            MR. POPE: It flashed but went away.                 06:42   15       A. No.
        16            MR. SINGH: Interesting. Stop share. I am                    16       Q. "Why Tough Cookie name?" Did either myself or
        17     going to minimize you all. There was a Zoom update this            17   Mr. Indrajana write any of this information here?
        18     morning, and it's been behaving a little bit funny since           18       A. No.
        19     that. I wonder if I am going to have to restart my                 19       Q. And for the sake of time, just so I'm not
06:39   20     machine. If worst comes to worst, Mr. Pope, I might ask    06:42   20   burning time, because I'm obviously aware that all of us
        21     you, I don't like to do that to opposing counsel. It's             21   are eager to get going, for the remainder of this note
        22     not your job, but just for the sake of time.                       22   document, and I would like you to take a look at every
        23            Let's see if we get it right this time. I have              23   single section, did either myself or Mr. Indrajana write
        24     put it on the same screen. Can you now see it?                     24   any of this that you put here?
06:40   25            MR. POPE: The same, it flashed, but I am            06:42   25       A. No.


                                                                  270                                                                     272
06:40    1     looking at the Brady Bunch screen. Let me try --           06:42    1      Q. When did you do most of these notes?
         2            MR. SINGH: Michael, do you see it?                           2      A. Most of these notes were done on, I believe,
         3            MR. POPE: For whatever reason, our Zoom screen               3   Monday.
         4     was showing on top of it. I'm good.                                 4      Q. And were they done with either Mr. Indrajana or
06:40    5            MR. SINGH: You're good.                             06:42    5   I standing over you or even in your presence?
         6         Q. So, Mr. Resnikoff, this was marked as Exhibit 8              6      A. No.
         7     in this deposition, I believe. It's the notes that were             7      Q. When did you do it?
         8     collected from your desk and scanned and sent to                    8      A. I did it -- well, I did it on Monday.
         9     Mr. Pope.                                                           9      Q. Where were you physically?
06:40   10            Do you recognize this document as being an          06:42   10      A. I was at my mother's house in Berkeley.
        11     exhibit that you were questioned on earlier today?                 11      Q. Okay. And at that time were you preparing for
        12         A. I do.                                                       12   the deposition?
        13         Q. I want to spend a little bit of time on the                 13      A. Yes.
        14     notes because there were some questions that had a                 14      Q. Were you looking at documents?
06:40   15     little bit of, as much as I like and respect Mr. Pope,     06:43   15      A. Yes.
        16     had a fair bit of implication and innuendo.                        16      Q. Okay. Now, there was a question about where do
        17            Do you see these TCD deposition prep notes                  17   you advertise. Do you recall that? It was actually
        18     here?                                                              18   just in the last hour. And I think Mr. Pope was
        19         A. I do.                                                       19   focusing on this section here. Do you see that? This
06:41   20         Q. I want you to, in as much detail as you can,        06:43   20   is page 14 of the 17 of the .pdf in Exhibit 8.
        21     tell me when and how you actually prepared these notes.            21          Do you see it?
        22         A. I prepared this -- these notes in full the                  22      A. Yes.
        23     week -- well, during deposition prep. I guess that                 23      Q. My question to you is, first of all, these
        24     would be a portion of the weekend, last weekend and this           24   notes, just the whole notes that are captured here, were
06:41   25     week.                                                      06:43   25   they intended to be complete? In other words, were you

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06:43    1      trying to put together a document that would have          06:46    1   Hershey Company?
         2      everything that you would need to testify about?                    2      A. No.
         3          A. No.                                                          3      Q. I think we covered this already. When you
         4          Q. What was the intent when you put together these              4   initially answered a question from Mr. Pope about your
06:43    5      notes?                                                     06:46    5   communication with Gail Dosik, and he asked you when did
         6          A. It was just a point of reference to think about              6   you communicate with Gail Dosik, do you remember saying
         7      it.                                                                 7   initially you thought it was 2019?
         8          Q. So, for example, here under "advertising," does              8      A. Yes.
         9      it list every single significant channel of advertising?            9      Q. What is, in fact, the correct date you
06:43   10          A. No.                                                 06:46   10   communicated with Gail Dosik?
        11          Q. What, for example, is missing from here?                    11      A. 2018.
        12          A. Amazon, my website.                                         12      Q. I believe you already, yourself, brought into
        13          Q. Does it include, for example, advertising on --             13   the record your screenshots -- sorry. Your phone to
        14      on online or Amazon or Google?                                     14   show, in fact, you had both messages that Mr. Pope
06:44   15          A. No.                                                 06:47   15   showed you; correct?
        16          Q. You recall there was a line of questioning and              16      A. That is correct.
        17      an article that was put in front of you that showed that           17      Q. Were you trying to conceal evidence or withhold
        18      you had given a quote at some point in 2018, four days             18   evidence in any way?
        19      before, according to Mr. Pope, four days before                    19      A. No.
06:44   20      October 15, 2018. You were quoted in an article where      06:47   20      Q. Again, just to be clear, and I think you
        21      you were talking about the potential acquisition of The            21   already said this, but I want this clear for the record.
        22      Cookie Department.                                                 22          What do you think happened? In other words,
        23              Do you recall that line of questioning?                    23   why do you think there was a discrepancy between what
        24          A. I do.                                                       24   you provided to us to provide to defendants versus what
06:44   25          Q. Do you remember in that quote there was some        06:47   25   Mr. Pope appears to have obtained, I'm assuming, from


                                                                   274                                                                     276
06:44    1     reference to General Mills and Hershey as being the         06:47    1   Gail Dosik herself?
         2     kinds of companies that might acquire a company like                 2      A. Because it was a screenshot on my phone, and I
         3     you?                                                                 3   didn't -- I didn't think to go down further.
         4           Do you remember that?                                          4      Q. When you looked at the nature of the second
06:44    5        A. Yes.                                                  06:47    5   communication, do you think there was anything
         6        Q. Do you remember Mr. Pope asking you if you gave                6   significant in that second communication, as you sit
         7     that quote?                                                          7   here today?
         8        A. I do remember that.                                            8      A. No. It was basically peer-to-peer banter.
         9        Q. And then do you remember the line of                           9          MR. SINGH: Okay. I have no further questions
06:45   10     questioning about your acquiring knowledge of ONE           06:48   10   right now at this time, subject, of course, to ping-pong
        11     Brands' use of Tough Cookies Only four days later on                11   with Mr. Pope. If we have a few rounds, let's do it.
        12     October 14, 2018?                                                   12          MR. POPE: Nothing more.
        13        A. Yes.                                                          13          MR. SINGH: Thank you, kind sir. That is
        14        Q. At the time when you saw that ONE Brand bar on                14   greatly appreciated.
06:45   15     October 15, 2018, did you have any knowledge that ONE       06:48   15          THE VIDEOGRAPHER: Do you want to get a
        16     Brands had any affiliation or would have any affiliation            16   transcript order from Mr. Pope?
        17     with the Hershey Company?                                           17          MR. POPE: Yes, what's normal turnaround?
        18        A. No.                                                           18          THE REPORTER: I think it's 10 business days.
        19        Q. When did you learn, you personally learn, that                19          (Clarification by the reporter.)
06:45   20     the Hershey Company had acquired ONE Brands?                06:48   20          MR. POPE: The rough this weekend would be
        21        A. March of 2020.                                                21   great. And I'm not trying to squeeze you at all, but we
        22        Q. Okay. When you made the decision to work with                 22   are facing a deadline to the extent we wanted to move to
        23     Mr. Indrajana to file an application for trademark for              23   compel anything at the end of next week, which Mr. Singh
        24     Tough Cookie in 2018 and pursue that strategy, did you              24   can attest to. What is feasible in terms of rushing the
06:46   25     have any idea that ONE Brands would be acquired by the      06:49   25   final?


                                                                                                             69 (Pages 273 to 276)
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06:49    1           THE REPORTER: Do you want it Tuesday?
         2           MR. POPE: Is there any way for us to get it by
         3     Monday, end of day Monday?
         4           THE REPORTER: Sure.
06:49    5           MR. POPE: It can be California time. I know
         6     I'm ahead of you guys. Rough this weekend and the final
         7     by end of day Monday would be fantastic.
         8           THE REPORTER: Mr. Singh, do you want a rough
         9     of this?
06:49   10           MR. SINGH: Nope, don't need it.
        11           THE VIDEOGRAPHER: Okay. This marks the end of
        12     today's deposition of Akiva Resnikoff. We are
        13     officially off the record at 6:50 p.m.
        14           (Whereupon, at 6:50 p.m. the
06:50   15           deposition of AKIVA RESNIKOFF
        16           was concluded.)
        17

        18

        19

06:50   20

        21

        22

        23            _________________________________________
        24                  AKIVA RESNIKOFF
        25




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06:50    1     STATE OF CALIFORNIA ) SS.
         2            I do hereby certify that the witness in the
         3     foregoing deposition was by me duly sworn to testify to
         4     the truth in the within entitled cause; that said
06:50    5     deposition was taken at the time and place therein
         6     stated; that the testimony of said witness was correctly
         7     reported by me, a certified shorthand reporter and a
         8     disinterested person, and was under my supervision
         9     thereafter transcribed and when so transcribed was
06:50   10     carefully read to or by the said witness, and being in
        11     every desire, was thereafter by the said witness duly
        12     subscribed; that if unsigned by the witness, signature
        13     has been waived in accordance with stipulation between
        14     counsel for the respective parties.
06:50   15            And I further certify that I am not of counsel
        16     or attorney for either or any of the parties to said
        17     deposition nor in any way interested in the outcome of
        18     the cause named in said caption.
        19            IN WITNESS WHEREOF, I have hereunto set my
06:50   20     hand and affixed my seal of office this 2nd day of
        21     May, 2022.
        22

        23

        24            __________________________________________
06:50   25               TARA SANDFORD, RPR, CSR #3374


                                                                               70 (Pages 277 to 278)
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                     Exhibit C
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 1             UNITED STATES DISTRICT COURT                                 1                   INDEX
 2           NORTHERN DISTRICT OF CALIFORNIA                                2
 3                OAKLAND DIVISION                                                                                Page
                                                                            3     Examination by Ms. Howery                         9
 4                    ---
 5     THE COOKIE DEPARTMENT, INC., a )                                     4     Examination by Mr. Singh                        157
       a California corporation, )                                          5
 6                        )
                                                                            6     Reporter's Certificate                    163
             Plaintiff,       )
 7                        )                                                 7
       vs.                  ) Case No.                                      8
 8                        ) 4:20-cv-09324-KAW                               9
       THE HERSHEY COMPANY, a Delaware)
 9     Corporation, ONE BRANDS, LLC, a) Volume I                           10
       Foreign Limited Liability )                                         11
10     Company; AND DOES 1 TO 50, ) Pages 1 - 163                          12
       INCLUSIVE,                 )
11                        )                                                13
             Defendants.        )                                          14
12     _______________________________)                                    15
13             VIDEOTAPED DEPOSITION OF
                                                                           16
14              THE COOKIE DEPARTMENT,
15      by and through 30(b)(6) Witness, ANDREA KIRSCHNER                  17
16            701 Battery Street, 3rd Floor                                18
17             San Francisco, California
                                                                           19
18              Friday, April 29, 2022
19                                                                         20
20     STENOGRAPHICALLY REPORTED BY:                                       21
       CARRIE HEWERDINE, RDR, CSR #4579                                    22
21     --------------------------
22              JAN BROWN & ASSOCIATES                                     23
23       WORLDWIDE DEPOSITION & VIDEOGRAPHY SERVICES                       24
24     701 Battery St, 3rd Floor, San Francisco, CA 94111                  25
25         (415) 981-3498 or (800) 522-7096

                                                                      1                                                             2

 1                I N D E X OF                                              1      BE IT REMEMBERED that, pursuant to Notice of
 2           E X H I B I T S (Continued)
                                                                            2      Taking Deposition, on Friday, April 29, 2022,
 3   Plaintiff's No.                   Page
 4   EXHIBIT 1 Defendants The Hershey Company             26                3      commencing at the hour of 9:02 a.m. PST, via
             and ONE Brands, LLC's Notice of
 5           Rule 30(b)(6) Deposition of                                    4      Zoom teleconferencing through the offices of
             Plaintiff The Cookie Department                                5
 6                                                                                 Jan Brown & Associates, 701 Battery Street,
     EXHIBIT 2 Defendants The Hershey Company             27                6      3rd Floor, San Francisco, California, before
 7        and ONE Brands, LLC's Amended
                                                                            7      me, Carrie Hewerdine, RDR, a Certified
          Notice of Rule 30(b)(1) and
 8        30(b)(6) Deposition of Andrea                                     8      Shorthand Reporter in the state of California,
          Kirschner.
 9                                                                          9      there personally appeared
     EXHIBIT 3 Kirschner LinkedIn Profile           31                     10
10
     EXHIBIT 4 TCD-018421 Financial Production            71               11              THE COOKIE DEPARTMENT,
11
                                                                           12     by and through 30(b)(6) Witness, ANDREA KIRSCHNER,
     EXHIBIT 5 TCD-018422 cheat sheet final          87
12                                                                         13   called as a witness by the Plaintiff, and who, being
     EXHIBIT 6 AK Depo Notes                   87
13                                                                         14    by me first duly sworn, was thereupon examined and
     EXHIBIT 7 SEC Form C                     108                          15
14                                                                                     interrogated as herein set forth.
     EXHIBIT 8 SEC Balance Sheet 2019               120                    16
15
                                                                           17               --o0o--
     EXHIBIT 9 SEC Balance Sheet 2020               129
16                                                                         18
     EXHIBIT 10 SEC FORM C-AR TCD (Annual Report) 133
17                                                                         19
     EXHIBIT 11 SEC Profit and Loss 2020            143                    20
18
19                                                                         21
20
                                                                           22
21   *AEO      Attorneys' Eyes Only Confidential
            Exhibits Bound Separately                                      23
22
23                                                                         24
24
                                                                           25
25



                                                                      3                                                             4
                                                                                                               1 (Pages 1 to 4)
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                                      ANDREA KIRSCHNER - April 29, 2022

 1          APPEARANCES                                          1        A P P E A R A N C E S (Continued)
 2                                                               2
 3         SANJIV N. SINGH, Attorney at Law, of                  3   ALSO PRESENT:
 4   SANJIV N. SINGH, A PROFESSIONAL LAW CORPORATION,            4   O'BRYANT MURALLES, Videographer
 5   1650 S. Amphlett Boulevard, Suite 220, San Mateo,           5   AKIVA RESNIKOFF, TCD Corporate Representative
 6   California 94402, appeared via Zoom teleconference          6
 7   as counsel on behalf of the Plaintiff.                      7
 8   Telephone: 650.389.2255                                     8
 9   E-mail: ssingh@sanjivnsingh.com                             9
10                                                              10
11          MICHAEL B. INDRAJANA, Attorney at Law, of           11
12   the INDRAJANA LAW GROUP, 1650 S. Amphlett Boulevard,       12
13   Suite 220, San Mateo, California 94402, appeared via       13
14   Zoom teleconference as counsel on behalf of the            14
15   Plaintiff.                                                 15
16   Telephone: 650.597.0928                                    16
17   E-mail: michael@indrajana.com                              17
18                                                              18
19          MONIQUE HOWERY and KEYONN L. POPE,                  19
                                                                20
20   Attorneys at Law, of RILEY, SAFER, HOMS & CANCILA,
                                                                21
21   LLP, 70 West Madison Street, Suite 2900, Chicago,
                                                                22
22   Illinois 60602, appeared via Zoom teleconference as
                                                                23
23   counsel on behalf of the Defendants.
                                                                24
24   Telephone: 312.471.8700
                                                                25
25   E-mail: kpope@rhsc-law and mhowery@rhsc-law.com

                                                            5                                                              6

 1    APRIL 29, 2022        9:02 A.M. PST                        1   the Defendants, The Hershey Company and ONE Brands,
 2           PROCEEDINGS                                         2   LLC.
 3                -- o0o --                                      3          MR. SINGH: Sanjiv Singh representing
 4                                                               4   Plaintiff The Cookie Department and also
 5           THE VIDEOGRAPHER: We are going on the               5   representing the witness today, Andrea Kirschner.
 6    record.                                                    6          MR. INDRAJANA: Michael Indrajana
 7           This marks the beginning of today's                 7   representing Plaintiff The Cookie Department and
 8    video-recorded deposition of Andrea Kirschner taken        8   also representing the witness today.
 9    in the matter of The Cookie Department versus The          9          THE VIDEOGRAPHER: Thank you.
10    Hershey Company in the United States Northern             10          If there are no stipulations, the court
11    District Court of California, for the Oakland             11   reporter may swear in the witness.
12    Division. This is Case Number 4:20-CV-09324-KAW.          12          THE REPORTER: Ma'am, would you raise your
13           Today's date is April the 29th, 2022, and          13   right hand, please.
14    the time is 9:02 a.m.                                     14
15           This deposition is being held remotely via         15             THE COOKIE DEPARTMENT,
16    Zoom. The videographer is O'Bryant Muralles of            16    by and through 30(b)(6) Witness, ANDREA KIRSCHNER
17    Jan Brown & Associates. The court reporter is             17          having first been duly sworn,
18    Carrie Hewerdine also of Jan Brown & Associates.          18        was examined and testified as follows:
19           Would counsel please identify themselves           19         THE WITNESS: I do.
20    and state whom they represent.                            20         THE REPORTER: Thank you.
21           MR. SINGH: Sinjiv -- oh, go ahead.                 21         Go ahead.
22           MS. HOWERY: Monique Howery. I represent            22         MR. SINGH: Ms. Howery, can I just -- two
23    the Defendants, The Hershey Company and ONE Brands,       23   notes. One is, obviously, we are designating the
24    LLC.                                                      24   transcript, provisionally, highly confidentiality,
25           MR. POPE: Keyonn Pope also on behalf of            25   Attorneys' Eyes Only, consistent with the manner in

                                                            7                                                              8
                                                                                                   2 (Pages 5 to 8)
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                                   ANDREA KIRSCHNER - April 29, 2022

 1   which you have. And then we will de-designate           1          Thank you so much for taking time to meet
 2   accordingly.                                            2   with us today. As I mentioned earlier, my name is
 3           Second, it's just a logistical note. I'm        3   Monique, and I represent the Defendants in this
 4   obviously defending the deposition, but there is a      4   action.
 5   possibility, depending on how long the depo goes,       5          Have you ever been deposed before?
 6   that I will hand it off to Mr. Indrajana to continue    6       A I have.
 7   defending it if the need arises. We'll see how long     7       Q Okay. And when was that?
 8   it goes.                                                8       A Over a decade ago.
 9           Do you have an estimate, just for our           9       Q Okay. And what type of matter were you
10   witness, so she can adjust accordingly as to how       10   deposed in?
11   long the depo will go today? If you do.                11       A It was for a previous employer.
12           MS. HOWERY: I'd estimate four hours.           12       Q Okay. Was -- was it in connection with a
13           MR. SINGH: Okay. Thank you. We                 13   lawsuit?
14   appreciate it.                                         14       A It wasn't a lawsuit. It was just a
15           Obviously, we know you're not tied to          15   discovery.
16   that, if things arise; but, thank you. We              16       Q Okay.
17   appreciate it.                                         17          MR. SINGH: I'll just caution the
18           MS. HOWERY: Great.                             18   witness -- and to the extent you're bound by any
19                                                          19   confidentiality obligations in connection with a
20               EXAMINATION                                20   settlement or if it was a private proceeding,
21   BY MS. HOWERY:                                         21   et cetera, to just be weary of that.
22      Q Thank you so much Ms. -- is it Kirschner          22          I obviously was not involved in it, so I
23   or Kirschner (phonetic)?                               23   don't know, but --
24      A Kirschner.                                        24          THE WITNESS: I wasn't privy to that
25      Q Kirschner.                                        25   information, either.

                                                       9                                                          10

 1           MR. SINGH: You should be able to freely         1   for what you are speaking on behalf of the company
 2   answer these questions, though.                         2   for.
 3   BY MS. HOWERY:                                          3           The court reporter is taking down our
 4        Q Okay. What was the nature of the dispute?        4   conversation today and your testimony. So I need
 5        A I'm not -- again, I'm not privy to               5   you to speak clearly; wait for me to complete my
 6   providing more data on that.                            6   question; and respond with an audible response, not
 7        Q Well, what topics were you deposed on?           7   a shaking of the head or uh-huh or huh-uh. That
 8        A On work I have done for the company.             8   type of thing.
 9        Q Okay. And what company was that?                 9           Do you understand that?
10        A The Home Shopping Network.                      10      A Yes.
11        Q Okay. So you say that was about ten years       11      Q If you don't understand my question,
12   ago. So it looks like you may have a little            12   please feel free to ask me to rephrase.
13   familiarity with the deposition process, but I'd       13           And if you need to take a break, just let
14   like to lay some ground rules before we get started.   14   me know, and we can break so long as there's no
15           This is a formal legal proceeding. So          15   pending question -- unless that question relates to
16   it's just like testifying in court, and you are        16   a privilege issue.
17   under the same obligations to tell the truth as if     17           MS. HOWERY: Should we, Counsel, discuss
18   you were in court.                                     18   the cadence of breaks today? Typically we've been
19           Do you understand that?                        19   going to an hour to hour-and-a-half before we take
20        A Yes.                                            20   breaks.
21        Q And I'm going to ask you questions, and         21           Would you be comfortable with that,
22   please answer truthfully unless your attorney          22   Ms. Kirschner?
23   clearly and directly instructs you not to answer.      23           THE WITNESS: Yes.
24           Do not speculate. I'm looking for your,        24           MR. SINGH: And I would imagine, Monique,
25   you know, answer to the best of your knowledge or      25   that if you want to charge forward, just ask her.

                                                      11                                                          12
                                                                                             3 (Pages 9 to 12)
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 1   I'll defer to her --                                        1   well, hold on.
 2           MS. HOWERY: Okay.                                   2          When did you first learn that you were
 3           MR. SINGH: -- because I know she really             3   going to be deposed in this case?
 4   does want to, you know, be efficient here.                  4       A A few weeks ago.
 5           MS. HOWERY: Okay.                                   5       Q And would that be in April or March?
 6           MR. SINGH: We are also willing to go                6       A I believe, March.
 7   longer if she's willing to go longer.                       7       Q And who informed you that you'd be
 8           MS. HOWERY: Fantastic.                              8   deposed?
 9           So just let me know if you need a break,            9       A It was Mr. Resnikoff, Akiva.
10   and we will move forward and be as efficient as we         10       Q And what did he say?
11   can.                                                       11       A He asked if I would be willing to speak to
12   BY MS. HOWERY:                                             12   the numbers.
13        Q Is there anything that will prevent you             13       Q Okay. And did you talk about anything
14   from testifying truthfully today?                          14   else?
15        A No.                                                 15       A No.
16        Q Okay. Are you under the influence of any            16       Q Did you talk about the allegations in this
17   substances that might impact your ability to               17   case?
18   truthfully testify?                                        18       A I knew about it. I knew what this case
19        A No.                                                 19   was about, but I'm just focused on the numbers. So
20        Q Do you have any physical or mental                  20   we didn't discuss anything else.
21   impairment that might impact your ability to               21       Q And what's your understanding of what this
22   truthfully testify today?                                  22   case is about?
23        A No.                                                 23       A Based on my conversation with counsel, it
24        Q Okay. Great. We can get started then.               24   is a trademark infringement.
25           I am going to populate to the Chat --              25          MR. SINGH: I'll just caution the witness,

                                                      13                                                             14

 1   that answer was fine, but just be careful not to            1      A It was Mr. Indrajana and -- sorry -- and
 2   actually disclose actual communications with                2   Akiva participated for a part of the conversation.
 3   counsel.                                                    3   But he dropped off then.
 4          THE WITNESS: Yes.                                    4      Q Was anyone else present?
 5   BY MS. HOWERY:                                              5      A No.
 6       Q Okay. What did you do to prepare for                  6      Q Was this preparation in person?
 7   today's deposition?                                         7      A No. It was via Zoom.
 8       A I reviewed the deposition paperwork with              8      Q And when did that prep happen?
 9   my attorney, a couple of days ago.                          9      A I believe it was Tuesday or Wednesday.
10       Q Did you review anything else?                        10      Q Did you speak with anyone else about your
11       A Just the documents that were provided, the           11   preparation?
12   deposition notice and the financial information that       12      A I have not.
13   was submitted for discovery.                               13      Q Did you review any other documents beside
14       Q And what financial information did you               14   the deposition notice and the financial documents
15   review?                                                    15   you referenced?
16       A Reviewed Touch Cookie performance, sales             16      A I looked at the financials that were
17   performance. That was included in the documents as         17   provided.
18   well as the financial P&L for The Cookie Department        18      Q Did you look at any financials that were
19   for the time spent 2012 through mid-year 2021.             19   not provided to you by counsel?
20       Q How many hours did you spend preparing for           20      A No.
21   this deposition?                                           21      Q Did you look at the Complaint in this
22       A We had a one-and-a-half-hour review with             22   action?
23   the attorney.                                              23      A It was -- if it was part of the documents
24       Q And was anyone -- who was -- strike that.            24   provided by my counsel, we briefly went through it.
25          Who participated in the review?                     25      Q So is that a "Yes"?

                                                      15                                                             16
                                                                                               4 (Pages 13 to 16)
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 1       A Yes.                                                  1      Q Did you ever talk about communicating with
 2       Q Had you seen the Complaint before your                2   ONE Brands, before filing the lawsuit?
 3   preparation for this deposition?                            3      A No.
 4       A No.                                                   4      Q Did you ever talk about communicating with
 5       Q Did you talk with Akiva about the lawsuit             5   The Hershey Company before filing the lawsuit?
 6   before this deposition?                                     6      A Not to the best of my knowledge, no.
 7       A Not in great detail. He told me that                  7      Q Did you ever talk about any strategies to
 8   there is a lawsuit.                                         8   communicate with the Defendants in this action
 9       Q Okay. Did you talk to him -- (audio                   9   before filing a lawsuit?
10   distortion)                                                10      A No. That was his -- his area for me. And
11          THE REPORTER: I'm sorry?                            11   I'm, you know, focused on the financial plan, on --
12          MS. HOWERY: Sorry.                                  12   on the analysis part of it, and results.
13          THE WITNESS: I'm sorry.                             13          So the strategic direction and
14          That we will be filing a lawsuit on the             14   operationally, that's Akiva's bit.
15   company. He will be filing a lawsuit.                      15      Q Did you review any e-mails in preparation
16   BY MS. HOWERY:                                             16   for this deposition?
17       Q And did you discuss with him why he was              17      A I looked through my e-mails, but I haven't
18   filing a lawsuit?                                          18   found anything.
19       A Just very, very basic. He told me about              19      Q And what did you look for?
20   the trademark infringement.                                20      A I looked for keywords.
21       Q Okay. And what's your understanding of               21      Q What keywords did you look for?
22   that infringement?                                         22      A Tough Cookie.
23       A That we -- or The Cookie Department has              23      Q And you didn't find anything in your
24   the trademark for the name of a particular cookie,         24   e-mail?
25   and that was used by a different company.                  25      A No.

                                                       17                                                             18

 1      Q Did you look at any presentations, like                1   to be -- if you don't think it's appropriate for her
 2   PowerPoints?                                                2   to ask me that question right now, I'm not going to
 3      A No, not specifically. I -- I've done a                 3   try to assist her with the answer.
 4   search in my e-mail for Tough Cookie, and I haven't         4          MS. HOWERY: I would prefer that you
 5   found anything that popped up.                              5   didn't, Counsel.
 6      Q Did you look at the Tough Cookie website?              6          MR. SINGH: Yeah. So I'm just going to --
 7      A Yes.                                                   7   unfortunately, Ms. Kirschner, you need to try and
 8      Q Okay. And what were you looking for on                 8   answer the question on your own. If -- the only way
 9   the website?                                                9   you could confer with me right now is if you thought
10      A I'm sorry. The Tough Cookie website? No.              10   there was a privilege issue.
11      Q I'm sorry.                                            11          THE WITNESS: I see.
12      A I looked at The Cookie Department site.               12          MR. SINGH: So I -- I have to let you
13      Q Thank you for clarifying.                             13   answer this one on your own.
14      A I looked at The Cookie Department's                   14          THE WITNESS: So I don't recall
15   website, yes.                                              15   specifically the answer.
16      Q Thank you. Thank you.                                 16          I just know that I recall seeing or going
17          And I -- I may sometimes say "TCD" or "The          17   through the notice. I haven't spent a lot of time,
18   Cookie Department" instead of Tough Cookie. So I'll        18   truly, going through each of the items.
19   be very careful there.                                     19          But I remember reviewing the notice with
20          Did you take a look at The Cookie                   20   Michael, and, umm, I was more focused on the Excel
21   Department's discovery responses in this litigation?       21   documents provided.
22      A I will defer to my attorney.                          22   BY MS. HOWERY:
23          Were they're in the paperwork? I don't              23       Q Okay. Have you seen a document that would
24   recall seeing it.                                          24   be called something like "The Cookie Department's
25          MR. SINGH: So, Monique, I -- I don't want           25   Responses to Defendant's Request for Production of

                                                       19                                                             20
                                                                                               5 (Pages 17 to 20)
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 1   Documents"?                                               1   fine for you to have notes. But what Ms. Howery is
 2       A I don't remember specifically that title.           2   requesting is she wants a copy of them.
 3       Q Have you seen a document titled "The                3          Do we have a quick way that you could
 4   Cookie Department's Responses to Defendant's              4   e-mail to us what you have in front of you?
 5   Interrogatories"?                                         5          Can you show it to the screen, just so
 6       A I don't remember seeing that now.                   6   that Ms. Howery can see it?
 7       Q Did you take any notes during your                  7          How many documents do you have next to
 8   deposition prep sessions?                                 8   you?
 9       A I took a couple of notes, yes, on the               9          THE WITNESS: I -- (audio distortion)
10   numbers.                                                 10          MR. SINGH: Well, actually -- here, let me
11       Q Okay. And did you bring any of those               11   ask you this: Not around you. But the documents
12   notes with you today, to the deposition?                 12   that you have in front of you that you were going to
13       A I have.                                            13   use to assist you with the depo.
14       Q Okay.                                              14          THE WITNESS: I have this particular one
15          MS. HOWERY: Counsel, would you be --              15   and the P&L.
16   would you share those notes, please.                     16          MR. SINGH: Okay. So --
17          MR. SINGH: I -- we didn't know that she           17          THE WITNESS: I have that here.
18   had.                                                     18          Again, it's just a couple of notes.
19          So, Ms. Kirschner, when you say you               19          MR. SINGH: Okay. So how many pages is
20   brought them, are they in front of you?                  20   that in total?
21          THE WITNESS: These are, for instance, the         21          THE WITNESS: Two pages.
22   documents that were provided, and I have made some       22          MR. SINGH: Do you want to -- Monique, I
23   manual notes to it.                                      23   would propose for timing purposes, she could do one
24          MR. SINGH: Okay. So I just became aware           24   of two things.
25   of this right now, this moment -- which is -- it's       25          Do you have a way that you could e-mail or

                                                     21                                                             22

 1   scan those to us quickly? We'd go off for five            1          MS. HOWERY: Okay. Let's take five, and
 2   minutes and do that? That's choice one.                   2   we'll --
 3          Choice two would be you can take a screen          3          MR. SINGH: We'll handle it, and we'll get
 4   shot with your phone, text it to Michael. We can          4   it to you. Okay?
 5   produce that as a jpeg or pdf.                            5          THE VIDEOGRAPHER: The time is 9:18 a.m.
 6          THE WITNESS: I can do that screen shot             6   We're now off the record.
 7   right now.                                                7             (Proceedings recessed
 8          MR. SINGH: Yeah. Let's do that, Monique.           8          from 9:18 a.m. until 9:28 a.m.)
 9   I think that will be fastest.                             9          THE VIDEOGRAPHER: The time is 9:28 a.m.
10          And then, obviously, if you want a more           10   We're now back on the record.
11   pristine copy later -- but actually, the jpeg will       11   BY MS. HOWERY:
12   be good because you'll be able to see that it's an       12       Q Ms. Kirschner, thank you for scanning
13   authentic set of notes, et cetera.                       13   those documents over.
14          Is that okay?                                     14          Did you send us everything that you
15          MR. INDRAJANA: That's like using the              15   have --
16   iPhone photo.                                            16       A Yes.
17          MR. SINGH: Yeah. Okay.                            17       Q -- that you are using today?
18          MS. HOWERY: Okay.                                 18       A Yes.
19          THE WITNESS: Do that --                           19       Q Okay. And the spreadsheets or Excel that
20            (Concurrent conversations)                      20   you referenced earlier, is -- is that the document
21          THE WITNESS: -- now?                              21   that you sent over today?
22   BY MS. HOWERY:                                           22       A I'm sorry. What do you mean?
23       Q Okay. Are you looking at any notes on              23       Q So you mentioned that you looked at some
24   your computer screen, Ms. Kirschner?                     24   Excel documents during your prep.
25       A No, I do not.                                      25       A I've -- that is part of one of them, yes.

                                                     23                                                             24
                                                                                             6 (Pages 21 to 24)
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 1                                                              1
            The other documents are -- have been                            MS. HOWERY: I'm going to introduce an
 2                                                              2
     provided to you. I don't have them in front of me               exhibit.
 3                                                              3
     right now.                                                                    (Deposition Exhibit No. 1
 4      Q So these are the only two documents you               4                  marked)
 5   had?                                                       5    BY MS. HOWERY:
 6                                                              6
        A Yes.                                                          Q Can you see that exhibit?
 7      Q Okay. And I notice that there are notes               7       A I -- (audio distortion)
 8   on these documents that you sent today?                    8       Q Is that a "Yes"?
 9      A Yes.                                                  9       A Yes, I can.
10      Q And how did you, umm, prepare those notes?           10       Q Okay. This is the original deposition
11                                                             11
        A By doing basic calculations and analysis                   notice, uh, that we issued to your counsel.
12                                                             12
     based on the numbers on the spreadsheet.                               I will make it a little bigger.
13      Q And what sort of calculations did you do?            13           Have you seen this document before?
14      A I -- for instance, I looked at the                   14       A I believe so, yes. That was part of the
15   growth -- year over year growth in sales, and I           15    documents provided to me by counsel.
16                                                             16
     calculated the average price point per cookie.                     Q Okay. And you will note that, umm, this
17      Q Did you speak with anyone else, outside              17    deposition was originally scheduled for April 4th,
18   the presence of counsel, to prepare for your              18    2022.
19   deposition?                                               19           Do you see that?
20      A No, but Akiva was part of the                        20       A Yes.
21                                                             21
     conversation -- for a part of the conversation when                Q And do you note that we issued this notice
22                                                             22
     I spoke with counsel.                                           back in February of 2022?
23      Q And did you speak with Akiva outside of              23       A I have not seen it prior to this week.
24   the presence of counsel to prepare --                     24       Q Okay. And is this the deposition notice
25                                                             25
        A No.                                                        that you saw this week?

                                                     25                                                             26

 1       A I'm not exactly sure. I didn't review it             1   to shut out of everything. So we don't have
 2   in detail, but it looks familiar to me. I'm not            2   anything sharing.
 3   sure how many versions are out there.                      3          All right. I've populated the next
 4       Q Okay. Let me adjust my controls. I'm                 4   exhibit to the Chat.
 5   sorry. I don't see my -- okay. There they are.             5          THE REPORTER: And that is Exhibit 3?
 6          MS. HOWERY: I'm going to stop sharing               6          MS. HOWERY: We'll mark this as
 7   that document.                                             7   Plaintiff's [sic] Exhibit 2.
 8          Let's drop another one into the Chat.               8   BY MS. HOWERY:
 9                 (Deposition Exhibit No. 2                    9       Q Ms. Kirschner, can you see this document?
10                 marked)                                     10       A I can.
11          MR. SINGH: Ms. Howery?                             11       Q Okay. This is the Amended Notice
12          MS. HOWERY: Yes.                                   12   Rule 30(b)(1) through 30(b)(6) Deposition Notice,
13          MR. SINGH: Just so you know -- and only            13   noticing your deposition for today.
14   because I did it myself in one of my depos -- we          14          Do see that?
15   were looking at your overall folder on that share.        15       A Yes.
16          I don't know if that was intentional or            16       Q And does this look familiar to you?
17   not, but just --                                          17       A Yes.
18          MS. HOWERY: It was not. I could not find           18       Q And do you understand that you are
19   my controls to stop sharing.                              19   appearing today as a corporate representative for
20          MR. SINGH: Yeah. No worries. I did it,             20   TCD?
21   as you know, on one of our previous --                    21       A Yes.
22          MS. HOWERY: Yes. Thank you.                        22       Q And I should state when I reference "TCD,"
23          MR. SINGH: We did not take screen shots,           23   is it your understanding that I'm referring to The
24   I assure you.                                             24   Cookie Department?
25          MS. HOWERY: Good. But that makes me try            25       A Yes.

                                                     27                                                             28
                                                                                              7 (Pages 25 to 28)
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 1       Q And what's your understanding of your               1       A I briefed through it, but I haven't read
 2   responsibilities as a corporate witness?                  2   each line.
 3         MR. SINGH: Object --                                3       Q You did not read each line.
 4         THE WITNESS: My --                                  4          Did you happen to take a look at the
 5         MR. SINGH: Hold on.                                 5   various topics that were included?
 6         I'm going to object to form.                        6       A I focused on the topics that would apply
 7   BY MS. HOWERY:                                            7   to me because of the financials, which is Number 4,
 8       Q Do you understand that your testimony               8   Number 5 -- the profits, revenue, and expenses.
 9   today, as a corporate witness, is on behalf of The        9       Q So let's look at Topic 4.
10   Cookie Department?                                       10          It states: All facts relating to TCD's
11       A It's not necessar- -- well, yes.                   11   profits, revenues, expenses from 2012 to present
12       Q Do you understand your designation as a            12   attributable to Tough Cookie product.
13   30(b)(6) witness is on behalf of The Cookie              13          Are you prepared to testify about that
14   Department?                                              14   topic today?
15                                                            15       A To the best of my knowledge, yes.
         A Yes.
16       Q And do you understand that your testimony          16       Q And let's look at Topic Number 5: All
17   given in your 30(b)(6) capacity is considered            17   facts relating to TCD's overall profits, revenue,
18   testimony of The Cookie Department?                      18   and expenses from 2012 to present.
19       A Yes.                                               19          Are you prepared to provide testimony on
20       Q Do you also understand that I will be              20   this topic today?
21   asking you questions and -- within your personal         21       A Yes.
22   knowledge?                                               22       Q There are several other topics on this
23       A I understand, yes.                                 23   deposition notice for which you are not designated,
24       Q When you were preparing for your                   24   but I will examine you about your personal
25   deposition, did you read this document?                  25   knowledge.

                                                     29                                                            30

 1          Do you understand that?                            1    be renamed.
 2       A Yes.                                                2           MS. HOWERY: Okay.
 3       Q Okay. Great.                                        3           MR. SINGH: That will reduce confusion.
 4          I'd like to talk a little bit about your           4           MS. HOWERY: Okay. Fantastic.
 5   professional and educational background.                  5           MR. SINGH: Thank you.
 6          THE REPORTER: Which exhibit number is              6    BY MS. HOWERY:
 7   this going to be?                                         7       Q Ms. Kirschner, can you see my screen?
 8          MS. HOWERY: Plaintiff's Exhibit                    8       A Yes.
 9   Number 3 -- I'm sorry. Defendants Exhibit 3. My           9       Q Is this your LinkedIn profile?
10   apologies.                                               10       A It sure looks like it, yes.
11          And that should be the same for the prior         11       Q Okay. I'll scroll through it. And you
12   exhibits.                                                12    can let me know if it's a fair representation.
13                  (Deposition Exhibit No. 3                 13       A Yes.
14                  marked)                                   14       Q Okay. Did you prepare this LinkedIn
15          THE REPORTER: I was asking them because           15    profile?
16   they are labeled differently than we're actually         16       A I have.
17   numbering them.                                          17       Q Is it current?
18          MS. HOWERY: They are. I skipped an                18       A Yes.
19   exhibit. If it's easier to use ...                       19       Q And is it an accurate representation of
20          THE REPORTER: I just need to know.                20    your educational and professional experience?
21          MS. HOWERY: Okay. We'll --                        21       A Yes.
22          MR. SINGH: May I suggest that we just             22       Q Let's take a look.
23   refer -- just so there's no confusion, you could         23           In your Summary, here, I see various
24   just do what Mr. Pope did yesterday, which is say,       24    things highlighted: "Strategic value creation;
25   you know: Internal Exhibit blank, but it's going to      25    advanced financial modeling."
                                                     31                                                            32
                                                                                             8 (Pages 29 to 32)
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 1         What is that, what is "advanced financial             1       Q What about this "operational and financial
 2   modeling"?                                                  2   restructuring"? What does that refer to?
 3      A Advanced financial modeling refers to                  3       A That refers to, umm, going to banks. If
 4   creating a financial business model for a particular        4   you need to -- if the business needs to, umm,
 5   business or for a revenue stream or for a particular        5   refinance its current debt structure.
 6   industry.                                                   6       Q Okay. And would this Summary that you
 7      Q Okay. And I see "budgets and forecasts"                7   highlight at the top of your resume -- is it a fair
 8   highlighted.                                                8   statement to say this represents your areas of
 9         What --                                               9   expertise that you would like to focus on?
10                                                              10          MR. SINGH: Object to form.
        A That's correct.
11                                                              11          THE WITNESS: Is --
        Q -- budgets and forecasting, does this
12                                                              12          MR. SINGH: You can go ahead and answer.
     describe?
13                                                              13          THE WITNESS: Okay. These are my areas of
        A So this describes, again, budgets and
14                                                              14   expertise, but not necessarily some -- I like to
     forecasts for a total business or for a particular
15                                                              15   focus on more than others in my day-to-day work.
     expense area of the business, a cost center of the
16                                                              16   BY MS. HOWERY:
     business, or all aspects of the business.
17                                                              17       Q Okay. Let's take a look at your
        Q What about "profit and loss
18                                                              18   educational experience?
     accountability"? What does that mean?
19                                                              19       A Sure.
        A That means that I'm responsible for the
20                                                              20       Q So Maria Ward Gymnasium, Germany.
     profitability of a particular expense cost center or
21                                                              21          Are you from Germany?
     a revenue stream or a P&L. Depends on the position.
22                                                              22       A I am.
        Q And would that also encapsulate reporting?
23                                                              23       Q Okay. And it looks like you attended
        A Reporting for -- not -- reporting for the
24                                                              24   university here in the U.S., in Pennsylvania.
     day to day and as it fits into the budgets and the
25                                                              25       A That's correct.
     forecast, forecasts of the year, yes.

                                                      33                                                             34

 1      Q Can you tell me about your degree?                     1      A Sure. I worked at Bush Industries as a
 2                                                               2   financial analyst. They did have an international
        A I have a bachelor's degree in business and
 3                                                               3   division in Germany. So I worked primarily with the
     finance from the Shippensburg University of
 4                                                               4   German division for basic reporting and financial
     Pennsylvania.
 5      Q Okay. And it shows here that you                       5   analysis.
 6   graduated in 1996; is that correct?                         6      Q And when you say "basic reporting," what
 7                                                               7   type of basic reporting did that include?
        A That's correct. With a bachelor's.
 8      Q Okay. And looks likes you have some                    8      A That included the financial statements
 9   graduate education.                                         9   reporting, key performance indicators reporting.
10         Can you tell me --                                   10      Q And what financial statements would that
11                                                              11   include?
        A Yes.
12      Q -- about that?                                        12      A The basic ones, which are the profit and
13                                                              13   loss statements, the balance sheet, and the cash
        A Sure. I attended George Mason University
14                                                              14   flow.
     right after my bachelor's degree, for an MBA in
15                                                              15      Q Okay. And why did you leave that job?
     international finance and business -- or
16                                                              16      A I left that job because I got a better
     international business and finance. I had a double
17                                                              17   offer.
     major.
18      Q Okay. Did you graduate with honors?                   18      Q Okay. For who? For what company?
19                                                              19      A I worked for Corning.
        A No.
20      Q Okay. Looks like you went to work right               20      Q Okay. So let's move up.
21   away after graduating with your MBA; is that               21          Is that this World Kitchen?
22   correct?                                                   22      A That is World Kitchen. World Kitchen was
23                                                              23   a division of Corning in Jamestown, New York, yes.
        A That's correct.
24      Q Can you tell me about your work at Bush               24   I'm sorry. In Elmira, New York. It's different.
25   Industries?                                                25      Q I have a little familiarity with Elmira.

                                                      35                                                             36
                                                                                               9 (Pages 33 to 36)
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 1          Okay. So what did you do at World                   1    when you joined and your various roles.
 2   Kitchen?                                                   2           And I'm assuming, we'll start at the
 3       A Pretty much the same thing. They did have            3    bottom here.
 4   some international divisions. So I did their               4           What did you do as the senior manager of
 5   monthly and annual budgets and forecasts.                  5    international businesses? Tell me about that job.
 6          And I also, umm, have helped them on their          6        A Pretty much, the Home Shopping Network had
 7   top projects. The SVP at that time for that                7    also divisions in Europe. So I pretty much traveled
 8   particular division needed to do some more analysis.       8    over there, and I helped them translate their
 9   She came new to the company as well, so she had me         9    financials into, you know, the way the HSN division
10   do various analysis of their international                10    reported their financials.
11   businesses.                                               11           So some expense line items, for instance,
12       Q And did you also do financial reporting on          12    in their international divisions were expense
13   this job?                                                 13    bucket, whereas Home Shopping would report it in
14       A I have, but I don't remember much of that           14    gross profits.
15   anymore.                                                  15           So I helped translate and make them apples
16       Q Okay. It doesn't look like you stayed               16    to apples.
17   there long.                                               17        Q And would that include preparation of
18          Why did you leave that job?                        18    financial statements, or was it more limited in
19       A I received a better offer with the Home             19    scope?
20   Shopping Network. And, frankly, I did not like my         20        A It was more the analysis thereof. And the
21   boss.                                                     21    Home Shopping Network had an accounting department
22       Q Okay.                                               22    and a treasury department who was responsible for
23       A She was not the one who hired me.                   23    all of these tasks.
24       Q Okay. So Home Shopping Network. It looks            24           We were an FP&A division. We're more
25   like you had quite a run there. Let's talk about          25    analyzing the information as well as preparing

                                                       37                                                             38

 1   budgets.                                                    1       A Balance sheet.
 2      Q Did you say "FP&A"?                                    2       Q Balance sheet. Okay.
 3      A FP&A, Financial Planning and Analysis                  3          Were you creating those financial
 4   division.                                                   4   statements?
 5      Q So you did that for about four years.                  5       A We had an accounting department in those
 6           And what was your next job?                         6   local divisions as well. I was reviewing them and
 7      A The next job, I was promoted. It's pretty              7   making sure they translated well.
 8   much along the same lines, just with increased              8       Q And in your review, were you reviewing for
 9   responsibility.                                             9   errors?
10           But I was also, umm -- I was also                  10       A I was reviewing for -- to ensure that we
11   traveling all over the world with a team, to see           11   would report one on one with what's being reported
12   what additional markets would be of interest to the        12   and consolidated in the U.S. numbers.
13   Home Shopping Network.                                     13       Q And I would presume if -- if that review
14           And I would perform the financial, you             14   was incorrect, that that would result in some sort
15   know, due diligence for it when necessary or create        15   of inaccuracy on the U.S. numbers; is that correct?
16   a basic business plan for a startup business in a          16       A That would, yes.
17   different market.                                          17       Q Okay. Moving on.
18      Q Okay. And when you -- when -- I see here              18          Looks like you got another job about a
19   that it says you managed cash flow and capital             19   year later as OVP of international business
20   expenditures, and you were accountable for financial       20   development.
21   planning analysis of the operation --                      21          What does "OVP" stand for?
22      A Yes.                                                  22       A Operating vice president.
23      Q -- and for finances and profit and loss               23       Q And was that a promotion?
24   and BS.                                                    24       A It was, yes.
25           What is BS?                                        25       Q And what was your job as the OVP?

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 1       A Pretty much the same as the previous job.            1   accounting department that took care of everything.
 2   It was just increased responsibilities. More money.        2       Q Okay. Let's move on.
 3           But it was traveling around the world as           3          Why did you leave HSN?
 4   part of the due diligence team and looking for             4       A When?
 5   appropriate markets for further development.               5       Q Why?
 6       Q Okay. And shortly thereafter, another job            6       A Why? They reduced my position.
 7   as operating vice president of finance.                    7       Q And what do you mean by reduced your
 8           Tell me about your job there.                      8   position?
 9       A I moved over to the domestic division.               9       A They reduced the overall financial
10                                                             10   planning and analysis department. So they had to
     HSN, at that point in time, divested out of its
11                                                             11   reduce a couple of positions. I was one of them.
     international markets. So they transferred me over
12                                                             12          But at that point in time, I was happy to
     to the domestic division. And I was doing a couple
13                                                             13   leave because I felt I'd reached my -- my options
     of things.
14                                                             14   there. They were very -- very forthcoming. They
             I was managing, umm, the -- umm, the
15                                                             15   allowed me to pretty much decide when I wanted to
     expense buckets for certain areas of the company.
16                                                             16   leave. They didn't really, you know, make me leave
     It's -- it's a huge company. So the marketing
17                                                             17   the same day.
     department, I was helping and managing from an FP&A
18   standpoint. I was creating budgets and reported           18       Q Okay. And where did you go after you left
19   their actual results versus budget, and provide           19   HSN?
20                                                             20       A Afterwards, I worked for a local company
     reasons for the variances.
21                                                             21   in insurance. Cunningham Lindsey, that's an
         Q Okay. And was there any financial
22                                                             22   insurance business.
     reporting, such as preparation of P&Ls, balance
23   sheets, cash flows?
                                                               23       Q Okay. Director, FP&A.
24       A Not necessarily the preparation, but the
                                                               24          That's financial planning and analysis?
25                                                             25       A Planning and analysis. That's it.
     analysis. Home Shopping Network had a domestic

                                                      41                                                             42

 1      Q Okay. And tell me what you did there.                 1      Q Okay. So I'm going to skip past The
 2      A So pretty much, the FP&A world is not very            2   Cookie Department for a moment and move up to
 3   diverse. So I reported on actual results. I                3   Kirschner Consulting.
 4   created budgets. And I was helping, umm -- I was           4      A Mm-hmm.
 5   part of the pricing committee. So when, uh -- uh,          5      Q Looks like you started that in April 2016.
 6   when -- when insurance adjusters went out to bid for       6          Is that still ongoing business for you?
 7   a new business, they, umm -- you know, I would help        7      A It is. Yes.
 8   them price it properly, my team and I.                     8      Q And tell me what type of work you do at --
 9      Q Okay.                                                 9   as a consultant?
10      A I also assisted other divisions with, umm,           10      A I assist smaller startup businesses who
11   you know, making sure that -- the IT division, for        11   don't have, necessarily, the funds nor the
12   instance, making sure that they encompass all             12   experience with modeling a business plan. So I help
13   finance needs when they make any systems changes or       13   them set up a business model for a forecast and for
14   when they change any processes.                           14   a budget, a three-year plan, as well as help them
15      Q And I don't see, in this description, any            15   set up the basic structure of a financial reporting
16   reference to financial statements.                        16   for profit and loss statements and balance sheet.
17         Was that not part of the job?                       17      Q Okay. And I note that you're the interim
18      A No. That was, again, they had an                     18   CFO of that business.
19   accounting -- there is a clear distinct between an        19      A That is correct.
20   accounting and treasury department and FP&A.              20      Q Does anyone else work in this business
21         FP&A focuses more on the modeling -- on             21   with you?
22   the analysis, budgeting and forecasting versus            22      A I have a consultant, abroad, that is
23   accounting.                                               23   assisting me.
24         They actually take the actual results and           24      Q Okay. And let's take a look at your job
25   they report it.                                           25   at Diversified Maintenance Systems.

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 1          Tell me what you do there.                           1   job at HSN, looks like you were handling SEC
 2      A So I work in the financial planning area.              2   filings; is that right?
 3          I also overtook -- or took over the IT               3       A I was part of the team who was handling
 4   department as an interim head of IT for a couple of         4   it, but I didn't submit it. I was part of helping
 5   years.                                                      5   pulling together some information that was then sent
 6          I am still with the company at this point            6   over to the CFO for review.
 7   in time, but it's mostly focusing on budgeting,             7       Q Okay. And are you familiar -- do you --
 8   forecasting, and also working on ad hoc projects.           8   strike that.
 9      Q Okay. I see there's a reference to a                   9           Do you do any current work with SEC
10   financial reporting tool.                                  10   filings?
11          Are you involved in financial reporting?            11       A I do not, no. Not directly in my job.
12   Are you preparing reports at all?                          12       Q So tell me about, uh, your connection to
13      A I do not. I take the numbers, and I                   13   The Cookie Department. How did you come to be
14   compare them to the budgets.                               14   affiliated with The Cookie Department?
15      Q Let's see. There's one more thing I'd                 15       A A common friend introduced me to Akiva,
16   like to ask about.                                         16   mentioning that he might need some help in modeling
17          I'm going to stop sharing my screen for a           17   a business plan.
18   moment.                                                    18       Q And when was that?
19          Umm, explain to me, umm, where -- where             19       A 2016.
20   you got your restructuring experience. Which job           20       Q Were you familiar with The Cookie
21   was that?                                                  21   Department before you joined the company?
22      A I worked at the Home Shopping Network,                22       A I was not, no.
23   umm, in trying to restructure some of the original         23       Q And when you joined the company, what were
24   businesses over there, abroad.                             24   you hired to do?
25      Q Okay. And it looks like -- in your first              25       A I was hired to create a business plan for

                                                      45                                                              46

 1   The Cookie Department.                                      1   reforecasts midyears.
 2      Q And it also states on your resume, umm,                2      Q Are there plans to hire a permanent CFO?
 3   that you're an investor.                                    3      A You have to ask Akiva.
 4          Umm, when you were hired, were you also an           4      Q Are you under contract right now?
 5   investor?                                                   5          MR. SINGH: Object to form.
 6      A No.                                                    6   BY MS. HOWERY:
 7      Q When did you become an investor?                       7      Q Are you under contract with The Cookie
 8      A 2017.                                                  8   Department to serve as --
 9      Q And what was your title when you were                  9      A We have -- we have no written agreement.
10   hired?                                                     10      Q Do you plan to continue serving as an
11      A I wasn't really hired. I was a                        11   interim CEO -- CFO?
12   contractor, or I was a consultant. I still am. I'm         12      A Yes.
13   not an employee.                                           13      Q What type of investment did you make in
14      Q Are you compensated?                                  14   TCD?
15      A I'm not, no.                                          15      A I made a cash investment.
16      Q Have you ever been compensated by The                 16      Q And what did you get in return for that
17   Cookie Department?                                         17   investment?
18      A In cookies, yes.                                      18      A I haven't received anything yet. It's
19      Q And how many hours -- strike that.                    19   part of a convertible note.
20          As a consultant, what are your                      20      Q And what's the maturity date on that note?
21   deliverables?                                              21      A I believe it has matured or it's maturing
22      A My deliverables are to create a business              22   in April of this year.
23   plan at the beginning of each year; to review the          23      Q Do you have ownership in The Cookie
24   financials on the monthly and quarterly basis; to          24   Department?
25   ensure that the recordkeeping makes sense; to create       25          MR. SINGH: Object to form.

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 1                                                           1
     BY MS. HOWERY:                                              The Cookie Department, but -- however, in, you know,
 2                                                           2
         Q Do you have an ownership interest in The              the latter part of the year, I spend more time since
 3   Cookie Department, Incorporated?                        3   I'm building a budget for the new year -- or
 4         MR. SINGH: Object to form.                        4   midyear, when we are after six-month of actual
 5         THE WITNESS: (No audible response)                5   performance, we're reforecasting the rest of the
 6   BY MS. HOWERY:                                          6   year.
 7       Q Do you own shares of The Cookie                   7      Q Do you prepare financial statements?
 8   Department, Incorporated?                               8      A I review the -- the entries that the
 9       A As far as I know, no.                             9   bookkeeper makes, and I prepare, you know, their --
10         MR. SINGH: May I just advise the witness?        10   their correctiveness from a reporting standpoint.
11         When I object, unless I instruct you not         11      Q Who is the bookkeeper?
12   to answer, you can still try to answer.                12      A She's a consultant.
13         THE WITNESS: Oh.                                 13      Q Okay. Who is that?
14         MR. SINGH: Yeah.                                 14      A It's a consulting company, I think. They
15         THE WITNESS: Okay.                               15   used to be -- it's a new company that we switched.
16         MR. SINGH: Just so that's clear.                 16   So the bookkeeper's name is Catherine --
17         I'll tell you, it's only on privilege or         17   (sotto voce)
18   privacy issues I will instruct you not to answer.      18          THE REPORTER: I'm sorry. Say it again.
19         THE WITNESS: Okay.                               19          THE WITNESS: Catherine. I believe,
20   BY MS. HOWERY:                                         20   Lindquist (phonetic).
21       Q What's your day-to-day experience with The       21   BY MS. HOWERY:
22   Cookie Department?                                     22      Q When you say you review the statements,
23       A So, I don't necessarily work day to day.         23   did I understand you correctly, for accuracy? Is
24   It comes in cycles.                                    24   that what you said?
25         So on average, I spend two hours a week on       25      A I -- I review them to ensure that expenses

                                                      49                                                          50

 1   are coded to the right buckets, where I think they      1       Q And how, umm, is accounts payable tracked?
 2   should be; umm, that expenses are properly coded to     2       A The same manner, invoices are -- or bills
 3   the profit and loss statement versus the balance        3   or entered into the system with the due date, and,
 4   sheet.                                                  4   umm, when they're paid, they're being marked as
 5      Q And once these statements are complete, do         5   paid.
 6   you approve those statements?                           6       Q And is that also in QuickBooks?
 7      A There is no formal approval process. We            7       A Yes.
 8   make sure that the entries are corrected, and then I    8       Q And are you responsible for cash flow
 9   review and -- and then we don't necessarily submit      9   management?
10   them. They're for our own internal purposes mostly.    10       A Yes and no. It's mostly Akiva, because he
11      Q And so at the end of the year, you prepare        11   does the operational decisions.
12   a budget?                                              12       Q So when you say "yes," what portion of
13      A Yes.                                              13   cash flow management are you responsible for?
14      Q And if I understand you correctly,                14       A So, I'm responsible for letting him know
15   midyear, you take a re- -- a look at the budget to     15   if, umm, we need to relook at certain expense line
16   see if you're on base?                                 16   items because it's up -- impacting our operating
17      A That's correct. And if we need to                 17   cash flow.
18   reforecast the remainder of the year.                  18       Q Are you responsible for tax filings?
19      Q How are accounts receivable tracked?              19       A No.
20      A Accounts receivable are tracked by, umm,          20       Q Do you review tax returns for TCD?
21   invoices, that are entered into the system, and        21       A Prior to submission, I review the
22   their, uh, due date and whether or not they have       22   financials to ensure that the tax accountants made
23   been paid or not.                                      23   the proper -- or the -- our bookkeeper has a proper
24      Q What system is that?                              24   accountant -- accountability in the system of where
25      A We are using QuickBooks.                          25   items belong to.

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 1      Q And the bookkeeper, when she's preparing           1   BY MS. HOWERY:
 2   financial statements, where does she get the data?      2       Q How many employees were there at the time
 3      A The data is inputted into the system by            3   of formation?
 4   Akiva. For instance, he gets the invoices, so he        4       A I'm not familiar with that set up. That
 5   inputs them into the system or uploads them with a      5   was prior to my time.
 6   backup. Same with the invoices. The invoices are        6       Q How many employees are there currently?
 7   created to, umm, larger vendors. They're created        7       A One.
 8   umm, in QuickBooks. So it's -- it's all trackable.      8       Q And who is that?
 9      Q Okay. Do you do any type of financial --           9       A That's Akiva.
10   other financial reporting for The Cookie Department?   10       Q To your knowledge, have there ever been
11      A No. It's mostly budgeting, lending, and           11   more than one employee?
12   analysis --                                            12       A Not exactly, no. I know there is
13      Q Do you --                                         13   contractors and that there is consultants; but not
14      A -- and forecasting.                               14   necessarily employees, no.
15      Q Do you do any SEC reporting?                      15       Q Who -- who are the contractors currently
16      A I do not directly, no.                            16   employed?
17      Q Can you describe The Cookie Department's          17       A It is myself, the bookkeeper, and somebody
18   organizational structure?                              18   in the creative department, I think.
19      A It's a California-based corporation.              19       Q And is the bookkeeper compensated?
20      Q Do you know when it was incorporated?             20       A I believe so, yes.
21      A 2012.                                             21       Q How much?
22      Q Is it still current?                              22       A I'm not sure. Akiva agreed with her on a
23         MR. SINGH: Objection. Form.                      23   price.
24         THE WITNESS: Yes.                                24       Q Is the creative person compensated?
25         Yes.                                             25          MR. SINGH: Object to form.

                                                      53                                                          54

 1                                                           1
           THE WITNESS: I believe so, yes; but I'm                   A I don't know the exact number, but it's
 2                                                           2
     not sure.                                                   listed on the balance sheet.
 3                                                           3       Q Has balance sheet been produced in
     BY MS. HOWERY:
 4                                                           4   discovery?
        Q Are there any partners in The Cookie
 5                                                           5
     Department corporation?                                         A Are you asking me?
 6                                                           6       Q Yes.
        A What do you mean? I'm not sure I
 7                                                           7       A Based on the information that I have been
     understand.
 8                                                           8
        Q Are there any, uh, directors?                          shared with by our team last night, it looks like it
 9                                                           9   has.
        A We have -- on the board of directors,
10                                                          10       Q So you reviewed the balance sheet in your
     there's three of us.
11                                                          11   preparation for this --
        Q Okay. And who -- who is that?
12                                                          12       A This morning, when -- because I received
        A It is Akiva, myself, and Isaac, Akiva's
13                                                          13   the information from my -- from the attorneys last
     brother.
14                                                          14
        Q Is that Isaac Resnikoff?                               night, yes. From the additional financials that
15                                                          15   were procured last night or provided last night.
        A Yes.
16                                                          16       Q Are you aware that before The Cookie
        Q And does Isaac have an ownership
17                                                          17   Department incorporated, there was another Cookie
     interest --
18                                                          18   Department entity formed as an LLC?
        A I don't know.
19                                                          19
        Q -- in The Cookie Department?                               A No.
20                                                          20       Q Have you ever seen the ONE Brands'
        A I don't know.
21                                                          21   Chocolate Chip Cookie Dough protein bar product?
        Q Are there any other investors in The
22                                                          22
     Cookie Department?                                              A Not specifically. I don't remember it
23                                                          23   exactly. I've seen it in Smoothie Kings, the ONE
        A For the same as me, for the convertible
24                                                          24   Brand, but not necessarily the -- the one you
     note, there are. Yes.
25                                                          25
        Q How many?                                              mentioned.

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 1       Q Did you see the images of the purportedly         1       A I know those -- those are the statements
 2   infringing product in the Complaint?                    2   are set up in the system.
 3       A No, I have not.                                   3       Q And when you say "the system," you're
 4       Q Do you understand what portion of the             4   referring to QuickBooks?
 5   product that The Cookie Department takes issue with     5       A The QuickBooks. QuickBooks has a
 6   in this litigation?                                     6   reporting suite. And it has balance sheets and cash
 7       A I do not, no.                                     7   flows and P&L's set up already, automatically.
 8       Q Let's move on to the topics that you've           8       Q And when you say they're set up
 9   been designated for.                                    9   automatically, how are those sheets -- how are those
10          If I understand you correctly, you don't        10   reports -- and we'll step through them.
11   prepare the financial statements for The Cookie        11          Let's say, the profit and loss report, how
12   Department; is that right?                             12   is that report populated by --
13       A I review the entries in the system, yes.         13       A That report is populated through the
14       Q So you review the entries in the system?         14   accounting entries that you make from an income
15       A I print those out in a financial statement       15   standpoint, all the sales transactions, the invoices
16   format if I need to work with those from a budgeting   16   issued.
17   standpoint.                                            17          And then from an expense standpoint, all
18       Q So you do -- you do prepare statements?          18   the invoices received or bills received, umm, that
19       A Prepare -- I guess, can you specify why --       19   they're coded to the right accounts, and that
20   what exactly you mean if I prepare statements? If I    20   they're coded to the right, umm -- in the right,
21   just press a print report button, or if I actually     21   umm, time frame. So they are rolling up in the
22   do -- what purpose?                                    22   correct months and years.
23          I prepare statements to have that as my         23          So once that information is in the system,
24   starting point for my budgeting.                       24   you go into the reporting suite, and you just run it
25       Q Okay.                                            25   for the time frame you need it for.

                                                      57                                                          58

 1         And then it spits out the P&L.                    1       A Same way. It's -- it's a -- it's a result
 2       Q All right. And who's responsible for              2   of the monthly activities.
 3   making those accounting entries?                        3          For instance, if Akiva issues an invoice
 4       A The accountant and, umm, Akiva.                   4   for a vendor and the payment terms are 30 months
 5       Q And is the accountant the same person as          5   [sic], which is beyond the current month, the
 6   the bookkeeper?                                         6   balance sheet will show it in an accounts receivable
 7       A I'm sorry. Yes. It's the bookkeeper.              7   for the current month because it has not been paid.
 8       Q Okay.                                             8          And it's -- once it's getting paid in the
 9       A It's the same person.                             9   next month, it's going to be removed from the
10       Q Okay. And they both make entries into the        10   balance sheet.
11   account -- accounting entries?                         11          When we have accounts receivables that are
12       A Oh, Akiva enters, for instance, invoices         12   noncollectable on our end, we write them off. So
13   he receives, bills he receives with the attachment     13   that's an -- a decision we're making after, you
14   of the invoices. So he enters those into the           14   know, several collection attempts. And if it's a
15   system. He issues invoices for products sold to        15   decision, umm, that, you know, Akiva feels that it's
16   wholesalers and distributors. Then we have entries     16   no longer something that we are able to collect, we
17   from the online, umm, sales. So they're transferred    17   will write that off. So that's an entry, the
18   over into QuickBooks automatically because the         18   account or the bookkeeper will make to make sure
19   accounts are connected.                                19   that we move it from the balance sheet to the P&L.
20         Umm, and, uh, based on that, uh, the             20       Q And is the cash flow statement prepared in
21   accountant then goes in, make sure that everything     21   a similar way?
22   is tagged and reconciled properly. And I take a        22       A Yes, it's -- the cash flow statement, it's
23   look at the numbers and make sure that they're         23   pretty much a combination of your P&L and your
24   tagged properly to the right accounts.                 24   balance sheet. It shows the movement of funds from
25       Q And how is the balance sheet populated?          25   one month to another.

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 1       Q How do you ensure that the reports are               1      Q Does any -- does Akiva use any other
 2   accurate?                                                  2   systems?
 3       A By validating a trend; by looking at, you            3      A You'll have to ask Akiva.
 4   know, the expenses, if they're reoccurring, that           4      Q Does The Cookie Department use any other
 5   they are showing up every month; by making sure            5   systems?
 6   we're accruing for items that we know are going to         6      A You have to ask Akiva.
 7   happen, but we have not yet received an invoice for.       7          I know -- I'm involved with QuickBooks and
 8          So it's pretty much just reviewing a trend          8   Excel. I'm -- I'm sure we have Shopify. I do not
 9   and seeing if there is big gaps to previous month.         9   have access to that account.
10   And then, if there is, understanding the reason why.      10          Shopify is the online platform.
11       Q Are there any tools within QuickBooks that          11      Q And what does Shopify do?
12   help identify potential inaccuracies?                     12      A It is the online sales platform.
13       A There is a reconciliation tool that                 13      Q Does that feed into QuickBooks?
14   reconciles, helps you -- helps to reconcile your          14      A I believe so. Maybe -- I believe so.
15   bank accounts, your credit cards at the end of each       15          Again, I have not ever accessed Shopify
16   month. So that ensures that all transactions are          16   for The Cookie Department. I've only seen the
17   being captured.                                           17   transactions come through in QuickBooks.
18          If some are not, then there's a reason for         18      Q How is inventory tracked at TCD?
19   it, and they're being moved with a journal entry          19      A I believe it was a manual process. I'm
20   that's traceable.                                         20   not -- I know that, uh, we are, previous to my
21       Q So are there any other systems used for             21   coming, expenses for the production of cookies were
22   the performance of your job as CF -- interim CFO?         22   expensed when received versus dropping it on the
23       A For The Cookie Department?                          23   balance sheet.
24       Q Mm-hmm.                                             24          So right now, the cost for the cost of
25       A I'm just using, umm, QuickBooks and Excel.          25   goods sold should be reflected on the number of

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 1   units sold. Not necessarily what were produced with        1   2016?
 2   each invoice.                                              2      A She was not, no.
 3          So I believe it's a manual process.                 3      Q Who was handling financial statement
 4      Q And it sounds like, if I understood your              4   preparation when you --
 5   testimony, that sales is tracked by Shopify and            5      A Catherine's previous employer, who was
 6   through invoices?                                          6   also a contractor.
 7      A Yes. So Shopify, if we're still in the                7         So Catherine started with our previous
 8   same platform -- which honestly, I don't know -- is        8   bookkeeping company. And then she became
 9   just the online platform of sales.                         9   independent, and we switched over to her.
10          However, also, were generated by a various         10      Q And what was the previous company?
11   other revenue streams. So wholesalers and                 11      A Tax -- (audio distortion)
12   distributors. Those would be the invoices in              12         THE REPORTER: Say it again.
13   QuickBooks.                                               13         THE WITNESS: Tax Force, Inc.
14      Q Okay. Does The Cookie Department use any             14   BY MS. HOWERY:
15   other, umm, outside person to assist with financial       15      Q Did Tax Force, Inc., also prepare tax
16   statement preparations besides Ms. --                     16   returns?
17      A Catherine.                                           17      A Yes, they have.
18      Q -- Catherine?                                        18      Q And is that a function that Catherine now
19      A As far as I know, it's just Catherine and            19   does?
20   myself who review the financials.                         20      A I believe that tax filing is still being
21      Q How long has Catherine been a contractor             21   done by Tax Force, Inc.
22   with TCD?                                                 22      Q Okay.
23      A I don't know the exact date, but it's been           23      A The bookkeeping functions are being done
24   a few years.                                              24   by Catherine.
25      Q Was she a contractor when you joined in              25      Q So does Catherine -- it sounds like

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 1   Catherine has access to QuickBooks?                         1       Q Okay. Have you ever had a reason --
 2      A She does.                                              2   strike that.
 3      Q Is that --                                             3           Have you ever had to revise financial
 4      A Yes.                                                   4   statements produced by The Cookie Department?
 5      Q Is there any sort of manual, uh, relay of              5           MR. SINGH: Object to form.
 6   information to Catherine outside of QuickBooks?             6           THE WITNESS: For year end, after my final
 7      A Not that I'm aware of. You'll have to ask              7   review, umm, I know there were exchanges with the
 8   Akiva. I do not receive invoices, and I do not              8   bookkeepers of changes that they needed to make and
 9   receive bills. So I'm not exactly sure, umm, you            9   push through.
10   know, if there's a communication between Akiva and         10           For instance, accrual of interest that was
11   her to that end.                                           11   not done at the point in time, or, you know, moving
12      Q Are the financials audited?                           12   things to the balance sheet because, umm -- umm,
13      A No, they're not.                                      13   items were not yet incurred.
14      Q Has there ever been any audited                       14           Umm, so I remember that discussion with
15   financials?                                                15   them for yearend conversations.
16      A Not an audit per se, but we had a review              16   BY MS. HOWERY:
17   by a CPA.                                                  17       Q Okay. Is this for a particular yearend,
18      Q When was that?                                        18   or is this just something that happens --
19      A I believe it was in 2018.                             19       A This just happens every year.
20      Q And who was the CPA?                                  20       Q How do you evaluate the financial
21      A I don't know her name offhand. We can                 21   condition of a company?
22   provide that to you. We only dealt with her once,          22       A I am looking at a couple of things.
23   and that was a while ago.                                  23           I'm looking at their balance sheet for
24      Q You can provide that -- the review or --              24   their debt ratio.
25      A The CPA's name.                                       25           I'm looking at their accounts receivable

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 1   aging, at their accounts payable aging.                     1      A Gross profit is your net sales, which are
 2          I'm also looking at the gross profit of              2   your gross sales, less any discounts, returns. You
 3   the business, on a monthly basis.                           3   add in the shipping and handling revenue as well as
 4          And, umm, one-time expenses.                         4   any other revenue streams you may have. So that's
 5      Q Did you say one-time expenses?                         5   your net sales.
 6       A One-time expenses, if they're large, or if            6           And you subtract all cost of goods sold.
 7   they're recurring.                                          7      Q And --
 8      Q And what does it mean for a company to be              8      A Off of the expenses.
 9   profitable?                                                 9      Q And is that part of the profitability
10       A Everybody will have a different opinion of           10   analysis?
11   what profitability means.                                  11      A It is. It's your gross profit analysis.
12          One are -- we could talk to a salesperson.          12   Right.
13   They're going to be looking at the top line, growth.       13      Q Okay. So if a company has positive growth
14          For me, a company's profitable if it has a          14   profit -- gross profit, that would tend to suggest
15   positive cash position or if it can fund its               15   that it's profitable?
16   activities.                                                16      A Not necessarily. The profit -- the gross
17      Q And when you say if "they can fund its                17   profit that it has, allows it to maintain its
18   activities," how do you make that determination?           18   operating expense structure.
19       A Through the analysis, the operating cash             19           So the gross profit is just the reflection
20   flow. The operating cash flow keeps track of               20   of its profitability after the direct costs
21   operating activities, financing activities, and            21   associated with the sale of the product.
22   investing activities. And it's measuring those             22      Q What is "net operating income"?
23   against your cash on hand.                                 23      A Net operating income is on the cash flow,
24      Q So when you look at a profit and loss                 24   when you back out items such as interest,
25   statement, what is "gross profit"?                         25   depreciation, amortization, and you look at the

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 1   changes in the operation of the company.                1   from an P&L?
 2         For instance, your accounts payable, your         2   BY MS. HOWERY:
 3   inventory, your accounts receivable, umm, credit        3      Q From a P&L statement, I'm asking about net
 4   cards, et cetera. So you back those out -- I'm          4   operating income.
 5   sorry.                                                  5      A Is that equivalent to your net income,
 6         You back out the depreciation,                    6   which is the bottom line?
 7   amortization. There are certain line items you back     7         Because, again, there's many definitions
 8   out of the net income.                                  8   out there. We might talk about the same thing and
 9         And then you look at the movement.                9   have different terminology.
10         That's tracking if your business is              10      Q Okay. We'll come back to that.
11   generating operating -- a positive cash flow from      11      A Sure.
12   its operations.                                        12      Q To that line of questioning.
13         Then you have two additional categories --       13         What was the financial condition of The
14   which is the investing as well as the financing        14   Cookie Department when you joined in 2016?
15   activities for the business -- to get your total net   15         MR. SINGH: Object to form.
16   cash flow.                                             16         THE WITNESS: Umm, it was ramping up its
17       Q Okay. So if a company has a positive             17   revenue. So I believe revenuewise, they were
18   operating income, that means that it's operating at    18   roughly 300,000, $250-300,000 annual revenue range.
19   a profit?                                              19   BY MS. HOWERY:
20         Am I understanding that correctly?               20      Q Okay. And what is the financial condition
21         MR. SINGH: Object to form.                       21   of The Cookie Department today?
22         THE WITNESS: I just want to be careful           22      A So today, as of, umm, April, we are at
23   about the definitions.                                 23   roughly 225,000, to date, sales.
24         When you mean "operating income," are you        24         So if you annualize that, you're in a
25   meaning the operating income from a cash flow or       25   better shape than, you know, if you're just taking

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 1   it, performance for now and you're adding -- (audio     1       A I can, but could you make it a tad bigger,
 2   distortion) -- in a better position than what we        2   please.
 3   were in the previous -- in previous years.              3       Q I will.
 4          MS. HOWERY: Okay. I think I'd like to            4       A Thank you.
 5   take a break here, if you don't mind?                   5       Q And I'm also going to -- well, freeze the
 6          MR. SINGH: How long?                             6   pain so we can just scroll through and keep the
 7          MS. HOWERY: Ten minutes.                         7   headings.
 8          MR. SINGH: Okay.                                 8          Okay. So, Ms. Kirschner, have you seen
 9          THE VIDEOGRAPHER: The time is 10:37 a.m.         9   this document before?
10   We are now off the record.                             10       A I have.
11             (Proceedings recessed                        11       Q When did you see this document?
12         from 10:37 a.m. until 10:49 a.m.)                12       A I saw it in this particular format when I
13          THE VIDEOGRAPHER: The time is 10:49 a.m.,       13   prepared with the, umm -- with my legal counsel.
14   and we are now back on the record.                     14       Q And I'll just represent to you that this
15          MS. HOWERY: I'm just trying to coordinate       15   is the financial production legal counsel shared
16   some lunch on our end. Apologies.                      16   with us, umm, for The Cookie Department. It is The
17          Okay. I am going to populate an exhibit.        17   Cookie Department's Profit and Loss Statement, dated
18          And, Madam Court Reporter, this one does        18   September 7, 2012, through August 31st, 2021.
19   not have a number attached. So we will use the next    19          Do you see that?
20   consecutive number.                                    20       A Yes.
21          THE REPORTER: That would be 4.                  21       Q And do you see -- this might be difficult
22                (Deposition Exhibit No. 4                 22   to see -- at the top-hand corner [sic], there's a
23                marked)                                   23   number that's TCD-018421. That is the Bates number
24   BY MS. HOWERY:                                         24   of the produced document from The Cookie Department.
25       Q Okay. Can you see my screen?                     25          Do you see that?

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 1      A I do, yes.                                         1   you run it.
 2      Q (Coughing) Excuse me.                              2          On some accounts are, for instance, not
 3          Did you prepare this document?                   3   populated in particular years because we had no
 4      A I did not, no.                                     4   activity.
 5      Q Do you know who prepared it?                       5          So those accounts, if you just run it for
 6      A I'm -- I'm sure -- I think Catherine might         6   a particular year, will not show up.
 7   have prepared it, but I'm unsure. She just ran the      7      Q Okay. So this particular report, am I
 8   report.                                                 8   correct, that it covers the period from
 9      Q And is this a report -- is this how a              9   September 7th --
10   profit and loss report is generated from QuickBooks?   10      A Yes.
11      A It is, yes.                                       11      Q -- 2012, all the way through August 31st,
12      Q Did you assist in the preparation of this         12   2021?
13                                                          13      A That's correct.
     report?
14                                                          14      Q And does that mean that the figures that
        A Again, I haven't run this report. So it's
15                                                          15   are reflected in this report are what those
     the first time I saw it, a few days ago, in this
16                                                          16   numbers -- strike that.
     particular format.
17                                                          17          Does that mean that the figures we see in
            However, this is the P&L report that we
18                                                          18   this report were what's contained in these various
     have in QuickBooks, the format. So depending on the
19                                                          19   categories at the time the report was run?
     timeframes you run it, it's going to be populating
20                                                          20      A That's correct.
     these particular accounts with the information where
21                                                          21      Q Okay. And the source of this data is
     there is available. This is a canned report out of
22                                                          22   QuickBooks data, right?
     the QuickBooks.
23                                                          23      A That's correct.
        Q When you say depending on the particular
24                                                          24      Q When you say "this particular format," is
     timeframe, what do you mean?
25                                                          25   there a different format for profit and loss reports
        A I mean depending on the years and months

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 1   that QuickBooks can generate?                           1   "Income." And I see various categories under
 2        A There is not, no.                                2   Income, which suggest to me that these are, umm,
 3        Q And is this document an accurate statement       3   categories of income that are captured.
 4   of The Cookie Department's financials for this time     4          Is that right?
 5   period?                                                 5          MR. SINGH: Madam Court Reporter, can you
 6        A Yes. As far as I'm aware, it is, yes.            6   read Ms. Howery's question.
 7        Q And when you reviewed this document -- and       7       (Record read back by the Court Reporter)
 8   I'll just scroll through to confirm -- when you         8          THE WITNESS: (No audible response)
 9   reviewed this document with your counsel yesterday,     9   BY MS. HOWERY:
10   umm -- strike that.                                    10      Q I can't hear you, Ms. Kirschner. We lost
11           When you reviewed this document, did           11   your audio.
12   anything stick out as being inaccurate to you?         12      A Can you hear me now?
13        A Nothing at first glance, no.                    13      Q Yes.
14        Q Okay. So I'd like to step through this          14      A Yes, that is correct. Sorry.
15   document a bit, just so that I can understand --       15      Q Okay. So looking at this report, I see
16                 (Phone ringing)                          16   directly under Income, line 7, "Discounts Given."
17           THE WITNESS: Sorry.                            17          What does that represent?
18   BY MS. HOWERY:                                         18      A That represents any type of returns,
19        Q No worries.                                     19   refunds, or allowances that would reduce or be
20           So I can understand what these various         20   deducted from the gross sale of a product.
21   categories mean, and help frame the questions that I   21      Q Okay. And what is a "rebate amounts"?
22   was asking earlier about net operating income.         22      A Rebates are given to, you know, vendors or
23        A Okay.                                           23   customers. It's -- again, it's an allowance, a
24        Q -- so we follow the line.                       24   credit, for instance.
25           Okay. So looking at line 6, I see              25          So if you have -- you know, return the

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 1   product or if you are giving a rebate, a reduction          1   revenue's coming from.
 2   in price, umm, it would be captured over there.             2       Q What is "Hubba Income"?
 3   Because that actually reduces the gross sale of a           3       A Hubba is another platform that, I believe,
 4   product.                                                    4   we sold cookies to for a small period of time.
 5      Q Okay. And the same thing would apply for               5       Q And what are "QuickBooks Payment Sales"?
 6   Sale Discounts?                                             6       A That's a small insignificant amount. I'm
 7      A That's correct. Yeah.                                  7   not exactly sure. It's probably -- actually, I
 8      Q Okay. So umm, if we move down the line,                8   don't know for sure. It's $157 in ...
 9   umm, it looks like Total Discounts Given is a sub --        9       Q In 2019?
10   subtotal?                                                  10       A Yeah.
11                                                              11       Q So this Sales number in line 18 --
        A That's correct -- of all the rebates and
12                                                              12       A Mm-hmm.
     returns.
13                                                              13       Q -- does this represent cookie sales?
        Q Okay. What is "Event Income"?
14                                                              14       A It does represent cookie sales.
        A Event Income is -- what you see in the
15                                                              15       Q Does it represent anything else?
     next few rows are various, pretty much, revenue
16                                                              16       A No. It should just be clear cookie sales
     streams or how we captured revenue.
17                                                              17   to the various revenue streams.
           So you'll see income, uh, from -- from
18                                                              18       Q Okay. And this "Pre 8/30 Sales, Deleted,"
     Groupon sales. So we had Groupon as a platform for
19                                                              19   what does that mean?
     sale. We had -- Farmers Market obviously is
20                                                              20       A Deleted is an account that's no longer
     some -- you know, when we have attended -- or Akiva
21                                                              21   used or no longer should be used.
     attended a farmers market or a pop up, and he sold
22                                                              22         So that was -- at the beginning, when the
     cookies at an event.
23                                                              23   company started, I'm assuming, those were
           Same thing with the Event.
24                                                              24   pre-orders, but that's my own assumption. I don't
           I have not created that particular
25                                                              25   know for sure.
     account. It's just a way for us to track where the

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 1                                                               1       A It's, umm -- it's looking at the overall
            That was previous to my time.
 2       Q So it -- help me understand.                          2   sales and the pre-sales. Yes. And the line 18 is
 3          If it's an account that's no longer used,            3   going to add all your, umm, sales from Row 12
 4   why would it show up on the P&L?                            4   through, umm, line 17 actually.
 5                                                               5       Q Okay. That makes sense.
         A Because it hasn't been cleaned up, and it
 6                                                               6           What are "Sales of Product Income"?
     hasn't been moved into one of the other active
 7                                                               7       A It's the same thing. They are incorrectly
     accounts.
 8                                                               8   coded. They were not cleaned up.
            So for the financial statements to be
 9                                                               9           So that should be -- that number should be
     accurate, also, deleted accounts will show up.
10                                                              10   a part of the Row 18, actually.
     Hopefully there will have no longer activities after
11                                                              11       Q Okay. And what about "Shipping and
     they've been deleted.
12       Q Okay.                                                12   Delivery Income"?
13                                                              13       A Oh, Shipping and Delivery Income is, uh,
         A But the actual activity that's currently
14                                                              14   nonproduct revenue stream.
     still being booked in there, it's still going to
15                                                              15           When -- for instance, when you order
     show up in a report.
16       Q Makes sense.                                         16   something and they charge you shipping and handling
17          So this Total Sales number in line 20,              17   for your order. That would be a shipping and
18   that will represent all of the sales less these            18   handling revenue for us since we received it as cash
19   discounts?                                                 19   in.
20                                                              20           And that's going to help us, partly offset
         A It actually should be just the sales.
21       Q Just the sales?                                      21   our shipping and fulfillment costs.
22                                                              22       Q And what's the "Third Party Income"?
         A If you click -- can you -- can you click
23                                                              23       A I'm not sure. That's -- it looks like
     on the formula, please.
24                                                              24   it's a credit in 2019, and it's negligible. It's
            Right there.
25       Q Okay.                                                25   $475. It's probably miscoded; should be in the

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 1   Allowances piece on top.                                1   used, Monique -- I mean, I leave up to you, but
 2      Q And "Website Sales"?                               2   just, it would be nice to have clarity of the record
 3      A So those would be the dot-com sales or the         3   on this.
 4   sales we generated from our online store.               4           THE WITNESS: Total Income, in this
 5      Q Okay. Any -- would this capture any sales          5   particular illustration, is net sales.
 6   from, perhaps, an Amazon or a third-party seller or     6   BY MS. HOWERY:
 7   anything like that?                                     7      Q Thank you.
 8      A It may. Most of it, though, is from our            8      A Mm-hmm.
 9   online store.                                           9      Q Let's move down to line 26, Cost of Goods
10      Q So what does Total Income represent?              10   Sold.
11      A The Total Income is what I alluded to             11           What -- what are "Cost of Goods Sold"?
12   earlier. It's your net income, which is your gross     12      A Cost of Goods Sold is the category that
13   product sales minus any type of rebates, returns,      13   captures all the direct expenses associated with the
14   and refunds, plus the shipping and handling revenue.   14   production and the fulfillment of the shipping of
15      Q So you say this is the net income, but I          15   the goods.
16   believe there's a --                                   16           So -- or getting the goods to the
17      A Yes.                                              17   customer.
18      Q -- column that says --                            18           Those are, again, the direct costs. So
19      A Net sales. I said net sales.                      19   those are the direction production costs, the
20      Q Okay.                                             20   material costs, film costs, you know, any type of
21      A I'm sorry if I said net income. I                 21   warehousing expenses, shipping and handling
22   misspoke. It is net sales or net revenue. Because      22   fulfillment costs, et cetera.
23   you net out the returns and the refunds.               23      Q And I note in line 29, it seems to have
24          MR. SINGH: May I request, just for              24   something called "Cookie Production."
25   clarity of the record, if the word "it" is being       25      A It is -- so, everything that's in line 29,

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 1   down to line 38, those are the expenses associated      1   Goods Sold for Tough Cookie in 2020; is that
 2   with the production of cookies from the copackers.      2   correct?
 3          So that includes raw material. And those         3       A The way it seems, yes.
 4   are being invoiced to The Cookie Department by their    4       Q And there are no Cost of Goods Sold for
 5   vendors.                                                5   the Tough Cookie flavor in 2021; is that correct?
 6       Q Okay. And who are the copackers?                  6       A That's correct.
 7       A I don't know their names. That's                  7       Q Does that mean that there were no cookies
 8   something that Akiva deals with.                        8   sold in 2020?
 9       Q So I see Costs of Goods Sold for assorted.        9           MR. SINGH: Object to form.
10          What are "assorted"?                            10   BY MS. HOWERY:
11       A Assorted, I would assume -- that was             11       Q Does it mean that there was no Tough
12   previous to my time -- would be mixed, like, a mixed   12   Cookie flavor sold in 2020?
13   pack of different flavor cookies; not just the same    13       A Umm, I believe so, but it also means that,
14   flavor.                                                14   if you look -- go back to Row 29, all the flavors or
15       Q And I see various flavors, but we'll focus       15   all the cost of goods sold associated with all the
16   on the flavor that's at issue in this lawsuit, Cost    16   flavors are included in one line item.
17   of Goods Sold for Tough Cookie, in line 38.            17           So they weren't necessarily broken out
18          Do you see that?                                18   separately on -- on this -- on this P&L view. So
19       A I do. Yes.                                       19   it's a lump sum entry.
20       Q Can you explain why there are no costs of        20           And it looks like the accountant made that
21   goods sold for the flavor in 2012?                     21   entry versus breaking it up by category. We -- we
22       A I cannot explain that. I'm assuming it's         22   haven't tracked it this way.
23   all captured in Row 29. All the flavors are            23       Q And why -- why was that done?
24   captured in Row 29. Nobody broke it up in 2012.        24       A I don't know, to be honest.
25       Q And I note that there are no Costs of            25       Q So is this data still available?

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 1          Can you still determine from QuickBooks          1           THE WITNESS: No -- sorry.
 2   what the cost of goods sold for the Tough Cookie        2           No. It's not. We just stopped the
 3   flavor was in 2020?                                     3   functional line so we could reformulate it.
 4       A If there were sales, we should be able to.        4           I know that Akiva wanted to reformulate
 5   I just don't think that there were any sales in         5   the -- the functional line, and it's -- it's back in
 6   2020.                                                   6   our assortment as of this year, I believe.
 7          In 2020, we started, I believe, our keto         7   BY MS. HOWERY:
 8   line.                                                   8      Q So have sales of the Tough Cookie
 9      Q So you started the keto line.                      9   functional product resumed?
10          Does that mean you discontinued production      10      A Not as far as I know yet. I -- it's --
11   on all these flavors?                                  11   the entire functional line should be available as of
12          MR. SINGH: Object to form.                      12   spring. It should resume probably in -- in May, if
13          THE WITNESS: We stopped production and          13   I'm not mistaken. But you'll have to ask Akiva as
14   reformulated the goods -- the functional line.         14   to what the plan is for that, when the copackers
15   BY MS. HOWERY:                                         15   will be able to reoffer the newly formulated ...
16      Q And what's the "functional line"?                 16      Q When was the last time that Tough Cookie
17       A The functional line was the first line of        17   was sold?
18   cookies that, uh, were a part of the assortment that   18      A I believe it was in 2019.
19   The Cookie Department sold. They were, I believe,      19      Q And is that also the last date that it was
20   five or six flavors which are listed over there.       20   offered for sale?
21          So Awaken Bake, Cherry Bomb, Great Full,        21           MR. SINGH: Object to form.
22   Snap Back, and Tough Cookie.                           22           THE WITNESS: I honestly don't remember.
23      Q So the keto line is replacing the                 23           MS. HOWERY: A moment. Bear with me.
24   functional line?                                       24             (Proceedings paused briefly)
25          MR. SINGH: Object to form.                      25           MR. SINGH: Is everything okay.

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 1          MS. HOWERY: Yeah. I'm just trying to             1   meeting. Hold on.
 2   load an exhibit.                                        2          MR. SINGH: I'll take over.
 3          MR. SINGH: Do you want me to help? I'm           3   BY MS. HOWERY:
 4   just kidding. Sorry.                                    4       Q All right. So let's get back to the
 5          THE REPORTER: There was one just loaded.         5   profit and loss statement.
 6   I captured that. Is that going to be 5?                 6          We talked about gross profit. And I see a
 7          MS. HOWERY: Yes, that is Number 5.               7   range of expenses, but I want to drop down to Total
 8                (Deposition Exhibit No. 5                  8   Operating Expenses.
 9                marked)                                    9          Do you see that?
10          MS. HOWERY: I've got one more. There it         10       A I do, yes.
11   is. For some reason ...                                11       Q And are Total Operating Expenses, as
12                (Deposition Exhibit No. 6                 12   reflected on line 144, a summary of all the expenses
13                marked)                                   13   identified between lines -- wow. There's a lot.
14          THE REPORTER: I'm assuming that second          14       A Yes.
15   one is 6.                                              15       Q Lines 52 and --
16          MS. HOWERY: Yep.                                16       A That's correct.
17          THE REPORTER: Thank you.                        17       Q Okay. So what are "Operating Expenses"?
18           (Proceedings paused briefly)                   18       A Operating Expenses are fixed and variable
19          MR. SINGH: Wait. What second one? Oh, I         19   costs associated with running the business. It's
20   see. Got you.                                          20   the overhead.
21          MS. HOWERY: Got it?                             21       Q Okay.
22          MR. SINGH: Yep. Got you.                        22          THE VIDEOGRAPHER: Ms. Howery, could you
23   BY MS. HOWERY:                                         23   Zoom in a little bit? This document is a little bit
24       Q Okay. All right. I'm going to share my           24   smaller than the previous one, for some reason.
25   screen again -- wrong button. I almost left the        25          Thank you.

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 1          MS. HOWERY: Okay.                                    1          And that's probably some marketing costs,
 2   BY MS. HOWERY:                                              2   yeah. I'm mistaken. So if you scroll back up,
 3      Q So, Total Operating Expenses looks like,               3   there is more items that affect that line item.
 4   in 2012, they were 85,000 and some change.                  4          So Total Marketing was a big driver.
 5          And they appear to increase, year over               5      Q Okay. And if -- if I understood you
 6   year, from 2012 up until January 2018; is that              6   correctly, Akiva is the only employee; is that
 7   correct?                                                    7   right?
 8      A That's correct. It's trending that way                 8      A That's correct. Yes.
 9   with the exception of 2015.                                 9      Q And would contractor compensation be paid
10      Q Yes. I see that.                                      10   out of payroll costs or --
11          And can you explain why operating expenses          11      A Not out of payroll, no.
12   dropped in 2015?                                           12      Q So in 2019, payroll expenses dropped about
13      A If you scroll back up, I can call out the             13   $34,000 -- 33, we'll say.
14   certain line items; but, offhand, umm, not                 14          Does that mean Akiva stopped taking a
15   necessarily. It looks like rent expense was one of         15   salary or reduced his salary?
16   the lower expense items, and payroll.                      16      A Pretty much, yes.
17          So we did not have any payroll payout.              17      Q And in 2020, there's no payroll expense?
18      Q Okay. And I see a similar drop in 2019 in             18      A That's correct.
19   Total Operating Expenses.                                  19      Q And none in 2021?
20          Can you explain that?                               20      A So far, yes.
21      A Umm, let's see. If you scroll back up,                21      Q Why did Akiva stop taking a salary?
22   again, it's payroll expenses. When you compare it          22      A You have to ask him.
23   to previous -- to the previous year, umm, and              23      Q Has he resumed taking a salary?
24   then -- so overall payroll expenses are lower. That        24      A Not as far as I know, no.
25   contributed to it.                                         25      Q So it looks like we see declining expenses

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 1   in 2020 and 2021 -- all seem to be driven by the            1       A Not without seeing the backup, not
 2   reduction in payroll?                                       2   offhand. But it -- Akiva was constantly working
 3       A And by Marketing Expenses.                            3   also on new flavors. So it's probably a combination
 4          So several line items. It's not just one.            4   of, you know, keto and different other flavors as
 5       Q Okay. Where would you see -- where would              5   well as packaging, changing in packaging.
 6   we expect to find expenses for the development of           6       Q So moving right along, let's take a look
 7   this keto line?                                             7   at Net Operating Income.
 8       A If you scroll further down -- let's see.              8          What is "Net Operating Income"?
 9   Can you scroll back up? I'm sorry.                          9       A Net Operating Income is your gross profit.
10          It's probably part of the cost of goods             10   So you take your net -- net revenue or net sales,
11   number, and there should be an R&D account.                11   minus all the direct costs associated with the
12          Just a second. Right there.                         12   production and the fulfillment of the products you
13          Stop. Stop, please.                                 13   sold, less all the variable and fixed costs. That
14          Row 127.                                            14   includes the depreciation, amortization, and
15       Q Okay.                                                15   interest expense as well.
16       A So that's a research and development                 16          And that's your net operating income and
17   account. And this is where all the costs associated        17   that's what you referred to -- I usually look from a
18   with the development of new products should be coded       18   profitability standpoint, I look at, umm, EBIT.
19   to.                                                        19       Q EBIT?
20       Q Okay. And when did -- umm, so -- The                 20       A Yeah. Which is --
21   Cookie Department start development of the keto            21       Q Are --
22   line?                                                      22           (Concurrent conversations)
23       A I believe it was in 2019.                            23          THE WITNESS: -- operating income less the
24       Q Can you explain what the research and                24   taxes paid and interest.
25   development expense was in 2018?                           25


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 1   BY MS. HOWERY:                                             1   operated at a loss?
 2       Q EBIT, what does that stand for?                      2       A Yes.
 3       A It's earnings before income tax --                   3       Q And would you still consider The Cookie
 4   interest and tax.                                          4   Department a startup?
 5       Q So if we look at Net Operating Income for            5          MR. SINGH: Object to form.
 6   The Cookie Department, also known as EBIT, also            6          THE WITNESS: Not after a few years.
 7   known as earnings before interest and taxes, in            7          However, The Cookie Department
 8   2012, it looks like there's a negative number here;        8   reformulated its flavors. So it -- it's -- it's
 9   is that correct?                                           9   part of a startup; but, umm, no, after three, four
10       A It is a loss, which is to be expected for           10   years, I wouldn't -- I wouldn't, umm, see that as a
11   a startup business.                                       11   startup business.
12       Q Okay. So if -- if I were explaining this            12   BY MS. HOWERY:
13   in layman's terms, would -- would I say that The          13       Q All right. I'd like to drop down a little
14   Cookie Department was operating at a loss in 2012?        14   bit further to Net Income.
15       A Yes.                                                15          What is "Net Income"?
16       Q And would it be accurate to state that The          16       A Net Income is your net operating income or
17   Cookie Department was operating at a loss in 2013?        17   EBIT, less taxes and interest.
18       A Yes.                                                18       Q And how's that different from Net
19       Q And it was operating at a loss in 2016?             19   Operating Income?
20       A Yes.                                                20       A In that it has additional expenses that
21       Q And it was operating at a loss in 2018?             21   hits the profitability of the business, such as
22       A That's correct.                                     22   taxes that you need to pay, as well as interest paid
23       Q And it was operating at a loss in 2019?             23   out.
24       A Right.                                              24       Q Okay. So looking at the Net Income for
25       Q And across all years, total, it's -- it's           25   2012, when it was a startup, it was a net loss; is

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 1   that correct?                                              1      Q And would you consider Cookie Department
 2      A A greater net loss than the net operating             2   to be a profitable company?
 3                                                              3       A From a financial earnings standpoint, no.
     income. That's correct.
 4      Q And then in 2013, it was also a net loss?             4          However, from a growth and development,
 5                                                              5   yes.
        A That's correct.
 6      Q And in 2015, there was also a net loss?               6      Q Do you recall the specific date in 2019
 7      A That's correct.                                       7   when the cookie -- Tough Cookie product was last
 8      Q And in 2016, there was a net loss?                    8   sold?
 9                                                              9       A I do not, no.
        A That's correct.
10      Q In 2017, there was a net loss?                       10      Q Who -- who would know that?
11                                                             11       A Probably Akiva.
        A That's correct.
12      Q And then in 2018, there was a net loss?              12      Q Has The Cookie Department ever defaulted
13      A That's correct.                                      13   on its financial obligations to anyone?
14      Q In 2019, there was a net loss?                       14       A Not to my --
15      A That's correct.                                      15          MR. SINGH: Object to form.
16      Q In 2020, there was a net loss?                       16          THE WITNESS: Not to my knowledge.
17      A That's correct.                                      17   BY MS. HOWERY:
18      Q And it looks like total, overall, there              18      Q Has the company -- has The Cookie
19   was a net loss across all periods reflected on this       19   Department ever had challenges meeting its financial
20   profit and loss statement, correct?                       20   obligations as those obligations became due?
21                                                             21       A Not to my knowledge.
        A That's correct. Yes.
22      Q And, in fact, umm, there's only one full             22          MS. HOWERY: Madam Court Reporter, what's
23   year that shows a positive earnings; is that              23   the number of this exhibit?
24   correct?                                                  24          THE REPORTER: Is this the one that says
25      A That's correct.                                      25   "Depo notes," or is this the one ending in --

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 1          MS. HOWERY: It says "Cheat sheet final."             1          Do you recognize this document?
 2          Is that not the one that I populated?                2       A I am, yes.
 3          THE WITNESS: It is.                                  3       Q And where did you see this document?
 4          MS. HOWERY: It is. Okay.                             4       A So I saw it in the -- in the information
 5          Umm, yes. The second-to-last -- this last            5   that was sent to me by the attorneys.
 6   spreadsheet I shared, what's the document number?           6          And that's the document that I also
 7   Is that 5?                                                  7   provided to you this morning with my notes on it.
 8          THE REPORTER: The TCD 018422 is Number 5.            8       Q Okay. And I'm going to stop sharing --
 9          MS. HOWERY: Okay. Thank you.                         9   well, let's take a look at this before I stop
10   BY MS. HOWERY:                                             10   sharing.
11       Q Ms. Kirschner, do you recognize this                 11          So you will note the Bates number of this
12   document?                                                  12   document is TCD-018422. And it's the document that
13       A I can't see anything yet. It's not                   13   counsel shared with Defendants yesterday. And I
14   popping up.                                                14   note that it is titled "The Cookie Department, Inc.,
15       Q Okay. Let's give it a moment.                        15   Tough Cookie Sales, 2012 through 2019."
16                                                              16       A That's correct.
         A It's a blue screen.
17          MS. HOWERY: I maybe shared the wrong                17       Q And it looks like, across the bottom of
18   screen.                                                    18   this document, there are several tabs: Tough Cookie
19          Hold on. I did.                                     19   By Year Totals; Revenue By Year; Tough Cookie
20          How about that?                                     20   Summary By Year; and then various tabs with years on
21          MR. SINGH: Better.
                                                                21   it. 2012 going all the way through 2021.
22          THE WITNESS: That's -- (audio distortion)
                                                                22          Do you see that. 2012, 2013 ...
23                                                              23       A Yes. I can't see the bottom part of your
            Yes.
24                                                              24   screen.
     BY MS. HOWERY:
25       Q Yes. Okay.
                                                                25       Q Okay. Let's see if I can --

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 1                                                               1       A It's the data underlying in QuickBooks.
        A Yes, I can now.
 2      Q Okay. All right. I'm going to stop                     2       Q Okay. Is the data reflected in this
 3   sharing just for one moment.                                3   spreadsheet an accurate representation of The Cookie
 4         Did you share this entire spreadsheet with            4   Department's financials?
 5   us? Doesn't look like it?                                   5          MR. SINGH: Object to form.
 6                                                               6          THE WITNESS: It is part of the
        A Just the -- the front page. That's the
 7                                                               7   financials. Umm, if the cookie sales were
     one that I have here printed out from my notes.
 8                                                               8   properly -- the Tough Cookie sales were properly
     That's what you requested.
 9      Q Okay. Did you print the entire                         9   tagged, as such, they will be represented here.
10   spreadsheet?                                               10          If not, they will just go into an overall
11                                                              11   revenue account.
        A I did, yes -- well, not print. No, I just
12                                                              12   BY MS. HOWERY:
     printed the worksheet.
13      Q And what do you mean by work -- worksheet?            13       Q And how would you know if Tough Cookie
14                                                              14   sales were properly tagged to the right flavor?
        A This particular slide, I printed. There
15                                                              15       A It is based on the invoice issued and the,
     is worksheets -- in this whole spreadsheet, there is
16                                                              16   umm -- the sales SKU.
     different tabs or worksheets. I only printed this
17                                                              17       Q And is there a trigger in QuickBooks that
     particular tab or worksheet.
18      Q Okay. So let's take a look at this                    18   lets you know if something's improperly coded to a
19   document.                                                  19   flavor?
20         Did you prepare this document?                       20       A No. There is no automatically trigger --
21                                                              21   no automatic trigger. You have to manually tag them
        A I did not, no.
22      Q Did you assist in its preparation?                    22   to the right product category.
23                                                              23       Q And as you look at this page of the
        A The bookkeeper -- oh, no. No, I didn't.
24      Q What's the source of the data in this                 24   worksheet, is there anything that sticks out as
25   document?                                                  25   being inaccurate?

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 1          MR. SINGH: Object to form.                           1   up that particular total.
 2          THE WITNESS: Nothing that, you know,                 2      Q Okay. So you'll have -- I am not an
 3   without further, deep dive investigation. It looks          3   Excel --
 4   accurate based on the trend of revenue.                     4      A So highlight Row 10 and 14.
 5   BY MS. HOWERY:                                              5      Q Okay.
 6      Q And is this page of the spreadsheet and                6      A The whole row.
 7   report from QuickBooks?                                     7      Q Oh. 10?
 8      A Can you repeat the question, please.                   8      A No. No. No. The entire row. These are
 9      Q Is this page of the spreadsheet a report               9   columns.
10   from QuickBooks?                                           10      Q That?
11      A No. This is a result of the underlying                11      A Yep. Like that.
12                                                              12         And then right click on the mouse.
     reports or tabs that you have in this spreadsheet.
13                                                              13         And then it says "Unhide," if you scroll
     This is just a summary cheat sheet at a, you know,
14                                                              14   down. Yeah.
     quick glance.
15                                                              15      Q Okay. Okay. So if we do that for all of
            So you'll have the detail that feeds into
16                                                              16   these --
     those particular numbers into each yearly tab --
17                                                              17      A Mm-hmm.
        Q Okay. So --
18                                                              18      Q -- it should give the data.
        A -- that we had.
19                                                              19      A Yeah.
        Q I see formulas under the amount tabs here.
20                                                              20      Q Okay. That's helpful.
            What -- where's ...
21                                                              21      A You have this particular data also in each
        A The formula is -- you have to unhide the
22                                                              22   individual tab.
     row. You see the Rows 10 and 14.
23                                                              23      Q Okay.
        Q Mm-hmm.
24                                                              24      A She missed a row in there, but if you go
        A There's three rows hidden. You can unhide
25                                                              25   into the 2019 tab ...
     those, and then you should see the numbers that make

                                                     101                                                            102

 1       Q I have to scroll that up a bit.                       1   at -- at 1280, and that's a caddy. So you have to
 2                                                               2   take -- that's the number of caddies sold.
         A Okay. So it is the Row 25. And if you
 3                                                               3          So you would have to take that and convert
     scroll a little bit further -- let me see where it's
 4                                                               4   it into individuals cookies.
     at. Scroll further down, please.
 5                                                               5          So you take that times 12 plus the 47, the
            There is another -- where is it? Tough
 6                                                               6   box over there.
     Cookie -- where is it -- Tough Cookie, Row 43.
 7       Q 43. Okay.                                             7       Q Okay.
 8                                                               8       A And what that converted to, which you have
         A So she didn't pick that one up in the
 9                                                               9   already on the first page.
     summary.
10       Q Okay.                                                10          So just need to take the 1280 times 12 and
11                                                              11   add it to the number on the -- on the first page
         A Or it overwrote the formula, I guess.
12       Q Okay. Good. I'm glad we're talking about             12   that you unhid, to get to that total of 15,924.
13   this.                                                      13       Q But I already -- (audio distortion)
14          Just so we're clear for the record,                 14       A I'm sorry?
15   line 67, on the tab titled "Tough Cookie By Year           15       Q Ms. Kirschner, I'm sorry. You were
16   Totals," shows totals for 2019 for the Tough Cookie        16   frozen. I didn't hear --
17   flavor.                                                    17       A Oh.
18          Aah, I did not freeze the frame.                    18       Q -- anything after Tough Cookie. I heard
19          Individual cookies, 15,924; is that                 19   you say Tough Cookie Box 47 and it's sounded like
20   correct?                                                   20   there's another -- (audio distortion)
21                                                              21       A She's frozen. It's not me. Right?
         A That's correct.
22       Q Okay. And so if we cross-reference that              22          MR. SINGH: Right. Monique -- Keyonn and
23   with the 2019 tab, we should get that same number?         23   Monique, it's you guys that are frozen, not Andrea.
24       A You should get the same number.                      24          MS. HOWERY: I wasn't there?
25          Can you go back to that 2019 tab? So it's           25          MR. SINGH: Yeah. Monique, I -- it's you

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 1   guys who were frozen, not us. Not -- it's not               1   many individual cookies. So you take the number
 2   Andrea, and I don't think the -- the --                     2   that you just calculated, the 1240.
 3          MS. HOWERY: Maybe -- let me see if I can             3       Q Okay.
 4   close out of one of these.                                  4       A And --
 5          MR. SINGH: Okay.                                     5       Q I thought the first question I asked, if
 6          MS. HOWERY: I'm trying to keep documents             6   the -- if the 47 required a conversion.
 7   closed so I don't, you know, use up all my memory.          7       A I said no --
 8          All right. Let's see.                                8       Q So --
 9   BY MS. HOWERY:                                              9       A -- because if you refer to the first page,
10      Q So, let's try this again.                             10   it's already converted.
11          MR. SINGH: Got it.                                  11           So the 47, if you refer back to the first
12   BY MS. HOWERY:                                             12   page, it's converted to 564.
13      Q Ms. Kirschner, is there a conversion for              13           So this is how -- this is the one to one.
14   the 47 quantity for -- in line 25, that needs to be        14   It's 47 boxes equals to 564 cookies.
15   made?                                                      15       Q How many cookies are in a box?
16      A No. That is already included on the first             16       A I believe twelve.
17   page.                                                      17       Q Okay. Okay.
18      Q All right.                                            18       A That is already converted. The 47 boxes,
19      A The summary page.                                     19   converted into cookies, it's 564.
20      Q Okay. So while I do some rough                        20       Q And then we get the number. Fantastic.
21   calculations, 1280 times 12 is 15,360 plus another         21   Thank you for that explanation.
22   47, that should give us 15,407?                            22       A Sure.
23      A No. You have to take the 564 that's on                23            (Proceedings paused briefly)
24   this page. So that's -- the 47, it's converted.            24   BY MS. HOWERY:
25   That 47 is boxes. And that's converted into this           25       Q So the revenue by year, on this same

                                                     105                                                            106

 1   spreadsheet, looks like the profit and loss                 1   record.
 2   statement without, uh, the operating income, net            2          THE WITNESS: This is now just based on
 3   income, and expenses; is that correct?                      3   what I think? I'm not 100 percent sure. It's
 4         Is this what --                                       4   showing the company's, umm, financial and, umm --
 5      A That's right. Yes.                                     5   uh, descriptive information. It's providing
 6         Just the gross sales piece.                           6   information about a company.
 7      Q Okay. I'll move on from this document.                 7   BY MS. HOWERY:
 8         We're now -- are you familiar with                    8       Q Have you ever filed a Form C?
 9   SEC Form C?                                                 9       A Umm, if I recall correctly, we -- not for
10         MR. SINGH: Close your screen.                        10   the SEC. SEC, no. As far as I know, no.
11         MS. HOWERY: Oh. Sorry.                               11       Q Okay.
12         MR. SINGH: It's okay. I looked away.                 12          MS. HOWERY: Court Reporter, I think we're
13         MS. HOWERY: Yes. Let me stop sharing.                13   up to Exhibit 7?
14   BY MS. HOWERY:                                             14          THE REPORTER: Yes.
15      Q Are you familiar with SEC Form C?                     15                (Deposition Exhibit No. 7
16      A I have been provided, yesterday by                    16                marked)
17   counsel, some of the documents that were shown             17          THE REPORTER: Let me just grab it real
18   yesterday in Akiva's deposition.                           18   quick.
19         So I reviewed that, yes.                             19   BY MS. HOWERY:
20      Q And what is the purpose of a Form C?                  20       Q Ms. Kirschner, can you see my screen?
21         MR. SINGH: Object to form.                           21       A I can, yes.
22         And also I'm going to note beyond the                22       Q Okay. I will represent to you that this
23   scope of what this witness is here to testify about.       23   is a Form C filed on behalf of The Cookie Department
24         You can try to answer, though,                       24   with the SEC on August 31st, 2016.
25   Ms. Kirschner. Those are just objections for the           25          Were you employed with The Cookie

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 1   Department on August 31st, 2016?                        1   conducted."
 2          MR. SINGH: Object to form.                       2          Does this jog your memory as to what the
 3          THE WITNESS: I believe I started with            3   purpose of a Form C is?
 4   them by then, yes. But I was not employed; I was as     4          MR. SINGH: Object to form.
 5   a consultant.                                           5          THE WITNESS: I see that it's Wefunder.
 6   BY MS. HOWERY:                                          6   So we did do a Wefunder fundraiser. So ...
 7      Q Understood.                                        7   BY MS. HOWERY:
 8          And do you recall TCD filing this Form C         8      Q So you recall this fundraiser?
 9   with the Securities and Exchange Commission?            9      A I do.
10          MR. SINGH: Object to form.                      10      Q And what were you raising funds for?
11          THE WITNESS: I don't particularly recall.       11      A Am I getting them confused?
12   I don't have a recollection.                           12          We did a Wefunder in 2018, I believe. So
13   BY MS. HOWERY:                                         13   this might be a different round. I'm not sure. I'm
14      Q Okay. Let's just scroll through this              14   not going to be able to operate -- to answer it
15   document.                                              15   correctly.
16          So Form C says: "Issuer information."           16          MR. SINGH: Ms. Howery, I just want to
17   And the name of the issuer is The Cookie Department.   17   clarify you're asking this question -- you're asking
18          Do you see that?                                18   these questions about this document in her 30(b)(1)
19      A Yeah. I do.                                       19   capacity. Because I just checked on 4 and on 5.
20      Q Okay. And it's formed as a corporation.           20   This is not listed as the designated topic for her.
21   We talked about that.                                  21          So I just want to confirm with you:
22          And here's The Cookie Department website.       22   You're asking her in her 30(b)(1) capacity?
23      A Yes.                                              23          MS. HOWERY: Okay. That's fine. Yes.
24      Q And then there's a notation here that:            24          MR. SINGH: Okay. Go ahead.
25   "Intermediary through which the offering will be       25


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 1   BY MS. HOWERY:                                          1   is a date on the bottom of this document of 2018.
 2      Q So it looks like there's, uh, offering             2   So --
 3   information here.                                       3       A Yes.
 4      A Mm-hmm.                                            4       Q -- you were correct. Not 2016.
 5      Q And it states that 5 percent of the                5          So this form, umm, was filed on
 6   offering amount upon a successful fundraise.            6   August 31st, 2016, according to the SEC.
 7          So this seems to be consistent with your         7          It was accessed this morning at 10:35.
 8   recollection that --                                    8          So let's move down.
 9      A Yes.                                               9          So now you recall the notes. Umm --
10      Q -- there was some sort of fundraiser with         10       A Yes. The note.
11   Wefunder?                                              11       Q And what was the purpose of this round of
12      A That's correct, yes.                              12   fundraising?
13      Q Okay. Up --                                       13       A The purpose was to get more, umm,
14      A So -- yeah. That is the note -- I just --         14   operating cash so we could grow the business and
15   I wasn't aware that it was in 2016. That threw me      15   expand further, as well as invest in various --
16   off. I thought this -- the 600,000 convertible note    16   enhance marketing abilities to grow the top line.
17   was filed in 2018. So that threw me off also.          17   So working capital. Raising working capital.
18      Q Let me just confirm, to make sure that I          18       Q And is this a form of debt, right?
19   haven't misrepresented anything on my end.             19       A Yes. It's a convertible note.
20          Give me one quick second.                       20       Q And does that mean that The Cookie
21          I'll stop sharing for a second.                 21   Department has to make payments on this debt?
22            (Proceedings paused briefly)                  22       A No. It's accruing interest until it
23   BY MS. HOWERY:                                         23   converts.
24      Q Back to sharing.                                  24       Q Okay. And what is it converting to?
25          So you are correct, Ms. Kirschner. There        25       A It's converting to shares within the

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 1   company.                                                   1       A I have not gone on the SEC portal to file
 2       Q And has the -- have the notes matured?               2   this.
 3       A I don't believe so. Not yet.                         3       Q Okay. So let's take a look at, uh, some
 4       Q And is it your understanding that as part            4   of the financial information that was populated
 5   of a Form C filing, there are various financial            5   here.
 6   reports that are filed in conjunction with Form C?         6          I cannot tell from these numbers what
 7          MR. SINGH: Object to form.                          7   fiscal year end this refers to.
 8          THE WITNESS: Various numbers, figures               8          Is this fiscal year end 2017? Is that
 9   within -- from the balance sheet and cash flow, yes.       9   what you would expect these numbers to be?
10   BY MS. HOWERY:                                            10       A So if -- if this was filed in 2018, and it
11                                                             11   says prior -- most recent fiscal year end would be
         Q Okay. Did you file this Form C report?
12                                                             12   2017. And prior fiscal year end would be 2016,
         A I filed it -- I signed -- no. I -- I
13                                                             13   because this was filed mid-August.
     completed some documents which we -- they would have
14   filed it on our behalf. I have not filed this.            14       Q Okay.
15                                                             15       A So it says that most recent fiscal year
            I have never completed this form.
16                                                             16   end, that would be the year prior. So that would be
         Q Okay. So I'm going to scroll to the
17                                                             17   2017.
     bottom.
18          It shows your signature on the form --             18       Q Okay. So we would -- we're looking at
19       A Mm-hmm.                                             19   2016 and 2017, for the purposes of this Form C?
20                                                             20       A That's correct.
         Q -- here.
21          Did you authorize your signature to be
                                                               21       Q So let's look at revenue and sales figure
22   placed on this form?
                                                               22   here for the most recent fiscal year.
23       A I did, yes; but it was via the Wefunder
                                                               23          So that would be the 2017 year, correct?
24                                                             24       A I believe so, yes.
     program.
25       Q Okay.
                                                               25       Q And are these numbers that -- are

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 1    populated numbers that The Cookie Department              1   the split screen will show properly?
 2    provided?                                                 2      A It doesn't.
 3       A In my opinion, yes.                                  3      Q It doesn't. I didn't think so. Okay.
 4       Q So the revenue sales for 2017 are                    4          So I'm going to go back here and pull this
 5    $367,210.04, correct?                                     5   back on this.
 6       A That's correct. It says so.                          6          Stop share.
 7       Q And that -- that will coincide with what             7          So as we discussed -- see that same
 8    shows on the profit and loss statement that was --        8   number, 367210.04 for January 2017 for total income
 9       A It should, yes.                                      9   on the profit and loss statement that was produced
10       Q Okay. And as I look at the profit and               10   in discovery as Exhibit -- I think -- I don't recall
11    loss statement, I see that that number is the same       11   the exhibit, but the profit and loss statement that
12    for 2017, and it's reflected in the Total Income         12   we've been referencing throughout.
13    line.                                                    13          It's same number, right?
14           MR. SINGH: Are you going to show us the           14      A That's correct.
15    exhibit?                                                 15      Q And if we look at 2016, that number is
16           MS. HOWERY: Yes. I'm going to open it to          16   $352,992.59 for a Total Income on the profit and
17    show you.                                                17   loss statement that was produced in discovery.
18           MR. SINGH: Okay. Just for clarity,                18          And that number should coincide with the
19    please. Thank you.                                       19   revenue and sales reflected on the Form C, correct?
20           MS. HOWERY: I'm going to show you.                20      A (No audible response)
21    BY MS. HOWERY:                                           21      Q And we will see that that, indeed, is the
22       Q Let's see if I can ...                              22   case.
23       A Yes. That is net revenue. That's                    23      A Okay.
24    correct.                                                 24      Q Okay. So I'm going to move on.
25       Q All right. I don't know if I can -- if              25            (Proceedings paused briefly)

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 1   BY MS. HOWERY:                                         1      Q Okay.
 2      Q So is the net income, that's the bottom           2      A If there's any adjustments, umm, after the
 3   line number that appears on our profit and loss        3   fact, I don't know.
 4   reports, correct?                                      4          MS. HOWERY: Okay. All right. I'd like
 5      A That is correct.                                  5   to populate one more document.
 6      Q Okay. And these numbers look very                 6          I'd like to take a break here, Counsel.
 7   similar. There is some variance, and hopefully you     7          MR. SINGH: For how longs?
 8   can explain it to me.                                  8          MS. HOWERY: Can we just break for lunch
 9          Umm, it's not much, but maybe you can shed      9   here.
10   some light on why there exists variance.              10          MR. SINGH: How long do you plan on -- let
11          So for the net income on the Form C, for       11   me ask -- Andrea, I know you are tight on time, and
12   fiscal year end 2017, we have a net loss of           12   we, you know, showed up promptly.
13   $7,370.29.                                            13          How long do you need for lunch -- oh, you
14          When you compare that to -- on the profit      14   don't need lunch, correct?
15   and loss statement that we have, we show a net loss   15          THE WITNESS: I -- I'm on the east coast.
16   of $7,367.25. And I will stop sharing and show that   16   I'm done with lunch. I'm looking forward to --
17   screen.                                               17          MR. SINGH: How long do you guys need?
18          You see that number, there?                    18          MS. HOWERY: I'll take 40 minutes.
19      A Yes.                                             19          MR. SINGH: Okay. Then how long do you
20      Q Not very much of a variance, but a few           20   expect to go after lunch?
21   dollars?                                              21          MS. HOWERY: Oh, I don't know. I've got
22      A Yeah.                                            22   quite a few statements to get through.
23      Q Just -- can you explain that?                    23          MR. SINGH: Okay.
24      A No. It's probably -- I need -- I would           24          MS. HOWERY: I don't know. I will be as
25   need to speak to the bookkeeper.                      25   efficient as I can.

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 1          MR. SINGH: So you guys are taking until         1                  (Deposition Exhibit No. 8
 2   when?                                                  2                  marked)
 3          MS. HOWERY: We can go to 2:45 -- oh, I          3   BY MS. HOWERY:
 4   don't know what time is that, 12:45 your time?         4       Q Ms. Kirschner, I'm sharing my screen.
 5          MR. SINGH: Yeah. Okay. We'll be back at         5           Can you see that?
 6   12:45.                                                 6       A (No audible response)
 7          MS. HOWERY: Okay. Thank you.                    7       Q I cannot hear you if you're speaking.
 8          THE VIDEOGRAPHER: The time is 12:09 p.m.        8       A Can you hear me now?
 9   We're now off the record.                              9       Q I can.
10             (Proceedings recessed                       10       A I don't know what's going on with my mic.
11         from 12:09 p.m. until 12:46 p.m.)               11       Q Okay. We've only had a couple of
12          THE VIDEOGRAPHER: The time is 12:46 p.m.,      12   instances. You've been great. Thank you.
13   and we are now back on the record.                    13       A All right.
14   BY MS. HOWERY:                                        14       Q Uh, so you can see my screen?
15      Q Okay. So I'm going to step through these         15       A I can.
16   very tedious financial statements.                    16       Q Good. So have you seen this document
17          Let's see.                                     17   before?
18          MR. SINGH: What exhibit number are we on?      18       A It's been sent to me last night.
19          MS. HOWERY: That would be my next              19       Q Okay.
20   question.                                             20       A By legal counsel.
21          THE REPORTER: Our next to be marked would      21       Q Okay. Well, I will represent to you that
22   be 8.                                                 22   this is a balance sheet filed with the Security and
23          MR. SINGH: All right.                          23   Exchange Commission on July 31st, 2020. And it
24          MS. HOWERY: Okay.                              24   states that its The Cookie Department's balance
25          THE REPORTER: Let me grab it.                  25   sheet as of December 31st, 2019.

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 1           When you reviewed the document, did you             1   sheet, would you expect that to be substantially the
 2   have any reason to think that it doesn't represent          2   same as the net income for 2019 on the profit and
 3   TCD's balance sheet as of December 31, 2019?                3   loss statement?
 4           MR. SINGH: Objection --                             4       A It should be, yes.
 5           THE WITNESS: Just --                                5       Q Okay. So taking a look at the balance
 6           THE REPORTER: I'm sorry.                            6   sheet obtained from the SEC, umm, for 2019, net
 7           THE WITNESS: Just reviewing and, you                7   income shows a loss of $60,714, correct?
 8   know, I wasn't able to go into the details because I        8       A Correct.
 9   received it this morning. It was sent last night,           9       Q When we take a look at the profit -- P&L
10   and I received it this morning. So it looks like           10   statements, that was shared in discovery, the net
11   it's the right accounts.                                   11   income for 2019 shows a loss of $60,714.23.
12   BY MS. HOWERY:                                             12          So those seem to coincide.
13        Q Okay.                                               13       A Yes.
14        A And approximately the right balance --              14       Q Moving back to the balance sheet that we
15   balances. But I need to validate that exactly.             15   got from the SEC, can you share what "retained
16        Q All right. Let's just kind of take a                16   earnings" represent?
17   look -- run through it and at least compare some           17       A Retained earnings represents the net
18   items that I think we have access to from documents        18   income from previous periods -- (audio
19   produced in discovery.                                     19   distortion) -- section.
20        A Okay.                                               20       Q So is it -- what previous periods does it
21        Q So I would like to jut down to the section          21   represent?
22   of the statement that shows net income. And that           22       A Should be since the beginning of the
23   would be on page 3.                                        23   company.
24        A Yes.                                                24       Q So on this balance sheet, it shows a
25        Q Now, is the net income, on this balance             25   negative retained earnings of $215,970; is that

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 1   correct?                                                    1   Those will be recorded on the balance sheet but not
 2       A That's what it says, yes.                             2   necessarily on the P&L, which feeds into this
 3       Q And so, based on your testimony, that                 3   retained earnings line.
 4   means that it represents earnings from the beginning        4      Q So if we look at this balance sheet, can
 5   of -- since Cookie Department incorporated?                 5   we tell if there are funds available from cash that
 6       A That's correct.                                       6   have been infused from -- would you say loans? Is
 7       Q Those would be negative retained earnings,            7   that what you said?
 8   correct?                                                    8      A Several instruments.
 9       A Correct.                                              9          So you'll see that accounts receivable --
10       Q So if a company has negative retained                10   the balance sheet is always a snapshot in time. So
11   earnings, does that mean there are no earnings             11   what you see here is the balance sheet at the end of
12   available for reinvestment into the business?              12   January -- end of the 2019.
13       A So retained earnings, in this sense, is              13          So the balance sheet on the 1st of
14   your net income. So this is your net loss. Right?          14   January, 2020, can be completely different.
15           So retained earnings in this case is a net         15          Just because of, you know, if, for
16   loss amount.                                               16   instance, some of the larger vendors have made the
17       Q Okay.                                                17   payments for the $56,536, that are currently in the
18       A So from the P&L standpoint it doesn't have           18   accounts receivable, that we have not or The Cookie
19   any funds that render a profit. However, the cash          19   Department has not received payments on.
20   availability of a corporation or of the company is         20          If you scroll further down.
21   based on a combination of the profit and loss              21      Q Okay.
22   statement, which is here, as well as balance sheet         22      A If you go to the Equity section, from the
23   activities, which are -- for instance, accounts            23   liability -- I'm sorry. Here.
24   receivable, when have you received payments; any           24          So you'll see that there is -- the
25   type of loans; any type of notes; cash injections.         25   business is also funding itself through credit cards

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 1   expense. So it's using credit cards. The $47,165        1   all the net income prior to the -- (audio
 2   balance is a balance of credit card payments            2   distortion)
 3   outstanding.                                            3          THE REPORTER: I'm sorry. Prior to the
 4         And then there is monies that were, at            4   what?
 5   some point in time, funneled through the company or     5          MR. SINGH: What?
 6   invested in the company in the form of a loan or,       6          THE WITNESS: It's accumulation.
 7   umm, some other instrument, like a convert --           7          Yes, Sanjiv?
 8   convert the note. Umm, that's further down in the       8          MR. SINGH: Yes. I'm sorry. I'm doing
 9   equity piece.                                           9   the hairline traffic directing signal.
10         That's -- no, further down.                      10          You guys are talking over each other. I
11      Q Okay.                                             11   couldn't even get my objection in there.
12      A That convertible note, the investments,           12          So I wanted to object to form.
13   the long-term liabilities. Those will also --          13          However, I don't know exactly where my
14   amounts that were funding the company's operation.     14   objection is going to go.
15         So, as you can see -- although the net           15          Madam Court Reporter, if you can just put
16   income itself, year to date, was 219,000. So the       16   a retroactive objection to form between the last
17   business did not generate cash, it did receive cash    17   dialogue between the witness. I don't know what --
18   through these different vehicles that I just called    18          Anyway. Just objection to form.
19   out.                                                   19   Retroactively, please.
20      Q Well, let me ask you something, because it        20          And if you guys could please not talk over
21   seems to me that you're using the term "net income"    21   each other so I can get new objections in, that
22   and "retained earnings" interchangeably?               22   would be helpful.
23      A No, I did not. Those are accounting               23          THE REPORTER: And so reporter can hear
24   terms, and those are financial terms.                  24   the full question and the full answer would really
25         So retained earnings, it's accumulation of       25   be helpful, also.

                                                     125                                                         126

                                                             1          So it's not funding its entire operation
 1          MR. SINGH: I mean, Ms. Kirschner, you're
                                                             2   because it is generating cash.
 2   doing great and it's a tough day for you. So I'm
                                                             3          It is just not generating enough cash to
 3   just saying, if you could do that, that would be are
                                                             4   cover all the operating expenses of the business.
 4   helpful. Thank you.
                                                             5          And that -- that is it -- that is being
 5          MS. HOWERY: Could you repeat the
                                                             6   funded -- or some activities is being funded through
 6   question, the last question, Madam Court Reporter.
                                                             7   debt and through loans and through convertible
 7       (Record read back by the Court Reporter)
                                                             8   notes, which is similar to what tons of businesses
 8          THE REPORTER: Then I asked the witness:
                                                             9   are doing when you look at their balance sheets.
 9   Prior to the what?
                                                            10   BY MS. HOWERY:
10          THE WITNESS: Prior to the current period,
                                                            11       Q And it seems that you're making a
11   which is reflected in that income.
                                                            12   distinction between the term "debt" and "loans."
12   BY MS. HOWERY:
                                                            13          Is there a distinction there that you want
13       Q Thank you.
                                                            14   to clear -- that you can clarify?
14          So if I understood what you just said,
                                                            15
15   although this balance sheet shows a net loss for                A Both are liabilities. So let's use that
                                                            16
16   Yearend 2019 and a combined net loss, the inception         term.
                                                            17       Q And what is a "liability"?
17   of the company of 215,000 -- is that correct?
                                                            18
18   Approximately 215?                                              A A liability is a form of debt that -- or
19                                                          19   outstanding amount of money that you need to repay.
         A That was the combined loss prior to 2019,
20                                                          20          So total liability would be your accounts
     yes.
                                                            21
21       Q Okay. Thank you.                                      payable.
                                                            22
22          But it's funding its operations with debt.                  For instance, if you are invoiced for a
                                                            23
23          Is that an accurate statement?                       service that you received but your payment terms are
                                                            24
24          MR. SINGH: Object to form.                           45 days, you might not need to pay it right away.
                                                            25
25          THE WITNESS: It's funding its losses.                You have 45 days to pay that bill. And then it

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 1   might show up in your accounts payable line item            1   know the drill now.
 2   here on the balance sheet, which is a debt. It              2          Have you seen this document before?
 3   doesn't mean that you cannot pay it.                        3      A I've seen it last night or this morning
 4          Then, you have your credit card, which is            4   after it's been sent to me last night.
 5   similar to credit cards for individuals. That is a          5      Q Okay. And I will represent, for the
 6   balance that you carry that you eventually have to          6   record, that this is The Cookie Department's Balance
 7   pay down or should pay down.                                7   Sheet as of December 31st, 2020, that was obtained
 8          And then you have loans which is similar             8   from the SEC website.
 9   to individuals as well. You have loans. Depending           9          Did you prepare this document,
10   on the loan agreements, they might generate interest       10   Ms. Kirschner?
11   as well or not. And then based on the agreement,           11      A I did not, no.
12   there is either a payoff term or there is, you know,       12      Q Did you assist in its preparation?
13   a monthly term or you can pay it off in                    13      A I don't recall, no.
14   installments.                                              14          It is a canned report in QuickBooks as
15          So that -- those are all liabilities.               15   well. So as you maintain your financials, it will
16       Q Okay. I think that's all I have on this              16   run you a balance sheet.
17   document. Thank you for explaining terms,                  17      Q Are you aware that these SEC filings were
18   Ms. Kirschner.                                             18   occurring in 2020 --
19       A You're welcome.                                      19      A I --
20          MS. HOWERY: Okay. This will be                      20      Q -- 2019?
21   Defendant's Exhibit 8 -- 9. Sorry.                         21          MR. SINGH: Object to --
22                (Deposition Exhibit No. 9                     22          THE WITNESS: I was not, no.
23                marked)                                       23          THE REPORTER: Was there an objection?
24   BY MS. HOWERY:                                             24          MR. SINGH: Yeah. But I'll withdraw it.
25       Q Okay, Ms. Kirschner. Same exercise. You              25   Sorry about that.

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 1   BY MS. HOWERY:                                              1   Yearend 2020 shows a net loss of $42,931.43,
 2       Q Let's take a look at this balance sheet               2   correct?
 3   for December 2020.                                          3      A That's what it shows, correct.
 4          And I'll scroll down to the Liabilities              4      Q And if we take a look at the net income on
 5   and Equity section. And we will note that retained          5   the profit and loss report that was shared in
 6   earnings, umm, for 2020, are $277,000 -- 277779.54.         6   discovery, we see a net income for -- or a net loss
 7   A loss.                                                     7   for 2020 of the amount of $24,984.22.
 8          Is that correct?                                     8         Do you see that?
 9       A That is correct.                                      9      A I do, yes.
10       Q And if I understand your testimony from              10      Q Now, by my calculations, that's a nearly
11   the prior balance sheet we reviewed, this represents       11   18,000-dollar variance.
12   a loss from inception for the prior periods                12      A Yes.
13   preceding December 2020.                                   13      Q And you --
14          Is that an accurate statement?                      14      A I do not know the reason for it. I'm --
15       A That is accurate, yes.                               15   those -- the prior documents that were filed with
16       Q And this report also shows a net loss for            16   the SEC, it's the first time I saw that last
17   Yearend 2020 of $42,931.43; is that correct?               17   evening, as far as I can tell.
18       A That's what it shows. Correct.                       18         So I will need to do some further
19       Q Now, I noticed, on the profit and loss               19   investigation as to the difference.
20   statement that was shared in discovery, that we've         20         I don't know offhand.
21   been referring to, that there is a variance in the         21      Q Okay. Do you think it's just a mistake?
22   net income reported on this balance sheet and what's       22         MR. SINGH: Object to form.
23   reported on the profit and loss.                           23         THE WITNESS: It may -- it may be, or
24          So let's just look at this number again.            24   maybe an accounting journal entry, a bookkeeper --
25          The net income on the balance sheet for             25   the bookkeeper did an additional journal entry or

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 1   corrected something and updated financials were not         1    BY MS. HOWERY:
 2   submitted to the SEC.                                       2        Q Let me ask you: Do you review SEC filings
 3           Again, I'm not -- I personally did not              3    before they're filed by TCD?
 4   submit those documents to the SEC, so I'm not sure          4           MR. SINGH: Objection. Object to form.
 5   how and why they were submitted.                            5           THE WITNESS: We, personally have not
 6   BY MS. HOWERY:                                              6    filed anything directly. This must have gone,
 7       Q Okay. And, Ms. Kirschner, can you see my              7    again, through Wefunder, as far as I can tell.
 8   screen?                                                     8    BY MS. HOWERY:
 9       A I can, yes.                                           9        Q Okay. Well, let's scroll through this
10       Q Have you seen this document before?                  10    document and see if we can tell who filed it.
11       A I may have. I've seen it last night. It              11           What in the document would suggest to you
12   was sent to me from the -- from the attorneys, that        12    that Wefunder filed it?
13   it was presented yesterday during Akiva's deposition       13           MR. SINGH: Object to form.
14   to look at it. So I briefly opened it up. Yes.             14           THE WITNESS: I remember filing -- or
15       Q Okay. I will represent, for the record,              15    signing off on a couple of financials to be sent to
16   this is Form C-AR, also referred to as the Annual          16    Wefunder when we did the fundraise -- the
17   Report as of January 1st, 2021, for The Cookie             17    convertible note raising.
18   Department, that was obtained from the SEC website.        18    BY MS. HOWERY:
19           MS. HOWERY: And we will mark that as               19        Q And is part of the convertible note on
20   Defendant's Exhibit --                                     20    fundraising.
21           Are we at 9, Madam Court Reporter?                 21           MR. SINGH: I -- I am very sorry to
22           THE REPORTER: We're at 10.                         22    interrupt. I just learned that there was a shooting
23           MS. HOWERY: 10. Wonderful.                         23    at my wife's hospital. I just want to call her and
24                 (Deposition Exhibit No. 10                   24    make sure she's okay.
25                 marked)                                      25           Can we stop for just -- like, literally

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 1                                                              1          And -- well, you can go ahead and answer.
     give me two minutes. I just need to step out of the
 2                                                              2          THE WITNESS: I personally don't know.
     room and make this phone call, please.
 3                                                              3    BY MS. HOWERY:
            MS. HOWERY: Sure.
 4                                                              4        Q Okay. So looking at this Annual Report,
            MR. SINGH: Sorry about this.
 5                                                              5    umm, I note the second paragraph.
            THE VIDEOGRAPHER: The time is 1:12 p.m.
 6                                                              6          Can you read that paragraph out loud,
     We're now off the record.
 7                                                              7    please.
               (Proceedings recessed
 8                                                              8
            from 1:12 p.m. until 1:14 p.m.)                              A Sure. Just a second. Let me move this
 9                                                              9
            THE VIDEOGRAPHER: The time is 1:14 p.m.                  down.
10                                                             10
     We are now back on the record.                                        (As read): "Be careful and precise in
11                                                             11
     BY MS. HOWERY:                                                  answering all questions. Give full and complete
12                                                             12
        Q Okay. Ms. Kirschner, I'm going to show                     answers so that they are not misleading under the
13                                                             13
     share my screen again.                                          circumstances involved. Do not discuss any future
14                                                             14    performance or other anticipated events unless you
        A Yes.
15                                                             15
        Q We're back to this form Annual Report.                     have a reasonable basis to believe that it will
16                                                             16
            MS. HOWERY: Madam Court Reporter, was                    occur -- actually occur with -- within it is
17                                                             17
     there a question pending?                                       foreseeable future. Any answer requiring
18                                                             18
           (Record read by the Court Reporter)                       significant information is materially inaccurate,
19                                                             19
            THE REPORTER: There was a part of a --                   incomplete, or misleading, the company, its
20                                                             20
         (Record read back by the Court Reporter)                    management, and principal shareholders may be liable
21                                                             21
     BY MS. HOWERY:                                                  to investors based on that information."
22                                                             22        Q Thank you.
        Q Okay. As part of the convertible note
23                                                             23          And is your testimony that you did not
     fundraising, is there an SEC reporting requirement
24                                                             24    create this report, right?
     that follows?
25                                                             25          MR. SINGH: Object to form.
            MR. SINGH: Object to form.

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 1          THE WITNESS: As mentioned before, there         1   annual reporting. Has been resolved."
 2   were instances where it was -- when we did the         2       Q So the only information -- well, help me
 3   fundraising on Wefunder where we had to complete       3   understand.
 4   this information, and I have completed it, to the      4          What -- was there any other information
 5   best of my knowledge -- the financial data, to the     5   you submitted to Crowdfunder, other than the
 6   best of my knowledge at that point in time.            6   financial information you suggested?
 7   BY MS. HOWERY:                                         7       A It's been a few years. I don't remember
 8       Q And you also testified that you authorized       8   exactly, but I know I've -- I sent information that
 9   the report?                                            9   was financial, the financial data.
10          Is that the term you used?                     10       Q What about the other data in the report,
11          MR. SINGH: Object to form.                     11   like the names of the directors?
12          THE WITNESS: I signed off the numbers,         12       A I believe that's something that Akiva
13   based on the numbers that -- at that point in time,   13   filed or entered. I did not have direct access to
14   yes.                                                  14   Wefunder.
15   BY MS. HOWERY:                                        15       Q So how did you submit the financial
16       Q Okay. Let's move down to Section 1.             16   information?
17          And it says: "Has the issuer or any of         17       A I send them to Akiva. And then, before
18   its predecessor previously failed to comply with      18   signing off, I got a screen shot or, you know, a
19   ongoing reporting requirements of Rule 202 of         19   view of those, to verify them at that time.
20   Regulation Crowfunding?"                              20       Q Okay.
21          Do you see that?                               21          MR. SINGH: What exhibit number is this,
22       A Yes.                                            22   Monique?
23       Q And the response there is "Yes," right?         23          MS. HOWERY: 10.
24       A Not -- not by me, marked by me; but, yes.       24          MR. SINGH: Thank you.
25          And the explanation is: "Missed past           25


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 1   BY MS. HOWERY:                                         1   BY MS. HOWERY:
 2       Q And I note here that you're identified as        2      Q So the convertible notes identified here
 3   a director of the company in Section 2.                3   on page 5, in the amount outstanding, $347,000 --
 4       A That's correct. But my principal                 4   388 [sic].
 5   occupation -- well, nevermind. Yes.                    5         Do you see that?
 6       Q And further down, you're also identified         6      A I do.
 7   as an officer of the company?                          7      Q Are the convertible notes you're holding
 8       A That's correct.                                  8   included in this amount?
 9       Q Is there a reason why you're not                 9      A I believe so, but I'm not sure. They
10   identified as interim CFO?                            10   should.
11          MR. SINGH: Object to form.                     11      Q Okay. Looking at page 7, Financial
12          THE WITNESS: I don't know.                     12   Condition of the Issuer ...
13   BY MS. HOWERY:                                        13         Looking at the Historical Results of
14       Q Do you have voting power?                       14   Operations section, Revenues and Gross Margin.
15          MR. SINGH: Object to form.                     15         Is this a P&L metric?
16          THE WITNESS: I don't -- I don't think so,      16         MR. SINGH: Object to form.
17   no.                                                   17         THE WITNESS: It is.
18   BY MS. HOWERY:                                        18   BY MS. HOWERY:
19       Q So you mentioned -- or testified earlier        19      Q And with revenues, as indicated on this
20   that, umm, you think that your shares in TCD may      20   report, if we looked at the profit and loss
21   have matured this month.                              21   statement that has been shared in discovery, that
22          At maturity, do you get voting power?          22   we've been referencing here today, what category
23          MR. SINGH: Object to form.                     23   corresponds to revenues?
24          THE WITNESS: I should, but they have not       24      A It should be net revenues or total income.
25   been converted as far as I know.                      25      Q Okay. So in December 2020, according to

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                                                                                      35 (Pages 137 to 140)
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 1   this Annual Report filed with the SEC as of               1       Q Okay. So if we look at the SEC Annual
 2   December 31st, 2020, revenues are $238,291, correct?      2   Report, the company has net losses of $42,931 in
 3       A Correct.                                            3   2020 and net losses of $60,714 in 2019.
 4       Q And when we look at the profit and loss             4          Am I reading that correctly?
 5   statement shared in discovery that we've been             5       A You are, yes.
 6   referencing here today, the total income, umm, for        6       Q Okay. And if we look at the profit and
 7   January through December 2020 is $237,108?                7   loss statement shared in discovery, that we've been
 8          That may just be -- maybe a thousand bucks         8   toggling back and forth with today -- if we get down
 9   in variance?                                              9   to the bottom line number, here, net losses for 2020
10       A Yeah.                                              10   are reported at $24,984.22.
11       Q Can you explain that variance?                     11          Do you see that?
12       A Only that it might have been accounting            12       A I do. Yes.
13   entries or corrections prior to tax filing or            13       Q Now, that's a -- we may have talked about
14   afterwards as we were reviewing the numbers for the      14   this, but that's --
15   next year -- or the bookkeeper reviewed the numbers,     15       A It's 18,000 or 19,000 difference. Yeah.
16   it may have been that there were some adjustments        16       Q Yeah. Yeah. And to your knowledge, you
17   necessary.                                               17   don't know why the variance exists?
18          Otherwise, I cannot explain it.                   18       A To my knowledge, no.
19       Q Okay.                                              19       Q I note that 2019 numbers align. The loss
20          MR. SINGH: (Coughing) Excuse me.                  20   is $60,714 on this report, the same number reported
21   BY MS. HOWERY:                                           21   on the balance sheet -- on the Annual Report for the
22       Q And taking a look at the net gain and loss         22   SEC.
23   in this same section on the SEC Annual Report, would     23          If you discovered that, uh, perhaps, the
24   this correspond to the bottom line number?               24   numbers in this Annual Report with the SEC are
25       A It would, yes.                                     25   incorrect, is that something you would need to

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 1   modify or amend?                                          1       A Again, similar to the other response, is
 2      A Now that I know that they're out there,              2   this is a canned report out of QuickBooks. So it
 3   umm, probably yes. I don't know the process.              3   was run out of QuickBooks.
 4          Like I said, I haven't really been                 4       Q Did you review this document before it was
 5   actively involved. This is something that Wefunder        5   filed?
 6   used to, you know, manage for us during the first         6       A I didn't even know that we were filing
 7   round. So it's not something that I believe we            7   these. So I don't believe I did, no.
 8   maintain ourselves.                                       8       Q All right. Let's take a look at the Sales
 9          I don't have an account with the SEC, and          9   category identified on this sheet.
10   I don't know how to file it directly.                    10          The Total Sales reflected here are
11                (Deposition Exhibit No. 11                  11   $56,835; is that correct?
12                marked)                                     12       A That is a total sales of the event income
13   BY MS. HOWERY:                                           13   and online sales as well as the sales line item.
14      Q Have you seen this document before,                 14          So if you add those three together, that
15   Ms. Kirschner?                                           15   is a subtotal of those three line items.
16      A It was submitted to me last night,                  16       Q These three, 1, 2 --
17   alongside the other documents.                           17       A 3918, 1475, and 51441.
18      Q I'm going to represent for the record that          18       Q Okay. And so everything from the Hubba
19   this is The Cookie Department, Inc.'s profit and         19   Income down to Online Sales -- no, to Shipping and
20   loss statement January through December 2020 that        20   Delivery Income, make up the total income number
21   Defendants obtained from the SEC website.                21   reported here; is that correct?
22          Did you prepare this document?                    22       A As well as -- if you include the discounts
23      A Not to my knowledge. I -- I can't recall,           23   given as well. That's correct.
24   no.                                                      24       Q All right. So talk -- let's talk about
25      Q Did you assist in preparing this document?          25   the Cost of Goods Sold here.

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 1          What is total Cost of Goods Sold? Is this        1   after the report that was used for the SEC was
 2   number, this 176931 number?                             2   filed.
 3       A The 176931 is a total cost of goods sold,         3          And I believe there was no corrected
 4   which is a summation of the total cost of raw           4   report filed with the SEC afterwards.
 5   material, umm, any type of storage and fulfillment,     5          But I will have to further investigate
 6   as well as any type of, you know, other inventory       6   that.
 7   that is needed for the packaging of the finished        7       Q Toggling back to the P&L on the SEC
 8   product.                                                8   website --
 9      Q Okay. So that's 176,931.60?                        9       A Yes.
10       A That is correct.                                 10       Q -- gross profit is identified as
11      Q Let's toggle back to our P&L statement            11   $61,359.04, correct?
12   shared in discovery.                                   12       A That's correct.
13          And looking at Total Cost of Goods Sold         13       Q And the gross profit reflected on the P&L
14   for 2020, we've got 157,767,01; is that right?         14   statement produced in discovery is $79,341.42.
15          Am I reading that correctly?                    15       A That is probably the --
16       A That's correct. Yes.                             16       Q What -- okay.
17      Q And that's also a variance of nearly              17       A -- Cost of Goods Sold. That's going to be
18   $20,000, right?                                        18   the difference that calculates down to the gross
19       A 157 and -- how much was the other one?           19   profit.
20      Q 176,931?                                          20       Q Okay.
21       A Yes.                                             21       A And that --
22      Q Can you explain?                                  22       Q There was --
23       A It's probably an adjusting entry after           23            (Concurrent conversations)
24   the -- or a correction that was done by the            24          THE REPORTER: I'm sorry. Say it again.
25   bookkeepers -- I have not made those entries -- but    25   I didn't hear either one of you.

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 1                                                           1
            THE WITNESS: I mentioned that that                   difference stemming from the gross profit
 2                                                           2
     difference will flow down through net income.               calculation.
 3                                                           3      Q And as you sit here today, you do not know
     BY MS. HOWERY:
 4                                                           4   what that variance is, correct?
         Q So it's your testimony that if there was
 5                                                           5
     an adjustment that made the total income off, that's            A That's correct. Not offhand. I will have
 6                                                           6
     going to flow all the way down through net income?          to further investigate.
 7                                                           7      Q When did The Cookie Department first
         A Yes, because it's all a formula.
 8                                                           8   develop the Tough Cookie?
            So you start with total sales or total net
 9                                                           9       A The exact date, you will have to ask from
     income -- I'm sorry -- total income, which is total
10                                                          10   Akiva, but based on sales, it was -- it was part of
     sales. Then you have the cost of goods sold. You
11                                                          11   the launch in 2012.
     get your gross profit. And you -- and you subtract
12                                                          12      Q Were you familiar with the Tough Cookie
     operating expenses from the gross profit.
13                                                          13   product before you joined TCD -- well, after you
            So if the gross profit is off, it will
14                                                          14   became affiliated?
     flush down to net income, to the last line in the
15                                                          15       A No. I was not. I was not aware of the
     P&L.
16                                                          16
         Q Okay. And looks like that is, indeed, the             brand at all.
17                                                          17      Q When you came on as a consultant, how many
     case.
18                                                          18   products was TCD selling?
            If we take a look here, we show a net loss
19                                                          19
     in 2020 of $24,984 on the profit and loss statement             A If I recall correctly, there were five or
20                                                          20
     that was shared in discovery, compared -- can you           six.
21                                                          21      Q And what were they?
     see the P&L from the SEC?
22                                                          22       A Cherry Bomb, Great Full, Chocolate Chip
         A No, not yet.
23                                                          23
         Q Okay. As compared to $42,931.43 on the                Nookie, Snap Back, Awaken Bake, and Tough Cookie.
24                                                          24      Q And how were these products distributed?
     SEC profit and loss statement?
25                                                          25       A When?
         A That is correct. That looks like it's the

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 1       Q How about in 2012?                               1       Q Where were these products distributed
 2       A I don't have any knowledge of that. It           2   geographically?
 3   was prior to my time.                                  3       A That is probably a better question for
 4       Q Do you know how they were distributed in         4   Akiva. I know that they were -- because of the
 5   2013?                                                  5   online presence, they are distributed nationwide.
 6       A Prior to my time.                                6       Q Is there any international distribution?
 7       Q 2014?                                            7       A Recently, yes.
 8       A Same thing.                                      8       Q How recent?
 9          Umm, I'm -- I would assume via the              9       A Last year and this year.
10   distributors, wholesalers, and dot-com online.        10       Q What percentage of the sales would you
11   Those were the three revenue streams that I was       11   attribute to sales outside the U.S.?
12   familiar with when I joined.                          12       A For what time period?
13       Q And are those the same distribution             13       Q Well, let's start in 2021, right now, as
14   channels that exist today?                            14   we talk today.
15       A Currently, yes.                                 15       A I believe it's a small amount, under
16       Q Are there any distribution channels that        16   10 percent.
17   TCD use, that they are no longer using today?         17       Q What about 2020?
18       A I believe they used the, umm -- the             18       A Without doing further investigations, I
19   Groupon platform; but, again, those were just for     19   couldn't give you a number, an exact number.
20   some segments. It was not consistent use.             20       Q Can you estimate the percentage?
21          But that -- that's an Internet and online      21       A But I will be probably wrong. It's going
22   sale as well, I would say.                            22   to be lower than it was in 2021.
23          So those are the three that I'm familiar       23          International was not a revenue stream
24   with, umm, that they're still using -- that we're     24   until probably a year-and-a-half or so ago.
25   still using today.                                    25          Umm, we were looking, umm, to distribute

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 1   in different -- on different continents; but, you      1       A It was not necessarily just the Tough
 2   know, it -- it took a while for it to bring fruits.    2   Cookie. It was the whole line.
 3       Q And that's right up your alley, right?           3           So Akiva wanted to reformulate the flavors
 4       A It is.                                           4   of the functional line. And we were also looking to
 5       Q You're -- okay. International                    5   launch the keto line.
 6   development. Okay.                                     6           So it was a business decision that Akiva
 7          What -- what is TCD's most popular              7   made.
 8   product?                                               8       Q Who are TCD's largest customers?
 9       A I would say currently it's Birthday -- the       9       A Wholesalers, I'm assuming.
10   Birthday Cake keto and the Chocolate Chip -- the      10       Q Is there a customer -- who's the largest
11   Champion -- Chocolate Chip Champion.                  11   customer for the Tough Cookie, specifically?
12       Q What was the most popular product when you      12       A You'll have to ask Akiva. He took care of
13   joined in 2016?                                       13   all the sales and the customer relation.
14       A Huh. Umm, probably the Chocolate Chip,          14       Q Okay. I want to just take a look at the
15   but I'm -- this is not my forte. I know which one I   15   P&L statement one more time because I do have a
16   liked, which -- So ...                                16   couple of clarifying questions that I believe we
17       Q Do you know, umm, who TCD has distribution      17   touched on, but ...
18   agreements for the sale of the Tough Cookie?          18             (Proceedings paused briefly)
19       A I do not know. That's something that            19           MS. HOWERY: I'll move this over so I can
20   Akiva managed.                                        20   see it.
21       Q Has The Cookie Department ever received         21           It was not this document.
22   royalties from others, to use its trademarks?         22             (Proceedings paused briefly)
23       A Not to my knowledge.                            23   BY MS. HOWERY:
24       Q And why did The Cookie Department stop          24       Q Okay. I'm showing you The Cookie
25   selling the Tough Cookie in 2019?                     25   Department Bates number 018422, which is the

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 1   document shared in Mr. Resnikoff's deposition           1   were bringing in some other -- yeah. It looks
 2   yesterday. I'm not sure of the exhibit number.          2   like --
 3           MR. SINGH: Wait. Are you going to remark        3           MS. HOWERY: No. No.
 4   it for this?                                            4            (Concurrent conversations)
 5           MS. HOWERY: Nope. I just want to                5           MS. HOWERY: I'm referencing what we were
 6   reference it, but if -- (audio distortion) -- we're     6   talking about today.
 7   just referencing.                                       7           MR. SINGH: Monique, I was, like, why is
 8           MR. SINGH: Well, unfortunately, I need          8   she -- why is she fighting me on --
 9   some kind of reference, either from the previous --     9           MS. HOWERY: No. No. I'm just toggling
10           MS. HOWERY: Right.                             10   back to this last.
11           So I referenced it by Bates number in the      11           MR. SINGH: I get it.
12   transcript. Let's see.                                 12           MS. HOWERY: Okay.
13           MR. SINGH: Can I say the Bates number          13           MR. SINGH: We're all good.
14   again then, please. Because we can't see it readily    14           MS. HOWERY: And I'm trying to not to
15   on the screen when --                                  15   ruffle the papers too much, Madam Court Reporter.
16           MS. HOWERY: Okay.                              16           MR. SINGH: Me, too, I'm very quiet over
17           MR. SINGH: -- blowing it up.                   17   here.
18           MS. HOWERY: It's TCD-018422, and it's          18   BY MS. HOWERY:
19   Exhibit 5.                                             19       Q Yes. All right. So I just -- I'm looking
20           Is that correct, Madam Court Reporter?         20   at the 2017 tab under the Sales by Product/Service
21           THE REPORTER: I believe so.                    21   Summary that you provided -- that counsel provided.
22           MR. SINGH: Oh, it's Exhibit 5 within           22   And I see several entries that say: "Deleted.
23   this --                                                23   Deleted. Deleted."
24           MS. HOWERY: Yes.                               24           And we talked about this with respect to
25           MR. SINGH: I thought -- I thought you          25   one of the other reports or statements.

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 1          Can you explain why some of these items or       1   items to.
 2   why these items state "Deleted"?                        2      Q Okay. So I see that in 2016, 2015, 2014,
 3       A They didn't delete the items. The -- the          3   2013, and 2012.
 4   accounts were deleted, meaning that, at the current     4          Does not appear to be the case -- I think
 5   point in time, since Awaken Bake was not part of        5   you get things cleared up in 2018, 2019, and 2020.
 6   our -- when this report was run, was not part of our    6          Let me ask you this: Let's just say that
 7   product line, they pretty much inactivated this --      7   TCD elects not to continue selling the Tough Cookie
 8   this -- this product or this, uh, product line.         8   product.
 9          If you scroll up and down, you'll see that       9          Would that account result in a deleted
10   there is different configurations of the same          10   entry?
11   product, the same five, six, flavors. But it's in      11          MR. SINGH: Object to form.
12   different packaging and the different amount of        12          THE WITNESS: It will not be a deleted
13   numbers.                                               13   entry. It will be a deactivated account.
14          And those were inactivated or they were         14          So if somebody would try to book an
15   deemed, at some point in time, that they will not be   15   invoice to that particular account, they would
16   using that configuration any more.                     16   realize that they shouldn't because we no longer
17          Could it be -- it could have been later in      17   send that -- sell that configuration or that
18   years, but because this still has activity or it       18   product.
19   still had activity in years -- in years prior, it      19   BY MS. HOWERY:
20   will still show an amount.                             20      Q Okay. Fair enough.
21       Q So if I understand you correctly, this is        21          MS. HOWERY: Counsel, I'd like to just
22   a consistent practice across statements, just for --   22   take five to seven minutes. I think I have reached
23   discontinued ...                                       23   the end, but just like to confer with my colleague.
24       A It -- it should be to let us allow -- to         24          MR. SINGH: Halleluiah.
25   identify the accounts that we no longer should tag     25          THE VIDEOGRAPHER: The time is 1:54 p.m.

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 1   We're now off the record.                                  1   were references in her questions and, I believe, in
 2               (Proceedings recessed                          2   your answers to sales of Tough Cookie in 2012?
 3           from 1:54 p.m. until 2:01 p.m.)                    3      A Yes.
 4           THE VIDEOGRAPHER: The time is 2:01 p.m.,           4      Q And when did you get engaged by the
 5   and we're now back on the record.                          5   company again? Remind me.
 6           MR. SINGH: Thank you.                              6      A 2016.
 7           MS. HOWERY: Ms. Kirschner, thank you so            7      Q Okay. So all of your knowledge of, not
 8   much for your time today. We appreciate your               8   financials, but some of the related facts, like when
 9   thoughtful answers.                                        9   things were sold, et cetera, where did you obtain
10           And this will conclude my questioning of          10   that knowledge when you joined the company?
11   you today.                                                11      A From some marketing materials, brand
12           MR. SINGH: I have --                              12   materials, and from, you know, feedback from Akiva
13           THE WITNESS: Okay.                                13   and our common friend.
14           MR. SINGH: Go ahead. Sorry.                       14      Q Okay. And so my question is: In
15           MS. HOWERY: Go ahead. Are you going               15   connection with when Tough Cookie was first offered
16   to ...                                                    16   for sale, were you aware, one way or the other, as
17           MR. SINGH: Yes. I have one question.              17   to whether it was offered for sale in 2011?
18   It's, like, one or two questions -- he said.              18      A I'm not -- I -- I'm not aware of that. I
19                                                             19   just know that he was going -- his beginnings --
20               EXAMINATION                                   20   that's part of any type -- it's also on the website
21   BY MR. SINGH:                                             21   and the -- I believe, all the marketing materials we
22      Q So, Ms. Kirschner, just one very quick               22   were having, that his beginnings, he was cooking
23   follow-up.                                                23   the -- baking them in his own home and going to
24         Do you remember earlier today, Ms. Howery           24   bakeries and cafes and selling them.
25   questioned you -- at various points in time, there        25      Q In his van?

                                                      157                                                          158

 1       A In his van, yes.                                     1          What we need to investigate is how they
 2       Q Okay. The famous van.                                2   determined what they put up there because,
 3          Okay. But you don't know -- as you sit              3   obviously -- at least some -- our client was not
 4   here today, because of when you joined the company,        4   aware that some of those documents were put up
 5   you can't say whether that was 2011, 2012 or when          5   there.
 6   that was?                                                  6          But we will work with you all on open
 7       A I don't know for sure, no.                           7   issues. I think I have a fairly good idea what
 8          MR. SINGH: Okay. Thank you.                         8   they're going to be. And whenever you guys would
 9          That's the only question I had.                     9   like to meet and confer on it, let us know.
10          MS. HOWERY: Great. Well, we'd like to              10          MS. HOWERY: Fantastic.
11   hold the deposition open and reserve our rights to        11          MR. SINGH: Okay. Great.
12   call Ms. Kirschner back subject to further                12          Thank you.
13   discussion on couple of issues.                           13          THE VIDEOGRAPHER: Transcript orders,
14          MR. SINGH: And we will be cooperative              14   Carrie?
15   with you all on that, to some extent.                     15          THE REPORTER: Mr. Singh, are you ordering
16          I will just let you know, on the record,           16   a transcript at this time?
17   that we've been investigating the SEC documents           17          MS. HOWERY: Yes, we are.
18   because, as you probably heard from your colleague,       18          THE REPORTER: And Mr. Singh?
19   Mr. Pope, it actually took us by surprise, too.           19          MR. SINGH: Yes, the usual. Not rush for
20          What we have determined so far, I can              20   us.
21   share with you, is that -- and I can say this now,        21          MS. HOWERY: Yeah. We don't need a rush.
22   you know, just since you completed your deposition        22          THE REPORTER: Good. Great. Thank you.
23   at least for today, that the filings were made by a       23          THE VIDEOGRAPHER: Okay.
24   third party, which is a funding platform. This            24          THE REPORTER: That's it.
25   often is the case.                                        25          THE VIDEOGRAPHER: All right. This marks

                                                      159                                                          160
                                                                                          40 (Pages 157 to 160)
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     Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 127 of 130
                                   ANDREA KIRSCHNER - April 29, 2022

 1                                                          1          DECLARATION UNDER PENALTY OF PERJURY
      the end of today's deposition of Andrea Kirschner.
 2                                                          2
            All media used will be stored with
 3                                                          3         I, ANDREA KIRSCHNER, do hereby certify
      Jan Brown & Associates.
 4                                                          4   under penalty of perjury that I have read the
            We are officially off the record at
 5                                                          5   foregoing transcript of my deposition taken on
      2:05 p.m.
 6                                                          6   April 29th, 2022; that I have made such corrections
       (Proceedings adjourned for the day at 2:05 p.m.)
 7                                                          7   as appear noted herein; that my testimony as
                                                            8   contained herein, as corrected, is a true and
 8
                                                            9   accurate transcription of my testimony.
 9
                                                           10
10
                                                           11
11
                                                           12         DATED this _______ day of _______________,
12
                                                           13   2022, at _______________, California.
13
                                                           14
14
                                                           15
15
                                                           16
16
                                                           17
17
                                                           18
18
                                                           19                 ____________________________
19
                                                                                 ANDREA KIRSCHNER
20
                                                           20
21                                                         21
22                                                         22
23                                                         23
24                                                         24
25                                                         25


                                                   161                                                                162

 1          REPORTER'S CERTIFICATE
 2
 3       I certify that the foregoing proceedings in the
 4   within-entitled cause were reported at the time and
 5   place therein named, that said proceedings were
 6   reported by me, a duly Certified Shorthand Reporter
 7   of the State of California, and were thereafter
 8   transcribed into typewriting.
 9       I further certify that I am not of counsel or
10   attorney for either or any of the parties to said
11   cause of action, nor in any way interested in the
12   outcome of the cause named in said cause of action.
13       IN WITNESS WHEREOF, I have hereunto set my hand
14   this 09th day of May, 2022.
15
16
17             ________________________________
               CARRIE HEWERDINE, RDR, CSR #4579
18
19
20
21
22
23
24
25


                                                   163
                                                                                          41 (Pages 161 to 163)
                     JAN BROWN & ASSOCIATES            (415)981-3498      (800)522-7096
Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 128 of 130




                     Exhibit D
 Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 129 of 130
                                                               CONSOR   IP Experts




             The Cookie
             The Cookie Department,
                        Department, Inc.
                                    Inc. v.
                                         v.
   The Hershey
   The Hershey Company
               Company and
                       and ONE
                           ONE Brands,
                               Brands, LLC
                                       LLC
Case No.
Case No. 3:20-cv-09324
         3:20-cv-09324 InIn the
                            the United
                                 United States
                                        States Northern
                                               Northern
                District of
                District of California
                             California

             Expert Report
             Expert Report of
                           of Jeff
                              Jeff Anderson
                                   Anderson

                                Submitted to:
                                Submitted to:




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                              Sanjiv   N. Singh
                                           Singh
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                                  SNS    PLC
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                                Amphlett Blvd.    Suite 220
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                          San   Mateo, CA CA 94402
                                              94402
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                         Mobile:   (415) 816-5548
                                           816-5548
                           Fax: (415)
                           Fax:  (415) 358-4006
                                         358-4006


                                Submitted by:
                                Submitted by:

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                             CONSOR
                                  IP Experts
                                  IP Experts

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                     7514 Girard Avenue,    Suite 1500
                                  Avenue, Suite   1500
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                           La Jolla, CA
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                                         800-4950
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                          Fax:   (858) 800-4950
                                        800-4950



                                May 31,
                                May 31, 2022
                                        2022




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                                                 Jolla, CA
                                                        CA
               Case 4:20-cv-09324-KAW Document 115-1 Filed 09/15/22 Page 130 of 130
       The Cookie
       The Cookie Department,
                   Department, Inc.
                                Inc. v.v.
                                                                                                             CONSOR            IP Experts
       The Hershey
       The Hershey Company
                    Company and
                              and ONE
                                    ONE Brands,
                                          Brands, LLC
                                                  LLC
       May 31,
       May 31, 2022
               2022                                           Page 2
                                                              Page 2


I.I.          INTRODUCTION
              INTRODUCTION

       A. The Assignment
       A. The Assignment

       SNS PLC
       SNS    PLC (“Counsel”)
                     (“Counsel”) hashas retained
                                         retained CONSOR
                                                    CONSOR® ® IP  IP Experts
                                                                      Experts (“CONSOR”
                                                                                 (“CONSOR” or  or “We”)
                                                                                                   “We”) onon
       behalf of
       behalf  of their
                  their client,
                         client, The
                                  The Cookie
                                       Cookie Department,     Inc. (“Client”),
                                                Department, Inc.    (“Client”), to
                                                                                 to provide
                                                                                    provide expert
                                                                                             expert witness
                                                                                                     witness
       services pertaining
       services   pertaining to to Case
                                    Case 3:20-cv-09324
                                           3:20-cv-09324 inin the
                                                               the United
                                                                     United States
                                                                               States Northern
                                                                                       Northern District
                                                                                                  District of
                                                                                                            of
       California (the
       California  (the “Case”).
                        “Case”).

       Specifically, we
       Specifically,     have been
                     we have   been asked
                                    asked to
                                          to assess
                                             assess damages
                                                    damages sustained
                                                            sustained by
                                                                      by Client,
                                                                         Client, as
                                                                                 as quantified
                                                                                    quantified
       in the
       in the following
              following two
                        two ways:
                             ways:

              1) The
              1) The unjust
                      unjust enrichment,
                              enrichment, as  as measured
                                                 measured byby gross
                                                               gross profit,
                                                                      profit, of
                                                                              of The
                                                                                 The Hershey
                                                                                       Hershey Company
                                                                                                 Company
                 (“Hershey”) and
                 (“Hershey”)   and ONE
                                     ONE Brands,
                                              Brands, LLC
                                                        LLC (“ONE
                                                             (“ONE Brands”)
                                                                     Brands”) (collectively,
                                                                                 (collectively, “Infringing
                                                                                                “Infringing
                 Companies”), resulting
                 Companies”),    resulting from
                                             from unsanctioned
                                                   unsanctioned use
                                                                 use of
                                                                      of the
                                                                          the “Tough
                                                                              “Tough Cookie”
                                                                                        Cookie” mark
                                                                                                 mark (the
                                                                                                        (the
                 “Tough Cookie
                 “Tough   Cookie Mark”).
                                  Mark”).! 1


              2) The
              2) The potential
                      potential royalty
                                royalty income
                                        income of of Client,
                                                     Client, as
                                                              as measured
                                                                 measured byby royalties
                                                                               royalties Infringing
                                                                                         Infringing
                 Companies would have paid for use of the Tough Cookie Mark.
                 Companies    would have paid for use of  the Tough Cookie Mark.

       The relevant
       The  relevant time
                        time frame
                               frame for
                                       for our
                                            our damages
                                                 damages analysis
                                                              analysis isis from
                                                                            from 2017
                                                                                    2017 through
                                                                                           through November
                                                                                                      November 2022  2022
       (the “Damages
       (the “Damages Period”).
                           Period”). TheThe analysis
                                               analysis detailed
                                                          detailed inin this
                                                                        this report
                                                                              report is is presented
                                                                                           presented as  as of
                                                                                                            of May
                                                                                                                 May 31,
                                                                                                                       31,
       2022 (the
       2022   (the “Report
                     “Report Date”).
                                Date”). Findings
                                           Findings reflect
                                                       reflect our
                                                                our analysis
                                                                      analysis of of the
                                                                                      the information
                                                                                            information produced
                                                                                                           produced in    in
       this Case
       this Case up up to
                        to this
                            this date,
                                  date, asas well
                                              well as
                                                    as our
                                                        our independent
                                                              independent research.
                                                                               research. We       reserve the
                                                                                             We reserve     the right
                                                                                                                  right to
                                                                                                                         to
       amend, expand,
       amend,     expand, and/or
                               and/or supplement
                                         supplement this  this report
                                                                report should
                                                                          should additional
                                                                                     additional information,
                                                                                                   information, data,data,
       and/or deposition
       and/or  deposition testimony
                              testimony be   be made
                                                 made available
                                                        available during
                                                                    during thethe course
                                                                                   course of of this
                                                                                                this litigation.
                                                                                                     litigation.

       This report
       This   report contains
                      contains two two appendices
                                          appendices which which consist
                                                                   consist of  of the
                                                                                   the qualifications
                                                                                        qualifications ofof the
                                                                                                            the named
                                                                                                                    named
       expert, including
       expert,   including aa list
                               list of
                                     of publications
                                         publications and and prior
                                                               prior testimony
                                                                       testimony (Appendix
                                                                                      (Appendix A),A), and
                                                                                                       and aa list
                                                                                                               list of
                                                                                                                     of the
                                                                                                                         the
       documents reviewed
       documents      reviewed in  in this
                                       this matter
                                             matter (Appendix
                                                      (Appendix B). B). Individuals
                                                                          Individuals at at CONSOR
                                                                                            CONSOR assisted
                                                                                                        assisted in   in the
                                                                                                                         the
       preparation of
       preparation    of this
                         this report
                               report under
                                          under the
                                                  the supervision
                                                       supervision of  of the
                                                                            the named
                                                                                 named expert.
                                                                                           expert. CONSOR
                                                                                                    CONSOR is     is being
                                                                                                                      being
       compensated for
       compensated       for the
                             the production
                                    production of   of this
                                                       this report
                                                             report atat anan hourly
                                                                                hourly rate
                                                                                         rate of
                                                                                               of $500
                                                                                                  $500 per
                                                                                                         per hour.
                                                                                                              hour. The The
       testifying
       testifying expert’s
                   expert's hourly
                              hourly raterate for
                                               for deposition,
                                                   deposition, andand trial
                                                                         trial testimony
                                                                               testimony and and preparation,
                                                                                                  preparation, is  is $750
                                                                                                                       $750
       per hour.
       per  hour.

       B. Qualifications
       B. Qualifications of
                         of The
                            The Named
                                Named Expert
                                      Expert

       Jeff Anderson
       Jeff Anderson is   is the
                             the Managing
                                  Managing Director
                                              Director at at CONSOR,
                                                               CONSOR, an   an intellectual
                                                                                intellectual asset
                                                                                               asset consulting
                                                                                                       consulting
       firm specializing
       firm  specializing in  in trademark,
                                  trademark, patent,
                                                patent, copyright
                                                            copyright and
                                                                        and right
                                                                               right ofof publicity
                                                                                           publicity valuation,
                                                                                                       valuation,
       licensing, and
       licensing,   and expert
                         expert testimony.
                                  testimony. The
                                              The firm
                                                    firm is is headquartered
                                                               headquartered in   in La
                                                                                     La Jolla,
                                                                                         Jolla, California,
                                                                                                 California, and
                                                                                                              and
       has offices
       has  offices inin New
                         New York
                                York and
                                      and London.
                                           London. Mr. Mr. Anderson      first earned
                                                              Anderson first   earned a  a B.S.
                                                                                            B.S. inin Economics
                                                                                                      Economics
       from Santa
       from  Santa Clara
                      Clara University,
                             University, and
                                          and later
                                               later went
                                                     went on  on to
                                                                 to earn
                                                                    earn anan MBA,
                                                                               MBA, with
                                                                                       with aa concentration
                                                                                                concentration inin
       Finance, from San Diego State University.
       Finance,   from   San   Diego  State University.

       Mr. Anderson
       Mr.            has a
            Anderson has    a broad
                               broad view
                                      view of
                                           of the
                                              the world  of intellectual
                                                   world of  intellectual property
                                                                           property and
                                                                                      and intangible
                                                                                            intangible
       assets. He
       assets. He has
                  has lectured,
                       lectured, spoken,
                                  spoken, and
                                          and written
                                              written on
                                                      on the
                                                         the topic
                                                              topic of
                                                                     of IP
                                                                        IP valuation,
                                                                           valuation, as
                                                                                       as well
                                                                                          well as
                                                                                                as the
                                                                                                    the


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            Doc 4

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